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Corcept Therapeutics, Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


CORCEPT THERAPEUTICS, INC.,
                                                       Civil Action No. __________________
                      Plaintiff,
                                                       COMPLAINT FOR PATENT
       v.                                              INFRINGEMENT
SUN PHARMA GLOBAL FZE, SUN
                                                       (Filed Electronically)
PHARMA GLOBAL INC., SUN
PHARMACEUTICAL INDUSTRIES, INC.,
and SUN PHARMACEUTICAL
INDUSTRIES LIMITED,

                      Defendants.


       Plaintiff Corcept Therapeutics, Inc. (“Corcept”), by its undersigned attorneys, for its

Complaint against defendants Sun Pharma Global FZE (“Sun FZE”), Sun Pharma Global Inc.

(“Sun Pharma”), Sun Pharmaceutical Industries, Inc. (“Sun Inc.”), and Sun Pharmaceutical

Industries Limited (“Sun Ltd.”) (collectively, “Sun”), alleges as follows:

                                      Nature of the Action

       1.        This complaint is an action for patent infringement under the patent laws of the

United States, 35 U.S.C. §100, et seq., arising from Sun’s filing of an Abbreviated New Drug

Application (“ANDA”) No. 213387 (“Sun’s ANDA”) with the United States Food and Drug

Administration (“FDA”) seeking approval to commercially market a generic version of
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Corcept’s 300 mg mifepristone drug product (“Sun’s Proposed Product”) prior to the expiration

of United States Patent Nos. 8,921,348 (“the ʼ348 Patent”),10,195,214 (“the ʼ214 Patent”), and

9,829,495 (“the ʼ495 Patent”) (together, “the patents-in-suit”), owned by Corcept.

                                            The Parties

       2.        Plaintiff Corcept is a biopharmaceutical company committed to improving the

lives of patients worldwide. Corcept focuses on, and heavily invests in, the discovery and

development of drugs that regulate the effects of cortisol for the treatment of severe and life-

threatening conditions, including Cushing’s syndrome. Corcept is an industry leader for the

development of orphan-status rare disease drugs, including KORLYM®. Corcept is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 149 Commonwealth Dr., Menlo Park, CA 94025.

       3.        On information and belief, defendant Sun FZE is a corporation organized and

existing under the laws of the United Arab Emirates, having a principal place of business at

Office # 43, Block Y, SAIF-Zone, P.O. Box #122304, Sharjah, United Arab Emirates. On

information and belief, Sun FZE is a wholly-owned subsidiary of Sun Ltd.

       4.        On information and belief, defendant Sun Pharma is a corporation organized

and existing under the laws of the British Virgin Islands, and maintains a post office box at

International Trust Building, P.O. Box No. 659, Road Town, Tortola, British Virgin Islands. On

information and belief, Sun Pharma is a wholly-owned subsidiary of Sun Ltd.

       5.        On information and belief, defendant Sun Inc. is a corporation organized and

existing under the laws of the State of Michigan, having a principal place of business at 1

Commerce Drive, Cranbury, New Jersey 08512. On information and belief, Sun Inc. is a

wholly-owned subsidiary of Sun Ltd.




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       6.        On information and belief, defendant Sun Ltd. is a corporation organized and

existing under the laws of existing under the laws of India, having a principal place of business at

Sun House, CTS No. 201 B/1, Western Express Highway, Goregaon (E), Mumbai 400 063,

Maharashtra, India.

                                       The Patents-in-Suit

       7.        On December 30, 2014, the United States Patent and Trademark Office

(“USPTO”) duly and lawfully issued the ʼ348 Patent, entitled “Optimizing Mifepristone Levels

in Plasma Serum of Patients Suffering from Mental Disorders Treatable with Glucocorticoid

Receptor Antagonists” to Corcept as assignee of the inventor Joseph K. Belanoff. A copy of the

ʼ348 Patent is attached hereto as Exhibit A.

       8.        On February 5, 2019, the USPTO duly and lawfully issued the ’214 Patent,

entitled, “Concomitant Administration of Glucocorticoid Receptor Modulators and CYP3A

Inhibitors” to Corcept as assignee of the inventor Joseph K. Belanoff. A copy of the ’214 Patent

is attached hereto as Exhibit B.

       9.        On November 28, 2017, the USPTO duly and lawfully issued the ʼ495 Patent,

entitled, “Method for Differentially Diagnosing ACTH-Dependent Cushing’s Syndrome” to

Corcept as assignee of the inventor Andreas G. Moraitis. A copy of the ʼ495 Patent is attached

hereto as Exhibit C.

                                   The KORLYM® Drug Product

       10.       Corcept holds an approved New Drug Application (“NDA”) under Section

505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for

mifepristone tablets (NDA No. 202107), which it sells under the trade name KORLYM®.

KORLYM® is an FDA-approved medication for the treatment of hyperglycemia secondary to

hypercortisolism in adult patients with endogenous Cushing’s syndrome who have type 2


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diabetes mellitus or glucose intolerance and have failed surgery or are not candidates for surgery.

The claims of the patents-in-suit cover, inter alia, methods of use and administration of

mifepristone.

          11.        Pursuant to 21 U.S.C. § 355(b)(1) and attendant FDA regulations, the

patents-in-suit are listed in the FDA publication, “Approved Drug Product with Therapeutic

Equivalence Evaluations” (the “Orange Book”), with respect to KORLYM®.

                                         Jurisdiction and Venue

          12.        This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

          13.        The Court has personal jurisdiction over Sun by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey.

          14.        On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

develop, manufacture, distribute, market, offer to sell, and sell generic drug products for sale and

use throughout the United States, including within this Judicial District.

          15.        On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

prepare and/or aid in the submission of ANDAs to the FDA.

          16.        On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd. derive

substantial revenue from selling generic products throughout the United States, including in this

Judicial District.

          17.        This Court has personal jurisdiction over Sun because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and, on information and

belief, Sun intends a future course of conduct that includes acts of patent infringement in New

Jersey.




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        18.       On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

actively participated in the submission of Sun’s ANDA. On information and belief, Sun Ltd.

will work in concert with Sun FZE, Sun Pharma, Sun Inc., and/or other subsidiaries towards the

regulatory approval, manufacturing, use, importation, marketing, offer for sale, sale, and

distribution of generic pharmaceutical products, including Sun’s Proposed Product, throughout

the United States, including in New Jersey and in this Judicial District, prior to the expiration of

the patents-in-suit.

        19.       On information and belief, Sun seeks approval from the FDA to sell Sun’s

Proposed Product throughout the United States, including in this Judicial District. On

information and belief, this Judicial District will be a destination for the generic drug product

described in Sun’s ANDA.

        20.       This Court has personal jurisdiction over Sun because Sun has purposefully

availed itself of the rights and benefits of New Jersey law by engaging in systematic and

continuous contacts with the State of New Jersey. On information and belief, Sun regularly and

continuously transacts business within New Jersey, directly or indirectly, including by making

pharmaceutical products for sale in New Jersey and selling pharmaceutical products in New

Jersey. For example, Sun’s website states its “US headquarters are in Cranbury, New Jersey,” it

has “distribution and customer service teams at multiple locations across the country,” and “Sun

Pharma’s latest acquisition of a majority interest in Ranbaxy Laboratories Limited (Ranbaxy)

and its Ohm Laboratories facilities in . . . New Jersey makes it the largest Indian pharma

company in the US market.” Sun Pharma USA, http://www.sunpharma.com/usa (last visited

June 28, 2019).




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        21.      This Court has personal jurisdiction over Sun FZE by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun FZE purposefully has conducted and continues to conduct business in this Judicial District.

        22.      On information and belief, Sun FZE is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

        23.      On information and belief, Sun FZE, alone or through Sun Pharma, Sun Inc.,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        24.      On information and belief, Sun FZE has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Novartis Pharmaceuticals

Corp., et al. v. Sun Pharma Global FZE, et al., Civil Action No. 12-4393 (SDW)(MCA); The

Medicines Co. v. Sun Pharma Global FZE, et al., Civil Action No. 11-6819 (PGS)(DEA).

        25.      In the alternative, this Court has personal jurisdiction over Sun FZE because the

requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Corcept’s claims arise

under federal law; (b) Sun FZE is a foreign defendant not subject to general personal jurisdiction

in the courts of any state; and (c) Sun FZE has sufficient contacts with the United States as a

whole, including, but not limited to, preparing and submitting ANDAs to the FDA and/or

manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are

distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

FZE satisfies due process.




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        26.          This Court has personal jurisdiction over Sun Pharma by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief, Sun

Pharma purposefully has conducted and continues to conduct business in this Judicial District.

        27.          On information and belief, Sun Pharma is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District.

        28.          On information and belief, Sun Pharma, alone or through Sun FZE, Sun Inc.,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        29.          On information and belief, Sun Pharma has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Otsuka Pharm. Co. v. Sun

Pharm. Indus. Ltd., et al., Civil Action No. 14-4307 (JBS)(KMW); Otsuka Pharm. Co. v. Sun

Pharm. Indus. Ltd., et al., Civil Action No. 14-6397 (JBS) (KMW); Aventis Pharms. Inc., et al.

v. Sun Pharma Global Inc., et al., Civil Action No. 09-325 (GEB)(MCA).

        30.          In the alternative, this Court has personal jurisdiction over Sun Pharma because

the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Corcept’s claims arise

under federal law; (b) Sun Pharma is a foreign defendant not subject to general personal

jurisdiction in the courts of any state; and (c) Sun Pharma has sufficient contacts with the United

States as a whole, including, but not limited to, preparing and submitting ANDAs to the FDA

and/or manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are




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distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

Pharma satisfies due process.

        31.      This Court has personal jurisdiction over Sun Inc. by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun Inc. purposefully has conducted and continues to conduct business in this Judicial District.

        32.      On information and belief, Sun Inc. is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

        33.      On information and belief, Sun Inc., alone or through Sun FZE, Sun Pharma,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        34.      On information and belief, Sun, through at least Sun Inc., maintains physical

places of business in at least Princeton, New Jersey and Cranbury, New Jersey.

        35.      On information and belief, Sun Inc. is registered with the State of New Jersey’s

Division of Revenue and Enterprise Services as a business operating in New Jersey under

Business ID Nos. 0100954087 and/or 0100970132 and is registered as manufacturer and

wholesaler with the New Jersey Department of Health under Registration No. 5003437.

        36.      On information and belief, Sun Inc. has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Janssen Pharms. Inc. v Sun

Pharma Global FZE, et al., Civil Action No. 11-6089 (SRC)(CLW); Otsuka Pharm. Co. v. Sun




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Pharm. Indus. Ltd., et al., Civil Action No. 14-4307 (JBS)(KMW); Otsuka Pharm. Co. v. Sun

Pharm. Indus. Ltd., Civil Action No. 14-6397 (JBS)(KMW).

          37.    On information and belief, Sun FZE, Sun Global, and Sun Inc. act for the

benefit of and at the direction of Sun Ltd., and are agents and/or alter egos of Sun Ltd.

          38.    This Court has personal jurisdiction over Sun Ltd. by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief, Sun

Ltd. purposefully has conducted and continues to conduct business in this Judicial District.

          39.    On information and belief, Sun Ltd. is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

          40.    On information and belief, Sun Ltd., alone or through Sun FZE, Sun Pharma,

and/or Sun Inc., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

          41.    This Court also has personal jurisdiction over Sun Ltd. because Sun Ltd. has

purposefully availed itself of the rights and benefits of New Jersey law by engaging in systematic

and continuous contacts with the State of New Jersey. On information and belief, Sun Ltd.

regularly and continuously transacts business within New Jersey, including by making

pharmaceutical products for sale in New Jersey and selling pharmaceutical products in New

Jersey.

          42.    This Court has personal jurisdiction over Sun Ltd. because, inter alia, it: (1) has

purposefully availed itself of the privilege of doing business in New Jersey, including directly or

indirectly through its subsidiary, agent, and/or alter ego, Sun Inc., a company registered as




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manufacturer and wholesaler with the New Jersey Department of Health under Registration No.

5003437 and registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business ID Nos. 0100954087 and/or

0100970132; and (2) maintains extensive and systematic contacts with the State of New Jersey,

including the marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey,

including through, directly or indirectly, Sun Inc. On information and belief, Sun Inc. acts at the

direction, and for the benefit, of Sun Ltd., and is controlled and/or dominated by Sun Ltd.

       43.       On information and belief, Sun Ltd. has previously invoked, stipulated, and/or

consented to personal jurisdiction in this Judicial District in numerous prior patent cases.

       44.       Sun Ltd. has previously been sued in this Judicial District and has availed itself

of New Jersey courts through the assertion of counterclaims in suits brought in New Jersey, and

has not challenged personal jurisdiction. See, e.g., Jazz Pharmaceuticals, Inc., et al. v. Sun

Pharmaceutical Industries Ltd., et al., Civil Action No. 15-8229 (ES)(JAD); Boehringer

Ingelheim Pharmaceuticals Inc., et al. v. Sun Pharmaceutical Industries Ltd., et al., Civil Action

No. 15-5982 (PGS)(TJB); Jazz Pharmaceuticals, Inc. v. Sun Pharmaceutical Industries Ltd., et

al., Civil Action No. 15-3217 (ES)(JAD); Otsuka Pharmaceutical Co., Ltd. v. Sun

Pharmaceutical Industries Ltd., et al., Civil Action No. 14-6397 (JBS)(KMW); Otsuka

Pharmaceutical Co., Ltd. v. Sun Pharmaceutical Industries, Inc., et al., Civil Action No. 14-

4307 (JBS)(KMW); Cephalon, Inc. v. Sun Pharmaceutical Industries, Inc., et al., Civil Action

No. 11-5474 (FLW)(DEA); Depomed, Inc., et al. v. Sun Pharmaceutical Industries, Inc., et al.,

Civil Action No. 11-3553 (JAP)(TJB).




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       45.       Sun Ltd. has further availed itself of the jurisdiction of this Court by initiating

litigation in this Judicial District. See, e.g., Sun Pharmaceutical Industries Ltd., et al. v. Altana

Pharma AG, et al., Civil Action No. 05-2391.

       46.       In the alternative, this Court has personal jurisdiction over Sun Ltd. because the

requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Corcept’s claims arise

under federal law; (b) Sun Ltd. is a foreign defendant not subject to general personal jurisdiction

in the courts of any state; and (c) Sun Ltd. has sufficient contacts with the United States as a

whole, including, but not limited to, preparing and submitting ANDAs to the FDA and/or

manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are

distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

Ltd. satisfies due process.

       47.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

1400(b).

                                  Acts Giving Rise To This Suit

       48.       Pursuant to Section 505 of the FFDCA, Sun filed ANDA No. 213387 seeking

approval to engage in the commercial manufacture, use, offer for sale, sale, or importation of

Sun’s Proposed Product, before the patents-in-suit expire.

       49.       No earlier than June 07, 2019, Sun sent written notice of a Paragraph IV

Certification (“Sun’s Notice Letter”) to Corcept. According to Sun’s Notice Letter, Sun filed an

ANDA pursuant to Section 505 of the FFDCA seeking approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Sun’s Proposed

Product before expiration of the patents listed in the Orange Book with respect to KORLYM®.

       50.       Sun’s Notice Letter alleges that the claims of the patents-in-suit patent are

invalid and/or will not be infringed by the activities described in Sun’s ANDA.


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        51.       On information and belief, in connection with the filing of its ANDA as

described above, Sun provided a written certification to the FDA, as called for by Section 505 of

the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Sun’s Paragraph IV Certification”), alleging

that the claims of the ’348 Patent, the ’214 Patent, and the ʼ495 Patent are invalid, unenforceable,

and/or will not be infringed by the activities described in Sun’s ANDA.

        52.       On information and belief, following FDA approval of Sun’s ANDA, Sun FZE,

Sun Pharma, Sun Inc., and Sun Ltd. will work in concert with one another to make, use, offer to

sell, or sell Sun’s Proposed Product throughout the United States, or import such generic

products into the United States.

                            Count I: Infringement of the ʼ348 Patent

        53.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        54.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

offer for sale, sale, or importation into the United States of Sun’s Proposed Product, prior to the

expiration of the ’348 Patent, constitutes infringement of one or more of the claims of that patent

under 35 U.S.C. § 271(e)(2)(A).

        55.       A justiciable controversy exists between the parties hereto as to the

infringement of the ’348 Patent.

        56.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

infringe one or more claims of the ’348 Patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Sun’s Proposed Product in the United States.

        57.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

induce infringement of one or more claims of the ’348 Patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United


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States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally

encourage acts of direct infringement with knowledge of the ’348 Patent and knowledge that its

acts are encouraging infringement.

        58.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

contributorily infringe one or more claims of the ’348 Patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United

States. On information and belief, Sun knew and knows that Sun’s Proposed Product is designed

for a use that infringes one or more claims of the ’348 Patent, and Sun’s Proposed Product lacks

a substantial non-infringing use.

        59.       Failure to enjoin Sun’s infringement of the ’348 Patent will substantially and

irreparably damage Corcept.

        60.       Corcept does not have an adequate remedy at law.

                           Count II: Infringement of the ’214 Patent

        61.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        62.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

offer for sale, sale, or importation into the United States of Sun’s Proposed Product, prior to the

expiration of the ’214 Patent, constitutes infringement of one or more of the claims of that patent

under 35 U.S.C. § 271(e)(2)(A).

        63.       A justiciable controversy exists between the parties hereto as to the

infringement of the ’214 Patent.




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        64.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

infringe one or more claims of the ’214 Patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Sun’s Proposed Product in the United States.

        65.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

induce infringement of one or more claims of the ’214 Patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United

States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally

encourage acts of direct infringement with knowledge of the ’214 Patent and knowledge that its

acts are encouraging infringement.

        66.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

contributorily infringe one or more claims of the ’214 Patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United

States. On information and belief, Sun knew and knows that Sun’s Proposed Product is designed

for a use that infringes one or more claims of the ’214 Patent, and Sun’s Proposed Product lacks

a substantial non-infringing use.

        67.       Failure to enjoin Sun’s infringement of the ’214 Patent will substantially and

irreparably damage Corcept.

        68.       Corcept does not have an adequate remedy at law.

                           Count III: Infringement of the ’495 Patent

        69.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        70.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

offer for sale, sale, or importation into the United States of Sun’s Proposed Product, prior to the




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expiration of the ’495 Patent, constitutes infringement of one or more of the claims of that patent

under 35 U.S.C. § 271(e)(2)(A).

       71.       A justiciable controversy exists between the parties hereto as to the

infringement of the ’495 Patent.

       72.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

infringe one or more claims of the ’495 Patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Sun’s Proposed Product in the United States.

       73.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

induce infringement of one or more claims of the ’495 Patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United

States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally

encourage acts of direct infringement with knowledge of the ’495 Patent and knowledge that its

acts are encouraging infringement.

       74.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

contributorily infringe one or more claims of the ’495 Patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Sun’s Proposed Product in the United

States. On information and belief, Sun knew and knows that Sun’s Proposed Product is designed

for a use that infringes one or more claims of the ’495 Patent, and Sun’s Proposed Product lacks

a substantial non-infringing use.

       75.       Failure to enjoin Sun’s infringement of the ’495 Patent will substantially and

irreparably damage Corcept.

       76.       Corcept does not have an adequate remedy at law.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Corcept respectfully requests the following relief:

        (A)    A Judgment that Sun infringed the patents-in-suit by submitting ANDA No.

213387;

        (B)    A Judgment that Sun has infringed, and that Sun’s making, using, offering to sell,

selling, or importing Sun’s Proposed Product will infringe one or more claims of the patents-in-

suit;

        (C)    An Order that the effective date of FDA approval of ANDA No. 213387 be a date

no earlier than the later of the expiration of each patent-in-suit, or any later expiration of

exclusivity to which Corcept is or becomes entitled;

        (D)    Preliminary and permanent injunctions enjoining Sun and its officers, agents,

attorneys and employees, and those acting in privity or concert with them, from making, using,

offering to sell, selling, or importing Sun’s Proposed Product until after the expiration of the

each patent-in-suit, or any later expiration of exclusivity to which Corcept is or becomes entitled;

        (E)    A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

enjoining Sun, its officers, agents, attorneys and employees, and those acting in privity or concert

with them, from practicing any method claimed in the patents-in-suit, or from actively inducing

or contributing to the infringement of any claim of the patents-in-suit, until after the expiration of

each patent-in-suit, or any later expiration of exclusivity to which Corcept is or becomes entitled;

        (F)    A Judgment that the commercial manufacture, use, importation into the United

States, offer for sale, and/or sale of Sun’s Proposed Product will directly infringe, induce and/or

contribute to infringement of the patents-in-suit;




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        (G)      To the extent that Sun has committed any acts with respect the methods claimed

in the patents-in-suit, other than those acts expressly exempted by 35 U.S.C. § 271(e)(1), a

Judgment awarding Corcept damages for such acts;

        (H)      If Sun engages in the commercial manufacture, use, importation into the United

States, offer for sale, and/or sale of Sun’s Proposed Product prior to the expiration of the patents-

in-suit, a Judgment awarding damages to Corcept resulting from such infringement, together

with interest;

        (I)      A Judgment declaring that the patent-in-suit remains valid and enforceable;

        (J)      A Judgment awarding Corcept its costs and expenses incurred in this action; and

        (K)      Such further and other relief as this Court may deem just and proper.



Dated: July 22, 2019                                     By: s/ Charles M. Lizza
                                                             Charles M. Lizza
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                 CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matter captioned

Corcept Therapeutics v. Teva Pharmaceuticals USA, Inc., Civil Action No. 18-3632

(SDW)(CLW) (D.N.J.) (consolidated) is related to the matter in controversy because the matter

in controversy involves the same Plaintiff, because the matters involve related patents with

common inventors, and because defendants are seeking FDA approval to market a generic

version of the same pharmaceutical product.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, or of any pending arbitration or administrative

proceeding.

Dated: July 22, 2019                                    By: s/ Charles M. Lizza
                                                            Charles M. Lizza
Of Counsel:                                                 William C. Baton
                                                            SAUL EWING ARNSTEIN & LEHR LLP
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                       EXHIBIT A
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 (12)   United States Patent                                              (10) Patent No.:     US 8,921,348 B2
        Belanoff                                                          (45) Date of Patent:     Dec. 30, 2014

 (54) OPTIMIZING MIFEPRISTONE LEVELS IN                               (52) U.S. Cl.
       PLASMA SERUM OF PATIENTS SUFFERING                                   CPC                GO1N 33/49 (2013.01); A 61K 31/56
       FROM MENTAL DISORDERS TREATABLE                                                           (2013.01); A61K 31/575 (2013.01)
       WITH GLUCOCORTICOID RECEPTOR                                           USPC                                          514/178
       ANTAGONISTS                                                    (58)    Field of Classification Search
                                                                              USPC                                          514/178
 (71) Applicant: Corcept Therapeutics, Menlo Park, CA                         See application file for complete search history.
                  (US)
                                                                      (56)                    References Cited
 (72) Inventor: Joseph K. Belanoff, Woodside, CA (US)
                                                                                      U.S. PATENT DOCUMENTS
 (73) Assignee: Corcept Therapeutics, Inc., Menlo                            6,964,953 B2     11/2005 Belanoff
                 Park, CA (US)
                                                                                        OTHER PUBLICATIONS
 ( * ) Notice:      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35           Medical Encyclopedia of Medline (http:// http://www.nlm.nih.gov/
                                                                      medlineplus/ency/article/003430.htm), 4 pages, Oct. 2005.
                    U.S.C. 154(b) by 0 days.
                                                                      Sarkar, "Mifepristone: bioavailability, pharmacokinetics and use-
                                                                      effectiveness," European Journal of Obstetrics and Gynecology and
 (21)   Appl. No.: 14/065,792                                         Reproductive Biology, vol. 101, pp. 113-120 (2002).
 (22)   Filed:      Oct. 29, 2013                                     Primary Examiner — San-Ming Hui
                                                                      (74) Attorney, Agent, or Firm Kilpatrick Townsend &
 (65)                   Prior Publication Data                        Stockton LLP
        US 2014/0162993 Al             Jun. 12, 2014
                                                                      (57)                      ABSTRACT
                 Related U.S. Application Data                        The present invention provides a method for optimizing lev-
                                                                      els of mifepristone in a patient suffering from a mental dis-
        Continuation of application No. 12/199,114, filed on
                                                                      order amenable to treatment by mifepristone. The method
        Aug. 27, 2008, now Pat. No. 8,598,149.
                                                                      comprises the steps of treating the patient with seven or more
        Provisional application No. 60/969,027, filed on Aug.         daily doses of mifepristone over a period of seven or more
        30, 2007.                                                     days; testing the serum levels of the patient to determine
                                                                      whether the blood levels of mifepristone are greater than 1300
        Int. Cl.                                                      ng/mL; and adjusting the daily dose of the patient to achieve
        A61K 31/56                (2006.01)                           mifepristone blood levels greater than 1300 ng/mL.
        GO1N 33/49                (2006.01)
        A61K 31/575               (2006.01)                                           7 Claims, 6 Drawing Sheets



                                                       BPRS PSS -Days 7 and 56 Response


                                                          35'0
                                  35 -

                                  30 -
                  % of patients                                                             26%
                  who have at     25
                  least 50%
                  reduction
                  from baseline   20 -1
                  in BPRS PSS
                  scores at
                  days 7 and 56   15 H

                                  10




                                                        Corlux                          Placebo
                                                       n= 443                               n= 281
                                       p‹.01
                 Case 2:19-cv-15678-SDW-CLW Document 1 Filed 07/22/19 Page 21 of 96 PageID: 21




                                                                                                  lualud'S11
Figure 1.



                                            BPRS PSS -Days 7 and 56 Response
                            40
                                                35%
                            35 -

                            30 -
            % of patients                                                26%
            who have at
            least 50%       25 -
            reduction
            from baseline   20 -I




                                                                                                 9 Jo I Oat's
            in BPRS PSS
            scores at
            days 7 and 56   15

                            10 -

                             5 -?

                             0




                                                                                                 ZH8tìI Z6`8 SR
                                              Corlux                    Placebo
                                             n=443                       n= 281
                                 p‹.01
                 Case 2:19-cv-15678-SDW-CLW Document 1 Filed 07/22/19 Page 22 of 96 PageID: 22




                                                                                                 lualud °Sil
Figure 1.

                                         BPRS PSS Days 7 and 56 Response
                        45
                                        40%
                        40 -
                        35 -
                        3O -                                 27%                   26%
       % of patients
       who have at
       least a 50%      25
       reduction




                                                                                                     9 .19 Z WIN
       from baseline    20
       in BPRS PSS
       scores at days   15 -
       7 and 56
                        10-
                         5




                                                                                                  Zll817£ `1Z6`8Sf1
                         0                                 <1357
                                    >1357                                        Placebo
                                      n=269                 n=146                 n=281

                                   P <.001
                Case 2:19-cv-15678-SDW-CLW Document 1 Filed 07/22/19 Page 23 of 96 PageID: 23




                                                                                                lualud °Sil
Figure 1

                                         BPRS PSS - Days 7 and 56 Response
                        50
                        45 -            44%
                        40 -

       % of patients                                          29%
       who have at      30
       'east a 50%
       reduction        25




                                                                                                  9JO £ PaMS
       from baseline
       Ire BPRS PSS     20
       scores at days
       7 and 56         15 -
                        10 -
                             -




                                                                                                Zll817 £`1Z6`8Sf1
                        0            >1661                 <1661                 Placebo
                                       n=166                n=249                  n=281

                                 p ‹.00001
                   Case 2:19-cv-15678-SDW-CLW Document 1 Filed 07/22/19 Page 24 of 96 PageID: 24




                                                                                                   lualud °Sil
Figure 4


                                           BPRS PSS Responses at Days 7 and 56
                            70
                            60
                            50 -                  47%
           % of patients
           who have at
           least a 50%      40
           reduction
                                                                              34%




                                                                                                       9JO17 JamiS
           from baseline
           in BPRS PSS
                            30
           scores at days
           I and 56         20
                            10




                                                                                                    Zll817 £`1Z6`8Sf1
                             0
                                            Corlux                          Placebo
                                               n=76                           n=76
                                 p= .10
               Case 2:19-cv-15678-SDW-CLW Document 1 Filed 07/22/19 Page 25 of 96 PageID: 25




                                                                                               lualud °Sil
Figure 5

                                     BPRS PSS Days 7 and 56 Response
                    70

                    60
                                     54%




                                                                                                  rtoz `of *aaa
                    50
   % of patients
   who have at
   'east a 50%      40-
   reduction
                                                                                 34%
                                                           31%




                                                                                                  9 JOS WIN
   from baseline
   in BPRS PSS
   scores at days
   7 and 56
                    2O

                    10-




                                                                                                  Zll817£`1Z6`8Sf1
                    0
                                >1357                  <1357                  Placebo
                                  n=56                   n=13                  n=76
                           p= .026
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                                                                                                lualud*S'il
Figure 6.

                                            BPRS PSS -Days 7 and 56 Response
                        70

                        60 -                58%

                        50 -
       % of patients
       who have at      40   --                             39%
       least a 50%                                                                34%
       reduction




                                                                                                    9 JO9 laatiS
       from baseline    30
       in BPRS PSS
       scores at days
       7 and 56         20




                                                                                                Zil817£`1Z6`8Sfl
                                                                                Placebo
                                                                                 n=76
                                  p= .016
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                                                     US 8,921,348 B2
                              1                                                                      2
      OPTIMIZING MIFEPRISTONE LEVELS IN                                   In a second embodiment, the present invention provides a
     PLASMA SERUM OF PATIENTS SUFFERING                                kit for treating a mental disorder amenable to treatment by
      FROM MENTAL DISORDERS TREATABLE                                  mifepristone, the kit comprising: seven daily doses of mife-
       WITH GLUCOCORTICOID RECEPTOR                                    pristone; and a plasma sampling collection device suitable for
                ANTAGONISTS                                       5    detecting mifepristone serum levels.

           CROSS-REFERENCES TO RELATED                                       BRIEF DESCRIPTION OF THE DRAWINGS
                   APPLICATIONS
                                                                          FIG. 1 shows a comparison of patients receiving Corlux vs.
    This application claims priority to U.S. Provisional Appli-   10   placebo on primary endpoint (OC) for all studies. Of the
 cation No. 60/969,027, filed Aug. 30, 2007, the disclosure of         patients receiving Corlux, 35% of the patients showed at least
 which is incorporated herein in its entirety.                         a 50% reduction from baseline in BPRS PSS scores at days 7
                                                                       and 56, versus 26% of patients receiving the placebo.
     STATEMENT AS TO RIGHTS TO INVENTIONS                                 FIG. 2 shows a comparison of patients with plasma
       MADE UNDER FEDERALLY SPONSORED                             15   levels >1357 ng/mL vs. <1357 ng/mL vs. placebo (OC) for all
         RESEARCH AND DEVELOPMENT                                      studies. Of the patients having plasma levels of greater than
                                                                       1357 ng/mL, 40% of the patients showed at least a 50%
   Not Applicable                                                      reduction from baseline in BPRS PSS scores at days 7 and 56,
                                                                       versus 27% of patients having plasma levels of less than 1357
     REFERENCE TO A "SEQUENCE LISTING," A                         20   ng/mL and 26% of patients receiving the placebo.
    TABLE, OR A COMPUTER PROGRAM LISTING                                  FIG. 3 shows a comparison of patients with plasma
    APPENDIX SUBMITTED ON A COMPACT DISK                               levels >1661 ng/ml vs. placebo (OC) for all studies. Of the
                                                                       patients having plasma levels of greater than 1661 ng/mL,
   Not Applicable                                                      44% of the patients showed at least a 50% reduction from
                                                                  25   baseline in BPRS PSS scores at days 7 and 56, versus 29% of
          BACKGROUND OF THE INVENTION                                  patients having plasma levels of less than 1661 ng/mL and
                                                                       26% of patients receiving the placebo.
    It has been surprisingly discovered that administration of            FIG. 4 shows a comparison of patients receiving Corlux vs.
 the same dose of mifepristone can produce widely varying              placebo on primary endpoint (OC) for the 1200 mg group. Of
 blood serum levels in different patients. The varied blood       30   the patients receiving the 1200 mg dose of Corlux, 47% of the
 serum levels can result in some patients not receiving an             patients showed at least a 50% reduction from baseline in
 efficacious dose of mifepristone. For the same dose of mife-          BPRS PSS scores at days 7 and 56, versus 34% of patients
 pristone, the blood serum levels can differ by as much as             receiving the placebo.
 800% from one patient to another. Thus, a method for ensur-              FIG. 5 shows a comparison of patients with plasma
 ing that the blood serum levels of mifepristone remain in an     35   levels >1357 ng/ml vs. placebo (OC) for the 1200 mg group.
 efficacious and safe range is needed.                                 Of the patients in the 1200 mg group having plasma levels of
                                                                       greater than 1357 ng/mL, 54% of the patients showed at least
         BRIEF SUMMARY OF THE INVENTION                                a 50% reduction from baseline in BPRS PSS scores at days 7
                                                                       and 56, versus 31% of patients having plasma levels of less
    In one embodiment, the present invention provides a 40             than 1357 ng/mL and 34% of patients receiving the placebo.
 method for optimizing levels of mifepristone in a patient                FIG. 6 shows a comparison of patients with plasma
 suffering from a mental disorder amenable to treatment by             levels >1661 ng/ml vs. placebo (OC) for the 1200 mg group.
 mifepristone, the method comprising: treating the patient             Of the patients in the 1200 mg group having plasma levels of
 with seven or more daily doses of mifepristone over a period          greater than 1661 ng/mL, 58% of the patients showed at least
 of seven or more days; testing the serum levels of the patient 45     a 50% reduction from baseline in BPRS PSS scores at days 7
 to determine whether the blood levels of mifepristone are             and 56, versus 39% of patients having plasma levels of less
 greater than 1300 ng/mL; and adjusting the daily dose of the          than 1661 ng/mL and 34% of patients receiving the placebo.
 patient to achieve mifepristone blood levels greater than 1300
 ng/mL.                                                                   DETAILED DESCRIPTION OF THE INVENTION
    In some embodiments, the mental disorder is a member so
 selected from the group consisting of a stress disorder,              I. Introduction
 delirium, mild cognitive impairment (MCI), dementia, psy-                Administration of the same dose of mifepristone can pro-
 chosis and psychotic major depression. In other embodi-               duce widely varying mifepristone blood serum levels in dif-
 ments, the stress disorder is a member selected from the group        ferent patients. For the same dose, the blood serum levels can
 consisting of Acute Stress Disorder, Post-Traumatic Stress 55         differ by as much as 800% from one patient to another. For
 Disorder and Brief Psychotic Disorder with Marked                     those patients with lower blood serum levels, the effective-
 Stressor(s).                                                          ness of mifepristone treatment can suffer significantly. The
    In another embodiment, each of the seven or more daily             present invention provides a method for optimizing the blood
 doses of mifepristone are administered orally. In other               serum levels of mifepristone so that the blood serum levels
 embodiments, the patient is treated with 28 or more daily 60          remain in an efficacious range and the patient receives the
 doses over a period of 28 or more days.                               necessary treatment.
    In a further embodiment, the testing is performed by a                The method of the present invention optimizes blood
 plasma sampling collection device suitable for detecting              serum levels of mifepristone in a patient suffering from a
 mifepristone serum levels.                                            mental disorder amenable to treatment by mifepristone by
    In other embodiments, the adjusting step comprises 65              first treating the patient with mifepristone. The treatment can
 increasing the daily dose of the patient to achieve mifepris-         be for any appropriate period of time, such as seven or more
 tone blood levels greater than 1300 ng/mL.                            daily doses over a period of seven or more days. Following
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 treatment for an appropriate period of time, the serum levels       impairment is preferably measured using tests such as a
 of the patient are tested to determine whether the blood levels     "paragraph test". A patient diagnosed with MCI often exhib-
 of mifepristone are greater than 1300 ng/mL. The daily dose         its impaired delayed recall performance. MCI is typically
 of the patient is then adjusted in order to achieve mifepristone    associated with aging and generally occurs in patients who
 blood levels of greater than 1300 ng/mL.                         5 are 45 years of age or older.
 II. Definitions                                                        The term "mifepristone" refers to a family of compositions
    The term "amenable to treatment by mifepristone" refers to       also referred to as RU486, or RU38.486, or 17-beta-hydroxy-
 a condition that is known to be treated by glucocorticoid           11 -beta- (4 -dimethyl-aminopheny1)-17 -alpha- (1 -propyny1)-
 antagonists such as mifepristone. Conditions such as mental         estra-4,9-dien-3 -one), or 11-beta-(4-dimethylaminophenyl)-
 disorders (discussed below) are amenable to treatment by 10 17-beta-hydroxy-17 -alpha-(1 -propyny1)-estra-4,9-dien-3 -
 mifepristone.                                                       one), or analogs thereof, which bind to the glucocorticoid
    The term "mental disorder" refers to disorders of the mind       receptor (GR), typically with high affinity, and inhibit the
 that can be treated with a glucocorticoid antagonist such as        biological effects initiated/mediated by the binding of any
 mifepristone. Mental disorders amenable to treatment by the         cortisol or cortisol analogue to a GR receptor (as discussed
 methods of the present invention include, but are not limited 15 within). Salts, hydrates and prodrugs of mifepristone are all
 to, a stress disorder, delirium, mild cognitive impairment          within the scope of the present invention.
 (MCI), dementia, psychosis and psychotic major depression.             The term "Post-Traumatic Stress Disorder" refers to a psy-
    The term "stress disorder" refers to a psychiatric condition     chiatric condition in its broadest sense, as defined in DSM-
 precipitated by exposure to a traumatic or stressful event.         IV-TR. The DSM-IV-TR defines "Post-Traumatic Stress Dis-
 Stress disorders include Acute Stress Disorder, Post-Trau- 20 order" as characterized by persistent re-experiencing of an
 matic Stress Disorder, and Brief Psychotic Disorder with            extreme traumatic event. The DSM-IV-TR sets forth a gen-
 Marked Stressor(s).                                                 erally accepted standard for diagnosing and categorizing
    The term "Acute Stress Disorder" refers to a psychiatric         Post-Traumatic Stress Disorder.
 condition in its broadest sense, as defined in American Psy-           The term "psychotic" as used herein refers to a psychiatric
 chiatric Association: Diagnostic and Statistical Manual of 25 condition in its broadest sense, as defined in the DSM-IV
 Mental Disorders, Fourth Edition, Text Revision, Washing-           (Kaplan, ed. (1995) supra) and described below. The term
 ton, D.C., 2000 ("DSM-IV-TR"). The DSM-IV-TR defines                "psychotic" has historically received a number of different
 "Acute Stress Disorder" as characterized by anxiety, disso-         definitions, ranging from narrow to broadly described. A
 ciative, and other symptoms occurring within 1 month after          psychotic condition can include delusions or prominent hal-
 exposure to an extreme traumatic stressor. The DSM-IV-TR 30 lucinations, including prominent hallucinations that the indi-
 sets forth a generally accepted standard for diagnosing and         vidual realizes are hallucinatory experiences, and those with
 categorizing Acute Stress Disorder.                                 hallucinations occurring in the absence of insight into their
    The term "Brief Psychotic Disorder with Marked                   pathological nature. Finally, the term includes a psychotic
 Stressor(s)" refers to a psychiatric condition in its broadest      condition characterized by a loss of ego boundaries or a gross
 sense, as defined in DSM-IV-TR. The DSM-IV-TR defines 35 impairment in reality testing. Unlike this definition, which is
 "Brief Psychotic Disorder with Marked Stressor(s)" as a sud-        broad and based primarily on symptoms, characterization of
 den but brief onset of psychotic symptoms developing shortly        psychosis in earlier classifications (e.g., DSM-II and ICD-9)
 after and apparently in response to one or more stressful           were more inclusive and focused on the severity of functional
 events. The DSM-IV-TR sets forth a generally accepted stan-         impairment (so that a mental disorder was termed "psy-
 dard for diagnosing and categorizing Brief Psychotic Disor- 40 chotic" if it resulted in "impairment" that grossly interferes
 der with Marked Stressor(s).                                        with the capacity to meet ordinary demands of life). Different
    The term "delirium" refers to a psychiatric condition in its     disorders which have a psychotic component comprise dif-
 broadest sense, as defined in American Psychiatric Associa-         ferent aspects of this definition of "psychotic." For example,
 tion: Diagnostic and Statistical Manual of Mental Disorders,        in schizophreniform disorder, schizoaffective disorder and
 Fourth Edition, Text Revision, Washington, D.C., 2000 45 brief psychotic disorder, the term "psychotic" refers to delu-
 ("DSM-IV-TR"). The DSM-IV-TR defines "delirium" as a                sions, any prominent hallucinations, disorganized speech, or
 disturbance of consciousness, developing over a short period        disorganized or catatonic behavior. In psychotic disorder due
 of time, accompanied by a change in cognition that cannot be        to a general medical condition and in substance-induced psy-
 better accounted for by a preexisting or evolving dementia.         chotic disorder, "psychotic" refers to delusions or only those
 The DSM-IV-TR sets forth a generally accepted standard for so hallucinations that are not accompanied by insight. Finally, in
 diagnosing and categorizing delirium.                               delusional disorder and shared psychotic disorder, "psy-
    The term "dementia" refers to a psychiatric condition in its     chotic" is equivalent to "delusional" (see DSM-IV, supra,
 broadest sense, as defined in American Psychiatric Associa-         page 273).
 tion: Diagnostic and Statistical Manual of Mental Disorders,           Objective tests can be also be used to determine whether an
 Fourth Edition, Washington, D.C., 1994 ("DSM-IV"). The 55 individual is psychotic and to measure and assess the success
 DSM-IV defines "dementia" as characterized by multiple              of a particular treatment schedule or regimen. For example,
 cognitive deficits that include impairments in memory and           measuring changes in cognitive ability aids in the diagnosis
 lists various dementias according to presumed etiology. The         and treatment assessment of the psychotic patient. Any test
 DSM-IV sets forth a generally accepted standard for such            known in the art can be used, such as the so-called "Wallach
 diagnosing, categorizing and treating of dementia and asso- 60 Test," which assesses recognition memory (see below,
 ciated psychiatric disorders.                                       Wallach (1980) J. Gerontol. 35:371-375). Another example
    The term "mild cognitive impairment (MCI)" refers to a           of an objective text which can be used to determine whether
 category of memory and cognitive impairment that is typi-           an individual is psychotic and to measure efficacy of an anti-
 cally characterized by a clinical dementia rating (CDR) of 0.5      psychotic treatment is the Stroop Color and Word Test
 (see, e.g., Hughes et al., Brit. I. Psychiat. 140:566-572, 1982) 65 ("Stroop Test") (see Golden, C. J., Cat. No. 30150M, In A
 and further characterized by memory impairment, but not             Manual for Clinical and Experimental Uses, Stoelting, Wood
 impaired function in other cognitive domains. Memory                Dale, Ill.) The Stroop Test is an objective neuropsychiatric
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 test that can differentiate between individuals with psychosis      results of a physical examination, neuropsychiatric exams,
 and those without, and is described in detail below.                and/or a psychiatric evaluation.
    The term "psychosis" refers to a psychiatric symptom,               The term "testing" refers to determining the mifepristone
 condition or syndrome in its broadest sense, as defined in the      blood levels in a patient. The testing can be performed by any
 DSM-IV (Kaplan, ed. (1995) supra), comprising a "psy- 5 suitable instrument, such as a plasma sampling collection
 chotic" component, as broadly defined above. The term psy-          device capable of detecting mifepristone serum levels.
 chosis can refer to a symptom associated with a general             III. Method for Optimizing Mifepristone Levels
 medical condition, a disease state or other condition, such as         Administration of the same dose of mifepristone to differ-
 a side effect of drug abuse (a substance-induced disorder) or       ent patients can produce widely varying blood serum levels,
 as a side effect of a medication. Alternatively, the term psy- io varying by up to 800% from one patient to another, resulting
 chosis can refer to a condition or syndrome not associated          in decreased efficacy. The present invention provides a
 with any disease state, medical condition, drug intake or the       method for optimizing the blood serum levels of mifepristone
 like.                                                               so that the blood serum levels remain in an efficacious range
    Psychosis is typically defined as a mental disorder or con-      and the patient receives the necessary treatment.
 dition causing gross distortion or disorganization of a per- 15        A. Patients in Need
 son's mental capacity, affective response, and capacity to             Patients amenable to treatment with mifepristone accord-
 recognize reality, communicate, and relate to others to the         ing to the method of the present invention suffer from any
 degree of interfering with his capacity to cope with the ordi-      mental disorder. Exemplary mental disorders include, but are
 nary demands of everyday life.                                      not limited to, a stress disorder, delirium, mild cognitive
    The term "psychotic major depression," also referred to as 20 impairment (MCI), dementia, psychosis and psychotic major
 "psychotic depression" (Schatzberg (1992) Am. J. Psychiatry         depression.
 149:733-745), "psychotic (delusional) depression" (Ibid.),             Stress disorders treatable by the methods of the present
 "delusional depression" (Glassman (1981) supra) and,                invention include, but are not limited to, Acute Stress Disor-
 "major depression with psychotic features" (see the DSM-            der (ASD), Post-Traumatic Stress Disorder and Brief Psy-
 III-R), refers to a distinct psychiatric disorder which includes 25 chotic Disorder with Marked Stressor(s).
 both depressive and psychotic features. Individuals manifest-          Acute Stress Disorder (ASD) is characterized by a constel-
 ing both depression and psychosis, i.e. psychotic depression,       lation of symptoms, lasting at least two days, that appear and
 are herein referred to as "psychotic depressives." It has been      resolve within one month of exposure to an extreme traumatic
 long-recognized in the art as a distinct syndrome, as               stressor. If symptoms appear or persist beyond one month
 described, for example, by Schatzberg (1992) supra. Illustra- 30 after exposure to the traumatic stressor, the patient may be
 tive of this distinctness are studies which have found signifi-     considered to suffer from Post-Traumatic Stress Disorder
 cant differences between patients with psychotic and nonpsy-        rather than ASD. ASD is a common precursor to Post-Trau-
 chotic depression in glucocorticoid activity, dopamine-beta-        matic Stress Disorder, and up to 80% of trauma survivors
 hydroxylase activity, levels of dopamine and serotonin              initially suffering from ASD will meet the diagnostic criteria
 metabolites, sleep measures and ventricle to brain ratios. 35 for Post-Traumatic Stress Disorder six months later (see
 Psychotic depressives respond very differently to treatment         Brewin et al., Am J Psychiatry 156:360-6, 1999).
 compared to individuals with other forms of depression, such           Patients develop ASD following exposure to an extreme
 as "non-psychotic major depression." Psychotic depressives          traumatic stressor (DSM-IV-TR Criterion A). A person must
 have a low placebo response rate and respond poorly to anti-        respond to the stressor with intense fear, helplessness, or
 depressant therapy alone (without concurrent anti-psychotic 40 horror to be diagnosed with ASD. ASD may develop from
 treatment). Psychotic depressives are markedly unresponsive         direct experience of traumatic events, including violent
 to tricyclic (anti-depressive) drug therapy (Glassman, et al.       crimes, physical trauma, combat, diagnosis with a life-threat-
 (1975) supra). While psychotic depressives can respond to           ening illness, and natural or manmade disasters. Patients may
 electroconvulsive therapy (ECT), their response time is rela-       also develop ASD from witnessing or learning about trau-
 tively slow and the ECT has a high level of related morbidity. 45 matic events that happen to others, especially family mem-
 Clinical manifestations and diagnostic parameters of "psy-          bers or close friends. Unexpected exposure to death, dead
 chotic major depression" is described in detail in the DSM-IV       bodies, or body parts may also induce ASD.
 (Kaplan, ed. (1995) supra). Thus, due to its unique patho-             A diagnosis of ASD requires that the person meet several
 physiology, high rate of morbidity and response to treatment,       other symptomatic criteria. The person must experience three
 there is great practical need to differentially diagnose and 50 or more dissociative symptoms in connection with the trau-
 specifically treat psychotic major depression as compared to        matic stressor (Criterion B). Dissociative symptoms include a
 non-psychotic depression.                                           subjective sense of numbing or detachment, a reduction in
    The term "optimizing" refers to the process of testing mife-     awareness of surroundings, derealization, depersonalization,
 pri stone blood levels and adjusting the dosage of mifepristone     and dissociative amnesia. Furthermore, ASD requires that the
 administered to the patient in need in order to achieve mife- 55 victim persistently re-experience the traumatic event, though
 pristone blood levels above 1300 ng/mL.                             recurrent images, thoughts, dreams, illusions, flashbacks,
    The terms "treat", "treating" and "treatment" collectively       sense of reliving the event, or distress upon exposure to
 refer to any indicia of success in the treatment or amelioration    reminders of the event (Criterion C). The person must display
 of an injury, pathology or condition, including any objective       marked avoidance of stimuli that arouse recollection of the
 or subjective parameter such as abatement; remission; dimin- 60 trauma (Criterion D) and marked symptoms of anxiety or
 ishing of symptoms or making the injury, pathology or con-          increased arousal (Criterion E). Finally, in addition to the time
 dition more tolerable to the patient; slowing in the rate of        requirements described above, a diagnosis of ASD requires
 degeneration or decline; making the final point of degenera-        that the disturbance cause significant distress; or life impair-
 tion less debilitating; improving a patient's physical or men-      ment, and not be due to another psychiatric or physiological
 tal well-being; or, in some situations, preventing the onset of 65 condition (Criteria F-H).
 dementia. The treatment or amelioration of symptoms can be             Like Acute Stress Disorder, Post-Traumatic Stress Disor-
 based on objective or subjective parameters; including the          der (PTSD) emerges following exposure to an extreme trau-
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 matic stressor, and is characterized by persistent reexperienc-       patient does not demonstrate impairment in functioning in the
 ing of the traumatic event, avoidance of stimuli associated           community or at home. A patient with MCI scores normally
 with the trauma, and anxiety or increased arousal. The types          on standard tests of dementia.
 of traumatic stressors giving rise to PTSD, and the manifes-             There are various means to diagnose the onset of MCI and
 tations of PTSD symptoms, are identical to those described         5 to assess the efficacy of treatment using the methods of the

 above for ASD, but for three differences. First, the dissocia-        invention. These include the administration of psychiatric
 tive symptoms required for a diagnosis of ASD are not                 tests to determine the CDR, the administration of memory
 required for a diagnosis of PTSD, although dissociative               tests, and the administration of psychiatric tests for dementia,
 symptoms may commonly be seen in PTSD patients. Sec-                  which are used to exclude a diagnosis of dementia. The results
                                                                   10 of these test may be considered in conjunction with other
 ondly, PTSD need not arise within one month of exposure to
                                                                       objective physical tests as described below. These means are
 the traumatic stressor, and may emerge months or years after
                                                                       also useful for assessing the efficacy of the methods of the
 the traumatic event. Thirdly, in contrast to the one month
                                                                       invention in improving memory or decreasing or diminishing
 maximum duration of symptoms required for a diagnosis of              further impairment in memory or cognitive decline in a
 ASD, symptoms must persist for at least one month in order        15 patient with MCI. Subjective and objective criteria can be
 for a diagnosis of PTSD to be made.                                   used to measure and assess the success of a particular GR
    A Brief Psychotic Disorder is a short-term (between one            antagonist, pharmaceutical formulation, dosage, treatment
 day and one month) disturbance involving the sudden onset of          schedule or regimen. The features (symptoms) of and criteria
 at least one psychotic symptom, such as delusions, halluci-           for diagnosing MCI are described, e.g., in Petersen et al.,
 nations, disorganized speech, or grossly disorganized or cata-    20 Arch. Neurol. 56:303-308, 1999.
 tonic behavior. Brief Psychotic Disorders exclude those                  The dementia treated in the methods of the invention
 induced by a general medical condition. If psychotic symp-            encompasses a broad range of mental conditions and symp-
 toms develop shortly after, and apparently in response to, one        toms, as broadly described in the DSM-IV. While the practi-
 or more severely stressful events, the disturbance is diag-           tioner can use any set of prescribed or empirical criteria to
 nosed as Brief Psychotic Disorder with Marked Stressor(s)         25 diagnose the presence of dementia as an indication to practice
 (formerly labeled "brief reactive psychosis" in DSM-III-R).           the methods of the invention, some illustrative diagnostic
 Brief Psychotic Disorder with Marked Stressor(s) is treatable         guidelines and examples of relevant symptoms and condi-
 by the glucocorticoid receptor antagonists of the present             tions are described below.
 invention.                                                               The DSM-IV states that dementias typically associated
                                                                   30 with Alzheimer's disease (dementia of the Alzheimer's type),
    Delirium is characterized by disturbances of consciousness
                                                                       "vascular dementia" (also known as multi-infarct dementia),
 and changes in cognition that develop over a relatively short
                                                                       or "dementia due to general medical conditions," e.g., human
 period of time. The disturbance in consciousness is often
                                                                       immunodeficiency virus (HIV-1) disease, head trauma, Par-
 manifested by a reduced clarity of awareness of the environ-
                                                                       kinson's disease, or Huntington's disease (further discussed,
 ment. The patient displays reduced ability to focus, sustain or   35 below). Dementias can also be "substance-induced persisting
 shift attention (DSM-IV-TR diagnostic Criterion A). Accom-            dementia," i.e., due to a drug of abuse, a medication, or toxin
 panying the disturbance in consciousness, delirium patients           exposure, "dementia due to multiple etiologies," or a "demen-
 display a disturbance in cognition (e.g., memory impairment,          tia not otherwise specified" if the etiology is indeterminate.
 disorientation, language difficulties) or perceptual distur-             Psychosis can be manifested as a mental illness in the form
 bances (e.g., misinterpretations, illusions, or hallucinations)   40 of a syndrome or as an element of a variety of disease pro-
 (Criterion B). To be considered delirium, these disturbances          cesses. There are various means to diagnose these various
 in consciousness, cognition, or perception should develop             forms of psychosis and assess the success of treatment. These
 over a short period of time and tend to fluctuate during the          means include classical psychological evaluations in addition
 course of the day (Criterion C).                                      to the various laboratory procedures described above. Such
    Delirium may arise from a number of general medical            45 means are well-described in the scientific and patent litera-
 conditions, including central nervous system disorders (e.g.,         ture, and some illustrative examples are provided below.
 trauma, stroke, encephalopathies), metabolic disorders (e.g.,            The psychosis ameliorated in the methods of the invention
 renal or hepatic insufficiency, fluid or electrolyte imbal-           encompasses a broad range of mental conditions and symp-
 ances), cardiopulmonary disorders (e.g., congestive heart             toms, as broadly described in the DSM-IV (Kaplan, ed.
 failure, myocardial infarction, shock), and systemic illnesses    so (1995) supra). Psychosis can refer to a symptom associated
 or effects (e.g., infections, sensory deprivation, and postop-        with a general medical condition, a disease state or other
 erative states). Glucocorticoid receptor antagonists are also         condition, such as a side effect of drug abuse (a substance-
 effective to treat Substance-Induced Delirium (e.g., delirium         induced disorder) or as a side effect of a medication. While
 induced by substance intoxication or withdrawal, medication           the practitioner can use any set of proscribed or empirical
 side effects, and toxin exposure). Delirium may arise from        55 criteria to diagnose the presence of a psychosis as an indica-
 multiple simultaneous etiologies (e.g., a combination of a            tion to practice the methods of the invention, some illustrative
 general medical condition and substance intoxication) and             diagnostic guidelines and examples of relevant symptoms
 such delirium, as well as delirium of unknown or unclassified         and conditions are described below.
 origin, may be treated with the glucocorticoid receptor                  Psychiatric conditions, such as psychosis, can be further
 antagonists of the present invention.                             60 diagnosed and evaluated using any of the many tests or crite-
    Mild cognitive impairment (MCI) is characterized as a              ria well-known and accepted in the fields of psychology or
 mild impairment of cognition categorized as a CDR of 0.5              psychiatry.
 that is associated with deficits in a memory task test, such as          The features (symptoms) of and criteria for diagnosing
 a paragraph test. An MCI patient is fully oriented, but dem-          psychotic disorders, such as psychotic major depression, are
 onstrates mild consistent forgetfulness. Impairment in cogni-     65 further described DSM-IV, supra. While the practitioner can
 tive domains other than memory, such as problem solving and           use any criteria or means to evaluate whether an individual is
 judgment is doubtful, if present at all, and, further, the MCI        psychotic to practice the methods of the invention, the DSM-
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 IV sets forth a generally accepted standard for such diagnos-         stearic acid, and other excipients, colorants, fillers, binders,
 ing, categorizing and treating of p sychiatric disorders, includ-     diluents, buffering agents, moistening agents, preservatives,
 ing psychosis. Several illustrative examples of such criteria         flavoring agents, dyes, disintegrating agents, and pharmaceu-
 utilized in the methods of the invention are set forth below.         tically compatible carriers. Lozenge forms can comprise the
    Psychosis is typically characterized as a mental disorder or 5 active ingredient in a flavor, e.g., sucrose, as well as pastilles
 condition causing gross distortion or disorganization of a            comprising the active ingredient in an inert base, such as
 person's mental capacity, affective response, and capacity to         gelatin and glycerin or sucrose and acacia emulsions, gels,
 recognize reality, communicate, and relate to others to the           and the like containing, in addition to the active ingredient,
 degree of interfering with his capacity to cope with the ordi-        carriers known in the art.
 nary demands of everyday life. In a condition or illness 10              The pharmaceutical preparation is preferably in unit dos-
 involving psychosis, delusions or hallucinations can be               age form. In such form the preparation is subdivided into unit
 present. The content of the delusions or hallucinations have          doses containing appropriate quantities of the active compo-
 many depressive themes. In psychotic major depression there           nent. The unit dosage form can be a packaged preparation, the
 can be "mood-congruent" psychotic features, including, for            package containing discrete quantities of preparation, such as
 example, delusions of guilt, delusions one deserves punish- 15 packeted tablets, capsules, and powders in vials or ampoules.
 ment (e.g. because of a personal inadequacy or moral trans-           Also, the unit dosage form can be a capsule, tablet, cachet, or
 gression), nihilistic delusions (e.g. of world or personal            lozenge itself, or it can be the appropriate number of any of
 destruction), somatic delusions (e.g. having cancer), or delu-        these in packaged form. The composition can, if desired, also
 sions of poverty. Hallucinations, when present in psychotic           contain other compatible therapeutic agents. Preferred phar-
 major depression are usually transient and not elaborate and 2o maceutical preparations can deliver the compounds of the
 may involve voices that berate the patient for shortcomings or        invention in a sustained release formulation.
 sins. More rarely, the content of the delusions or hallucina-            C. Administration of Mifepristone
 tions has no apparent relationship to depressive themes. In              The formulations of the present invention provide serum
 this situation these "mood-incongruent" psychotic features            levels of mifepristone of at least 1300 ng/mL. The mifepris-
 include, for example, grandiose delusions.                        25 tone utilized in the pharmaceutical method of the invention is
    Psychosis can also include bipolar I disorder with psy-            administered at the initial dosage of about 0.001 mg/kg to
 chotic features, brief psychotic disorder, delusional disorder,       about 1000 mg/kg daily. A daily dose range of about 0.01
 shared psychotic disorder, substance induced psychotic dis-           mg/kg to about 500 mg/kg, or about 0.1 mg/kg to about 200
 order and psychotic disorder not otherwise specified.                 mg/kg, or about 1 mg/kg to about 100 mg/kg, or about 10
    B. Formulations of Mifepristone                                30 mg/kg to about 50 mg/kg, can be used. The dosages, however,
    Formulations of the present invention include mifepristone         may be varied depending upon the requirements of the patient
 in combination with pharmaceutical excipients. Mifepristone           and the condition being treated. The dose administered to a
 is commercially available from a variety of sources such as           patient, in the context of the present invention, should be
 Eurolabs Ltd. (London, England). Mifepristone can also be             sufficient to effect a beneficial therapeutic response in the
 synthesized by one of skill in the art using known synthetic 35 patient over time. The size of the dose also will be determined
 procedures.                                                           by the existence, nature, and extent of any adverse side-
    The term "mifepristone" refers to a family of compositions         effects that accompany the administration of a particular
 also referred to as RU486, or RU38.486, or 17-beta-hydroxy-           compound in a particular patient. Determination of the proper
 11 -beta- (4 -dimethyl-aminopheny1)-17 -alpha- (1 -propyny1)-         dosage for a particular situation is within the skill of the
 estra-4,9-dien-3 -one), or 11-beta-(4-dimethylaminopheny1)- 40 practitioner.
 17 -beta-hydroxy-17 -alpha-(1 -propyny1)-estra-4,9-dien-3 -              Generally, treatment is initiated with six daily doses, with
 one), or analogs thereof, which bind to the GR, typically with        the blood levels tested on the day of the seventh daily dose in
 high affinity, and inhibit the biological effects initiated/me-       order to determine whether the dose used is providing a
 diated by the binding of any cortisol or cortisol analogue to a       mifepristone blood level of at least 1300 ng/mL. The testing is
 GR receptor. Chemical names for RU-486 vary; for example, 45 also performed to ensure the blood levels are below those
 RU486 has also been termed: 11B-[p-(Dimethylamino)phe-                afforded by an LD50 dose of about 1000 mg/kg. If the mife-
 nyl] -17B -hydroxy-17 -(1 -propyny1)-estra-4,9-dien-3 -one;           pristone blood level is lower than 1300 ng/mL. Additional
 11B- (4 -dimethyl-aminopheny1)-17B -hydroxy-17A-(prop -               testing of mifepristone blood levels can be necessary in order
 1 -yny1)-estra-4,9-dien-3 -one ;    17B -hydroxy-11B -(4-dim-         to confirm a mifepristone blood level of at least 1300 ng/mL
 ethylaminophenyl-1)-17A -(propyny1-1)-estra-4,9-diene-3- so or to adjust the mifepristone daily dose higher. For conve-
 one; 17B -hydroxy-11B - (4 -dimethylaminophenyl-1)-17A -              nience, the total daily dosage may be divided and adminis-
 (propynyl -1)-E ; (11B,17B)-11-[4-dimethylamino)-phenyl] -            tered in portions during the day, if desired. In addition, the
 17 -hydroxy-17- (1 -propynyl)estra-4,9-dien-3 -one ; and 11B -        interval from initiation of treatment and testing for mifepris-
 [4- (N,N-dimethylamino) phenyl] -17A-(prop -1 -yny1)-D-4,9-           tone blood levels can be as short as 1 daily dose, or up to 28
 estradiene-17B -o1-3-one. Salts, hydrates and prodrug forms 55 daily doses and longer.
 of mifepristone are also useful in the formulations of the               Mifepristone can be administered for any period of time,
 present invention.                                                    such as 7 daily doses over a period of seven days. Mifepris-
    Formulations suitable for oral administration can consist of       tone can also be administered using more daily doses over a
 (a) liquid solutions, such as an effective amount of mifepris-        longer period of time, such as via 28 daily doses over a period
 tone suspended in diluents, such as water, saline or PEG 400; 60 of 28 days. Longer times for administration of mifepristone
 (b) capsules, sachets or tablets, each containing a predeter-         are also within the scope of the present invention.
 mined amount of the active ingredient, as liquids, solids,               D. Assay for Testing Mifepristone Levels
 granules or gelatin; (c) suspensions in an appropriate liquid;           Mifepristone levels can be determined by any method
 and (d) suitable emulsions. Tablet forms can include one or           known in the art. Methods for detecting mifepristone levels
 more of lactose, sucrose, mannitol, sorbitol, calcium phos- 65 include, but are not limited to, radio-immuno assay and mass
 phates, corn starch, potato starch, microcrystalline cellulose,       spectrometry (MALDI, SELDI, LS/MS, LS/MS/MS, among
 gelatin, colloidal silicon dioxide, talc, magnesium stearate,         others). Liquid chromatography mass spectrometry (LC/MS
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 or LC-MS) separates compounds chromatographically                        The reverse-phase HPLC column can be a phenyl column
 before they are introduced to the ion source and mass spec-           maintained at 50° C. Mifepristone elutes at 4.2 minutes. Fol-
 trometer. It differs from GC/MS in that the mobile phase is           lowing elution, the mobile phase can be nebulized using
 liquid, usually a combination of water and organic solvents,          heated nitrogen in a Z-spray source/interface and the ionized
 instead of gas. Most commonly, an electrospray ionization 5 compounds detected using a tandem quadrupole mass spec-
 source is used in LC/MS.                                              trometer. Mifepristone (molecular weight of 430 g/mol) can
    Tandem mass spectrometry (MS/MS) involves multiple                 be detected at m/z 372.30. The internal standard mifepris-
 steps of mass selection or analysis, usually separated by some        tone-d4 can be detected at m/z 376.30. The ratio of the mife-
 form of fragmentation. A tandem mass spectrometer is one              pristone peak height to the peak height for the internal stan-
 capable of multiple rounds of mass spectrometry. For 1o dard can then be calculated.
 example, one mass analyzer can isolate one peptide from                  The plasma concentration of mifepristone is then calcu-
 many entering a mass spectrometer. A second mass analyzer             lated by comparing the experimental ratio to a standard curve
 then stabilizes the peptide ions while they collide with a gas,       of mifepristone:mifepristone-d4 peak height ratio v. mifepris-
 causing them to fragment by collision-induced dissociation            tone concentration. The standard curve is generated by first
 (CID). A third mass analyzer then catalogs the fragments 15 measuring the mifepristone:mifepristone-d4 peak height
 produced from the peptides. Tandem MS can also be done in             ratios for mifepristone samples at 10, 20, 50, 100, 200, 500,
 a single mass analyzer over time as in a quadrupole ion trap.         1000 and 2000 ng/mL where the mifepristone-d4 internal
 There are various methods for fragmenting molecules for               standard has a concentration of 2000 ng/mL. The mifepris-
 tandem MS, including collision-induced dissociation (CID),            tone:mifepristone-d4 peak height ratios of these known solu-
 electron capture dissociation (ECD), electron transfer disso- 2o tions are then fit to a power equation (Mass Lynx by Micro-
 ciation (ETD), infrared multiphoton dissociation (IRMPD)              mass, Beverly, Mass.), against which future samples with
 and blackbody infrared radiative dissociation (BIRD). One of          unknown concentrations of mifepristone are compared.
 skill in the art will appreciate that other assays for testing           The plasma levels of mifepristone derivatives such as
 mifepristone levels are known to one of skill in the art.             RU42633, RU42698 and RU42848, among others, can also
    In some embodiments, the assay can be performed as fol- 2 5 be determined using the assay described above.
 lows. Blood is collected from a patient in a vacutainer con-             E. Kits for Treating Mental Disorders with Mifepristone
 taining sodium heparin. The blood is centrifuged and the                 The present invention provides kits. The kits of the present
 resulting plasma frozen at an appropriate temperature until           invention comprise seven daily doses and a plasma sampling
 assay. In some embodiments, the temperature is about —70°             collection device. The kits of the present invention can also
 C. In other embodiments, other blood components can be 3o comprise any other component necessary for a kit, such as a
 collected and stored. Prior to analysis, the plasma is thawed         container.
 and a fraction of the plasma is mixed with an internal standard          Patient plasma can be collected by any known plasma
 in a solvent such as acetonitrile, to obtain a fixed concentra-       collection device. Some plasma collection devices useful in
 tion of the standard. In some embodiments, the internal stan-         the present invention include, but are not limited to, vacutain-
 dard can be mifepristone-d4. The concentration of the internal 3 5 ers. The plasma collection devices of the present invention
 standard is selected in order to be greater than the expected         can optionally comprise additives in the device, such as anti-
 concentration of mifepristone in the plasma. For example, the         coagulants (EDTA, sodium citrate, heparin, oxalate), a gel
 internal standard can have a concentration of 2000 ng/mL.             with intermediate density between blood cells and blood
 One of skill in the art will appreciate that other internal           plasma, particles causing the blood to clot, a gel to separate
 standards, and other concentrations, are useful in the present 4o blood cells from serum, thrombin and fluoride, among others.
 invention.                                                               The kits can also contain additional vessels used for further
    Base is then added to the sample solution. The base can be         analysis of the plasma. For example, when the plasma is
 any amine or ammonium base, such as ammonium hydrox-                  centrifuged, the centrifuged plasma can be transferred to a
 ide. One of skill in the art will appreciate that other bases are     vessel, such as a cryostat tube. One of skill in the art will
 useful in the present invention.                                  45 appreciate that other vessels and containers are useful in the
    Solvent is then added to the solution and the mifepristone         present invention.
 (along with the internal standard) are extracted from the
 plasma. Solvents useful for the extraction of mifepristone                                    IV. EXAMPLES
 include, but are not limited to, hexanes, pentanes, ethers (such
 as diethylether, tetrahydrofuran and methyl-t-butyl ether 50                                     Example 1
 (MTBE)), ethyl acetate, chloroform and methylene chloride.
 One of skill in the art will appreciate that other solvents are                Determination of Mifepristone Plasma Level
 useful in the present invention.
    Following separation and concentration of the organic                 This example provides a procedure for determining the
 layer, the sample is reconstituted in a solvent mixture com- 55 plasma level of mifepristone in a patient.
 prising water, acetonitrile and formic acid. The ratio of the            Three (3) mL of blood was collected from a patient in a
 solvent components can vary. In some embodiments, the sol-            vacutainer containing sodium heparin. The blood was centri-
 vent mixture is water: acetonitrile: formic acid (75:25:0.1, v/v/     fuged and the resulting plasma frozen at —70 to —80° C. until
 v). One of skill in the art will appreciate that other solvent        assay. For analysis, the plasma samples were warmed and
 mixtures are useful in the present invention.                     60 prepared as follows:
    The sample can then be analyzed by reverse-phase high                 1. Using a pipette, 50.0 [IL of the sample was aliquoted into
 pressure liquid chromatography (HPLC). In some embodi-                      a 16x100-mm glass test tube. When a partial volume
 ments, the reverse-phase HPLC is performed using a water:                   aliquot was needed, the aliquot was added to the tube and
 acetonitrile:formic acid (60:40:0.1) mobile phase (isocratic)               diluted to full volume with blank human plasma.
 at a flow rate of 0.3 mL/min. One of skill in the art will 65            2. 20.0 [IL of the internal standard, mifepristone-d4 (5.00
 appreciate that other mobile phases and flow rates are useful               1,1g/mL in acetonitrile), was added to the tube, resulting
 in the present invention.                                                   in 2000.0 ng/mL mifepristone-d4 in plasma.
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    3. The tube was vortexed for approximately 1 minute.                The number of patients was less than 440. Patients eligible
    4. 50.0 [IL of 6% ammonium hydroxide was added to the            for randomization were male or nonpregnant female outpa-
       tube.                                                         tients, and inpatients, if clinically required, with a diagnosis
    5. The tube was vortexed for approximately 1 minute.             of Major Depressive Disorder with Psychotic Features
    6. 2.00 mL of MTBE was added to the tube.                     5 (DSM-IV 296.24 or 296.34), and a BPRS Positive Symptom
    7. 2.00 mL of hexane was added to the tube.                      sub scale score of at least 12, a BPRS total score of at least 38,
    8. The tube was vortexed for at least 15 minutes.                and a HAMD-24 score of at least 20.
    9. The tube was centrifuged for at least 10 minutes at 2500         CORLUX was used as the test drug at 300 (1x300 mg
       RPM (575xg).                                                  tablet), 600 (2x300 mg tablet), and 1200 mg (4x300 mg
    10. The aqueous layer was frozen in a freezer set to main- 10 tablet) once a day by mouth for the initial 7 days. Appropriate
       tain —70° C.                                                  numbers of active and placebo tablets will be given to all dose
    11. The upper organic layer was poured into a 13 x100-mm         groups so that each patient takes a total of 4 tablets at each
       polypropylene tube.                                           daily dose. The reference drug was a placebo (1, 2, or 4 tablets
    12. The organic layer was evaporated in a Turbovap set to        matching CORLUX 300 mg tablets) once a day by mouth for
       40° C.                                                     15 the initial 7 days.
    13. 200.0 [IL of a solution of water:acetonitrile:formic acid       Up to 440 patients were randomly assigned to receive
       (75:25:0.1, v/v/v) was added to the tube.                     CORLUX 300, 600, or 1200 mg/day or placebo (in a 1:1:1:1
    14. The tube was vortexed for approximately 1 minute.            ratio) each day for 7 days. An antidepressant selected from a
    15. The tube was sonicated for approximately 1 minute.           prescribed list was started simultaneously with the study
    16. The tube was vortexed for approximately 1 minute.         20 drug, and continued to the end of the trial. BPRS and HAM-D
    17.The sample was transferred to a labeled injection vial or     assessments were performed at Screen and on Days 0, 7, 14,
       well plate.                                                   28, 42, and 56, and at early termination when it occurred.
    18. The vial or plate was capped and checked for air             Safety visits occurred at Days 21 and 35. The patients who are
       bubbles.                                                      seen as outpatients made daily visits to the clinic setting to
    The sample was then analyzed by reverse-phase high pres- 25 receive study medications for the first 7 days. If clinically
 sure liquid chromatography using a water:acetonitrile:formic        necessary, a patient was treated as an inpatient.
 acid (60:40:0.1) mobile phase (isocratic) at a flow rate of 0.3        In addition to the selected antidepressant, continuing ben-
 mL/min. The column was a phenyl column maintained at 50°            zodiazepines was allowed up to specified dose levels, but
 C. Mifepristone elutes at 4.2 minutes. Following elution, the       antipsychotics, mood stabilizers and additional antidepres-
 mobile phase was nebulized using heated nitrogen in a 30 sants were not allowed during the entire study. If the patient
 Z-spray source/interface and the ionized compounds detected         was at imminent risk to him/herself and/or others and there-
 using a tandem quadrupole mass spectrometer. Mifepristone           fore could not be adequately treated within the study (e.g.,
 (molecular weight of 430 g/mol) was detected at m/z 372.30.         required ECT, new or re-hospitalization for PMD, antipsy-
 The internal standard mifepristone-d4 was detected at m/z           chotics or mood stabilizers, or a second antidepressant), the
 376.30. The ratio of the mifepristone peak height to the mife- 35 patient underwent an early termination visit on the day that
 pristone-d4 peak height was calculated.                             rescue therapy was started and completed final efficacy evalu-
    The plasma concentration of mifepristone was then calcu-         ations. If early termination occurred prior to day 35, the
 lated by comparing the experimental ratio to a standard curve       patient returned for a safety follow up visit at day 35.
 of mifepri stone:mifepristone-d4 peak height ratio v. mifepris-        The primary efficacy endpoint was the proportion of
 tone concentration. The standard curve was generated by first 40 patients with at least a 50% reduction from baseline of the
 measuring the mifepristone:mifepristone-d4 peak height              BPRS Positive Symptom Sub scale (PSS) scores at Days 7 and
 ratios for mifepristone samples at 10, 20, 50, 100, 200, 500,       56. The secondary endpoints were: (1) the proportion of
 1000 and 2000 ng/mL where the mifepristone-d4 internal              responders at days 7 and 28; and (2) the mean change from
 standard has a concentration of 2000 ng/mL. The mifepris-           baseline to day 56 in the HAM-D-24 total score.
 tone:mifepristone-d4 peak height ratios of these known solu- 45        Adverse events, laboratory assessments including electro-
 tions were then fit to a power equation (Mass Lynx by Micro-        cardiograms, and physical examination were used to assess
 mass, Beverly, Mass.), and the sample with unknown                  safety.
 concentrations of mifepristone was compared.                           The criteria for assessing study efficacy objective was the
                                                                     proportion of patients with a reduction of at least 50% from
                            Example 2                             50 baseline in BPRS Positive Symptom Subscale scores at Days
                                                                     7 and 56.
            Phase III Trial with Three Dose Levels of
                           CORLUXTM                                                              Example 3

    This example provides a randomized, double-blind, pla-          55       Phase III Trial for Study of the Efficacy and Safety
 cebo-controlled, parallel group study of the safety and effi-                                  of CORLUXTM
 cacy of three dose levels of CORLUXTM (Mifepristone) plus
 an antidepressant vs. placebo plus an antidepressant in the               This example provides an international, double-blind, pla-
 treatment of psychotic symptoms in patients with major                  cebo-controlled study of the efficacy and safety of COR-
 depressive disorder with psychotic features (PMD).                 60   LUXTM (Mifepristone) vs. placebo in the treatment of psy-
    The study was a Phase III trial performed using several              chotic symptoms in patients with Psychotic Major
 investigators at several different sites. The objectives were to        Depression (PMD).
 demonstrate the efficacy and safety of three dose levels of               The study was a Phase III trial performed using several
 CORLUX (mifepristone) combined with an antidepressant                   investigators at several different international sites. The
 compared to placebo combined with an antidepressant in the         65   objective of the trial was to demonstrate the efficacy and
 treatment of psychotic symptoms in patients with Major                  safety of CORLUX (mifepristone) combined with an antide-
 Depressive Disorder with Psychotic Features (PMD).                      pressant compared to placebo combined with an antidepres-
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                                                       US 8,921,348 B2
                               15                                                                    16
 sant in the treatment of psychotic symptoms in patients with                                     Example 4
 Major Depressive Disorder with Psychotic Features (PMD).
    The number of patients was 220 evaluable subjects.                              Treatment of Male Patient with PMD
 Patients eligible for randomization were male or non-preg-
 nant female outpatients, or inpatients, if necessary for patient 5       A 50 year-old male, weighing 175 pounds, presents to
                                                                       physician with psychotic major depression (PMD). The phy-
 well-being, with a diagnosis of Major Depressive Disorder
                                                                       sician prescribes 300 mg of mifepristone for seven daily
 with Psychotic Features (ICD-10 F32.3 or F33.3 or DSM-IV              doses over a period of seven days. One week later on the day
 296.24 or 296.34). At the screening and baseline visits,              of the seventh daily dose, three (3) mL of blood are collected
 patients demonstrated the following severity of illness: BPRS         from the patient and analyzed as described above in the speci-
                                                                    0
 Positive Symptom Subscale (PSS) score 12; BPRS total                  fication. The dose of mifepristone is then adjusted, if neces-
 score       and HAMD-24 total score                                   sary, to achieve mifepri stone blood levels of greater than 1300
    CORLUX was administered in a 600 mg dose once a day                ng/mL. The mifepri stone dose can be adjusted a single time to
 by mouth for the initial 7 days (administered as two 300 mg           achieve mifepristone blood levels of greater than 1300
 tablets). Reference drug, dose, dosage regimen, route of              ng/mL. Alternatively, several adjustments to the mifepristone
                                                                   15 dose can be necessary to safely achieve mifepristone blood
 administration: Matching placebo was administered once a
                                                                       levels of greater than 1300 ng/mL.
 day by mouth for the initial 7 days.                                     Although the foregoing invention has been described in
    Up to 280 patients were randomly assigned (1:1 ratio) to           some detail by way of illustration and example for purposes
 receive either CORLUX 600 mg/day or placebo daily for 7               of clarity of understanding, one of skill in the art will appre-
 days. After the 7-day dosing period, patients were evaluated 2o ciate that certain changes and modifications may be practiced
 at Days 14, 21, 28, 35, 42 and 56. An antidepressant was              within the scope of the appended claims. In addition, each
 administered simultaneously with study drug, and continued            reference provided herein is incorporated by reference in its
 to the end of the trial (Day 56). BPRS and HAMD-24 assess-            entirety to the same extent as if each reference was individu-
 ments were performed at Screen and on Days 0, 7, 14, 28, 42           ally incorporated by reference.
 and 56, or at early termination. A safety visit occurred on 2 5          What is claimed is:
                                                                          1. A method for optimizing levels of mifepristone in a
 Days 21 and 35, and at study termination on Day 56. Subjects
                                                                       patient suffering from a disorder amenable to treatment by
 treated on an outpatient basis made daily visits to the clinic to
                                                                       mifepristone, the method comprising:
 receive study medication for the first 7 days. Subjects were
                                                                          treating the patient with seven or more daily doses of mife-
 treated on an inpatient basis for as long as deemed clinically              pristone over a period of seven or more days;
                                                                   30
 necessary by the investigator.                                           testing the serum levels of the patient to determine whether
    In addition to the selected antidepressant, concomitant                  the blood levels of mifepristone are greater than 1300
 benzodiazepine treatment was allowed up to specified dose                   ng/mL; and
 levels. Antipsychotics, mood stabilizers and a second antide-            adjusting the daily dose of the patient to achieve mifepris-
 pressant were prohibited during the entire study. If the patient 35         tone blood levels greater than 1300 ng/mL.
 was at imminent risk to him/herself and/or others and there-             2. The method of claim 1, wherein the disorder is a member
 fore could not be adequately treated within the study (i.e.,          selected from the group consisting of a stress disorder,
 required ECT, new or re-hospitalization for PMD, antipsy-             delirium, mild cognitive impairment (MCI), dementia, psy-
 chotics or mood stabilizers, or a second antidepressant), the         chosis and psychotic major depression.
 patient underwent an early termination visit on the day that 40          3. The method of claim 2, wherein the stress disorder is a
 rescue therapy was started, and completed procedures listed           member selected from the group consisting of Acute Stress
 for the day 56 termination visit, including final efficacy evalu-     Disorder, Post-Traumatic Stress Disorder and Brief Psy-
 ations. If early termination occurred prior to day 35, the            chotic Disorder with Marked Stressor(s).
 patient returned for a safety follow-up visit at regularly sched-        4. The method of claim 1, wherein each of the seven or
                                                                   45 more daily doses of mifepristone are administered orally.
 uled day 35.
    The Primary efficacy endpoint was determined by the pro-              5. The method of claim 1, wherein the patient is treated
 portion of patients with 50% reduction from baseline on the           with 28 or more daily doses over a period of 28 or more days.
 BPRS-PSS at Days 7 and 28. Key secondary efficacy end-                   6. The method of claim 1, wherein the testing is performed
 points include (1) the proportion of patients with 50% reduc-         by a plasma sampling collection device suitable for detecting
 tion from baseline on the BPRS-PSS at Days 7 and 56; and (2) 50 mifepristone serum levels.
 change from baseline on the HAMD-24 at Day 56.                           7. The method of claim 1, wherein the adjusting step com-
    Adverse events, laboratory assessments including electro-          prises  increasing the daily dose of the patient to achieve
 cardiograms, and physical examination were used to assess             mifepristone blood levels greater than 1300 ng/mL.
 safety.
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                       EXHIBIT B
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                                                                                           US010195214B2


  c12)   United States Patent                                           (10)   Patent No.:     US 10,195,214 B2
         Belanoff                                                       (45)   Date of Patent:      *Feb. 5, 2019

  (54)   CONCOMITANT ADMINISTRATION OF                              Kaeser eta!. (Antimicrobial Agents and Chemotherapy, Feb. 2009,
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         MODULATORS AND CYP3A INHIBITORS                            Kumar et al. The Journal of Pharmacology and Experimental
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  (72)   Inventor:    Joseph K. Belanoff, Menlo Park, CA            Fleseriu et a!., "Mifepristone, a Glucocorticoid Receptor Antago-
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  (51)   Int. Cl.                                                   (1988), pp. S-18-S-23.
         A61K 311575             (2006.01)
                                                                                                (Continued)
         A61K 311567             (2006.01)
         A61K 311496             (2006.01)                          Primary Examiner- Jeffrey S Lundgren
         A61K 45106              (2006.01)
                                                                    Assistant Examiner- Chris E Simmons
  (52)   U.S. Cl.
                                                                    (74) Attorney, Agent, or Firm- Kilpatrick Townsend &
         CPC .......... A61K 311575 (2013.01); A61K 311496
                                                                    Stockton LLP
                             (2013.01); A61K 45106 (2013.01)
  (58)   Field of Classification Search                             (57)                       ABSTRACT
         CPC .... A61K 31/575; A61K 31/567; A61K 45/06;
                                                   A61P 3/10        Applicant provides methods of treating diseases including
         See application file for complete search history.          Cushing's syndrome and hormone-sensitive cancers by con-
                                                                    comitant administration of a glucocorticoid receptor antago-
  (56)                   References Cited                           nist (GRA) and steroidogenesis inhibitors, and by concomi-
                                                                    tant administration of a GRA and CYP3A inhibitors.
                   U.S. PATENT DOCUMENTS                            Applicant provides methods of treating diseases including
                                                                    Cushing's syndrome and hormone-sensitive cancers by con-
       9,216,221 B2  12/2015 Newell-Price                           comitant administration of mifepristone and ketoconazole.
   2010/0135956 A1    6/2010 Gant eta!.
   2010/0261693 A1 * 10/2010 Ulmann                   A61K 31/567   Subjects treated with CYP3A inhibitors or steroidogenesis
                                                          514/179   inhibitors may suffer from toxicity or other serious adverse
   2016/0067264 A1        3/2016 Newell-Price                       reactions; concomitant administration of other drugs would
   2017/0281651 A1       10/2017 Belanoff                           be expected to increase the risk of such toxicity and adverse
                                                                    reactions. Applicant has surprisingly found that GRAs may
              FOREIGN PATENT DOCUMENTS                              be administered to subjects receiving CYP3A inhibitors or
                                                                    steroidogenesis inhibitors such as ketoconazole without
  wo              2008060391   A2    5/2008
                                                                    increasing risk adverse reactions; for example, Applicant has
  wo              2009050136   A2    4/2009
  wo              2010052445   A1    5/2010                         found that mifepristone may be concomitantly administered
  wo              2016187347   A1   1112016                         with ketoconazole (a CYP3A inhibitor and a steroidogenesis
                                                                    inhibitor), providing safe concomitant administration of the
                     OTHER PUBLICATIONS                             GRA and ketoconazole. In embodiments, the GRA dose may
                                                                    be reduced.
  Korlym™ (mifepristone) [package insert]. Corcept Therapeutics,
  Inc., Menlo Park, CA; Feb. 2012. 26 pages.*                                        13 Claims, 1 Drawing Sheet
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 itary or ectopic sources," Sultan Qaboos University Medical Jour-          "Clinical Drug Interaction Studies-Study Design, Data Analysis,
 nal, vol. 15, Issue 1, pp. 120-123 (Epub. Jan. 21, 2015).                  and Clinical Implications Guidance for Industry" dated Oct. 2017
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 144.                                                                       Corcept Therapeutics; published as US 2017-0281651 AI.
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                                                                                              Stw:ly Day
                                                                                FIG. I




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                                           Nomina! Elapsed Time (hours)

                                                                                FIG.2
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                                                      US 10,195,214 B2
                                1                                                                      2
      CONCOMITANT ADMINISTRATION OF                                      vir, clarithromycin, conivaptan, lopinavir, posaconazole,
         GLUCOCORTICOID RECEPTOR                                         saquinavir, telaprevir, telithromycin, and voriconazole,
      MODULATORS AND CYP3A INHIBITORS                                    among many drugs which inhibit CYP3A. For example, the
                                                                         following drugs strongly inhibit CYP3A (i.e., increase AUC
            CROSS-REFERENCE TO RELATED                                   (area under the concentration-time curve) by 10-fold or
                   APPLICATIONS                                          greater of sensitive index substrates), either alone or in
                                                                         combination with other drugs: boceprevir, cobicistat,
    This application claims the benefit of, and priority to, U.S.        conivaptan, danoprevir and ritonavir, elvitegravir and rito-
 Provisional Application Ser. No. 62/465,772, filed Mar. 1,              navir, indinavir, ritonavir, itraconazole, ketoconazole, lopi-
 2017, and U.S. Provisional Application Ser. No. 62/466,867,        10   navir, paritaprevir, ombitasvir, dasabuvir, posaconazole,
 filed Mar. 3, 2017, the entire contents of both of which                saquinavir, telaprevir, tipranavir, troleandomycin, and vori-
 applications are hereby incorporated by reference in their              conazole.
 entireties.                                                                Ketoconazole is an exemplary and an important steroido-
                                                                         genesis inhibitor and is a strong CYP3A inhibitor. Ketocon-
                       BACKGROUND                                   15   azole (chemical name: 1-acetyl-4-[4-[[2-(2,4-dichlorophe-
                                                                         nyl)-2-[ (lH -imidazol-1-yl)-methyl]-1 ,3-dioxolan-4-yl]
    Steroid molecules, such as steroid hormones, play an                 methoxy]phenyl]piperazine) is administered for the
 important role in bodily functions and in bodily responses to           treatment of fungal infections; it also affects steroid metabo-
 infectious and other diseases, and to the environment. Many             lism by inhibiting steroidogenesis, and has anti-glucocorti-
 steroid molecules are synthesized in the body, or are pro-         20   coid and anti-androgen effects due to its interference with
 duced from molecules consumed in the diet. Steroid mol-                 enzymatic conversion of cholesterol to hormones such as
 ecules which act as hormones in the body include estrogen,              cortisol and testosterone. Ketoconazole has effects on liver
 progesterone, testosterone, and cortisol. Some steroid mol-             enzymes and the gastrointestinal (GI) tract, among other
 ecules have medicinal effects. Inhibition of steroid synthesis          effects (Fleseriu and Castinetti, Pituitary 19:643-653
 or metabolism can be useful in the treatment of some               25   (2016)).
 disorders.                                                                 Ketoconazole inhibits steroid synthesis and is thus useful
    Cortisol, a steroid molecule, plays an important role in             in the treatment Cushing's syndrome; in the treatment of
 many bodily functions. Cortisol exerts effects by binding to            prostate cancer and other androgen-sensitive cancers; to
 cortisol receptors, which are present in most tissues in the            reduce estrogen or progesterone production (e.g., in patients
 body. However, dysregulation of cortisol may have adverse          30   with hormone-sensitive cancers such as breast cancer and
 effects on a subject. For example, Cushing's syndrome,                  ovarian cancer); and in other treatments.
 caused by excess levels of cortisol, is characterized by                   A drug such as ketoconazole is typically metabolized and
 symptoms including elevated blood pressure, elevated blood              excreted by a subject over time following administration. An
 glucose, increased weight, increased mid-section perimeter,             effective dose is determined based on the expected amounts
 other pre-diabetic symptom, a "moon-face" facial appear-           35   of metabolism and excretion of the drug. Changes in the
 ance, immune suppression, thin skin, acne, depression,                  amounts or rates of metabolism and/or excretion of a drug
 hirsutism, and other symptoms. Clinical manifestations of               will affect the dose required, and may make an otherwise
 Cushing's syndrome include abnormalities in glucose con-                safe dose, if metabolism or excretion changes, into either a
 trol, requirement for anti-diabetic medication, abnormalities           less, or ineffective dose, or a more effective or even toxic
 in insulin level, abnormal psychiatric symptoms, cushingoid        40   dose.
 appearance, acne, hirsutism, and increased or excessive                    However, although sometimes clinically useful, ketocon-
 body weight, and other symptoms.                                        azole may have adverse, including seriously toxic, effects
    One effective treatment of cortisol dysregulation is to              (Fleseriu and Castinetti, Pituitary 19:643-653 (2016)). The
 block the binding of cortisol to cortisol receptors, or to block        U.S. Food and Drug Administration issued a Drug Safety
 the effect of cortisol binding to cortisol receptors. Mifepris-    45   Communication (Jul. 26, 2013 Safety Announcement
 tone binds to cortisol receptors, and acts to block such                regarding Nizoral® (ketoconazole)) warning of potentially
 binding and to block the effect of cortisol on tissues.                 fatal liver damage associated with oral ketoconazole treat-
 Mifepristone is 11 ~-( 4-dimethylaminophenyl)-17~-hy­                   ment and warning of the risk of adrenal insufficiency, also a
 droxy-17a-(1-propynyl)-estra-4,9-dien-3-one).                           potentially fatal disorder. The Safety Announcement
    Another effective treatment of cortisol dysregulation is to     50   warned: "Nizoral tablets can cause liver injury, which may
 reduce the synthesis of cortisol, e.g., by reducing or blocking         potentially result in liver transplantation or death." The
 steroid synthesis. A "steroidogenesis inhibitor" is a com-              Safety Announcement further stated: "Nizoral tablets may
 pound which reduces or blocks the synthesis of steroid                  interact with other drugs a patient is taking and can result in
 molecules (including, e.g., cortisol) when administered to a            serious and potentially life-threatening outcomes, such as
 subject. Steroidogenesis inhibitors include, for example,          55   heart rhythm problems." Thus, ketoconazole can be quite
 ketoconazole, metyrapone, etomidate, and other drugs.                   toxic if administered in excessive amounts, or if it is
    Many enzymes are involved in steroid synthesis and in                administered to sensitive individuals, particularly when
 steroid metabolism, including cytochrome P450 enzymes,                  administered systemically (as opposed, e.g., to topically).
 encoded by CYP genes. Inhibiting steroid synthesis may                  This toxicity can lead to liver damage (sometimes requiring
 lower the levels of steroids, including, e.g., cortisol, in the    60   liver transplantation). Other CYP3A inhibitors, including,
 blood. For example, CYP3A enzymes play important roles                  e.g., itraconazole, ritonavir, and other CYP3A inhibitors as
 in the synthesis of steroid hormones such as cortisol.                  discussed herein, may have similar effects and may require
    However, many drugs inhibit the levels or actions of                 similar warnings.
 CYP3A gene products (termed "inhibit CYP3A"). The fol-                     The simultaneous, or nearly simultaneous (e.g., concomi-
 lowing drugs inhibit CYP3A: ketoconazole, itraconazole,            65   tant) presence of two drugs in a subject may alter the effects
 fluconazole, cimetidine, nefazodone, ritonavir, nelfinavir,             of one or the other, or both, drugs. Such alterations are
 indinavir, atazanavir, amprenavir, fosamprenavir, bocepre-              termed drug-drug interactions. For example, the required
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 dose of a drug is often strongly affected by taking the                   Applicant discloses herein that steroidogenesis inhibitors
 amount and rate of its degradation in, and elimination from,           may be concomitantly administered with glucocorticoid
 the body (e.g., by liver or kidney action). However, the               receptor modulators (GRMs) such as the GR antagonist
 presence of a second drug in the body, which is also being             (GRA) mifepristone. Such concomitant administration of a
 acted upon by the liver and kidney, can have significant               steroidogenesis inhibitor and a GRM such as mifepristone is
 effects on the amount and rate of degradation of the first             believed to be safe for the subject, and to provide the
 drug, and can increase the amount of the first drug that               therapeutic benefits of both drugs to the subject, and may
 remains in the body at a given time beyond the amount that             allow concomitant administration of a GRA and a steroido-
 would have been present at that time in the absence of the             genesis inhibitor, may allow the reduction of the amount of
                                                                   10   GRM administered to the subject, or may allow the reduc-
 second drug. Thus, the presence of a second drug can often
                                                                        tion in the amount of a steroidogenesis inhibitor adminis-
 increase the effective dose of the first drug. Where the first
                                                                        tered to the subject; such reductions may reduce the risk of
 drug has toxic side effects, such an increase in effective dose
                                                                        toxic effects of the steroidogenesis inhibitor. Such concomi-
 of the first drug may lead to dangerous toxicity that would            tant administration of a steroidogenesis inhibitor and a GRM
 not have been expected were the second drug not present.          15   such as mifepristone is believed to be safe for the subject,
    Concomitant administration of different drugs often leads           and to provide the therapeutic benefits of both drugs to the
 to adverse effects since the metabolism and/or excretion of            subject, and may allow the reduction in the amount of GRM
 each drug may reduce or interfere with the metabolism                  or of a steroidogenesis inhibitor administered to the subject;
 and/or excretion of the other drug(s), thus increasing the             such reduction may improve treatment of the subject and
 effective concentrations of those drugs as compared to the        20   may reduce the risk of toxic effects of the steroidogenesis
 effective concentrations of those drugs when administered              inhibitor.
 alone. Thus, concomitant administration of drugs is often                 For example, Applicant has surprisingly discovered that
 expected to increase the risk of toxic effects of one or both          mifepristone may be administered to patients concomitantly
 of the co-administered drugs. Some drugs, such as ketocon-             receiving ketoconazole. For example ketoconazole may be
 azole, present risk of liver damage (including severe cases       25   administered to patients previously, or concomitantly, also
 including liver failure and even requiring liver transplants)          receiving mifepristone so that the patient concomitantly
 and other toxic effects when administered alone; the risk of           receives ketoconazole and mifepristone. Such concomitant
 such toxic effects is believed to be increased when other              administration ofketoconazole and mifepristone is typically
 drugs are concomitantly administered. Where a drug, such               safe for the patient, provides the therapeutic benefits of both
 as ketoconazole, is known to present a high risk of toxic         30   drugs to the patient, and may allow the reduction in the
 effects, clinicians will typically avoid its concomitant               amount of mifepristone administered to the subject; such
 administration with other drugs.                                       reduction may provide an effective dose of mifepristone that
    However, patients often require treatment with multiple             is a lower dose, yet still provides similar plasma mifepris-
 drugs, so that the potential toxicity of drugs such as keto-           tone levels as, and may be as effective as, the dose of
 conazole present disadvantages that can have deleterious          35   mifepristone administered in the absence of ketoconazole.
 consequences for the patient who requires ketoconazole                 Such concomitant administration ofketoconazole and mife-
 treatment, or may require foregoing the use ofketoconazole             pristone provides the therapeutic benefits of both drugs to
 or of some other drug which may have otherwise been                    the patient, may allow a reduction in the amount of mife-
 required for successful treatment.                                     pristone administered to the patient, and may allow the
    Accordingly, improved methods of treatment allowing the        40   reduction in the amount ofketoconazole administered to the
 administration of other drugs along with CYP3A inhibitors              patient; such reduction may reduce the risk of toxic effects
 (such as, e.g., ketoconazole) and along with steroidogenesis           of ketoconazole, and may improve the treatment of the
 inhibitors (such as, e.g., ketoconazole) are desired.                  patient.
                                                                           Applicant's surprising discovery is believed to apply to
                         SUMMARY                                   45   patients suffering from a disease or disorder and receiving a
                                                                        CYP3A inhibitor, including a strong CYP3A inhibitor such
    Applicant discloses herein that CYP3A inhibitors such as,           as ketoconazole; such patients suffering from a disease or
 e.g., ketoconazole, may be concomitantly administered with             disorder may be safely administered a GRM, such as mife-
 glucocorticoid receptor modulators (GRMs) such as the GR               pristone, concomitantly with the administration of a CYP3A
 antagonik (GRA) mifepristone. Such concomitant adminis-           50   inhibitor such as ketoconazole. Such concomitant adminis-
 tration of a CYP3A inhibitor such as ketoconazole and a                tration is believed to be safe for the patient. For example,
 GRM such as mifepristone is believed to be safe for the                concomitant administration of ketoconazole and mifepris-
 subject, and to provide the therapeutic benefits of both drugs         tone surprisingly does not increase the risk of ketoconazole
 to the subject, and may allow the reduction in the amount of           toxicity in the patient, and is believed to be safe for the
 a GRM, or of a CYP3A inhibitor, administered to the               55   patient. In particular, Applicant discloses herein that Cush-
 subject; such reduction may reduce the risk of toxic effects           ing's syndrome patients receiving ketoconazole may be
 of the CYP3A inhibitor concomitantly administered with the             safely administered mifepristone concomitantly with the
 GRM. In embodiments, the CYP3A inhibitor is a strong                   administration of ketoconazole. Such concomitant adminis-
 CYP3A inhibitor. Such concomitant administration of a                  tration of ketoconazole and mifepristone to a patient suffer-
 CYP3A inhibitor such as ketoconazole and a GRM such as            60   ing from Cushing's syndrome is believed to be safe for the
 mifepristone is believed to be safe for the subject, and to            patient suffering from Cushing's syndrome, which is char-
 provide the therapeutic benefits of both drugs to the subject,         acterized by hypercortisolism. Patients suffering from Cush-
 may allow the reduction in the amount of GRM adminis-                  ing's syndrome, such as those suffering from endogenous
 tered to the subject, and may allow the reduction in the               Cushing's syndrome, may suffer hyperglycemia secondary
 amount of a CYP3A inhibitor administered to the subject;          65   to hypercortisolism. Concomitant administration of a GRA
 such reductions may improve treatment of the patient and               (such as, e.g., mifepristone) and a CYP3Ainhibitor (such as,
 may reduce the risk of toxic effects of the CYP3A inhibitor.           e.g., ketoconazole) as disclosed herein is believed to be safe,
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 and to be suitable for controlling hyperglycemia secondary             GRM dose that has a smaller amount of GRM as compared
 to hypercortisolism in a patient with endogenous Cushing's             to the first GRM dose yet provide effective treatment at the
 syndrome.                                                              reduced GRM dose co-administered with a CYP3A inhibitor
    In embodiments, a method of treating a patient with                 such as ketoconazole. In embodiments, the clinical status of
 Cushing's syndrome, the patient currently taking a GRA at              a patient receiving a reduced GRM dose concomitantly with
 an original dosage, comprises reducing the amount of GRA               a CYP3A inhibitor may be monitored, e.g., for clinical effect
 from said original dosage to an adjusted dosage that is less           of the GRM, for clinical effect of the CYP3A inhibitor, for
 than the original dosage when the patient is receiving                 possible adverse reaction to the CYP3A inhibitor or its use
 concomitant administration of a CYP3A inhibitor. In                    in combination with the GRM, for possible side-effects of
 embodiments, a method of controlling hyperglycemia sec-           10   the CYP3A inhibitor or its use in combination with the
 ondary to hypercortisolism in a patient with endogenous                GRM, or combinations thereof. In embodiments, the
 Cushing's syndrome, the patient currently taking a GRA at              reduced GRM dose may be increased as necessary and as
 an original dosage, comprises reducing the amount of GRA               safe for the patient according to such monitoring of the
 from said original dosage to an adjusted dosage that is less           patient. In embodiments, the reduced GRM dose may be
 than the original dosage when the patient is receiving            15   titrated upwards as necessary and as safe for the patient
 concomitant administration of a CYP3A inhibitor. In                    according to such monitoring of the patient in order to
 embodiments of such methods, the adjusted dosage is less               achieve effective treatment of Cushing's syndrome while
 than the original dosage by at least an amount selected from           remaining safe for the patient with regard to possible
 about 5%, 10%, 15%, 20%, 25%, 30%, 33 113 %, 35%, 40%,                 adverse effects of the concomitant administration of the
 45%, 50%, 55%, 60%, 65%, 66 213 %, 70%, 75%, 80%, 85%,            20   GRM and the CYP3A inhibitor.
 and 90% of the original dosage. In embodiments, the                       Accordingly, Applicant discloses herein that a steroido-
 adjusted dosage is less than the original dosage by at least           genesis inhibitor may be administered to patients concomi-
 10% of the original dosage. In embodiments, the adjusted               tantly receiving administration of a GRM. Accordingly,
 dosage is less than the original dosage by at least 25% of the         Applicant discloses herein that a CYP3A inhibitor may be
 original dosage. In embodiments, the adjusted dosage is less      25   administered to patients concomitantly receiving adminis-
 than the original dosage by at least 33 113 % of the original          tration of a GRM. For example, Applicant discloses herein
 dosage. In embodiments, the adjusted dosage is less than the           that ketoconazole, a steroidogenesis inhibitor and a CYP3A
 original dosage by at least 50% of the original dosage.                inhibitor, may be administered to patients suffering from a
    In embodiments, where a GRM such as mifepristone                    disease or disorder, such as, e.g., Cushing's syndrome, who
 would be prescribed at a first GRM dose, the amount of the        30   are concomitantly receiving administration of a GRM such
 GRM (such as mifepristone) administered, when co-admin-                as mifepristone. Such concomitant administration of both a
 istered with a steroidogenesis inhibitor or CYP3A inhibitor            GRA (such as mifepristone) and a CYP3Ainhibitor (such as
 such as ketoconazole, may be reduced to a reduced GRM                  ketoconazole) may be administered to a patient suffering
 dose that has a smaller amount of GRM as compared to the               from endogenous Cushing's syndrome to control hypergly-
 first GRM dose yet provide effective treatment at the             35   cemia secondary to hypercortisolism in the patient.
 reduced GRM dose co-administered with a steroidogenesis                   Accordingly, Applicant discloses herein that GRMs may
 inhibitor such as ketoconazole. In embodiments, the clinical           be administered to subjects previously, or concomitantly,
 status of a subject receiving a reduced GRM dose concomi-              also receiving administration of a steroidogenesis inhibitor
 tantly with a steroidogenesis inhibitor may be monitored for           or a CYP3A inhibitor. For example, Applicant discloses
 clinical response, e.g., for clinical response to the GRM         40   herein that GRMs may be administered to subjects suffering
 (such as mifepristone). Monitoring for clinical response may           from a disease or disorder, such as, e.g., Cushing's syn-
 include monitoring for clinical effect of the GRM, including           drome, who previously, or are concomitantly, also receiving
 clinical efficacy of the GRM; for clinical effect of a ste-            administration of a steroidogenesis inhibitor or a CYP3A
 roidogenesis inhibitor of CYP3A inhibitor; for possible                inhibitor such as ketoconazole. Applicant discloses methods
 adverse reaction to a steroidogenesis inhibitor or CYP3A          45   for concomitant administration of a GRM and a steroido-
 inhibitor, or the use of a steroidogenesis inhibitor or CYP3A          genesis or CYP3A inhibitor such as ketoconazole useful for
 inhibitor in combination with the GRM; for possible side-              treating a subject in need of such administration. Subjects in
 effects of a steroidogenesis inhibitor or CYP3A inhibitor; for         need of such administration include subjects suffering from
 possible side-effects of the use of a steroidogenesis inhibitor        a disease or disorder, and include subjects suffering from
 or CYP3A inhibitor in combination with the GRM; or                50   Cushing's syndrome. Applicant further discloses that such
 combinations thereof.                                                  administration of a GRM and a steroidogenesis or a CYP3A
    In embodiments, the reduced GRM dose may be                         inhibitor such as ketoconazole is typically safe for the
 increased as necessary and as safe for the patient according           subject, and provides the therapeutic benefits of both drugs
 to such monitoring of the patient. In embodiments, the                 to the subject. In embodiments, such concomitant adminis-
 reduced GRM dose may be titrated upwards as necessary             55   tration of a steroidogenesis or a CYP3A inhibitor such as
 and as safe for the subject according to such monitoring of            ketoconazole and a GRM may allow the reduction in the
 the patient in order to achieve effective treatment of Cush-           amount of GRM, or of a steroidogenesis or a CYP3A
 ing's syndrome while remaining safe for the patient with               inhibitor such as ketoconazole, that is administered to the
 regard to possible adverse effects of the concomitant admin-           subject; such reductions may reduce the risk of toxic effects
 istration of the GRM and the CYP3A inhibitor, or of the           60   of a steroidogenesis or a CYP3A inhibitor such as ketocon-
 concomitant administration of the GRM and the steroido-                azole, such as, e.g., reduce the risk of liver damage to the
 genesis inhibitor.                                                     subject. The GRM may be, e.g., mifepristone.
    In embodiments, where a GRM such as mifepristone                       Applicant has surprisingly discovered that a steroidogen-
 would be prescribed at a first GRM dose, the amount of the             esis or a CYP3A inhibitor such as ketoconazole may be
 GRM (such as mifepristone) administered, when co-admin-           65   concomitantly administered with GRMs, such as GRAs, so
 istered with a CYP3A inhibitor, including a strong CYP3A               that concomitant administration of a steroidogenesis or a
 inhibitor such as ketoconazole, may be reduced to a reduced            CYP3A inhibitor such as ketoconazole and a GRA for
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 example may provide safe and effective treatment of a                 suffering from endogenous Cushing's syndrome. In embodi-
 patient in need of treatment. A patient receiving concomitant         ments, the condition is cancer, and may be a hormone-
 administration of a steroidogenesis or a CYP3A inhibitor              sensitive cancer. In embodiments, the hormone sensitive
 such as ketoconazole and a GRA may be, for example, a                 cancer is prostate cancer, breast cancer, or ovarian cancer.
 patient in need of treatment for Cushing's syndrome (includ-             In embodiments, the amount of GRM administered con-
 ing Cushing's Disease), breast cancer, prostate cancer, ovar-         comitantly with a steroidogenesis or a CYP3A inhibitor is
 ian cancer, or other hormone-sensitive cancer. In embodi-             the same amount, or substantially the same amount, of GRM
 ments, such a patient in need of treatment may receive                previously administered to the patient prior to concomitant
 concomitant administration of a steroidogenesis or a CYP3A            administration of a GRM and a steroidogenesis or a CYP3A
 inhibitor such as ketoconazole and a GRA, such as mife-          10
                                                                       inhibitor. In embodiments, the amount of GRM adminis-
 pristone. In embodiments, such a patient in need of treat-
                                                                       tered concomitantly with a steroidogenesis or a CYP3A
 ment may receive concomitant administration of ketocon-
                                                                       inhibitor is less than the amount ofGRM previously admin-
 azole and mifepristone.
    The methods, compositions, and kits disclosed herein are           istered to the subject prior to concomitant administration of
 suitable for use in treating patients suffering from Cushing's   15
                                                                       a GRM and a steroidogenesis or a CYP3A inhibitor. In
 syndrome (including Cushing's Disease); or from prostate              embodiments, administration of a reduced amount of GRM
 cancer and other androgen-sensitive cancers; or from breast           administered concomitantly with a steroidogenesis or a
 cancer, ovarian cancer, or other hormone-sensitive cancer             CYP3A inhibitor is an effective amount of GRM; in embodi-
 (e.g., cancer sensitive to estrogen or progesterone); and are         ments, the reduced amount ofGRM administered concomi-
 suitable for use in treating subjects suffering from other       20   tantly with a steroidogenesis or a CYP3A inhibitor is as
 diseases, disorders, or syndromes.                                    effective as the amount of GRM previously administered to
    In embodiments of the methods disclosed herein, a patient          the subject prior to concomitant administration of a GRM
 currently receiving a GRM, such as mifepristone, is also              and a steroidogenesis or a CYP3A inhibitor. The GRM may
 concomitantly administered a steroidogenesis or a CYP3A               be mifepristone. The steroidogenesis or a CYP3A inhibitor
 inhibitor such as ketoconazole. In embodiments of the            25   may be ketoconazole.
 methods disclosed herein, a patient currently receiving a                In embodiments, the amount of steroidogenesis or a
 GRM, such as mifepristone, as treatment for a condition               CYP3A inhibitor administered concomitantly with the GRM
 characterized by excess steroid levels, or as treatment of a          is the same amount, or substantially the same amount, of
 condition that is treated by reducing steroid levels or by            steroidogenesis or CYP3A inhibitor previously administered
 reducing steroid effects, is also concomitantly administered     30   to the subject prior to concomitant administration of a GRM
 a steroidogenesis or a CYP3A inhibitor such as ketocon-               and a steroidogenesis or a CYP3A inhibitor. In embodi-
 azole, whereby the patient is treated for that condition. In          ments, the amount of steroidogenesis or CYP3A inhibitor
 embodiments, the condition is characterized by excessive              administered concomitantly with the GRM is less than the
 cortisol levels. In embodiments, the condition is hypergly-           amount of steroidogenesis or CYP3A inhibitor previously
 cemia secondary to hypercortisolism, e.g., in a patient          35   administered to the subject prior to concomitant adminis-
 suffering from endogenous Cushing's syndrome. In embodi-              tration of a GRM and a steroidogenesis or a CYP3A
 ments, the condition is cancer, and may be a hormone-                 inhibitor. In embodiments, administration of a reduced
 sensitive cancer. In embodiments, the hormone sensitive               amount, of steroidogenesis or CYP3A inhibitor administered
 cancer is prostate cancer, breast cancer, or ovarian cancer.          concomitantly with a GRM is an effective amount of ste-
    In embodiments of the methods disclosed herein, a patient     40   roidogenesis or CYP3A inhibitor; in embodiments, the
 currently receiving a steroidogenesis or a CYP3A inhibitor            reduced amount of steroidogenesis or CYP3A inhibitor
 such as ketoconazole is also concomitantly administered a             administered concomitantly with a GRM is as effective as
 GRM. In embodiments of the methods disclosed herein, a                the amount of steroidogenesis or CYP3A inhibitor previ-
 patient currently receiving a steroidogenesis or a CYP3A              ously administered to the subject prior to concomitant
 inhibitor such as ketoconazole as treatment for a condition      45   administration of a GRM and a steroidogenesis or a CYP3A
 characterized by excess steroid levels, or as treatment of a          inhibitor. The GRM may be mifepristone. The steroidogen-
 condition that is treated by reducing steroid levels or by            esis or CYP3A inhibitor may be ketoconazole.
 reducing steroid effects, is also concomitantly administered             Concomitant administration of a GRM and steroidogen-
 a GRM, whereby the patient is treated for that condition. In          esis or a CYP3A inhibitor may be administration of a GRM
 embodiments, the condition is characterized by excessive         50   followed within a short time by administration of a steroido-
 cortisol levels. In embodiments, the condition is hypergly-           genesis or a CYP3A inhibitor. In embodiments, concomitant
 cemia secondary to hypercortisolism, e.g., in a patient               administration of a GRM and a steroidogenesis or a CYP3A
 suffering from endogenous Cushing's syndrome. In embodi-              inhibitor may be administration of mifepristone followed
 ments, the condition is hyperglycemia secondary to hyper-             within a short time by administration of ketoconazole.
 cortisolism, e.g., in a patient suffering from endogenous        55   Concomitant administration of a GRM and a steroidogenesis
 Cushing's syndrome. In embodiments, the condition is can-             or a CYP3A inhibitor may be administration of a steroido-
 cer, and may be a hormone-sensitive cancer. In embodi-                genesis or a CYP3A inhibitor followed within a short time
 ments, the hormone sensitive cancer is prostate cancer,               by administration of a GRM. In embodiments, concomitant
 breast cancer, or ovarian cancer.                                     administration of a GRM and a steroidogenesis or a CYP3A
    Thus, in embodiments of the methods disclosed herein, a       60   inhibitor may be administration of ketoconazole followed
 patient in need of treatment for a condition is concomitantly         within a short time by administration of mifepristone. Con-
 administered both a GRM (such as mifepristone) and a                  comitant administration of a GRM and a steroidogenesis or
 steroidogenesis or a CYP3A inhibitor (such as ketocon-                a CYP3A inhibitor may be simultaneous administration of a
 azole ), whereby the patient is treated for that condition. In        GRM and a steroidogenesis or a CYP3A inhibitor. In
 embodiments, the condition is characterized by excessive         65   embodiments, concomitant administration of a GRM and a
 cortisol levels. In embodiments, the condition is hypergly-           steroidogenesis or a CYP3A inhibitor may be simultaneous
 cemia secondary to hypercortisolism, e.g., in a patient               administration of mifepristone and ketoconazole.
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    In embodiments, the GRM is a steroidal GRM, such as,                titrating upwards the dosage of the reduced GRA dose. In
 e.g., mifepristone. In embodiments, the GRM is a non-                  embodiments, such titrating upwards comprises increasing
 steroidal GRM. In embodiments, the GRM is a glucocorti-                the dosage of the reduced GRA dose in increments of 300
 coid receptor antagonist (GRA). In embodiments, the GRA                milligrams (mg) of GRA. In embodiments, the interval of
 is a steroidal GRA. In embodiments, the GRA is mifepris-               time between upward titration of a reduced dose, or of an
 tone. In embodiments, the GRA is a non-steroidal GRA. In               upwardly titrated reduced dose, and a subsequent upward
 embodiments, the GRA is a non-steroidal GRA selected                   titration of a dosage of the reduced dose of mifepristone is
 from a GRA having a cyclohexyl-pyrimidine backbone,                    selected from one week, two weeks, three weeks, and four
 GRA having a fused azadecalin backbone, a GRA having a                 weeks. In embodiments, the methods include monitoring the
 heteroaryl ketone fused azadecalin backbone, and a GRA            10   patient for clinical response to the GRA. In embodiments,
 having an octahydro fused azadecalin backbone.                         such titrating upwards follows a determination that said
    In embodiments, a patient is concomitantly administered             reduced GRA dose is associated with a decrease in clinical
 a GRM and ketoconazole; in embodiments, the GRM is                     response to the GRA. In embodiments, monitoring the
 mifepristone. In embodiments, concomitant administration               patient for clinical response to the GRA comprises moni-
 comprises simultaneous administration of a GRM and keto-          15   toring the patient for glucose control, anti-diabetic medica-
 conazole to a patient, where the GRM is mifepristone. In               tion requirement, insulin level, psychiatric symptoms,
 embodiments, the amount of ketoconazole administered                   cushingoid appearance, acne, hirsutism, body weight, or
 concomitantly with the mifepristone is the same amount, or             combinations thereof. In embodiments, such titrating
 substantially the same amount, of ketoconazole previously              upwards is capped at a dosage level of 900 milligrams per
 administered to the subject prior to concomitant adminis-         20   day. In embodiments, such titrating upwards is capped at a
 tration of mifepristone and ketoconazole. In embodiments,              dosage level of 600 milligrams per day. In embodiments of
 the amount of ketoconazole administered concomitantly                  the methods disclosed herein, the reduced GRA dose is a
 with the mifepristone is less than the amount of ketocon-              daily dose of 900 mg mifepristone. In embodiments of the
 azole previously administered to the subject prior to con-             methods disclosed herein, the reduced GRA dose is a daily
 comitant administration of mifepristone and ketoconazole.         25   dose of 600 mg mifepristone.
    Accordingly, in embodiments, Applicant discloses herein                Embodiments of the methods disclosed herein are
 a method for treating a patient who is suffering from                  directed to treating a patient suffering from Cushing's syn-
 Cushing's syndrome or a condition associated with Cush-                drome or a condition associated with Cushing's syndrome.
 ing's syndrome, said patient receiving a first dose of a               In embodiments, the patient suffering from Cushing's syn-
 glucocorticoid receptor antagonist (GRA), said method             30   drome or a condition associated with Cushing's syndrome is
 comprising: concomitantly administering to the patient a               a patient suffering from a condition associated with endog-
 dose of a CYP3A inhibitor and a reduced dose of said GRA,              enous Cushing's syndrome. In embodiments, treating a
 wherein said reduced GRA dose consists of a GRA dose that              patient who is suffering from Cushing's syndrome or a
 is less than the first GRA dose, whereby the patient is treated        condition associated with Cushing's syndrome comprises
 for Cushing's syndrome or a condition associated with             35   treating a patient who is suffering from hyperglycemia
 Cushing's syndrome by concomitant administration of said               secondary to hypercortisolism. In embodiments, treating
 CYP3A inhibitor and a reduced dose said GRA. Conditions                patient who is suffering from Cushing's syndrome or a
 associated with Cushing's syndrome include, without limi-              condition associated with Cushing's syndrome comprises
 tation, hyperglycemia secondary to hypercortisolism, e.g.,             treating hyperglycemia secondary to hypercortisolism in a
 hyperglycemia secondary to hypercortisolism in a patient          40   Cushing's syndrome patient having type 2 diabetes mellitus
 suffering from endogenous Cushing' syndrome. Conditions                or glucose intolerance. In embodiments, treating a patient
 associated with Cushing's syndrome also include, without               who is suffering from Cushing's syndrome or a condition
 limitation, hyperglycemia secondary to hypercortisolism in             associated with Cushing's syndrome comprises treating
 an adult Cushing's syndrome patient who has type 2 diabe-              hyperglycemia secondary to hypercortisolism in a Cushing's
 tes mellitus or glucose intolerance. Conditions associated        45   syndrome patient, said patient a) having type 2 diabetes
 with Cushing's syndrome further include, without limita-               mellitus or glucose intolerance, and b) having failed surgery
 tion, hyperglycemia secondary to hypercortisolism in an                or is not a candidate for surgery. In embodiments, treating a
 adult Cushing's syndrome patient who has a) type 2 diabetes            patient who is suffering from Cushing's syndrome or a
 mellitus or glucose intolerance, and b) has failed surgery or          condition associated with Cushing's syndrome comprises
 is not a candidate for surgery.                                   50   administering mifepristone to control hyperglycemia sec-
    In embodiments, the dosage of said reduced GRA dose is              ondary to hypercortisolism in an adult Cushing's syndrome
 less than the dosage of said first GRA dose by at least an             patient who has a) type 2 diabetes mellitus or glucose
 amount selected from about 5%, 10%, 15%, 20%, 25%,                     intolerance, and b) has failed surgery or is not a candidate for
 30%, 33 113 %, 35%, 40%, 45%, 50%, 55%, 60%, 65%,                      surgery.
 66 213 %, 70%, 75%, 80%, 85%, and 90% of the first GRA            55      In embodiments, Applicant discloses herein a method for
 dose. In embodiments, the dosage of said reduced GRA dose              treating a patient who is suffering from Cushing's syndrome
 is less than the dosage of said first GRA dose by about 300            or a condition associated with Cushing's syndrome, said
 milligrams (mg) of said GRA. In embodiments, the dosage                patient receiving a first dose of a glucocorticoid receptor
 amount of said first GRA dose is 600 mg or higher of said              antagonist (GRA), said method comprising: concomitantly
 GRA. In embodiments, said reduced GRA dose is a GRA               60   administering to the patient a dose of said CYP3A inhibitor
 dose selected from the group of GRA doses consisting of                and a first dose of a glucocorticoid receptor antagonist
 about 1500 milligrams (mg) GRA, about 1200 mg GRA,                     (GRA), whereby the patient is treated for Cushing's syn-
 about 900 mg GRA, and about 600 mg GRA. In embodi-                     drome or a condition associated with Cushing's syndrome
 ments, said reduced GRA dose is 900 mg of the GRA. In                  by concomitant administration of said CYP3A inhibitor and
 embodiments, said reduced GRA dose is 600 mg of the               65   said GRA. In embodiments, the first GRA dose is selected
 GRA. In embodiments, the reduced GRA dose is a daily                   from a GRA dose no greater than 900 milligrams (mg) per
 GRA dose. In embodiments, the methods further comprise                 day of the GRA, and no greater than 600 mg per day of the
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 GRA. In embodiments, the patient had been administered a                 FIG. 2 shows the plasma concentration profile of mife-
 dose of the CYP3A inhibitor prior to said administering of            pristone measured in healthy male volunteers on day twelve
 said first GRA dose. In embodiments, said concomitant                 (before administration of ketoconazole) and on day seven-
 administration of the CYP3A inhibitor and said GRA com-               teen (the fifth day of ketoconazole administration).
 prises administration of said first GRA dose to a patient
 having detectable levels of said CYP3A inhibitor, wherein                             DETAILED DESCRIPTION
 said patient had been administered a dose of the CYP3A
 inhibitor prior to said administration of said first GRA dose.            Ketoconazole strongly inhibits corticosteroid synthesis;
 In embodiments, methods further comprise titrating upwards            thus, ketoconazole strongly reduces cortisol levels in sub-
                                                                  10   jects administered ketoconazole. However, there is concern
 the dosage of a subsequent GRA dose, wherein the dosage
                                                                       over its use, for example, due to potential hepatoxicity (see,
 of said subsequent GRA dose is a greater amount of GRA
                                                                       e.g., Castinetti et a!., J Clin Endocrinol Metab 99(5): 1623-
 than the amount of GRA of the first GRA dose. In embodi-
                                                                       1630 (2014)).
 ments, such titrating upwards comprises increasing the                    According to the U.S. Food and Drug Administration
 dosage of the subsequent GRA dose in increments of 300           15   (FDA) definition strong CYP3A inhibitors are expected to
 milligrams (mg) of GRA. In embodiments, the interval of               increase the AUC of other drugs by greater than five-fold.
 time between upward titration of a subsequent GRA dose, or            Ketoconazole is identified by the FDA as a strong CYP3A
 of an upwardly titrated subsequent GRA dose, and a subse-             inhibitor (See FDA web posting: Drug Development and
 quent upward titration of the dosage of the subsequent GRA            Drug Interactions: Table of Substrates, Inhibitors and Induc-
 dose is selected from one week, two weeks, three weeks, and      20   ers).
 four weeks.                                                               Surprisingly, as disclosed herein, concomitant adminis-
    In embodiments of the methods disclosed herein, the                tration of mifepristone and ketoconazole causes only a small
 CYP3A inhibitor is a strong CYP3A inhibitor selected from             increase in the plasma levels of mifepristone, and does not
 the group consisting of ketoconazole, itraconazole, nefa-             cause the large increases that would have been expected for
 zodone, ritonavir, nelfinavir, indinavir, atazanavir, amprena-   25   such concomitant administration.
 vir and fosamprenavir, clarithromycin, conivaptan, lopina-                Applicant has surprisingly found that concomitant admin-
 vir/ritonavir, posaconazole, saquinavir, telithromycin, and           istration of mifepristone and ketoconazole causes only a
 voriconazole. In embodiments, the CYP3A inhibitor is keto-            small increase in the AUC and in the Cmax of mifepristone
 conazole.                                                             in subjects receiving mifepristone alone for twelve days, and
    In embodiments of the methods disclosed herein, the           30   then administered both mifepristone and ketoconazole con-
 GRA is mifepristone.                                                  comitantly. The Cmax of mifepristone administered con-
    The methods disclosed herein provide advantages includ-            comitantly with ketoconazole is increased by less than
 ing expanded treatment options for patients suffering from            two-fold (a mere 28% increase in mifepristone Cmax) and
 conditions including Cushing's syndrome, Cushing's Dis-               the AUC of mifepristone administered concomitantly with
 ease, prostate cancer, breast cancer, ovarian cancer, and        35   ketoconazole is increased by less than two-fold (a mere 38%
 other conditions.                                                     increase in mifepristone AUC) in subjects receiving 600 mg
    The methods disclosed herein provide advantages includ-            mifepristone per day who then are given 400 mg ketocon-
 ing improved treatments for patients suffering from condi-            azole (200 mg twice per day)).
 tions including Cushing's syndrome, Cushing's Disease,                    Also surprisingly, as disclosed herein, concomitant
 prostate cancer, breast cancer, ovarian cancer, and other        40   administration ofketoconazole and mifepristone also caused
 conditions, where such improved treatments may include the            smaller increases in ketoconazole levels than would be
 ability to alter the amount of a GRM, such mifepristone,              expected. The Cmax ofketoconazole administered concomi-
 administered to the patient by administering a GRM such as            tantly with mifepristone is increased by less than four-fold
 mifepristone concomitantly with ketoconazole. In embodi-              (365% increase in ketoconazole Cmax) and the AUC of
 ments, such improved treatments include the ability to           45   ketoconazole administered concomitantly with mifepristone
 reduce the amount of a GRM, such as mifepristone, admin-              is increased by less than three-fold (253% increase in
 istered to a subject.                                                 ketoconazoleAUC) when comparing ketoconazole levels on
    The methods disclosed herein provide advantages includ-            the first day of concomitant administration of both drugs as
 ing improved treatments for patients suffering from condi-            compared to the ketoconazole levels in subjects on the fifth
 tions including Cushing's syndrome, Cushing's Disease,           50   day of receiving 400 mg ketoconazole (200 mg twice per
 prostate cancer, breast cancer, ovarian cancer, and other             day) concomitantly with 600 mg mifepristone per day.
 conditions, where such improved treatments may include the                Ketoconazole is a strong inhibitor of steroidogenesis; thus
 ability to alter the amount of ketoconazole administered to           it is believed that ketoconazole may serve as an examplar for
 the patient by administering a GRM such as mifepristone               other strong inhibitors of steroidogenesis and that these
 concomitantly with ketoconazole. In embodiments, such            55   results indicate that mifepristone, and other glucocorticoid
 improved treatments include the ability to reduce the amount          receptor modulators, including other glucocorticoid receptor
 ofketoconazole administered to a subject and thus to reduce           antagonists, may be safely administered concomitantly with
 risk of toxic effects of the ketoconazole.                            steroidogenesis inhibitors according to the methods dis-
                                                                       closed herein.
       BRIEF DESCRIPTION OF THE DRAWINGS                          60       Ketoconazole is a strong inhibitor of CYP3A enzymes;
                                                                       thus it is believed that ketoconazole may serve as an
    FIG. 1 shows the mean and standard deviation of mife-              examplar for other strong inhibitors of CYP3A enzymes and
 pristone and its metabolites RU42633, RU42698, and                    that these results indicate that mifepristone, and other glu-
 RU42848 measured in healthy male volunteers prior to                  cocorticoid receptor modulators, including other glucocor-
 administration of mifepristone on days one through seven-        65   ticoid receptor antagonists, may be safely administered
 teen. Ketoconazole was also administered on days thirteen-            concomitantly with CYP3A enzyme inhibitors according to
 seventeen.                                                            the methods disclosed herein.
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    Applicant discloses herein methods for the safe concomi-          comitant administration of ketoconazole and mifepristone
 tant administration of both a glucocorticoid receptor modu-          surprisingly does not increase the risk of toxicity in the
 lator (GRM) and steroidogenesis inhibitor to a subject.              patient, and is believed to be safe for the patient. In par-
 Applicant discloses herein the surmising finding that both a         ticular, Applicant discloses herein that Cushing's syndrome
 GRM such as mifepristone and a steroidogenesis inhibitor             patients receiving ketoconazole may be safely administered
 such as ketoconazole may be safely administered to a                 mifepristone concomitantly with the administration ofketo-
 subject at the same, or nearly the same, time (i.e., the GRM         conazole. Such concomitant administration of ketoconazole
 and the steroidogenesis inhibitor may be concomitantly               and mifepristone surprisingly does not increase the risk of
 administered).                                                       toxicity in humans, and is believed to be safe for a patient
    Applicant discloses herein methods for the safe concomi-     10   suffering from Cushing's syndrome.
 tant administration of both a glucocorticoid receptor modu-             Thus, Applicant discloses herein surprising and useful
 lator (GRM) and CYP3A inhibitor to a subject. Applicant              methods for concomitant administration of a steroidogenesis
 discloses herein the surprising finding that both a GRM such         inhibitor such as, e.g., ketoconazole, and a GRM such as,
 as mifepristone and a CYP3A inhibitor such as ketoconazole           e.g., mifepristone, which provide the benefits of improved
 may be safely administered to a subject at the same, or         15   treatment without substantially increased risk of adverse
 nearly the same, time (i.e., the GRM and the CYP3Amay be             treatment side-effects. For example, Applicant provides
 concomitantly administered).                                         herein surprising and useful methods for concomitant
    Applicant discloses herein the surprising finding that a          administration of ketoconazole and mifepristone, which
 subject receiving ketoconazole, which is a steroidogenesis           provide the benefits of both drugs without substantially
 inhibitor and is a CYP3A inhibitor, may also be safely          20   increased risk of ketoconazole toxicity, which can have
 administered an effective dose of mifepristone, which is a           serious adverse effects on the liver.
 glucocorticoid receptor modulator (GRM), e.g., a glucocor-              Thus, contrary to the expectation that the presence of a
 ticoid receptor antagonist (GRA). Applicant also discloses           GRM such as mifepristone along with a steroidogenesis
 herein the surprising finding that a subject receiving mife-         inhibitor (e.g., ketoconazole) in a patient would increase the
 pristone, which is a glucocorticoid receptor modulator          25   toxicity of the steroidogenesis inhibitor beyond that
 (GRM), e.g., a glucocorticoid receptor antagonist (GRA),             expected for such a dose of steroidogenesis inhibitor alone,
 may also be safely administered ketoconazole, which is a             Applicant has discovered that administering a) both a GRM
 steroidogenesis inhibitor and is a CYP3A inhibitor.                  (e.g., mifepristone) and a steroidogenesis inhibitor (e.g.,
    In embodiments of the methods disclosed herein, a sub-            ketoconazole) to a subject, orb) administering a GRM (e.g.,
 ject receiving a GRM (such as, e.g., a glucocorticoid recep-    30   mifepristone) to a subject who has recently been given a
 tor antagonist (GRA) such as mifepristone) may be safely             steroidogenesis inhibitor (e.g., ketoconazole), or c) admin-
 administered an effective dose of a steroidogenesis inhibitor        istering a steroidogenesis inhibitor (e.g., ketoconazole) soon
 such as ketoconazole. In embodiments of the methods                  after GRM (e.g., mifepristone) administration to a subject,
 disclosed herein, a subject may be safely administered               concomitant administration of a GRM and a steroidogenesis
 ketoconazole and a reduced dose of a GRM, where the             35   inhibitor does not increase the expected toxicity of the
 reduced dose of a GRM is an effective dose of GRM that is            steroidogenesis inhibitor. In embodiments, concomitant
 a smaller GRM dose than the GRM dose administered in the             administration of a steroidogenesis inhibitor and a GRM
 absence of a steroidogenesis inhibitor such as ketoconazole.         allows for administration of an effective dose of GRM that
 In embodiments of the methods disclosed herein, a subject            is a reduced GRM dose as compared to the GRM dose
 may be safely administered a GRM and a reduced dose of a        40   administered in the absence of the steroidogenesis inhibitor.
 steroidogenesis inhibitor such as ketoconazole, where the               In embodiments, concomitant administration ofketocon-
 reduced dose of the steroidogenesis inhibitor is an effective        azole and mifepristone allows for administration of an
 dose of the steroidogenesis inhibitor that is a smaller dose         effective dose of mifepristone that is a reduced dose of
 than the a steroidogenesis inhibitor dose administered in the        mifepristone as compared to the mifepristone dose admin-
 absence of the GRM. In embodiments of the methods               45   istered in the absence ofketoconazole. For example, Appli-
 disclosed herein, a subject receiving a steroidogenesis              cant has discovered that concomitant administration of mife-
 inhibitor such as, e.g., ketoconazole, may be safely admin-          pristone and ketoconazole makes it possible to reduce the
 istered an effective dose of a GRM, such as, e.g., mifepris-         dose of mifepristone while maintaining sufficient mifepris-
 tone. In embodiments of the methods disclosed herein, a              tone levels for effective therapy for the patient. Such a
 subject receiving a GRM, such as, e.g., mifepristone, may be    50   reduction in mifepristone dose provides the benefit of reduc-
 safely administered an effective dose of a steroidogenesis           ing the amount of mifepristone administered to the subject.
 inhibitor such as, e.g., ketoconazole.                               Embodiments in which a subject is concomitantly adminis-
    These methods may be applied to subjects suffering from           tered ketoconazole and mifepristone allow for mifepristone
 diseases or disorders as well as other subjects, including           dose reduction (as compared to the mifepristone dose in the
 subjects suffering from Cushing's syndrome. Such concomi-       55   absence ofketoconazole) include, e.g., Cushing's syndrome
 tant administration of a steroidogenesis inhibitor such as           and hormone-sensitive cancers such as breast, ovarian, and
 ketoconazole with a GRM would have been expected to                  prostate cancer, and other disorders susceptible of treatment
 produce toxic side effects due to, e.g., an adverse effect on        by mifepristone.
 steroidogenesis inhibitor metabolism due to the added GRM               In embodiments, the reduced dose of mifepristone admin-
 (e.g., where the steroidogenesis inhibitor is ketoconazole, a   60   istered to a subject also concomitantly receiving ketocon-
 previously safe ketoconazole dose would have been                    azole is a dose of mifepristone that is at least about 5% less
 expected to be a toxic dose in the presence of added GRM             than the original dose of mifepristone, where the original
 (e.g., mifepristone)).                                               dose of mifepristone is the dose the subject had been, or
    In particular, Applicant discloses herein that patients           would have been, administered in the absence of ketocon-
 suffering from a disease or disorder and receiving ketocon-     65   azole co-administration. In embodiments, the reduced dose
 azole may be safely administered mifepristone concomi-               of mifepristone is a dose of mifepristone that is at least about
 tantly with the administration of ketoconazole. Such con-            10% less than the original dose of mifepristone; and may be
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 a dose of mifepristone that is at least about 15%, or about            azole is indicated, the reduced dose of mifepristone may be
 20%, or about 22%, or about 23%, or about 25%, or about                about 1200 mg mifepristone per day; may be about 900 mg
 28%, or about 29%, or about 33%, or about 38%, or about                mifepristone per day; may be about 600 mg mifepristone per
 40%, or about 50%, or about 66%, or about 75% less than                day; may be about 300 mg mifepristone per day; may be
 the original dose of mifepristone.                                     about 300 mg mifepristone every other day; or may be about
    In embodiments, the reduced dose of mifepristone admin-             300 mg mifepristone every third day. In embodiments in
 istered to a subject also concomitantly receiving ketocon-             which a subject has been receiving about 1200 mg mife-
 azole is a dose of mifepristone that is 300 mg less mifepris-          pristone per day, and concomitant administration of mife-
 tone than the amount of the original dose of mifepristone. In          pristone and ketoconazole is indicated, the reduced dose of
 embodiments, the reduced dose of mifepristone adminis-            10   mifepristone may be about 900 mg mifepristone per day;
 tered to a subject also concomitantly receiving ketoconazole           may be about 600 mg mifepristone per day; may be about
 is a dose of mifepristone that is an amount of mifepristone            300 mg mifepristone per day; may be about 300 mg mife-
 that is an integer multiple of 300 mg mifepristone less than           pristone every other day; or may be about 300 mg mifepris-
 the amount of the original dose ofmifepristone. In embodi-             tone every third day. In embodiments in which a subject has
 ments, the integer of the integer multiple is selected from the   15   been receiving about 900 mg mifepristone per day, and
 integers 1, 2, 3, 4, and 5.                                            concomitant administration of mifepristone and ketocon-
    In embodiments, the reduced dose of mifepristone admin-             azole is indicated, the reduced dose of mifepristone may be
 istered to a subject also concomitantly receiving ketocon-             about 600 mg mifepristone per day; may be about 300 mg
 azole is a dose of mifepristone that is about 900 mg                   mifepristone per day; may be about 300 mg mifepristone
 mifepristone; or is about 600 mg mifepristone; or is about        20   every other day; or may be about 300 mg mifepristone every
 300 mg mifepristone. In embodiments, the reduced dose of               third day. In embodiments in which a subject has been
 mifepristone administered to a subject also concomitantly              receiving about 600 mg mifepristone per day, and concomi-
 receiving ketoconazole is a dose of mifepristone that is               tant administration of mifepristone and ketoconazole is
 about 300 mg mifepristone administered only every other                indicated, the reduced dose of mifepristone may be about
 day; or is about 300 mg mifepristone administered every           25   300 mg mifepristone per day; may be about 300 mg mife-
 third day; or is about 300 mg mifepristone administered                pristone every other day; may be about 300 mg every third
 every fourth day. For example, where the original dose of              day; or may be about 300 mg mifepristone every fourth day.
 mifepristone is about 1500 mg per day, the reduced dose of             In embodiments in which a subject has been receiving about
 mifepristone may be about 1200 mg of mifepristone admin-               300 mg mifepristone per day, and concomitant administra-
 istered every day; or may be about 900 mg of mifepristone         30   tion of mifepristone and ketoconazole is indicated, the
 administered every day; or may be about 600 mg of mife-                reduced dose of mifepristone may be about 300 mg mife-
 pristone administered every day; or may be about 300 mg of             pristone every other day; may be about 309 mg every third
 mifepristone administered every day. For example, where                day; or may be about 300 mg mifepristone every fourth day.
 the original dose of mifepristone is about 1200 mg per day,               In embodiments in which a subject has been receiving a
 the reduced dose of mifepristone may be about 900 mg of           35   first dose of mifepristone (e.g. a daily dose of mifepristone
 mifepristone administered every day; or may be about 600               of about 1800 mg/day, or about 1500 mg/day, or about 1200
 mg of mifepristone administered every day; or may be about             mg/day, or about 900 mg/day, or about 600 mg/day, or about
 300 mg of mifepristone administered every day. For                     300 mg/day), and concomitant administration of mifepris-
 example, where the original dose of mifepristone is about              tone and ketoconazole is indicated, the subject may be
 900 mg per day, the reduced dose of mifepristone may be           40   administered a reduced dose of mifepristone, where the
 about 600 mg of mifepristone administered every day; or                amount of the reduced dose is less than the original mife-
 may be about 300 mg of mifepristone administered every                 pristone dose by about 300 mg mifepristone per day, and the
 day; or may be about 300 mg of mifepristone administered               subject may be monitored for clinical effects of the drugs,
 every other day. For example, where the original dose of               including monitoring for clinical response to mifepristone.
 mifepristone is about 600 mg per day, the reduced dose of         45   In embodiments in which a subject has been receiving a first
 mifepristone may be about 300 mg of mifepristone admin-                dose of mifepristone (e.g. a daily dose of mifepristone of
 istered every day; or may be about 300 mg of mifepristone              about 1800 mg/day, or about 1500 mg/day, or about 1200
 administered every other day; or may be about 300 mg of                mg/day, or about 900 mg/day, or about 600 mg/day, or about
 mifepristone administered every third day. For example,                300 mg/day), and concomitant administration of mifepris-
 where the original dose of mifepristone is about 300 mg per       50   tone and ketoconazole is indicated, the subject may be
 day, the reduced dose of mifepristone may be about 300 mg              administered a reduced dose of mifepristone, where the
 of mifepristone administered every other day; or may be                amount of the reduced dose is less than the original mife-
 about 300 mg of mifepristone administered every third day;             pristone dose by about 300 mg mifepristone per day, and the
 or may be about 300 mg of mifepristone administered every              reduced dose of mifepristone may be subsequently titrated
 fourth day.                                                       55   upwards (i.e., increased in subsequent dose administrations)
    In embodiments in which a subject has been receiving                in increments of about 300 mg mifepristone. In embodi-
 about 1800 mg mifepristone per day, and concomitant                    ments, such upward titration of the reduced dose in incre-
 administration of mifepristone and ketoconazole is indi-               ments of300 mg/day may be subjected to a maximum daily
 cated, the reduced dose of mifepristone may be about 1500              dosage of about 600 mg/day, or of about 900 mg/day, or of
 mg mifepristone per day; may be about 1200 mg mifepris-           60   about 1200 mg/day, or of about 1500 mg/day. In embodi-
 tone per day; may be about 900 mg mifepristone per day;                ments, such upward titration of the dosage of the reduced
 may be about 600 mg mifepristone per day; may be about                 daily dose of mifepristone administered per day is capped at
 300 mg mifepristone per day; may be about 300 mg mife-                 a maximum daily dose, wherein said maximum daily dose is
 pristone every other day; or may be about 300 mg mifepris-             selected from the group consisting of 900 milligrams (mg)
 tone every third day. In embodiments in which a subject has       65   mifepristone per day and 600 mg mifepristone per day.
 been receiving about 1500 mg mifepristone per day, and                    The subject may be monitored for clinical effects of the
 concomitant administration of mifepristone and ketocon-                drugs, e.g., for clinical response to the GRA (e.g., mifepris-
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 tone), adverse events, side-effects of any drug, at any stage          subject receiving concomitant administration of mifepris-
 or at all stages, of such incremental upward titration of the          tone and ketoconazole may be reduced in compensation for
 mifepristone dosage. The interval of time between admin-               such a small increase in mifepristone plasma levels. In
 istration of a reduced dose, or of an upwardly titrated                embodiments in which a subject has been receiving mife-
 reduced dose, and an upward titration of a dose of mifepris-           pristone, and concomitant administration of mifepristone
 tone may be an interval selected from two days, four days,             and ketoconazole is indicated, the reduced dose of mifepris-
 one week, two weeks, one month, two months, and three                  tone may be reduced by about 22% of the original dose of
 months. In embodiments, the interval of time between                   mifepristone. In embodiments in which a subject has been
 upward titration of a reduced dose, or of an upwardly titrated         receiving mifepristone, and concomitant administration of
 reduced dose, and a subsequent upward titration of a dosage       10   mifepristone and ketoconazole is indicated, the reduced dose
 of the reduced dose of mifepristone is selected from one               of mifepristone may be reduced by about 23% of the original
 week, two weeks, three weeks, and four weeks. Monitoring               dose of mifepristone. In embodiments in which a subject has
 the patient for clinical response may include monitoring the           been receiving mifepristone, and concomitant administra-
 patient (e.g., to identifY or determine ifthere are changes in)        tion of mifepristone and ketoconazole is indicated, the
 for glucose control, anti-diabetic medication requirement,        15   reduced dose of mifepristone may be reduced by about 28%
 insulin level, psychiatric symptoms, cushingoid appearance,            of the original dose of mifepristone. In embodiments in
 acne, hirsutism, and monitoring the body weight of the                 which a subject has been receiving mifepristone, and con-
 patient (e.g., to identifY or determine if there are changes in        comitant administration of mifepristone and ketoconazole is
 any one or more of these symptoms and characteristics).                indicated, the reduced dose of mifepristone may be reduced
    In embodiments in which a subject has been receiving a         20   by about 29% of the original dose of mifepristone. In
 first dose of mifepristone (e.g. a daily dose of mifepristone          embodiments, the reduced dose of mifepristone is a dose of
 of about 1800 mg/day, or about 1500 mg/day, or about 1200              mifepristone that is at least about 90% of the original dose
 mg/day, or about 900 mg/day, or about 600 mg/day, or about             of mifepristone; and may be a dose of mifepristone that is at
 300 mg/day), and concomitant administration of mifepris-               least about 85%, or about 80%, or about 78%, or about 77%,
 tone and ketoconazole is indicated, the subject may be            25   or about 75%, or about 72%, or about 71%, or about 67%,
 administered a reduced dose of mifepristone, where the                 or about 62%, or about 60%, or about 50%, or about 34%,
 amount of the reduced dose is less than the original mife-             or about 25% of the original dose of mifepristone.
 pristone dose, and the reduced dose of mifepristone may be                Applicant further discloses herein that, since mifepristone
 about 1500 mg mifepristone per day, or about 1500 mg/day,              provides added therapeutic benefit synergistic with that of
 or about 1200 mg/day, or about 900 mg/day, or about 600           30   ketoconazole, concomitant administration of mifepristone
 mg/day, or about 300 mg/day; and the subject may be                    and ketoconazole makes it possible to reduce the dose of
 monitored for clinical response to the GRA, or for other               ketoconazole while maintaining mifepristone levels effec-
 clinical effects of the drugs. In such embodiments, the                tive for therapy for a patient. Such a reduction in ketocon-
 reduced dose of mifepristone may be subsequently titrated              azole dose provides the benefit of reducing the risk of toxic
 upwards (i.e., increased in subsequent dose administrations)      35   side-effects associated with all ketoconazole treatments.
 in increments of about 300 mg mifepristone. In embodi-                 Thus, concomitant administration ofketoconazole and mife-
 ments, such upward titration of the reduced dose in incre-             pristone, by allowing reduced ketoconazole dose, provides
 ments of300 mg/day may be subjected to a maximum daily                 improved, synergistic therapeutic benefits. In embodiments,
 dosage of about 600 mg/day, or of about 900 mg/day, or of              such ketoconazole dose reduction may be used to wean the
 about 1200 mg/day, or of about 1500 mg/day. In embodi-            40   patient off ketoconazole, leading to lower and lower keto-
 ments, such upward titration of the dosage of the reduced              conazole doses, thereby reducing the risk of ketoconazole
 daily dose of mifepristone administered per day is capped at           toxicity. In embodiments, such ketoconazole dose reduction
 a maximum daily dose, wherein said maximum daily dose is               may be used to wean the patient offketoconazole, leading to
 selected from the group consisting of 900 milligrams (mg)              lower and lower ketoconazole doses, with concomitant
 mifepristone per day and 600 mg mifepristone per day.             45   upward adjustment of mifepristone dosage as needed, ulti-
    The subject may be monitored for clinical response to the           mately leading to treatment with mifepristone alone and
 drugs, including e.g., clinical response to the GRA (e.g.,             cessation of ketoconazole treatment (lessening the risk of
 mifepristone), for adverse events, side-effects of any of the          liver damage and other toxicities). Embodiments in which
 drugs, at any stage, or at all stages, of such incremental             concomitant administration of ketoconazole and mifepris-
 upward titration of the mifepristone dosage. Upward titra-        50   tone may lead to ketoconazole dose reduction (as compared
 tion of a reduced dose of mifepristone may be performed                to the ketoconazole dose in the absence of mifepristone)
 every two days, or every four days, or every week, or every            include, e.g., Cushing's syndrome and hormone-sensitive
 two weeks, or every month, or every two months. In                     cancers such as breast, ovarian, and prostate cancer, and
 embodiments, the interval of time between upward titration             other disorders susceptible of treatment by mifepristone.
 of a reduced dose, or of an upwardly titrated reduced dose,       55      In embodiments, concomitant administration ofketocon-
 and a subsequent upward titration of a dosage of the reduced           azole and mifepristone allows for administration of an
 dose of mifepristone is selected from one week, two weeks,             effective dose of ketoconazole that is a reduced dose of
 three weeks, and four weeks.                                           ketoconazole as compared to the ketoconazole dose admin-
    Applicant discloses herein that concomitant treatment               istered in the absence of mifepristone. For example, Appli-
 with both mifepristone and ketoconazole may lead to small         60   cant discloses herein that concomitant administration of
 increases in plasma levels of mifepristone as measured by              mifepristone and ketoconazole makes it possible to reduce
 Cmax and as measured by AUC. For example, as disclosed                 the dose ofketoconazole while maintaining effective therapy
 in Table 3 below, concomitant administration of mifepris-              for the patient. Such a reduction in ketoconazole dose
 tone and ketoconazole led to about 28% (27.59%, or about               provides the benefit of reducing the amount ofketoconazole
 30%) increase in mifepristone Cmax and about 38%                  65   administered to the subject. Embodiments in which a subject
 (38.01 %, about 40%) increase in mifepristone AUC. Thus,               is concomitantly administered ketoconazole and mifepris-
 in embodiments, a mifepristone dose administered to a                  tone allow for ketoconazole dose reduction (as compared to
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 the ketoconazole dose in the absence of mifepristone)             making the final point of degeneration less debilitating; or
 include, e.g., Cushing's syndrome and hormone-sensitive           improving a patient's physical or mental well-being. The
 cancers such as breast, ovarian, and prostate cancer, and         treatment or amelioration of symptoms can be based on
 other disorders susceptible of treatment by ketoconazole and      objective or subjective parameters; including the results of a
 other steroidogenesis inhibitors.                                 physical examination; histopathological examination (e.g.,
    In embodiments, the reduced dose of ketoconazole               analysis of biopsied tissue); laboratory analysis of urine,
 administered to a subject also concomitantly receiving mife-      saliva, tissue samples, serum, plasma, or blood; or imaging.
 pristone is a dose of ketoconazole that is at least about 5%         As used herein, "treating a patient who is suffering from
 less than the original dose of ketoconazole, where the            Cushing's syndrome", or treating a subject who is suffering
 original dose of ketoconazole is the dose the subject had 10 from Cushing's syndrome", or similar phrases refer to,
 been, or would have been, administered in the absence of          without limitation, treating a patient suffering from Cush-
 mifepristone co-administration. In embodiments, the               ing's syndrome, including endogenous Cushing's syn-
 reduced dose ofketoconazole is a dose ofketoconazole that         drome; treating a patient suffering from Cushing's Disease;
 is at least about 10% less than the original dose ofketocon-      or treating a patient suffering from a condition associated
 azole; and may be a dose of ketoconazole that is at least 15 with Cushing's syndrome. A condition associated with
 about 15%, or about 20%, or about 25%, or about 33%, or           Cushing's syndrome is discussed above. For example, treat-
 about 50%, or about 66%, or about 75% less than the               ing a patient who is suffering from Cushing's syndrome may
 original dose of ketoconazole.                                    include administering mifepristone or other GRAto control
    Applicant provides definitions of some terms used in the       hyperglycemia secondary to hypercortisolism in adult
 present disclosure.                                            20 patients with endogenous Cushing's syndrome who have
    Definitions                                                    type 2 diabetes mellitus or glucose intolerance and have
    The abbreviations used herein have their conventional          failed surgery or are not candidates for surgery.
 meaning within the chemical and biological arts.                     As used herein, the term "administration" refers to the
    "Patient", "patient in need", "subject", "subject in need"     delivery of a drug or other therapeutic into the body of a
 and the like refer to a person having, or suspected of having, 25 patient in need of treatment by the drug or therapeutic,
 a disease or condition which may be treated by administra-        effective to achieve a therapeutic effect. Administration may
 tion of a therapeutic drug.                                       be by any suitable route of administration, including, for
    As used herein, the term "Cushing's syndrome" refers to        example, oral administration; intravenous administration;
 an array of symptoms caused by excess cortisol. Cushing's         subcutaneous administration; parenteral administration;
 syndrome includes endogenous Cushing's syndrome and 30 intra-arterial administration; nasal administration; topical
 ectopic Cushing's syndrome. Such symptoms include, for            administration; and other routes of administration.
 example, elevated blood pressure, elevated blood glucose,            As used herein, the terms "percent", "%" and "weight
 increased weight (typically in the mid-section, and in the        percent" when applied to a dosage administered to a subject,
 face causing a characteristic "moon-face"), immune sup-           all refer to a percentage taken by comparing the weight of a
 pression, thin skin, acne, depression, hirsutism, and other 35 first dose to that of a second dose, and multiplying the
 symptoms.                                                         resulting decimal fraction by 100. Thus, for example, where
    As used herein, "Cushing's Disease" refers to pituitary-       an original mifepristone dose is 1200 milligrams (mg), a
 dependent Cushing's syndrome, e.g., excess cortisol caused        dose that is reduced by 50% is a dose of 600 mg mifepris-
 by pituitary abnormality (typically a pituitary tumor). Cush-     tone; and where an original mifepristone dose is 600 milli-
 ing's Disease is thus a disease that is a particular type of 40 grams (mg), a dose that is reduced by 50% is a dose of 300
 Cushing's syndrome. The term Cushing's syndrome thus              mg mifepristone; and so forth.
 includes reference to Cushing's Disease.                             As used herein, the phrases "less than x by at least", "less
    As used herein, a "patient suffering from Cushing's            than x by at least about", and the like refer to amounts equal
 syndrome" refers to any patient suffering from Cushing's          to and less than the x, where xis a number. For example, the
 syndrome, including endogenous Cushing's syndrome; 45 phrase "less than the original dosage by at least 25%" refers
 Cushing's Disease; or a condition associated with Cushing's       to dosage amounts that include 25% less than the original
 syndrome. A condition associated with Cushing's syndrome          dosage as well as other percentages (e.g., 26%, 28%, etc.)
 may be, without limitation, a condition associated with           less than the original dosage amount.
 endogenous Cushing's syndrome; hyperglycemia secondary               As used herein, the terms "effective amount," "amounts
 to hypercortisolism; a condition of hypercortisolism in an so effective," therapeutic amount", and "therapeutically effec-
 endogenous Cushing's syndrome patient, said patient having        tive amount" refer to an amount or amounts of one or more
 type 2 diabetes mellitus or glucose intolerance; a condition      pharmacological agents effective to treat, eliminate, or miti-
 of hyperglycemia secondary to hypercortisolism in an              gate at least one symptom of the disease being treated. In
 endogenous Cushing's syndrome patient, said patient having        some cases, "effective amount," "amounts effective," "thera-
 type 2 diabetes mellitus or glucose intolerance and having 55 peutic amount", and "therapeutically effective amount" can
 failed surgery; hyperglycemia secondary to hypercorti-            refer to an amount of a functional agent or of a pharmaceu-
 solism in an endogenous Cushing's syndrome patient, said          tical composition useful for exhibiting a detectable thera-
 patient having type 2 diabetes mellitus or glucose intoler-       peutic or inhibitory effect.
 ance and having failed surgery or who is not a candidate for         As used herein, the term "simultaneously or sequentially
 surgery; and other conditions associated with Cushing's 60 administering" refers to administration of two compounds,
 syndrome.                                                         such as a GRA and a CYP3A inhibitor, such that the two
    "Treat", "treating" and "treatment" refer to any indicia of    compounds are in the body at the same time in therapeuti-
 success in the treatment or amelioration of a pathology or        cally effective amounts.
 condition, including any objective or subjective parameter           As used herein, "concomitant" means at the same, or
 such as abatement; remission; diminishing of symptoms or 65 nearly the same, time, and "concomitantly" refers to actions
 making the pathology or condition more tolerable to the           performed at the same, or nearly the same, time. As used
 patient; slowing in the rate of degeneration or decline;          herein, he terms "concurrent" and "concomitant" are equiva-
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 lent and may be used interchangeably. The adverbs "con-                response may include monitoring for clinical effect of a drug
 currently" and "concomitantly" are equivalent and may be               such as a GRM, including clinical efficacy of the GRM; for
 used interchangeably.                                                  clinical effect of a steroidogenesis inhibitor or CYP3A
    As used herein, the term "concomitant administration" of            inhibitor; for possible adverse reaction to a steroidogenesis
 two or more drugs means administering two or more drugs                inhibitor or CYP3A inhibitor; for possible adverse reaction
 at the same, or nearly the same, time. Concomitant admin-              to the use of a steroidogenesis inhibitor or CYP3A inhibitor
 istration of two or more drugs provides therapeutically                in combination with the GRM; for possible side-effects of a
 effective amounts of the two or more drugs in the system of            steroidogenesis inhibitor or CYP3A inhibitor, or their use in
 the subject at the same time. Concomitant administration               combination with the GRM; or combinations thereof.
 includes administration of a GRA to a patient who has             10
                                                                           As used herein, the term "AUC" means the area under the
 previously been administered a drug, such as a CYP3A
                                                                        plasma concentration-time curve, and serves as a measure of
 inhibitor or a steroidogenesis inhibitor, and therapeutically
                                                                        the plasma levels of a drug in a subject to whom the drug has
 effective levels of the CYP3A inhibitor or steroidogenesis
 inhibitor remain in the patient when the patient is adminis-           been administered.
 tered the GRA (e.g., when the patient is administered             15
                                                                           As used herein, the term "Cmax" means the maximum
 mifepristone), and includes administration of a CYP3A                  observed plasma concentration of a drug in a subject to
 inhibitor or a steroidogenesis inhibitor to a patient who has          whom the drug has been administered.
 previously been administered a drug, such as a GRA, and                   As used herein, the term "binding" refers to persistent
 therapeutically effective levels of the GRA remain in the              contact, or adherence (however brief or intermittent),
 patient when the patient is administered the CYP3A inhibi-        20   between two compounds.
 tor or steroidogenesis inhibitor.                                         As used herein, the terms "affinity", "binding affinity",
    As used herein, "concomitantly administering drugs"                 and related terms refer to the strength and specificity of
 means that two or more drugs are administered to a subject             binding, such as binding between a ligand and its receptor.
 at the same, or nearly the same, time. Drugs that are                  "Higher affinity" is used with reference to comparative
 concomitantly administered will each be present in thera-         25   binding between two ligands to a receptor, where the ligand
 peutically effective amounts in the system of the subject at           which binds with higher affinity binds at a lower concen-
 the same time. Nearly the same time means that only a short            tration than does the "lower affinity" ligand. For example, in
 amount of time separates two events, such as administration            a competitive binding experiment, a high affinity ligand will
 of a first drug and the administration of a second drug.               compete with a reference ligand for binding to a receptor at
    Events or actions that are "simultaneous" or that occur or     30   a lower concentration than will the low affinity ligand
 are performed "simultaneously" are events that occur or are            compete for binding at the receptor.
 performed at the same time.                                               The term "specific binding" refers to binding that is more
    As used herein, "at the same time" means that two events            selective, and typically stronger, than mere non-specific
 occur or are performed within about five minutes of each               adhesion between compounds. Specific binding may be
 other.                                                            35   exemplified by the binding which occurs between a ligand
    As used herein, "nearly the same time" means that two               and its receptor.
 events occur or are performed within about a short time of                Description of compounds useful in the methods dis-
 each other.                                                            closed herein, and suitable for the pharmaceutical compo-
    As used herein, a "short time", a "short amount of time",           sitions disclosed herein are described in accordance with
 a "short period of time", and the like mean a time that is less   40   principles of chemical bonding known to those skilled in the
 than about two hours, or less than about one hour, or less             art. Accordingly, where a group may be substituted by one
 than about 45 minutes, or less than about 30 minutes, or less          or more of a number of substituents, such substitutions are
 than about 20 minutes, or less than about 10 minutes, or less          selected so as to comply with principles of chemical bonding
 than about 7 minutes.                                                  and to give compounds which are not inherently unstable
    As used herein, the term "clinical effect" means changes       45   and/or would be known to one of ordinary skill in the art as
 in symptoms or signs characteristic of, or indicative of, a            likely to be unstable under ambient conditions, such as
 clinical condition or disorder. For example, where a subject           aqueous, neutral, or physiological conditions.
 is treated for Cushing's syndrome, including Cushing's                    Where substituent groups are specified by their conven-
 Disease, a clinical effect may be a change in any one or more          tional chemical formulae, written from left to right, they
 of blood pressure, blood glucose, other pre-diabetic symp-        50   equally encompass the chemically identical substituents that
 tom, weight, mid-section perimeter, facial characteristics             would result from writing the structure from right to left,
 (e.g., change in "moon-face" appearance), immune function,             e.g., ---CH 2 0 - is equivalent to ---OCH 2 - .
 skin thickness, acne, depression or other mood symptom,                   "Alkyl" refers to a straight or branched, saturated, ali-
 hirsutism, and other symptoms.                                         phatic radical having the number of carbon atoms indicated.
    As used herein, "monitoring for clinical response", e.g.,      55   Alkyl can include any number of carbons, such as C 1 _2 , C 1 _3 ,
 monitoring a patient for clinical response to a GRA such as            cl-4' c1_s, cl-6' cl-7' cl-8' cl-9' cl-10' c2-3' c2-4' c2_s, c2-6'
 mifepristone, may include monitoring the patient (e.g., to             C 3 _4 , C 3 _5 , C 3 _6 , C4 _5 , C4 _6 and C 5 _6 . For example, C 1 _6 alkyl
 identify or determine if there are changes in) for glucose             includes, but is not limited to, methyl, ethyl, propyl, isopro-
 control, anti-diabetic medication requirement, insulin level,          pyl, butyl, isobutyl, sec.butyl, tert.butyl, pentyl, isopentyl,
 psychiatric symptoms, cushingoid appearance, acne, hir-           60   hexyl, etc.
 sutism, and monitoring the body weight of the patient (e.g.,              "Alkoxy" refers to an alkyl group having an oxygen atom
 to identify or determine if there are changes in any one or            that connects the alkyl group to the point of attachment:
 more of these symptoms and characteristics). Monitoring for            alkyl-0-. As for the alkyl group, alkoxy groups can have
 clinical response may also include monitoring a patient for            any suitable number of carbon atoms, such as C 1 _6 . Alkoxy
 adverse events, for side-effects of any drug (including a         65   groups include, for example, methoxy, ethoxy, propoxy,
 GRA, a CYP3A inhibitor, a steroidogenesis inhibitor, and               iso-propoxy, butoxy, 2-butoxy, iso-butoxy, sec-butoxy, tert-
 combinations of these). Thus, monitoring for clinical                  butoxy, pentoxy, hexoxy, etc.
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    "Halogen" refers to fluorine, chlorine, bromine and                                          When heterocycloalkyl includes 3 to 8 ring members and
 iodine.                                                                                      1 to 3 heteroatoms, representative members include, but are
    "Haloalkyl" refers to alkyl, as defined above, where some                                 not limited to, pyrrolidine, piperidine, tetrahydrofuran,
 or all of the hydrogen atoms are replaced with halogen                                       oxane, tetrahydrothiophene, thiane, pyrazolidine, imidazo-
 atoms. As for the alkyl group, haloalkyl groups can have any                                 lidine, piperazine, oxazolidine, isoxazolidine, thiazolidine,
 suitable number of carbon atoms, such as C 1 _6 . For example,                               isothiazolidine, morpholine, thiomorpholine, dioxane and
 haloalkyl includes trifluoromethyl, fluoromethyl, etc. In                                    dithiane. Heterocycloalkyl can also form a ring having 5 to
 some instances, the term "perfluoro" can be used to define                                   6 ring members and 1 to 2 heteroatoms, with representative
 a compound or radical where all the hydrogens are replaced                                   members including, but not limited to, pyrrolidine, piperi-
                                                                                         10   dine, tetrahydrofuran, tetrahydrothiophene, pyrazolidine,
 with fluorine. For example, perfluoromethane includes 1,1,
                                                                                              imidazolidine, piperazine, oxazolidine, isoxazolidine, thi-
 1-trifluoromethyl.
                                                                                              azolidine, isothiazolidine, and morpholine.
    "Haloalkoxy" refers to an alkoxy group where some or all
                                                                                                 "Aryl" refers to an aromatic ring system having any
 of the hydrogen atoms are substituted with halogen atoms.                                    suitable number of ring atoms and any suitable number of
 As for the alkyl group, haloalkoxy groups can have any                                  15   rings. Aryl groups can include any suitable number of ring
 suitable number of carbon atoms, such as C 1 _6 . The alkoxy                                 atoms, such as, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15 or 16 ring
 groups can be substituted with 1, 2, 3, or more halogens.                                    atoms, as well as from 6 to 10, 6 to 12, or 6 to 14 ring
 When all the hydrogens are replaced with a halogen, for                                      members. Aryl groups can be monocyclic, fused to form
 example by fluorine, the compounds are per-substituted, for                                  bicyclic or tricyclic groups, or linked by a bond to form a
 example, perfluorinated. Haloalkoxy includes, but is not                                20   biaryl group. Representative aryl groups include phenyl,
 limited to, trifluoromethoxy, 2,2,2,-trifluoroethoxy, perfluo-                               naphthyl and biphenyl. Other aryl groups include benzyl,
 roethoxy, etc.                                                                               having a methylene linking group. Some aryl groups have
    "Cycloalkyl" refers to a saturated or partially unsaturated,                              from 6 to 12 ring members, such as phenyl, naphthyl or
 monocyclic, fused bicyclic or bridged polycyclic ring                                        biphenyl. Other aryl groups have from 6 to 10 ring members,
 assembly containing from 3 to 12 ring atoms, or the number                              25   such as phenyl or naphthyl. Some other aryl groups have 6
 of atoms indicated. Cycloalkyl can include any number of                                     ring members, such as phenyl. Aryl groups can be substi-
 carbons, such as C 3 _6 , C4 _6 , C 5 _6 , C3 _8 , C4 _8 , C 5 _8 , C 6 _8 , C 3 _9 ,        tuted or unsubstituted.
 c3-10' c3-W and c3-12" Saturated monocyclic cycloalkyl                                          "Heteroaryl" refers to a monocyclic or fused bicyclic or
 rings include, for example, cyclopropyl, cyclobutyl, cyclo-                                  tricyclic aromatic ring assembly containing 5 to 16 ring
 pentyl, cyclohexyl, and cyclooctyl. Saturated bicyclic and                              30   atoms, where from 1 to 5 of the ring atoms are a heteroatom
 polycyclic cycloalkyl rings include, for example, norbor-                                    such as N, 0 or S. Additional heteroatoms can also be useful,
 nane, [2.2.2] bicyclooctane, decahydronaphthalene and ada-                                   including, but not limited to, B, AI, Si and P. The heteroa-
 mantane. Cycloalkyl groups can also be partially unsatu-                                     toms can also be oxidized, such as, but not limited to,
 rated, having one or more double or triple bonds in the ring.                                N-oxide, -S(O)- and -S(0) 2 - . Heteroaryl groups can
 Representative cycloalkyl groups that are partially unsatu-                             35   include any number of ring atoms, such as, 3 to 6, 4 to 6, 5
 rated include, but are not limited to, cyclobutene, cyclopen-                                to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,
 tene, cyclohexene, cyclohexadiene (1,3- and 1,4-isomers),                                    or 3 to 12 ring members. Any suitable number of heteroa-
 cycloheptene, cycloheptadiene, cyclooctene, cyclooctadiene                                   toms can be included in the heteroaryl groups, such as 1, 2,
 (1,3-, 1,4- and 1,5-isomers ), norbomene, and norbornadiene.                                 3, 4, or 5, or 1 to 2, 1 to 3, 1 to 4, 1 to 5, 2 to 3, 2 to 4, 2
 When cycloalkyl is a saturated monocyclic C 3 _8 cycloalkyl,                            40   to 5, 3 to 4, or 3 to 5. Heteroaryl groups can have from 5 to
 exemplary groups include, but are not limited to cyclopro-                                   8 ring members and from 1 to 4 heteroatoms, or from 5 to
 pyl, cyclobutyl, cyclopentyl, cyclohexyl, cycloheptyl and                                    8 ring members and from 1 to 3 heteroatoms, or from 5 to
 cyclooctyl. When cycloalkyl is a saturated monocyclic C3 _6                                  6 ring members and from 1 to 4 heteroatoms, or from 5 to
 cycloalkyl, exemplary groups include, but are not limited to                                 6 ring members and from 1 to 3 heteroatoms. The heteroaryl
 cyclopropyl, cyclobutyl, cyclopentyl, and cyclohexyl.                                   45   group can include groups such as pyrrole, pyridine, imida-
    "Heterocycloalkyl" refers to a saturated ring system hav-                                 zole, pyrazole, triazole, tetrazole, pyrazine, pyrimidine,
 ing from 3 to 12 ring members and from 1 to 4 heteroatoms                                    pyridazine, triazine (1,2,3-, 1,2,4- and 1,3,5-isomers), thio-
 of N, 0 and S. Additional heteroatoms can also be useful,                                    phene, furan, thiazole, isothiazole, oxazole, and isoxazole.
 including, but not limited to, B, AI, Si and P. The heteroa-                                 The heteroaryl groups can also be fused to aromatic ring
 toms can also be oxidized, such as, but not limited to,                                 50   systems, such as a phenyl ring, to form members including,
 -S(O)- and -S(0) 2 - . Heterocycloalkyl groups can                                           but not limited to, benzopyrroles such as indole and isoin-
 include any number of ring atoms, such as, 3 to 6, 4 to 6, 5                                 dole, benzopyridines such as quinoline and isoquinoline,
 to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,                              benzopyrazine (quinoxaline), benzopyrimidine (quinazo-
 or 3 to 12 ring members. Any suitable number of heteroa-                                     line ), benzopyridazines such as phthalazine and cinnoline,
 toms can be included in the heterocycloalkyl groups, such as                            55   benzothiophene, and benzofuran. Other heteroaryl groups
 1, 2, 3, or 4, or 1 to 2, 1 to 3, 1 to 4, 2 to 3, 2 to 4, or 3 to                            include heteroaryl rings linked by a bond, such as bipyri-
 4. The heterocycloalkyl group can include groups such as                                     dine. Heteroaryl groups can be substituted or unsubstituted.
 aziridine, azetidine, pyrrolidine, piperidine, azepane, azo-                                    The heteroaryl groups can be linked via any position on
 cane, quinuclidine, pyrazolidine, imidazolidine, piperazine                                  the ring. For example, pyrrole includes 1-, 2- and 3-pyrrole,
 (1,2-, 1,3- and 1,4-isomers), oxirane, oxetane, tetrahydro-                             60   pyridine includes 2-, 3- and 4-pyridine, imidazole includes
 furan, oxane (tetrahydropyran), oxepane, thiirane, thietane,                                 1-, 2-, 4- and 5-imidazole, pyrazole includes 1-, 3-, 4- and
 thiolane (tetrahydrothiophene ), thiane (tetrahydrothiopy-                                   5-pyrazole, triazole includes 1-, 4- and 5-triazole, tetrazole
 ran), oxazolidine, isoxalidine, thiazolidine, isothiazolidine,                               includes 1- and 5-tetrazole, pyrimidine includes 2-, 4-, 5-
 dioxolane, dithiolane, morpho line, thiomorpholine, dioxane,                                 and 6-pyrimidine, pyridazine includes 3- and 4-pyridazine,
 or dithiane. The heterocycloalkyl groups can also be fused to                           65   1,2,3-triazine includes 4- and 5-triazine, 1,2,4-triazine
 aromatic or non-aromatic ring systems to form members                                        includes 3-, 5- and 6-triazine, 1,3,5-triazine includes 2-tri-
 including, but not limited to, indoline.                                                     azine, thiophene includes 2- and 3-thiophene, furan includes
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 2- and 3-furan, thiazole includes 2-, 4- and 5-thiazole,                  As used herein, the term "ketoconazole" refers to the
 isothiazole includes 3-, 4- and 5-isothiazole, oxazole                 molecule having the chemical name "1-acetyl-4-[4-[[2-(2,
 includes 2-, 4- and 5-oxazole, isoxazole includes 3-, 4- and           4-dichlorophenyl)-2-[ (lH -imidazol-1-yl)-methyl]-1 ,3-di-
 5-isoxazole, indole includes 1-, 2- and 3-indole, isoindole            oxolan-4-yl]methoxy]phenyl]piperaziner)"; it is sold for
 includes 1- and 2-isoindole, quinoline includes 2-, 3- and             clinical use under the name "Nizoral®", and may also be
 4-quinoline, isoquinoline includes 1-, 3- and 4-isoquinoline,          referred to by the abbreviation "keto".
 quinazoline includes 2- and 4-quinoazoline, cinnoline                     As used herein, the terms "steroid" and "steroids", and the
 includes 3- and 4-cinnoline, benzothiophene includes 2- and            phrase "steroidal backbone" in the context of glucocorticoid
 3-benzothiophene, and benzofuran includes 2- and 3-ben-                receptor antagonists containing such refers to glucocorticoid
                                                                        receptor antagonists that contain modifications of the basic
 zofuran.                                                          10
                                                                        structure of cortisol, an endogenous steroidal glucocorticoid
    Some heteroaryl groups include those having from 5 to 10
                                                                        receptor ligand. The basic structure of a steroidal backbone
 ring members and from 1 to 3 ring atoms including N, 0 or              is provided as Formula I:
 S, such as pyrrole, pyridine, imidazole, pyrazole, triazole,
 pyrazine, pyrimidine, pyridazine, triazine (1,2,3-, 1,2,4- and
 1,3,5-isomers ), thiophene, furan, thiazole, isothiazole,         15
                                                                                                                                      Formula!
 oxazole, isoxazole, indole, isoindole, quinoline, isoquino-                                                    17
 line, quinoxaline, quinazoline, phthalazine, cinnoline, ben-
 zothiophene, and benzofuran. Other heteroaryl groups                                                                16
 include those having from 5 to 8 ring members and from 1
 to 3 heteroatoms, such as pyrrole, pyridine, imidazole,           20
 pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine
 (1,2,3-, 1,2,4- and 1,3,5-isomers), thiophene, furan, thiazole,
 isothiazole, oxazole, and isoxazole. Some other heteroaryl
 groups include those having from 9 to 12 ring members and                                 Steroidal Backbone
 from 1 to 3 heteroatoms, such as indole, isoindole, quina-        25
 line, isoquinoline, quinoxaline, quinazoline, phthalazine,                The two most commonly known classes of structural
 cinnoline, benzothiophene, benzofuran and bipyridine. Still            modifications of the cortisol steroid backbone to create
 other heteroaryl groups include those having from 5 to 6 ring          glucocorticoid antagonists include modifications of the 11-~
 members and from 1 to 2 ring heteroatoms including N, 0                hydroxy group and modification of the 17 -~ side chain (See,
 or S, such as pyrrole, pyridine, imidazole, pyrazole, pyra-       30   e. g., Lefebvre (1989) J. Steroid Biochem. 33: 557-563).
 zine, pyrimidine, pyridazine, thiophene, furan, thiazole, iso-            As used herein, the terms "progesterone receptor" and
 thiazole, oxazole, and isoxazole.                                      "PR" refer to a naturally occurring receptor which binds
    Some heteroaryl groups include from 5 to 10 ring mem-               progesterone.
                                                                           The term "aldosterone" refers to the naturally occurring
 bers and only nitrogen heteroatoms, such as pyrrole, pyri-
                                                                        mineralocorticoid hormone having the structure:
 dine, imidazole, pyrazole, triazole, pyrazine, pyrimidine,        35
 pyridazine, triazine (1,2,3-, 1,2,4- and 1,3,5-isomers),
 indole, isoindole, quinoline, isoquinoline, quinoxaline, qui-                                                             OH.
 nazoline, phthalazine, and cinnoline. Other heteroaryl
 groups include from 5 to 10 ring members and only oxygen
 heteroatoms, such as furan and benzofuran. Some other             40
 heteroaryl groups include from 5 to 10 ring members and
 only sulfur heteroatoms, such as thiophene and benzothio-
 phene. Still other heteroaryl groups include from 5 to 10 ring
 members and at least two heteroatoms, such as imidazole,
 pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine    45
 (1,2,3-, 1,2,4- and 1,3,5-isomers), thiazole, isothiazole,                         0
 oxazole, isoxazole, quinoxaline, quinazoline, phthalazine,
 and cinnoline.                                                            A mineralocorticoid receptor (MR), also known as a type
    "Heteroatoms" refers to 0, S or N.                                  I glucocorticoid receptor (GR I), is activated by aldosterone
    "Salt" refers to acid or base salts of the compounds used      50
                                                                        in humans.
                                                                           The term "cortisol" refers to the naturally occurring
 in the methods of the present invention. Illustrative
 examples of pharmaceutically acceptable salts are mineral              glucocorticoid hormone (also known as hydrocortisone)
 acid (hydrochloric acid, hydrobromic acid, phosphoric acid,            having the structure:
 and the like) salts, organic acid (acetic acid, propionic acid,
 glutamic acid, citric acid and the like) salts, quaternary        55
 ammonium (methyl iodide, ethyl iodide, and the like) salts.
 It is understood that the pharmaceutically acceptable salts
 are non-toxic. Additional information on suitable pharma-
                                                                                                                          0-(    0.
 ceutically acceptable salts can be found in Remington's
 Pharmaceutical Sciences, 17th ed., Mack Publishing Com-           60
 parry, Easton, Pa., 1985, which is incorporated herein by
 reference.
    "Isomers" refers to compounds with the same chemical
 formula but which are structurally distinguishable.
    "Tautomer" refers to one of two or more structural iso-        65
 mers which exist in equilibrium and which are readily                          o
 converted from one form to another.
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    As used herein, the term glucocorticoid receptor (GR)                glucocorticoid receptor antagonist binds GR with an affinity
 refers to a receptor that binds a glucocorticoid, such as               that is 1OOx greater (l!too'h the Kd value) than its affinity to
 cortisol, dexamethasone, or other molecules. A glucocorti-              the MR, AR, or PR.
 coid receptor, also known as a corticosteroid receptor or as               In embodiments, a glucocorticoid receptor modulator
 a type II glucocorticoid receptor (GR II), and in humans, as       5    (GRM) is a glucocorticoid receptor antagonist (GRA). In
 a cortisol receptor, is activated by cortisol in humans (or,            embodiments, the GRA is an antagonist of a glucocorticoid
 e.g., by corticosterone ("cortisone") in some other animals,            type II (GRIT) receptor. In embodiments, the GRA binds
 such as rats and mice). The human cortisol receptor (GR II              preferentially to a GRII receptor as compared to its binding
 receptor, Genbank: P04150) specifically binds to cortisol               to a glucocorticoid type I (GRI) receptor. In embodiments,
                                                                    10
 and/or cortisol analogs (e.g. dexamethasone). The term                  the GRA reduces the activation of a GRIT receptor. In
 includes isoforms of GR II, recombinant GRII, and mutated               embodiments, the GRA reduces the activity of a GRII
 GRII.                                                                   receptor. In embodiments, the GRA may bind to a proges-
    As used herein, the term glucocorticoid receptor modu-               terone receptor (PR), and may bind to a glucocorticoid
 lator (GRM) refers to an agent that affects the action of a             receptor with higher affinity than it binds to PR. In embodi-
 glucocorticoid receptor (GR). Such modulation may include          15   ments, the GRA is mifepristone. In embodiments, the GRA
 activation (agonist action), partial activation (partial agonist        is a selective inhibitor of the glucocorticoid receptor. In
 action), inhibition (reduction in activation of the receptor            embodiments, the GRAmay only poorly bind to PR, or may
                                                                         not measurably bind to PR.
 under conditions where it would otherwise be activated,
                                                                            As used herein, a "steroidal glucocorticoid receptor
 such as in the presence of cortisol), and blockade (complete       20
                                                                         antagonist" means a molecule including a steroid backbone
 or near complete suppression of activation of the receptor
                                                                         structure which antagonizes the binding of cortisol, corti-
 under conditions where it would otherwise be activated,                 costerone, or dexamethasone to a glucocorticoid receptor, or
 such as in the presence of cortisol). GRMs may affect the               which reduces or blocks the activation of a glucocorticoid
 activity of a GR by increasing or by decreasing the activity            receptor by cortisol, corticosterone, or dexamethasone.
 of the GR. GRMs include steroids, and, in embodiments,             25
                                                                         Examples of steroidal glucocorticoid receptor antagonists
 include pyrimidinediones; azadecalins; fused-ring azadeca-              include mifepristone, monodemethylated mifepristone,
 lins; heteroaryl-ketone fused-ring azadecalins; and other               didemethylated mifepristone, 17 -a-[3'-hydroxy-propynyl]
 compounds.                                                              mifepristone, ulipristal (CDB-2914), CDB-3877, CDB-
    As used herein, the terms "glucocorticoid agonist", "glu-            3963, CDB-3236, CDB-4183, cortexolone, dexamethasone-
 cocorticoid receptor agonist", "glucocorticoid receptor type       30   oxetanone, 19-nordeoxycorticosterone, 19-norprogesterone,
 II agonist", and "GRII agonist" refer to a compound or agent            cortisol-21-mesylate; dexamethasone-21-mesylate, 11 (-(4-
 which may bind to and activate a cortisol receptor. Such                dimethylaminoethoxyphenyl)-17(-propynyl-17( -hydroxy-4,
 agents include, for example, cortisol, dexamethasone, pred-             9-estradien-3-one, and 17(-hydroxy-17(-19-(4-methylphe-
 nisone, and other compounds and agents which bind to and                nyl)androsta-4,9(11 )-dien-3-one.
                                                                    35
 activate a GRII.                                                           Mifepristone is a GRA, which binds to GRII (and which
    As used herein, the terms "glucocorticoid antagonist",               also binds to a progesterone receptor). As used herein, the
 "glucocorticoid receptor antagonist", "glucocorticoid                   term "mifepristone" refers to 11 ~-(4-dimethylaminophe-
                                                                         nyl)-17~-hydroxy-17a-(1-propynyl)-estra-4,9-dien-3-one ),
 antagonist", "glucocorticoid receptor type II antagonist",
                                                                         also referred to as RU486, or as RU38.486, or as 17 -beta-
 "GRIT antagonist", and "GRA" refer to agents that inhibit
                                                                    40   hydroxy -11-beta-( 4-dimethy1-aminopheny1)-1 7 -alpha-( 1-
 the action of a cortisol receptor; such inhibition may include
                                                                         propynyl)-estra-4,9-dien-3-one). Mifepristone binds to the
 interfering with the binding of a glucocorticoid agonist such
                                                                         glucocorticoid receptor (GR), typically with high affinity,
 as cortisol, dexamethasone, or other compound or agent                  and inhibits the biological effects initiated/mediated by the
 which may bind to and activate a cortisol receptor. A GRA               binding of any cortisol or cortisol analogue to a GR receptor.
 is a glucocorticoid receptor modulator. Inhibition constants       45
                                                                         Salts, hydrates and prodrugs of mifepristone are all included
 (K,) for GRAs against the human cortisol receptor may be                in the term "mifepristone" as used herein. Thus, used herein,
 between about 0.0001 nM and about 1,000 nM; preferably                  "mifepristone" refers to the molecule that has the following
 may be between about 0.0005 nM and about 10 nM, and                     structure:
 most preferably between about 0.001 nM and about 1 nM.
    The term "glucocorticoid receptor antagonist" refers to         50
 any composition or compound which partially or completely
 inhibits (antagonizes) the binding of a glucocorticoid recep-
 tor (GR) agonist, such as cortisol, or cortisol analogs,
 synthetic or natural, to a GR. A "specific glucocorticoid
 receptor antagonist" refers to any composition or compound         55
 which inhibits any biological response associated with the
 binding of a GR to an agonist. By "specific," we intend the
 drug to preferentially bind to the GR rather than another
 nuclear receptors, such as mineralocorticoid receptor (MR)
 or progesterone receptor (PR).                                     60
    By "specific," the drug preferentially binds to the GR
 rather than other nuclear receptors, such as mineralocorti-
 coid receptor (MR), androgen receptor (AR), or progester-                  and to salts, hydrates and prodrugs thereof, and pharma-
 one receptor (PR). It is preferred that the specific glucocor-          ceutical compositions thereof. Mifepristone is also some-
 ticoid receptor antagonist bind GR with an affinity that is        65   times abbreviated as "mife" and "MIFE".
 1Ox greater (1/w'h the Kd value) than its affinity to the MR,              Metabolites of mifepristone include RU42633 (desmeth-
 AR, or PR. In a more preferred embodiment, the specific                 ylmifepristone:       (8S,11R,13S,14S,17S)-17-hydroxy-13-
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 methyl-11-[ 4-(methylamino )phenyl]-17-prop-1-ynyl-1 ,2,6,                heteroaryl, optionally substituted with from 1 to 3 Ria
 7 ,8, 11, 12, 14, 15, 16-decahydrocyclopenta[a]phenanthren-3-             groups; each Ria is independently selected from the group
 one); RU42698 (22-hydroxy mifepristone: (8S,11R,13S,                      consisting of H, CI_ 6 alkyl, C 2_6 alkenyl, C 2_6 alkynyl, CI_ 6
 14S,17S)-11-[ 4-(dimethylamino )phenyl]-17-hydroxy-17-                    alkoxy, CI_ 6 alkyl ORI 6 , halogen, CI_ 6 haloalkyl, CI_ 6
 (3-hydroxyprop-1-ynyl)-13-methyl-1 ,2,6, 7,8, 11, 12, 14, 15,        5    haloaloxy, ORI 6 , NRI 6 Ric, C(O)RI 6 , C(O)ORI 6 , OC(O)
 16-decahydrocyclopenta[a ]phenanthren-3-one);                  and        Rib' C(O)NRibRic, NRibC(O)Ric, S02Rib' S02NRibRic,
 RU42848 (didesmethylmifepristone: (8S,11R,13S,14S,                        cycloalkyl, heterocycloalkyl, aryl and heteroaryl; Rib and
 17S)-11-(4-aminophenyl)-17-hydroxy-13-methyl-17-prop-                     Ric are each independently selected from the group consist-
 1-ynyl-1 ,2,6, 7 ,8, 11, 12, 14, 15, 16-decahydrocyclopenta[a]            ing of H and CI_ 6 alkyl; R 2 is selected from the group
                                                                      10
 phenanthren-3-one), among others.                                         consisting of H, CI_ 6 alkyl, CI_ 6 alkyl-ORI 6 , CI_ 6 alkyl
     In some embodiments, the GRA comprises a steroidal                    NRI 6 Ric and CI_ 6 alkylene heterocycloalkyl; R3 is selected
 backbone with at least one phenyl-containing moiety in the                from the group consisting of H and CI_ 6 alkyl; Ar is aryl,
 11-~ position of the steroidal backbone. In some cases, the               optionally substituted with 1-4 R4 groups; each R4 is inde-
 phenyl-containing moiety in the 11-~ position of the steroi-         15   pendently selected from the group consisting of H, CI_ 6
 dal backbone is a dimethylaminophenyl moiety. In some                     alkyl, CI-6 alkoxy, halogen, CI-6 haloalkyl and CI-6
 cases, the GRA is mifepristone. In some embodiments, the                  haloalkoxy; L I is a bond or CI_ 6 alkylene; and subscript n is
 GRA is selected from the group consisting of 11 ~-(4-                     an integer from 0 to 3, or salts and isomers thereof.
 dimethy laminoethoxypheny1)-1 7a-propyny1-1 7 ~-hydroxy-
 4,9 estradien-3-one and (17a)-17-hydroxy-19-(4-methyl-                       In some cases, the GRA having a non-steroidal backbone
 phenyl)androsta-4,9(11 )-dien-3-one. In some embodiments,            20   is a fused azadecalin. In some cases, the fused azadecalin is
 the GRA is (11~, 17~)-11-(1,3-benzodioxol-5-yl)-17-hy­                    a compound having the following formula:
 droxy-17 -(1-propynyl)estra-4,9-dien-3-one.
     As used herein, the phrase "non-steroidal backbone" in
 the context of glucocorticoid receptor antagonists containing
                                                                      25
 such refers to glucocorticoid receptor antagonists that do not
 share structural homology to, or are not modifications of,
 cortisol. Such compounds include, for example, small mol-
 ecules, synthetic mimetics and analogs of proteins, including
 partially peptidic, pseudopeptidic and non-peptidic molecu-
 lar entities.                                                        30
     In some embodiments, the GRA is a non-steroidal com-
 pound. In embodiments, non-steroidal GRA compounds
 include compounds having a cyclohexyl-pyrimidine back-                       wherein U and L 2 are members independently selected
 bone; non-steroidal GRA compounds having a fused aza-                     from a bond and unsubstituted alkylene; RI is a member
 decalin backbone; non-steroidal GRA compounds having a               35   selected from unsubstituted alkyl, unsubstituted heteroalkyl,
 heteroaryl ketone fused azadecalin backbone; and non-                     unsubstituted heterocycloalkyl, ---ORIA, NRicRw, ---C(O)
 steroidal GRA compounds having an octahydro fused aza-                    NRicRID, and -C(O)ORIA' wherein RIA is a member
 decalin backbone. Exemplary glucocorticoid receptor                       selected from hydrogen, unsubstituted alkyl and unsubsti-
 antagonists having a cyclohexyl-pyrimidine backbone                       tuted heteroalkyl, Ric and RID are members independently
                                                                      40
 include those described in U.S. Pat. No. 8,685,973. Exem-                 selected from unsubstituted alkyl and unsubstituted het-
 plary glucocorticoid receptor antagonists having a fused                  eroalkyl, wherein Ric and RID are optionally joined to form
 azadecalin backbone include those described in U.S. Pat.                  an unsubstituted ring with the nitrogen to which they are
 Nos. 7,928,237; and 8,461,172. Exemplary glucocorticoid                   attached, wherein said ring optionally comprises an addi-
 receptor antagonists having a heteroaryl ketone fused aza-                tional ring nitrogen; R2 has the formula:
                                                                      45
 decalin backbone include those described in U.S. Pat. No.
 8,859,774. Exemplary glucocorticoid receptor antagonists
 having an octohydro fused azadecalin backbone include
 those described in U.S. Patent Application Publication
 20150148341.
                                                                      50
     In some cases, the GRA having a non-steroidal backbone
 is a cyclohexyl pyrimidine. In some cases, wherein the
 cyclohexyl pyrimidine has the following formula:                             wherein R2G is a member selected from hydrogen, halo-
                                                                           gen, unsubstituted alkyl, unsubstituted heteroalkyl, unsub-
                                                                      55   stituted cycloalkyl, unsubstituted heterocycloalkyl, -CN,
                          0
                                                                           and ---CF 3 ; J is phenyl; t is an integer from 0 to 5; X is
                                                                           -S(0 2)-; and R5 is phenyl optionally substituted with 1-5
                                                                           R 5 A groups, wherein R5 A is a member selected from hydro-
                                                                           gen, halogen, ---OR5 AI' S(0 2)NR5 A2R5 A3 , ---CN, and
                                                                      60
                                                                           unsubstituted alkyl, wherein R5 AI is a member selected from
                                                                           hydrogen and unsubstituted alkyl, and R 5 A 2 and R 5 A 3 are
                                                                           members independently selected from hydrogen and unsub-
                                                                           stituted alkyl, or salts and isomers thereof.
                                                                              In some cases, the GRA having a non-steroidal backbone
    wherein the dashed line is absent or a bond; X is selected        65   is a heteroaryl ketone fused azadecalin or an octahydro fused
 from the group consisting of 0 and S; R I is selected from the            azadecalin. In some cases, the heteroaryl ketone fused
 group consisting of cycloalkyl, heterocycloalkyl, aryl and                azadecalin has the formula:
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                                                                          substituted with 1-4 groups each independently selected
                                                                          from R 1 a; each R 1 a is independently selected from the group
                                                                          consisting of hydrogen, c1-6 alkyl, halogen, c1-6 haloalkyl,
                                                                          C 1 _6 alkoxy, C 1 _6 haloalkoxy, N-oxide, and C 3 _8 cycloalkyl;
                                                                     5    ring J is selected from the group consisting of an aryl ring
                                                                          and a heteroaryl ring having from 5 to 6 ring members and
                                                                          from 1 to 4 heteroatoms each independently selected from
                                                                          the group consisting ofN, 0 and S; each R 2 is independently
                                                                          selected from the group consisting of hydrogen, C 1 _6 alkyl,
                                                                     10   halogen, c1-6 haloalkyl, c1-6 alkoxy, c1-6 haloalkoxy, c1-6
    wherein R 1 is a heteroaryl ring having from 5 to 6 ring              alkyl-C 1 _6 alkoxy, CN, OH, NR2 aR26 , C(O)R2 a, C(O)OR2 a,
 members and from 1 to 4 heteroatoms each independently                   C(O)NR2 aR26 , SR2 a, S(O)R2 a, S(0) 2 R 2 a, C 3 _8 cycloalkyl,
 selected from the group consisting ofN, 0 and S, optionally              and c3-8 heterocycloalkyl having from 1 to 3 heteroatoms
 substituted with 1-4 groups each independently selected                  each independently selected from the group consisting ofN,
 from R 1 a; each R 1 a is independently selected from the group     15   0 and S; alternatively, two R 2 groups on adjacent ring atoms
 consisting of hydrogen, c1-6 alkyl, halogen, c1-6 haloalkyl,             are combined to form a heterocycloalkyl ring having from 5
 C 1 _6 alkoxy, C 1 _6 haloalkoxy, CN, N-oxide, C 3 _8 cycloalkyl,        to 6 ring members and from 1 to 3 heteroatoms each
 and c3-8 heterocycloalkyl; ring J is selected from the group             independently selected from the group consisting of N, 0
 consisting of a cycloalkyl ring, a heterocycloalkyl ring, an             and S, wherein the heterocycloalkyl ring is optionally sub-
 aryl ring and a heteroaryl ring, wherein the heterocycloalkyl       20   stituted with from 1 to 3 R 2 c groups; R 2 a, R 26 and R 2 c are
 and heteroaryl rings have from 5 to 6 ring members and from              each independently selected from the group consisting of
 1 to 4 heteroatoms each independently selected from the                  hydrogen and C 1 _6 alkyl; each R 3 a is independently halogen;
 group consisting of N, 0 and S; each R 2 is independently                and subscript n is an integer from 0 to 3, or salts and isomers
 selected from the group consisting of hydrogen, C 1 _6 alkyl,            thereof.
 halogen, c1-6 haloalkyl, c1-6 alkoxy, c1-6 haloalkoxy, c1-6         25      Further examples of non-steroidal glucocorticoid receptor
 alkyl-C 1 _6 alkoxy, CN, OH, NR2 aR26 , C(O)R2 a, C(O)OR2 a,             antagonists include, for example N-(2-[4,4',441-trichlorotri-
 C(O)NR2 aR26 , SR2 a, S(O)R2 a, S(0) 2 R 2 a, C 3 _8 cycloalkyl,         tyl]oxyethyl)morpholine;          1-(2[4,4',4"-trichlorotrityl]oxy-
 and c3-8 heterocycloalkyl, wherein the heterocycloalkyl                  ethyl)-4-(2-hydroxyethyl)piperazine dimaleate; N-([4,4',
 groups are optionally substituted with 1-4 R 2 c groups; alter-          4 "]-trichlorotrityl)imidazole;              9-(3-mercapto-1 ,2,4-
 natively, two R 2 groups linked to the sam~ carbon ar~              30   triazolyl)-9-phenyl-2,7 -difluorofluorenone;                   1-(2-
 combined to form an oxo group (=0); alternatively, two R                 chlorotrityl)-3,5-dimethylpyrazole; 4-(morpholinomethyl)-
 groups are combined to form a heterocycloalkyl ring having               A-(2-pyridyl)benzhydrol;                      5-(5-methoxy-2-(N-
 from 5 to 6 ring members and from 1 to 3 heteroatoms each                methylcarbamoyl)-phenyl)dibenzosuberol;                       N-(2-
 independently selected from the group consisting of N, 0                 chlorotrityl)-L-prolinol acetate; 1-(2-chlorotrityl)-1 ,2,4-
 and S, wherein the heterocycloalkyl ring is optionally sub-         35   triazole;        1,S-bis(4,4',4"-trichlorotrityl)-1 ,2,4-triazole-3-
 stituted with from 1 to 3 R 2 d groups; R 2 a and R 26 are each          thiol;     4a(S)-Benzyl-2(R)-chloroethynyl-1,2,3,4,4a,9,10,
 independently selected from the group consisting of hydro-               1Oa(R)-octahydro-phenanthrene-2,7 -dial ("CP 394531 "),
 gen and C 1 _6 alkyl; each R 2 c is independently selected from          4a(S)-Benzyl-2(R)-prop-1-ynyl-1 ,2,3,4,4a,9, 10,1 Oa(R)-
 the group consisting of hydrogen, halogen, hydroxy, c1-6                 octahydro-phenanthrene-2, 7 -dial ("CP-409069"), trans-(! R,
 alkoxy, C 1 _6 haloalkoxy, CN, and NR2 aR26 ; each R 2 d is         40   2R)-3,4-dichloro-N-methyl-N-[2-1 pyrrolidinyl)cyclohexyl]
 independently selected from the group consisting of hydro-               benzeneacetamide, bremazocine, and ethylketocyclazocine.
 gen and C 1 _6 alkyl, or two R 2 d groups attached to the same              As used herein, the term "hormone-sensitive cancer"
 ring atom are combined to form (=0); R3 is selected from                 refers to any cancer which may be affected by a hormone;
 the group consisting of phenyl and pyridyl, each optionally              hormones typically increase proliferation of hormone-sen-
 substituted with 1-4 R 3 a groups; each R 3 a is independently      45   sitive cancers. Hormone sensitive cancers include, e.g.,
 selected from the group consisting of hydrogen, halogen,                 prostate cancer and other androgen-sensitive cancers; breast
 and C 1 _6 haloalkyl; and subscript n is an integer from 0 to 3;         cancer, ovarian cancer and other estrogen-sensitive or pro-
 or salts and isomers thereof.                                            gesterone-sensitive cancers.
    In some cases, the octahydro fused azadecalin has the                    As used herein, the term "chemotherapy" refers to medi-
 formula:                                                            50   cal treatments typically used to treat cancer. Chemotherapy
                                                                          treatments include the use of agents which are toxic to
                                                                          cancerous tissues and cells, or which act to slow or reduce
                                                                          the growth or spread of cancerous tissues and cells. Che-
                                                                          motherapy agents include antineoplastic agents and may be
                                                                     55   derived from natural compounds (e.g., taxols ); may be, may
                                                                          mimic, or may reduce or block the actions of naturally
                                                                          occurring hormones, growth factors, or immunologically
                                                                          active molecules; may be synthetic small molecules; may be
                                                                          antibodies or antibody conjugates; and may be other agents.
                                                                     60   Exemplary chemotherapy agents include, but are not limited
                                                                          to, taxanes, taxol, docetaxel, paclitaxel, actinomycin, anthra-
                                                                          cyclines, doxorubicin, daunorubicin, valrubicin, bleomycin,
                                                                          cisplatin, trastuzumab (Herceptin®), trastuzumab emtasine
                                                                          (Kadcyla®), imatinib (Gleevec®), eribulin (Halaven®),
   wherein R 1 is a heteroaryl ring having from 5 to 6 ring          65   among others known in the art.
 members and from 1 to 4 heteroatoms each independently                      As used herein, a phrase of the form "the reduced dose of
 selected from the group consisting ofN, 0 and S, optionally              Z is a dose that is at least about X % less than the original
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 dose" (where "Z" represents a pharmaceutical compound or                  (increasing the amount or activity of one or more CYP
 pharmaceutical composition, and "X" represents a numeri-                  enzymes); inhibition (reducing the activity of one or more
 cal value) is used to indicate that the reduced dose is an                CYP enzymes); competition (competing for sites or occu-
 amount of Z calculated by 1) multiplying the amount of Z in               pying sites, e.g., as a substrate, of one or more CYP
 the original dose by X %to obtain a multiplicative product,               enzymes); or by other means. Particular CYP enzymes
 and 2) subtracting that product from the original dose. Thus,             include, for example, CYP1A2, CYP2C9, CYP2C19,
 for example, where the original dose is 600 mg, and X % is                CYP2D6, and CYP3A enzymes.
 50%, the multiplicative product of 600 mg and 50% is 300                      As used herein, a "CYP3A inhibitor" is a compound
 mg, and the reduced dose is 300 mg; and, for example,                     which reduces or blocks the activity of the cytochrome
 where the original dose is 900 mg, and X % is 66%, the               10   CYP3A, or reduces or blocks the expression of the gene-
 multiplicative product of 900 mg and 66% is about 600 mg                  product of CYP3A genes (e.g., inhibits transcription or
 (594 mg), and the reduced dose is about 300 mg (306 mg).                  translation of CYP3A genes). CYP3A inhibitors may be
    As used herein, the terms "pharmaceutical composition"                 termed strong or moderate if their administration, along with
 and "formulation" refer to compositions suitable for admin-               a test drug known to be metabolized by CYP3A enzymes
 istration to a patient for treatment of a medical condition or       15   (such as, e.g., midazolam), raises the AUC (area under the
 for amelioration of symptoms of a medical condition. A                    concentration curve) of the test drug by greater than five-
 pharmaceutical composition as disclosed herein includes an                fold (strong CYP3A inhibitors) or by between two-fold and
 active ingredient (e.g., a GRA, such as, e.g., mifepristone; or           five-fold (moderate CYP3A inhibitors). Inhibitors of
 a combination of a GRA and a SI, where the SI may be, e.g.,               CYP3A include, for example, ketoconazole, itraconazole,
 ketoconazole) and a pharmaceutically acceptable excipient.           20   fluconazole, cimetidine, nefazodone, ritonavir, nelfinavir,
 In embodiments, a pharmaceutical composition includes one                 indinavir, atazanavir, amprenavir, fosamprenavir, bocepre-
 or more active ingredients and one or more pharmaceutically               vir, clarithromycin, conivaptan, lopinavir, posaconazole,
 acceptable excipients.                                                    saquinavir, telaprevir, telithromycin, and voriconazole.
    As used herein, the terms "pharmaceutically acceptable                     Strong CYP3A inhibitors include, for example, ketocon-
 excipient" and "pharmaceutically acceptable carrier" refer           25   azole, itraconazole, nefazodone, ritonavir, nelfinavir, indi-
 to a substance that aids the administration of an active agent            navir, atazanavir, amprenavir and fosamprenavir, clarithro-
 to and absorption by a subject and can be included in the                 mycin, conivaptan, lopinavir/ritonavir, posaconazole,
 compositions of the present invention without causing a                   saquinavir, telithromycin, and voriconazole.
 significant adverse toxicological effect on the patient. Non-                 Metyrapone (also known as Metopirone®) is 2-methyl-
 limiting examples of pharmaceutically acceptable excipients          30   1,2-bis-(3-pyridyl)-1-propanone. Metopirone is believed to
 include water, NaCl, normal saline solutions, lactated Ring-              reduce cortisol and corticosterone production by inhibiting
 er's, normal sucrose, normal glucose, binders, fillers, disin-            the 11-~-hydroxylation reaction in the adrenal cortex.
 tegrants, lubricants, coatings, sweeteners, flavors and colors,               Etomidate (also known as Amidate®) is R-(+)-ethyl-1-
 and the like. One of skill in the art will recognize that other           (1-phenylethyl)-18-imidazole-5-carboxylate. Although pri-
 pharmaceutical excipients are useful in the present inven-           35   marily used as a rapid-onset anesthetic, etomidate also
 tion.                                                                     lowers plasma cortisol levels. It is believed to reduce cor-
    As used herein, the terms "sustained release," "slow                   ticosteroid synthesis in the adrenal cortex by inhibiting
 release," "long acting," "prolonged release," and the like                11 ~-hydroxylase.
 refer to a pharmaceutical composition or formulation con-                     Ketoconazole (1-acetyl-4-[ 4-[[2-(2,4-dichlorophenyl)-2-
 taining at least one active ingredient (e.g., GRA, SI, or            40   [ (1 H -imidazol-1-yl)-methyl]-1 ,3-dioxolan-4-yl]methoxy]
 combination thereof) formulated to maintain a therapeutic                 phenyl]piperazine) is often used to treat fungal infections
 concentration of active ingredient(s) in a patient for a longer           (e.g., (NIZORAL®) for the treatment of fungal infections).
 period of time in comparison to formulations that are not                 In addition, ketoconazole is a steroidogenesis inhibitor and
 designed for such sustained release. In some cases, the                   can reduce the production of steroid molecules (such as, e.g.,
 sustained release formulation maintains therapeutic concen-          45   steroid hormones), typically by blocking the metabolism of
 tration of one or more active ingredient( s) for, or for at least,        cholesterol. Ketoconazole thus may be used to treat exces-
 one week, two weeks, three weeks, four weeks, five weeks,                 sive cortisol production (e.g., to treat Cushing's disease and
 or six weeks. In some cases, the sustained release formula-               Cushing's syndrome), to reduce androgen production (e.g.,
 tion is administered to a patient every one, two, three, four,            in patients with hormone-sensitive cancers such as prostate
 five, or six weeks.                                                  50   cancer), to reduce estrogen or progesterone production (e.g.,
    As used herein, a "steroidogenesis inhibitor" is a com-                in patients with hormone-sensitive cancers such as breast
 pound which reduces or blocks the synthesis of steroid                    cancer), and other treatments.
 molecules when administered to an animal, or subject,                         However, ketoconazole often has serious deleterious
 which normally produces steroids. Steroidogenesis inhibi-                 effects on liver and other organs. Thus, it is desirable to
 tors include, for example, ketoconazole, metyrapone, eto-            55   minimize the dose ofketoconazole administered to a patient,
 midate, and other drugs. A steroidogenesis inhibitor may act              and methods for reducing the dose of ketoconazole are
 by one or more of several mechanisms, including, e.g.,                    desired.
 blocking synthesis of steroid molecules (e.g., ketoconazole,                  Treatment Methods
 metyrapone).                                                                  Methods disclosed herein include methods of treating a
    As used herein, the term "CYP enzyme" refers to a                 60   disease characterized by excess steroid levels, or by excess
 cytochrome P450 enzyme. Cytochrome P450 enzymes are                       activity due to steroids. Methods disclosed herein also
 important in many metabolic and catabolic reactions in                    include methods of treating a disease that may be treated by
 humans and other animals, and play important roles in drug                reducing or blocking the action of steroids, such as steroid
 metabolism and action. Drug-drug interactions in which                    hormones. In embodiments, the disease is characterized by
 administration of one drug affects the concentration, half-          65   excess cortisol levels, such as, e.g., Cushing's syndrome,
 life, activity, or other effect of another drug may include               and in particular, Cushing's Disease. (As noted above, both
 effects on CYP enzymes by induction of CYP enzymes                        Cushing's syndrome and Cushing's Disease are character-
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 ized by excess cortisol; Cushing's Disease falls within the              ments, the adult patient suffering from endogenous Cush-
 definition of Cushing's syndrome as a particular type or                 ing's syndrome has type 2 diabetes mellitis or glucose
 example of Cushing's syndrome; thus, all discussion and                  intolerance and has failed surgery or is not a candidate for
 disclosure regarding Cushing's syndrome includes Cush-                   surgery (e.g., referring to surgical treatment for Cushing's
 ing's Disease.) Methods disclosed herein also include meth-              syndrome).
 ods of treating cancer and cancerous tumors, such as hor-                   For example, the present disclosed methods include
 mone-sensitive cancers including prostate cancer,                        administering to a patient receiving ketoconazole an effec-
 comprising concomitant administration of a GRM and keto-                 tive amount of a glucocorticoid receptor modulator (GRM),
 conazole to provide thereby beneficial therapeutic effects.              such as a glucocorticoid receptor antagonist (GRA). In
 Methods, compositions, and kits disclosed herein are related        10   embodiments, the patient is receiving ketoconazole. In
 to the methods compositions, and kits and compositions                   embodiments, the patient is receiving ketoconazole and the
 disclosed in U.S. Provisional Patent Application Ser. No.                GRA is mifepristone. In embodiments, the patient is receiv-
 62/465,772, filed Mar. 1, 2017, and U.S. Provisional Patent              ing ketoconazole and is administered an amount of mife-
 Application Ser. No. 62/466,867, filed Mar. 3, 2017, which               pristone effective to reduce the effect of a steroid such as
 applications are hereby incorporated by reference in their          15   cortisol in the patient.
 entireties.                                                                 Thus, in embodiments, the methods disclosed herein
     For example, the present methods include concomitantly               include a method for treating a patient who is receiving
 administering to a patient a CYP3A inhibitor and a gluco-                ketoconazole treatment for excess steroid levels, said keto-
 corticoid receptor modulator (GRM), such as a glucocorti-                conazole treatment comprising administering an original
 coid receptor antagonist (GRA). In embodiments, the                 20   dose of ketoconazole to said patient, said method compris-
 CYP3A inhibitor is ketoconazole. In embodiments, the                     ing: administering a GRAto the patient receiving ketocon-
 CYP3A inhibitor is ketoconazole and the GRA is mifepris-                 azole, whereby the patient receiving ketoconazole is admin-
 tone. In embodiments, the patient is receiving a CYP3A                   istered a GRA for treating excess steroid levels. In
 inhibitor (such as, e.g., ketoconazole) and is concomitantly             embodiments, the GRA is mifepristone. In embodiments, the
 administered an amount of a GRA (such as, e.g., mifepris-           25   disease is Cushing's syndrome. In embodiments, the disease
 tone) effective to treat Cushing's syndrome, e.g., effective to          is Cushing's Disease.
 control hyperglycemia secondary to hypercortisolism in an                   Thus, in embodiments, the methods disclosed herein
 adult patient suffering from endogenous Cushing's syn-                   include a method for treating a patient who is receiving
 drome. In embodiments, the adult patient suffering from                  ketoconazole treatment to reduce or block the effects of
 endogenous Cushing's syndrome has type 2 diabetes mel-              30   steroids, said ketoconazole treatment comprising adminis-
 litis or glucose intolerance. In embodiments, the adult                  tering an original dose of ketoconazole to said patient, said
 patient suffering from endogenous Cushing's syndrome has                 method comprising: administering a GRA to the patient
 failed surgery or is not a candidate for surgery (e.g., referring        receiving ketoconazole, whereby the patient receiving keto-
 to surgical treatment for Cushing's syndrome). In embodi-                conazole is administered a GRA for treating the effects of
 ments, the adult patient suffering from endogenous Cush-            35   steroids in the patient. In embodiments, the GRA is mife-
 ing's syndrome has type 2 diabetes mellitis or glucose                   pristone. In embodiments, the effects of steroids include
 intolerance and has failed surgery or is not a candidate for             hypercortisolemic effects, such as the effects of Cushing's
 surgery (e.g., referring to surgical treatment for Cushing's             syndrome. In embodiments, the effects of steroids include
 syndrome).                                                               hormonal effects, such as effects on hormone-sensitive can-
     In embodiments, the present methods include methods for         40   cer.
 treating Cushing's syndrome in a patient taking a GRA,                      Applicant further discloses a method for treating a Cush-
 comprising reducing the daily dosage amount of the GRA                   ing's syndrome patient who is receiving ketoconzole treat-
 from an original GRA dose to an adjusted GRA dose when                   ment, said ketoconzole treatment comprising administering
 the patient is receiving concomitant administration of a                 an original dose of ketoconzole to said patient, said method
 CYP3A inhibitor. In embodiments, the adjusted dose of               45   comprising: administering a GRA to the patient receiving
 GRA is at least 25% less than the original dose. In embodi-              ketoconzole, wherein the amount of GRA administered is a
 ments, the adjusted dose ofGRAis at least 33% less than the              first dose of GRA, whereby the patient receiving ketocon-
 original dose. In embodiments, the adjusted dose of GRA is               zole is administered a GRA for treating Cushing's syn-
 less than the original dose by a fraction of the original dose           drome. In embodiments, the GRA is mifepristone. In
 selected from 10%,20%,25%,30%,33%,33 113 %, and 50%.                50   embodiments, the or Cushing's syndrome patient suffers
 In embodiments, the GRA is mifepristone, and the adjusted                from Cushing's Disease.
 mifepristone dose is selected from 300 mg per day, 600 mg                   For example, the present disclosed methods include con-
 per day, and 900 mg per day. In embodiments, the CYP3A                   comitantly administering to a patient in need thereof, a) an
 inhibitor is ketoconazole. In embodiments, the CYP3A                     effective amount of a glucocorticoid receptor modulator
 inhibitor is ketoconazole and the GRA is mifepristone. In           55   (GRM), such as a glucocorticoid receptor antagonist (GRA),
 embodiments, the patient is receiving a CYP3A inhibitor                  and b) an effective amount of ketoconazole, such as keto-
 (such as, e.g., ketoconazole) and is concomitantly adminis-              conazole, thereby reducing the effect, the amount, or both, of
 tered an amount of a GRA (such as, e.g., mifepristone)                   steroids such as cortisol in the patient. For example, a
 effective to treat Cushing's syndrome, e.g., effective to                Cushing's syndrome patient may be in need of reducing
 control hyperglycemia secondary to hypercortisolism in an           60   their blood levels of cortisol, or may be in need of reducing
 adult patient suffering from endogenous Cushing's syn-                   the effect of cortisol in the patient. For example, a cancer
 drome. In embodiments, the adult patient suffering from                  patient may be in need of reducing their blood levels of a
 endogenous Cushing's syndrome has type 2 diabetes mel-                   steroid, such as an androgen, a progestogen, an estrogen, or
 litis or glucose intolerance. In embodiments, the adult                  other steroid.
 patient suffering from endogenous Cushing's syndrome has            65      Thus, in embodiments of the methods disclosed herein, a
 failed surgery or is not a candidate for surgery (e.g., referring        subject currently receiving ketoconazole is administered a
 to surgical treatment for Cushing's syndrome). In embodi-                GRM. In embodiments of the methods disclosed herein, a
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 subject currently receiving ketoconzole as treatment for a            conazole in the blood of the patient above that level pro-
 condition characterized by excess steroid levels, or as treat-        duced by the original dose of ketoconazole, whereby the
 ment of a condition that is treated by reducing steroid levels        patient is administered both ketoconazole and an effective
 or by reducing steroid effects, is administered a GRM,                dose of a GRA and is not exposed to increased risk of
 whereby the subject is treated for that condition. In embodi-         ketoconazole toxicity.
 ments, the condition is characterized by excessive cortisol              In embodiments, Applicant discloses methods for treating
 levels. In embodiments, the condition is Cushing's syn-               a Cushing's syndrome patient who is receiving ketoconazole
 drome. In embodiments, the condition is a cancer charac-              treatment, said ketoconazole treatment comprising admin-
 terized by the deleterious action of steroid hormones on              istering an original dose ofketoconazole to said patient, said
 cells, such as cancer cells; the cancer may be hormone-          10   method comprising: administering said original dose of
 sensitive cancer that may be treated by lowering the levels           ketoconazole to said patient; and administering a first dose
 of a steroid in the patient. In embodiments, the hormone              of a glucocorticoid receptor antagonist (GRA) to the patient,
 sensitive cancer is prostate cancer, breast cancer, or ovarian        wherein said first dose of GRA comprises an amount of said
 cancer.                                                               GRA that is effective to aid in the treatment of Cushing's
    Accordingly, Applicant discloses herein a method for          15   syndrome without substantially increasing the level ofketo-
 treating a patient in need of reduced steroid levels, the             conazole in the blood of the patient above that level pro-
 patient receiving an original dose of ketoconazole, said              duced by the original dose of ketoconazole, whereby the
 method comprising:                                                    patient is administered both ketoconazole and a GRA for
 administering a first dose of a glucocorticoid receptor               treating Cushing's syndrome and is not exposed to increased
 antagonist (GRA) to the patient, wherein said first GRA dose     20   risk of ketoconazole toxicity. In embodiments, said GRA is
 is administered concomitantly with said dose of ketocon-              mifepristone. In embodiments, the original dose ofketocon-
 azole, whereby the patient is administered both an original           azole and the first dose of GRA are administered within a
 dose of ketoconazole and a first dose of a GRA for reducing           short time of each other. In embodiments, the original dose
 steroid levels in the patient. In embodiments of such meth-           of ketoconazole and the first dose of GRA are administered
 ods, wherein said first dose of GRA comprises an amount of       25   at substantially the same time. In embodiments, the original
 the GRA that is effective to aid in reducing steroid levels in        dose of ketoconazole and the first dose of GRA are admin-
 the patient without substantially increasing the level of             istered concomitantly. In embodiments, the GRA is mife-
 ketoconazole in the blood of the patient above that level             pristone.
 produced by the original dose ofketoconazole, whereby the                Thus, in embodiments of these methods, administration of
 patient is administered both ketoconazole and an effective       30   the ketoconazole and of the GRA comprises concomitant
 dose of a GRA and is not exposed to increased risk of                 administration of the original dose of ketoconazole and the
 ketoconazole toxicity.                                                first dose of the GRA. In embodiments of concomitant
    Accordingly, Applicant discloses herein a method for               administration, ketoconazole and the GRA are administered
 treating a patient suffering from excess steroid levels, the          to the subject simultaneously. Such concomitant adminis-
 patient receiving an original dose of ketoconazole, said         35   tration of a GRA may be by oral administration; by intra-
 method comprising:                                                    venous administration; subcutaneous administration; paren-
 administering a first dose of a glucocorticoid receptor               teral administration; intra-arterial administration; nasal
 antagonist (GRA) to the patient, wherein said first GRA dose          administration; topical administration; or by other routes of
 is administered concomitantly with said dose of ketocon-              administration, or combinations thereof.
 azole, whereby the patient is administered both an original      40      In embodiments of the methods disclosed herein, keto-
 dose of ketoconazole and a first dose of a GRA for reducing           conazole and the GRA are administered to the patient in a
 steroid levels in the patient. In embodiments of such meth-           single pill containing both the ketoconazole and the GRA, or
 ods, wherein said first dose of GRA comprises an amount of            are administered in a single liquid formulation containing
 the GRA that is effective to aid in reducing steroid levels in        both the ketoconazole and the GRA. In embodiments, the
 the patient without substantially increasing the level of        45   GRA is mifepristone.
 ketoconazole in the blood of the patient above that level                In embodiments of the methods disclosed herein, the first
 produced by the original dose ofketoconazole, whereby the             dose of the GRA is a dose selected from about 25 milligrams
 patient is administered both ketoconazole and an effective            (mg), about 50 mg, about 100 mg, about 200 mg, about 300
 dose of a GRA and is not exposed to increased risk of                 mg, about 400 mg, about 500 mg, about 600 mg, about 900
 ketoconazole toxicity. In embodiments, the excess steroid        50   mg, about 1000 mg, about 1200 mg, about 1500 mg, about
 comprises excess androgen. In embodiments, the excess                 1800 mg, and about 2000 mg. In embodiments, the dose of
 steroid comprises excess progestogen. In embodiments, the             the GRA is a dose of mifepristone selected from about 300
 excess steroid comprises excess estrogen. In embodiments,             mg, about 600 mg, about 900 mg, about 1200 mg, and about
 the excess steroid comprises excess cortisol.                         1500 mg.
    Accordingly, in further embodiments, Applicant discloses      55      The methods disclosed herein include repeated adminis-
 herein methods for treating a Cushing's syndrome patient,             tration of a GRAto a patient in need of treatment, including
 the patient receiving an original dose of ketoconazole, said          repeated concomitant administration of ketoconazole and a
 methods comprising:                                                   GRA.
 administering a first dose of a glucocorticoid receptor                  For example, in yet further embodiments, a second dose
 antagonist (GRA) to the patient, wherein said first GRA dose     60   of GRA is administered, wherein said second dose is admin-
 is administered concomitantly with said dose of ketocon-              istered after the administration of the first dose of GRA. The
 azole, whereby the patient is administered both an original           second dose of GRA may comprise about the same amount
 dose of ketoconazole and a first dose of a GRA for treating           of said GRA as the first dose of the GRA; may comprise a
 Cushing's syndrome. In embodiments of such methods,                   greater amount of said GRA than the first dose of GRA; or
 wherein said first dose of GRA comprises an amount of the        65   may comprise a smaller amount of GRA than the first dose
 GRA that is effective to aid in the treatment of Cushing's            of GRA. In embodiments of these methods, the GRA is
 syndrome without substantially increasing the level of keto-          mifepristone.
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    The methods disclosed herein may further comprise:                    In embodiments of methods of treating a Cushing's
 administering a subsequent dose of ketoconazole and a                 syndrome patient who is receiving ketoconazole treatment,
 second dose of GRA, wherein said subsequent dose and said             the methods comprise concomitant treatment of the patient
 second dose are both administered after the administration            with ketoconazole and with a glucocorticoid receptor
 of the first dose of the GRA. In embodiments, the second              antagonist (GRA). In embodiments of methods of treating a
 dose of GRA comprises about the same amount of the GRA                Cushing's syndrome patient who is receiving ketoconazole
 as the first dose of GRA, and the subsequent dose of                  treatment, the methods comprise concomitant treatment of
 ketoconazole comprises about the same amount ofketocon-               the patient with ketoconazole and a GRA, wherein the dose
 azole as the original dose ofketoconazole. In embodiments,            of ketoconazole administered concomitantly with the GRA
                                                                  10   is not reduced with respect to the ketoconazole dose admin-
 the subsequent dose of ketoconazole comprises a lesser
                                                                       istered to the patient in the absence of concomitant treatment
 amount ofketoconazole than the amount of the original dose
                                                                       with ketoconazole and a GRA. In embodiments of methods
 of ketoconazole. In embodiments of these methods, the
                                                                       of treating a Cushing's syndrome patient who is receiving
 GRA is mifepristone.                                                  ketoconazole treatment, the methods comprise concomitant
    In embodiments, the second dose of GRA comprises a            15   treatment of the patient with a GRA and ketoconazole. In
 greater amount of the GRA than the amount of said first dose          embodiments, the GRA is mifepristone.
 of the GRA. In embodiments, the second dose of GRA                       Applicant discloses herein methods for treating a Cush-
 comprises a greater amount of the GRA than the amount of              ing's syndrome patient, the patient receiving an original
 said first dose of the GRA, and the subsequent dose of                dose of ketoconazole, said method comprising: administer-
 ketoconazole comprises about the same amount ofketocon-          20   ing a first dose of a glucocorticoid receptor antagonist
 azole as the original dose of ketoconazole. In embodiments            (GRA) to the patient, wherein said first GRA dose is
 of these methods, the GRA is mifepristone.                            administered concomitantly with the dose of SI, whereby the
    In embodiments comprising repeated administration of a             patient is administered both an original dose ofketoconazole
 GRA to a patient in need of treatment, including repeated             and a first dose of a GRA for treating Cushing's syndrome.
 concomitant administration of ketoconazole and a GRA,            25   In embodiments, the patient suffers from Cushing's Disease.
 ketoconazole and the GRA may be administered simultane-                  In embodiments, Applicant discloses herein methods for
 ously. In embodiments of such methods, the GRA may be                 treating a Cushing's syndrome patient, the patient receiving
 mifepristone.                                                         an original dose of ketoconazole, the method comprising:
    In embodiments, ketoconazole and a GRA are adminis-                administering a first dose of mifepristone to the patient,
 tered to the patient in a single pill containing both ketocon-   30   wherein the first mifepristone dose is administered concomi-
 azole and the GRA, or in a single liquid formulation                  tantly with the dose of ketoconazole, whereby the patient is
 containing both ketoconazole and the GRA. In embodi-                  administered both an original dose of ketoconazole and a
 ments, the GRA is mifepristone.                                       first dose of mifepristone for treating Cushing's syndrome.
    Further embodiments of the methods disclosed herein                In embodiments, the patient suffers from Cushing's Disease.
 may include further steps, e.g., may comprise administration     35      In further embodiments of such methods, wherein said
 of a third dose of a GRA, wherein said third dose of the GRA          first dose of a GRA comprises a GRA amount that is
 is administered after the administration of the second dose of        effective to aid in the treatment of Cushing's syndrome
 the GRA. In embodiments, such a third dose of GRA                     without substantially increasing the level ofketoconazole in
 comprises about the same amount of the GRA as the second              the blood of the patient above that level produced by said
 dose of the GRA. In embodiments, such a third dose of GRA        40   original dose ofketoconazole, whereby the patient is admin-
 comprises a greater amount of the GRA than the second dose            istered both ketoconazole and an effective dose of a GRA
 of the GRA. In embodiments, such a third dose of GRA is               and is not exposed to increased risk ofketoconazole toxicity.
 administered after the administration of the second dose of           In embodiments, administration of ketoconazole and of the
 the GRA. In embodiments, such a third dose of GRA                     GRA comprises concomitant administration of the original
 comprises about the same amount of GRA as the amount of          45   dose of ketoconazole and the first dose of the GRA. In
 said second dose of the GRA. In embodiments, such a third             embodiments, administering a GRA comprises oral admin-
 dose of GRA comprises a lesser amount of the GRA than the             istration of the GRA. In embodiments, ketoconazole and the
 amount of said second dose of the GRA. In embodiments,                GRA are administered to the patient simultaneously. In
 such a third dose of GRA comprises a greater amount of the            embodiments, ketoconazole and the GRA are administered
 GRA than the amount of said second dose of the GRA. In           50   to the patient in a single pill containing both ketoconazole
 such embodiments, the GRA may be mifepristone.                        and the GRA, or in a single liquid formulation containing
    In embodiments, methods disclosed herein comprise con-             both ketoconazole and the GRA. In embodiments, the GRA
 comitant administration of ketoconazole and a third dose of           is mifepristone.
 GRA. In embodiments of such concomitant administration,                  In embodiments of the methods disclosed herein, the first
 ketoconazole and the GRA are administered to the patient         55   dose of the GRA is selected from about 25 mg, about 50 mg,
 simultaneously. In embodiments of such concomitant                    about 100 mg, about 200 mg, about 300 mg, about 400 mg,
 administration, ketoconazole and the GRA are administered             about 500 mg, about 600 mg, about 900 mg, about 1000 mg,
 to the patient in a single pill containing both ketoconazole          about 1200 mg, about 1500 mg, about 1800 mg, about 2000
 and the GRA, or in a single liquid formulation containing             mg, about 2100 mg, about 2400 mg, about 2700 mg, and
 both ketoconazole and the GRA. In embodiments, the GRA           60   about 3000 mg. In embodiments of the methods disclosed
 is mifepristone.                                                      herein, the first dose of the GRA is a dose of mifepristone
    Embodiments of the methods disclosed herein comprise               selected from about 1500 mg mifepristone, about 1200 mg
 treatments for patients suffering from Cushing's syndrome;            mifepristone, about 900 mg mifepristone, about 600 mg
 in embodiments, the Cushing's syndrome patient suffers                mifepristone, and about 300 mg mifepristone.
 from Cushing's Disease. Such treatments for Cushing's            65      Further embodiments of the methods disclosed herein
 syndrome comprise concomitant administration ofketocon-               comprise administering a second dose of GRA, wherein said
 azole and a GRA to the patient.                                       second dose is administered after the administration of the
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 first dose ofGRA. In embodiments, the second dose ofGRA              ketoconazole and the GRA are administered to the patient in
 comprises about the same amount of said GRA as the first             a single pill containing both ketoconazole and the GRA, or
 dose of the GRA. In embodiments, the second dose ofGRA               in a single liquid formulation containing both ketoconazole
 comprises a greater amount of said GRA than the first dose           and the GRA. In embodiments, the GRA is mifepristone.
 of GRA. In embodiments, the GRA is mifepristone.                        Applicant discloses herein methods for treating Cushing's
    Further embodiments of the methods disclosed herein               syndrome patients with a GRA (such as mifepristone) and
 comprise administering a subsequent dose of ketoconazole             ketoconazole. In embodiments, the patient suffers from
 and a second dose of GRA, wherein the subsequent keto-               Cushing's Disease.
 conazole dose and the second GRA dose are both adminis-
                                                                         Applicant discloses here methods for treating a Cushing's
 tered after the administration of the first dose of the GRA.    10
                                                                      syndrome patient who is receiving ketoconazole treatment,
 In embodiments, the second dose of GRA comprises about
                                                                      said ketoconazole treatment comprising administering an
 the same amount of the GRA as the first dose of the GRA,
                                                                      original dose of ketoconazole to said patient, said method
 and the subsequent dose of ketoconazole comprises about
 the same amount of ketoconazole as the original dose of              comprising: administering said original dose of ketocon-
 ketoconazole. In embodiments, the subsequent dose ofketo-       15   azole to said patient; and administering a glucocorticoid
 conazole comprises a lesser amount ofketoconazole than the           receptor antagonist (GRA) to the patient, wherein the
 amount of the original dose of ketoconazole. In embodi-              amount of GRA administered is a first dose of GRA,
 ments, the second dose of GRA comprises a greater amount             whereby the patient is administered both ketoconazole and
 of the GRA than the amount of said first dose of the GRA.            a GRA for treating Cushing's syndrome. In embodiments,
 In embodiments, the second dose of GRA comprises a              20   the first dose of GRA is a lesser amount of GRA than would
 greater amount of the GRA than the amount of the first dose          be administered in the absence ofketoconazole. In embodi-
 of the GRA, and the subsequent dose of ketoconazole                  ments, the GRA is mifepristone.
 comprises about the same amount of ketoconazole as the                  In embodiments of such methods of treating a Cushing's
 original dose of ketoconazole. In embodiments, the GRA is            syndrome patient who is receiving ketoconazole treatment,
 mifepristone.                                                   25   the first dose of GRA comprises an amount of GRA that is
    In embodiments, ketoconazole and the GRA are admin-               effective to aid in the treatment of Cushing's syndrome
 istered to the patient simultaneously. In embodiments, the           without substantially increasing the level ofketoconazole in
 GRA is mifepristone. In embodiments, ketoconazole and the            the blood of the patient above that level produced by said
 GRA are administered to the patient simultaneously. In               original dose ofketoconazole, whereby the patient is admin-
 embodiments, ketoconazole and mifepristone are adminis-         30   istered both ketoconazole and an effective dose of a GRA
 tered to the patient simultaneously. In embodiments, keto-           and is not exposed to increased risk ofketoconazole toxicity.
 conazole and the GRA are administered to the patient in a            In embodiments, the first dose of GRA is a lesser amount of
 single pill containing both ketoconazole and the GRA, or in          GRA than would be administered in the absence of keto-
 a single liquid formulation containing both ketoconazole and         conazole. In embodiments, the GRA is mifepristone.
 the GRA. In embodiments, ketoconazole and mifepristone          35      In embodiments of methods of treating a Cushing's
 are administered to the patient simultaneously. In embodi-           syndrome patient who is receiving ketoconazole treatment,
 ments, ketoconazole and mifepristone are administered to             the administration of ketoconazole and of the GRA com-
 the patient in a single pill containing both ketoconazole and        prises concomitant administration of the original dose of
 mifepristone, or in a single liquid formulation containing           ketoconazole and the first dose of said GRA.
 both ketoconazole and mifepristone. In embodiments, keto-       40      In embodiments of methods of treating a Cushing's
 conazole and mifepristone are administered to the patient in         syndrome patient who is receiving ketoconazole treatment,
 a single pill comprising both ketoconazole and mifepristone,         the administration of the GRA comprises oral administration
 or in a single liquid formulation comprising both ketocon-           of the GRA. In embodiments of methods of treating a
 azole and mifepristone.                                              Cushing's syndrome patient who is receiving ketoconazole
    Embodiments of the methods disclosed herein further          45   treatment, the ketoconazole and the GRA are administered
 comprise administration of a third dose of GRA, wherein              to the patient simultaneously. In embodiments of methods of
 said third dose of the GRA is administered after the admin-          treating a Cushing's syndrome patient who is receiving
 istration of the second dose of the GRA. In embodiments,             ketoconazole treatment, the ketoconazole and the GRA are
 the third dose of GRA comprises about the same amount of             administered to the patient in a single pill containing both
 the GRA as the second dose of the GRA. In embodiments,          50   ketoconazole and the GRA. In embodiments of methods of
 the third dose of GRA comprises a greater amount of the              treating a Cushing's syndrome patient who is receiving
 GRA than the second dose of the GRA. In embodiments, the             ketoconazole treatment, ketoconazole and mifepristone are
 methods further comprise administration of a third dose of           administered in a single liquid formulation comprising keto-
 GRA, wherein the third dose of the GRA is administered               conazole and mifepristone.
 after the administration of the second dose of the GRA. In      55      In embodiments of methods of treating a Cushing's
 embodiments, the third dose of GRA comprises about the               syndrome patient who is receiving ketoconazole treatment,
 same amount of GRA as the amount of said second dose of              the first dose of the GRA is a dose of GRA selected from
 the GRA. In embodiments, the third dose of the GRA                   about 25 mg, about 50 mg, about 100 mg, about 200 mg,
 comprises a lesser amount of the GRA than the amount of              about 300 mg, about 400 mg, about 500 mg, about 600 mg,
 said second dose of the GRA. In embodiments, the third          60   about 900 mg, about 1000 mg, about 1200 mg, about 1500
 dose of GRA comprises a greater amount of the GRA than               mg, about 1800 mg, about 2000 mg, about 2100 mg, about
 the amount of said second dose of the GRA. In embodi-                2400 mg, about 2700 mg, and about 3000 mg. In embodi-
 ments, administration of the third GRA dose comprises                ments, the GRA is mifepristone, and the first dose of the
 concomitant administration ketoconazole and the third dose           GRA is a dose of mifepristone selected from about 1500 mg
 of GRA. In such embodiments, ketoconazole and the GRA           65   mifepristone, about 1200 mg mifepristone, about 900 mg
 are administered to the patient simultaneously. In embodi-           mifepristone, about 600 mg mifepristone, and about 300 mg
 ments of the methods comprising such third dose of GRA,              mifepristone.
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    In embodiments of methods of treating a Cushing's                istered after the administration of the second dose of the
 syndrome patient who is receiving ketoconazole treatment,           GRA. In embodiments, the third dose of GRA is a lesser
 the methods further comprise: administering a second dose           amount of GRA than would be administered in the absence
 of GRA, wherein said second dose is administered after the          of ketoconazole. In such embodiments of methods of treat-
 administration of the first dose of said GRA. In embodi-            ing a Cushing's syndrome patient who is receiving ketocon-
 ments of methods of treating a Cushing's syndrome patient           azole treatment, the third dose of GRA comprises about the
 who is receiving ketoconazole treatment, the second dose of         same amount of the GRA as the second dose of the GRA. In
 GRA comprises about the same amount of said GRA as the              such embodiments of methods of treating a Cushing's
 first dose of the GRA. In embodiments of methods of                 syndrome patient who is receiving ketoconazole treatment,
 treating a Cushing's syndrome patient who is receiving         10   the third dose of the GRA comprises a greater amount of the
 ketoconazole treatment, the second dose of GRA comprises            GRA than the second dose of the GRA. In such embodi-
 a lesser amount of said GRA than the first dose of GRA. In          ments of methods of treating a Cushing's syndrome patient
 embodiments, the second dose of GRA is a lesser amount of           who is receiving ketoconazole treatment, the third dose of
 GRA than would be administered in the absence of keto-              the GRA is administered after the administration of the
 conazole. In embodiments of methods of treating a Cush-        15   second dose of the GRA. In such embodiments of methods
 ing's syndrome patient who is receiving ketoconazole treat-         of treating a Cushing's syndrome patient who is receiving
 ment, the second dose of GRA comprises a greater amount             ketoconazole treatment, the third dose of the GRA com-
 of said GRA than the first dose of GRA. In embodiments, the         prises about the same amount of GRA as the amount of said
 GRA is mifepristone.                                                second dose of the GRA. In such embodiments of methods
    In embodiments of methods of treating a Cushing's           20   of treating a Cushing's syndrome patient who is receiving
 syndrome patient who is receiving ketoconazole treatment,           ketoconazole treatment, the third dose of the GRA com-
 the methods further comprise: administering a subsequent            prises a lesser amount of the GRA than the amount of said
 dose of ketoconazole and a second dose of GRA, wherein              second dose of the GRA. In such embodiments of methods
 the subsequent ketoconazole dose and the second GRA dose            of treating a Cushing's syndrome patient who is receiving
 are both administered after the administration of the first    25   ketoconazole treatment, the third dose of the GRA com-
 dose of the GRA. In embodiments of methods of treating a            prises a greater amount of the GRA than the amount of said
 Cushing's syndrome patient who is receiving ketoconazole            second dose of the GRA. In embodiments, the GRA is
 treatment, the second dose of the GRA comprises about the           mifepristone.
 same amount of the GRA as the first dose of the GRA, and               In such embodiments of methods of treating a Cushing's
 the subsequent dose of ketoconazole comprises about the        30   syndrome patient who is receiving ketoconazole treatment,
 same amount of ketoconazole as the original dose of keto-           the methods comprise concomitant administration of keto-
 conazole. In embodiments, the second dose of GRA is a               conazole and of the third dose of the GRA. In embodiments
 lesser amount of GRA than would be administered in the              of methods of treating a Cushing's syndrome patient who is
 absence of ketoconazole.                                            receiving ketoconazole treatment, the ketoconazole and the
    In embodiments of methods of treating a Cushing's           35   GRA are administered to the patient simultaneously. In
 syndrome patient who is receiving ketoconazole treatment,           embodiments of methods of treating a Cushing's syndrome
 the subsequent dose of ketoconazole comprises a lesser              patient who is receiving ketoconazole treatment, the keto-
 amount ofketoconazole than the amount of the original dose          conazole and the GRA are administered to the patient in a
 of ketoconazole. In embodiments of methods of treating a            single pill containing both ketoconazole and the GRA, or in
 Cushing's syndrome patient who is receiving ketoconazole       40   a single liquid formulation comprising ketoconazole and the
 treatment, the second dose of the GRA comprises a greater           GRA. In embodiments of methods of treating a Cushing's
 amount of the GRA than the amount of said first dose of the         syndrome patient who is receiving ketoconazole treatment,
 GRA. In embodiments of methods of treating a Cushing's              the GRA is mifepristone, and the ketoconazole and the
 syndrome patient who is receiving ketoconazole treatment,           mifepristone are administered to the patient in a single pill
 the second dose of the GRA comprises a greater amount of       45   comprising both ketoconazole and mifepristone, or in a
 the GRA than the amount of said first dose of the GRA, and          single liquid formulation comprising ketoconazole and
 said subsequent dose of ketoconazole comprises about the            mifepristone.
 same amount of ketoconazole as the original dose of keto-              In embodiments of methods of treating a Cushing's
 conazole. In embodiments of methods of treating a Cush-             syndrome patient who is receiving ketoconazole treatment,
 ing's syndrome patient who is receiving ketoconazole treat-    50   the methods comprise concomitant treatment of the patient
 ment, the ketoconazole and the GRA are administered to the          with mifepristone and ketoconazole. In embodiments of
 patient simultaneously. In embodiments of methods of treat-         methods of treating a Cushing's syndrome patient who is
 ing a Cushing's syndrome patient who is receiving ketocon-          receiving ketoconazole treatment, the methods comprise
 azole treatment, the ketoconazole and the GRA are admin-            concomitant treatment of the patient with mifepristone and
 istered to the patient in a single pill containing both        55   ketoconazole, wherein the dose of ketoconazole adminis-
 ketoconazole and the GRA, or in a single liquid formulation         tered concomitantly with ketoconazole is not reduced with
 comprising ketoconazole and the GRA. In embodiments of              respect to the ketoconazole dose administered to the patient
 methods of treating a Cushing's syndrome patient who is             in the absence of concomitant treatment with ketoconazole
 receiving ketoconazole treatment, the GRA is mifepristone,          and mifepristone.
 and the ketoconazole and the mifepristone are administered     60      Applicant discloses herein a method for treating a Cush-
 to the patient in a single pill comprising both ketoconazole        ing's syndrome patient who is receiving ketoconazole treat-
 and mifepristone, or in a single liquid formulation compris-        ment, said ketoconazole treatment comprising administering
 ing ketoconazole and mifepristone.                                  an original dose ofketoconazole to said patient, said method
    In embodiments of methods of treating a Cushing's                comprising: administering said original dose of ketocon-
 syndrome patient who is receiving ketoconazole treatment,      65   azole to said patient; and administering mifepristone to the
 the methods further comprise: administration of a third dose        patient, wherein the amount of mifepristone administered is
 of the GRA, wherein the third dose of the GRA is admin-             a first dose of mifepristone, whereby the patient is admin-
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 istered both ketoconazole and mifepristone for treating                ods, ketoconazole and mifepristone are administered to the
 Cushing's syndrome. In embodiments, the first dose of                  patient in a single pill comprising both ketoconazole and
 mifepristone is a lesser amount of mifepristone than would             mifepristone, or in a single liquid formulation comprising
 be administered in the absence of ketoconazole.                        ketoconazole and mifepristone.
    In embodiments of methods for treating a Cushing's                     In embodiments, such methods further comprise admin-
 syndrome patient who is receiving ketoconazole treatment,              istration of a third dose of mifepristone, wherein said third
 wherein the ketoconazole treatment comprises administer-               dose of mifepristone is administered after the administration
 ing an original dose of ketoconazole to said patient, the              of the second dose of mifepristone. In embodiments, the
 methods comprise administering a first dose of mifepristone            third dose of mifepristone is a lesser amount of mifepristone
 that comprises an amount of mifepristone that is effective to     10   than would be administered in the absence ofketoconazole.
 aid in the treatment of Cushing's syndrome without sub-                In embodiments of such methods, the third dose of mife-
 stantially increasing the level ofketoconazole in the blood of         pristone comprises about the same amount of mifepristone
 the patient above that level produced by said original dose            as the second dose of mifepristone. In embodiments of such
 of ketoconazole, whereby the patient is administered both              methods, the third dose of mifepristone comprises a greater
 ketoconazole and an effective dose of mifepristone and is not     15   amount of mifepristone than the second dose of mifepris-
 exposed to increased risk of ketoconazole toxicity. In                 tone. In embodiments, such methods further comprise
 embodiments of such methods, the administration of keto-               administration of a third dose of mifepristone, wherein said
 conazole and of mifepristone comprises concomitant admin-              third dose of mifepristone is administered after the admin-
 istration of the original dose ofketoconazole and of the first         istration of the second dose of mifepristone. In embodiments
 dose of mifepristone. In embodiments of such methods, the         20   of such methods, the third dose of mifepristone comprises
 administration of mifepristone comprises oral administra-              about the same amount of mifepristone as the amount of said
 tion of mifepristone. In embodiments of such methods,                  second dose of mifepristone. In embodiments of such meth-
 ketoconazole and mifepristone are administered to the                  ods, the third dose of mifepristone comprises a lesser
 patient simultaneously. In embodiments of such methods,                amount of mifepristone than the amount of said second dose
 ketoconazole and mifepristone are administered to the             25   of mifepristone. In embodiments of such methods, the third
 patient in a single pill comprising both ketoconazole and              dose of mifepristone comprises a greater amount of mife-
 mifepristone, or in a single liquid formulation comprising             pristone than the amount of said second dose of mifepris-
 ketoconazole and mifepristone. In embodiments of such                  tone. In embodiments, such methods comprise concomitant
 methods, the first dose of mifepristone is a dose of about 300         administration of ketoconazole and of the third dose of
 milligrams (mg), about 600 mg, about 900 mg, about 1200           30   mifepristone. In embodiments of such methods, ketocon-
 mg, or about 1500 mg.                                                  azole and mifepristone are administered to the patient simul-
    In embodiments, such methods further comprise: admin-               taneously. In embodiments of such methods, ketoconazole
 istering a second dose of mifepristone, wherein said second            and mifepristone are administered to the patient in a single
 dose is administered after the administration of the first dose        pill comprising both ketoconazole and mifepristone, or in a
 of mifepristone. In embodiments, the second dose of mife-         35   single liquid formulation comprising ketoconazole and
 pristone is a lesser amount of mifepristone than would be              mifepristone.
 administered in the absence of ketoconazole. In embodi-                   In embodiments of methods for treating a Cushing's
 ments of such methods, the second dose of mifepristone                 syndrome patient who is receiving ketoconazole treatment at
 comprises about the same amount of mifepristone as the first           an original dose of ketoconazole, the methods comprise
 dose of mifepristone. In embodiments of such methods, the         40   administering a first dose of mifepristone to the subject and
 second dose of mifepristone comprises a greater amount of              reducing the dose ofketoconazole received by the patient to
 mifepristone than the first dose of mifepristone. In embodi-           a ketoconazole dose that is less than the original ketocon-
 ments, such methods further comprise administering a sub-              azole dose, wherein the dose of mifepristone comprises an
 sequent dose of ketoconazole and a second dose of mife-                amount of mifepristone that is effective to aid in the treat-
 pristone, wherein said subsequent dose and said second dose       45   ment of Cushing's syndrome without substantially increas-
 are both administered after the administration of the first            ing the level of ketoconazole in the blood of the patient
 dose of mifepristone. In embodiments of such methods, the              above that level produced by said original dose ofketocon-
 second dose of mifepristone is a lesser amount of mifepris-            azole, whereby the patient is administered both ketocon-
 tone than would be administered in the absence ofketocon-              azole and an effective dose of mifepristone and is not
 azole. In embodiments of such methods, the second dose of         50   exposed to increased risk of ketoconazole toxicity.
 mifepristone comprises about the same amount of mifepris-                 Accordingly, Applicant discloses herein a method for
 tone as the first dose of mifepristone, and said subsequent            treating a Cushing's syndrome patient who is receiving
 dose of ketoconazole comprises about the same amount of                ketoconazole at an initial dosage, said initial dosage com-
 ketoconazole as the original dose of ketoconazole. In                  prising administering an initial dose of ketoconazole to said
 embodiments of such methods, the subsequent dose of               55   patient, said method comprising: administering a reduced
 ketoconazole comprises a lesser amount of ketoconazole                 dose of ketoconazole to said patient, wherein said reduced
 than the amount of the original dose of ketoconazole. In               dose of ketoconazole is a dose of ketoconazole that is less
 embodiments of such methods, the second dose of mifepris-              than said initial dose by an amount of at least about 5% of
 tone comprises a greater amount of mifepristone than the               the initial dose; and administering mifepristone to the
 amount of said first dose of mifepristone. In embodiments of      60   patient, wherein the amount of mifepristone administered is
 such methods, the second dose of mifepristone comprises a              a first dose of mifepristone, whereby the patient is admin-
 greater amount of mifepristone than the amount of said first           istered both the reduced dose of ketoconazole and the first
 dose of mifepristone, and said subsequent dose of ketocon-             dose of mifepristone. In embodiments of such methods, the
 azole comprises about the same amount of ketoconazole as               first dose of mifepristone comprises an amount of mifepris-
 the original dose of ketoconazole. In embodiments of such         65   tone that is effective to aid in the treatment of Cushing's
 methods, ketoconazole and mifepristone are administered to             syndrome, whereby the patient is administered both a
 the patient simultaneously. In embodiments of such meth-               reduced dose of ketoconazole and an effective dose of
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 mifepristone. In embodiments, the first dose of mifepristone             In embodiments, such methods further comprise admin-
 is a lesser amount of mifepristone than would be adminis-             istration of a third dose of mifepristone, wherein said third
 tered in the absence of ketoconazole. In embodiments of               dose of mifepristone is administered at a time after the
 such methods, the administration of ketoconazole and of               administration of the second dose of mifepristone. In
 mifepristone comprises concomitant administration of the              embodiments, the third dose of mifepristone is a lesser
 reduced dose of ketoconazole and the first dose of mifepris-          amount of mifepristone than would be administered in the
 tone. In embodiments of such methods, the administration of           absence ofketoconazole. In embodiments of such methods,
 mifepristone comprises oral administration of mifepristone.           the third dose of mifepristone comprises about the same
 In embodiments of such methods, the first dose of ketocon-            amount of mifepristone as the amount of said second dose of
                                                                  10   mifepristone. In embodiments of such methods, the third
 azole is less than said initial dose of ketoconazole by an
                                                                       dose of mifepristone comprises a lesser amount of mifepris-
 amount that is about 10%, about 15%, about 25%, about
                                                                       tone than the amount of said second dose of mifepristone. In
 25%, about 30%, about 35%, about 40%, about 45%, about
                                                                       embodiments of such methods, the third dose of mifepris-
 50%, about 60%, about 75%, or about 90% less than the                 tone comprises a greater amount of mifepristone than the
 initial dose. In embodiments of such methods, the first dose     15   amount of said second dose of mifepristone. In embodi-
 of mifepristone is a dose selected from about 300 mg, about           ments, such methods comprise administration of a dose of
 600 mg, about 900 mg, about 1200 mg, and about 1500 mg.               ketoconazole administered at the time as the administration
    In embodiments, such methods further comprise admin-               of the third dose of mifepristone.
 istering a second dose of mifepristone, wherein said second              Applicant further discloses herein methods for treating a
 dose is administered at a time after the administration of the   20   patient who is suffering from Cushing's syndrome with
 first dose of mifepristone. In embodiments, the second dose           mifepristone, the patient also receiving concomitant admin-
 of mifepristone is a lesser amount of mifepristone than               istration of ketoconazole, said method comprising: to the
 would be administered in the absence of ketoconazole. In              patient concomitantly receiving ketoconazole, orally admin-
 embodiments of such methods, the second dose of mifepris-             istering a dose of mifepristone that is a smaller dose of
 tone comprises a lesser amount of mifepristone than the first    25   mifepristone than the dose that is an effective mifepristone
 dose of mifepristone. In embodiments of such methods, the             dose when the patient receives only mifepristone. An effec-
 second dose of mifepristone comprises about the same                  tive dose of mifepristone when the patient receives only
 amount of mifepristone as the first dose of mifepristone. In          mifepristone for treating Cushing's syndrome is termed a
 embodiments of such methods, the second dose of mifepris-             "lone dose" of mifepristone. For example, the dose of
 tone comprises a greater amount of mifepristone than the         30   mifepristone that is effective for the treatment of a Cushing's
 first dose of mifepristone. In embodiments, such methods              syndrome patient not concomitantly receiving ketoconazole
 further comprise administering a subsequent dose of keto-             or other treatment for Cushing's syndrome is a "lone dose"
 conazole and a second dose of mifepristone, wherein said              of mifepristone. In embodiments of the methods disclosed
 subsequent dose and said second dose are both administered            herein, for Cushing's syndrome patient receiving concomi-
 at a time after the administration of both the reduced dose of   35   tant administration ofketoconazole, the dose of mifepristone
 ketoconazole and of the first dose of mifepristone. In                is reduced by at least about 5% as compared to the lone dose
 embodiments of such methods, the second dose of mifepris-             of mifepristone. Accordingly, Applicant discloses herein a
 tone comprises about the same amount of mifepristone as               method for treating a Cushing's syndrome patient who is
 the first dose of mifepristone, and said subsequent dose of           receiving ketoconazole, said method comprising: adminis-
 ketoconazole comprises about the same amount ofketocon-          40   tering a reduced dose of mifepristone to said patient,
 azole as the reduced dose of ketoconazole. In embodiments             wherein said reduced dose of mifepristone is a dose of
 of such methods, the subsequent dose of ketoconazole                  mifepristone that is less than the lone dose of mifepristone
 comprises a lesser amount of ketoconazole than the amount             as defined herein; whereby the patient is administered both
 of said reduced dose of ketoconazole. In embodiments of               ketoconazole and the reduced dose of mifepristone. In
 such methods, the second dose of mifepristone comprises a        45   embodiments, such a reduced dose of mifepristone is an
 greater amount of mifepristone than the amount of said first          amount of mifepristone that is less than the lone dose of
 dose of mifepristone. In embodiments of such methods, the             mifepristone by an amount that is at least about 5% of the
 second dose of mifepristone comprises a greater amount of             lone dose. In embodiments of such methods, the reduced
 mifepristone than the amount of said first dose of mifepris-          dose of mifepristone comprises an amount of mifepristone
 tone, and said subsequent dose of ketoconazole comprises         50   that is effective to aid in the treatment of Cushing's syn-
 about the same amount ofketoconazole as the reduced dose              drome, whereby the patient is administered both a reduced
 of ketoconazole.                                                      dose ofmifepristone and a dose ofketoconazole. In embodi-
    In embodiments, such methods further comprise admin-               ments of such methods, the administration of ketoconazole
 istration of a third dose of mifepristone, wherein said third         and of mifepristone comprises concomitant administration
 dose of mifepristone is administered at a time after the         55   of the reduced dose of mifepristone and the dose of keto-
 administration of the second dose of mifepristone. In                 conazole. In embodiments of such methods, the administra-
 embodiments, the third dose of mifepristone is a lesser               tion of mifepristone comprises oral administration of mife-
 amount of mifepristone than would be administered in the              pristone. In embodiments of such methods, the reduced dose
 absence of ketoconazole. In embodiments of such methods,              of mifepristone is less than said lone dose of mifepristone by
 the third dose of mifepristone comprises a lesser amount of      60   an amount that is about 10%, about 15%, about 25%, about
 mifepristone than the second dose of mifepristone. In                 25%, about 30%, about 35%, about 40%, about 45%, about
 embodiments of such methods, the third dose of mifepris-              50%,about60%,about75%,orabout90%lessthanthelone
 tone comprises about the same amount of mifepristone as               dose. In embodiments of such methods, the reduced dose of
 the second dose of mifepristone. In embodiments of such               mifepristone is a daily dose selected from about 900 mg,
 methods, the third dose of mifepristone comprises a greater      65   about 600 mg, about 300 mg, or is a dose of mifepristone
 amount of mifepristone than the second dose of mifepris-              selected from about 300 mg mifepristone administered every
 tone.                                                                 other day, a dose of about 300 mg mifepristone administered
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 every third day, and a dose of mifepristone of about 300 mg                 Suitable solid excipients include, but are not limited to,
 administered every fourth day.                                           magnesium carbonate; magnesium stearate; talc; pectin;
    Compositions                                                          dextrin; starch; tragacanth; a low melting wax; cocoa butter;
    Applicant discloses herein compositions compnsmg a                    carbohydrates; sugars including, but not limited to, lactose,
 glucocorticoid receptor antagonist (GRA) which may be                    sucrose, mannitol, or sorbitol, starch from corn, wheat, rice,
 used in the treatment of a patient suffering from excess                 potato, or other plants; cellulose such as methyl cellulose,
 cortisol, e.g., in a patient suffering from Cushing's syn-               hydroxypropylmethyl-cellulose, or sodium carboxymethyl-
 drome. In embodiments, the compositions comprising a                     cellulose; and gums including arabic and tragacanth; as well
 GRA may be provided in an amount effective to control                    as proteins including, but not limited to, gelatin and colla-
 hyperglycemia secondary to hypercortisolism, and may be             10
                                                                          gen. If desired, disintegrating or solubilizing agents may be
 provided in an amount effective control hyperglycemia
                                                                          added, such as the cross-linked polyvinyl pyrrolidone, agar,
 secondary to hypercortisolism in a patient suffering from
                                                                          alginic acid, or a salt thereof, such as sodium alginate.
 endogenous Cushing's disease. In embodiments, the com-
 positions comprising a GRA may be provided in an amount                     Dragee cores are provided with suitable coatings such as
 effective to control hyperglycemia secondary to hypercorti-         15
                                                                          concentrated sugar solutions, which may also contain gum
 solism in a patient suffering from endogenous Cushing's                  arabic, talc, polyvinylpyrrolidone, carbopol gel, polyethyl-
 disease, where the patient has failed surgery, or is not a               ene glycol, and/or titanium dioxide, lacquer solutions, and
 candidate for surgery.                                                   suitable organic solvents or solvent mixtures. Dyestuffs or
    Applicant also discloses herein compositions comprising               pigments may be added to the tablets or dragee coatings for
 a glucocorticoid receptor antagonist (GRA) and ketocon-             20   product identification or to characterize the quantity of
 azole. These compositions comprising a GRA and ketocon-                  active compound (i.e., dosage). Pharmaceutical preparations
 azole may be used in the treatment of a Cushing's syndrome               of the invention can also be used orally using, for example,
 patient.                                                                 push-fit capsules made of gelatin, as well as soft, sealed
    The compositions as disclosed herein can be prepared in               capsules made of gelatin and a coating such as glycerol or
 a wide variety of oral, parenteral and topical dosage forms.        25   sorbitol. Push-fit capsules can contain ketoconazole and/or
 Oral preparations include tablets, pills, powder, dragees,               the GRA mixed with a filler or binders such as lactose or
 capsules, liquids, lozenges, cachets, gels, syrups, slurries,            starches, lubricants such as talc or magnesium stearate, and,
 suspensions, etc., suitable for ingestion by the patient. The            optionally, stabilizers. In soft capsules, ketoconazole and/or
 compositions of the present invention can also be adminis-               the GRA may be dissolved or suspended in suitable liquids,
 tered by injection, that is, intravenously, intramuscularly,        30   such as fatty oils, liquid paraffin, or liquid polyethylene
 intracutaneously, subcutaneously, intraduodenally, or intra-             glycol with or without stabilizers.
 peritoneally. Also, the compositions disclosed herein can be                For preparing suppositories, a low melting wax, such as a
 administered by inhalation, for example, intranasally. Addi-             mixture of fatty acid glycerides or cocoa butter, is first
 tionally, the compositions of the present invention can be               melted and ketoconazole and/or the GRA are dispersed
 administered transdermally. The compositions disclosed              35   homogeneously therein, as by stirring. The molten homo-
 herein can also be administered by intraocular, intravaginal,            geneous mixture is then poured into convenient sized molds,
 and intrarectal routes including suppositories, insufflation,            allowed to cool, and thereby to solidifY.
 powders and aerosol formulations (for examples of steroid                   Liquid form preparations include solutions, suspensions,
 inhalants, see Rohatagi, J. Clin. Pharmacal. 35:1187-1193,               and emulsions, for example, water or water/propylene glycol
 1995; Tjwa, Ann. Allergy Asthma Immunol. 75:107-111,                40   solutions. For parenteral injection, liquid preparations can be
 1995).                                                                   formulated in solution in aqueous polyethylene glycol solu-
    Accordingly, in embodiments disclosed herein, the com-                tion.
 positions include pharmaceutical compositions including a                   Aqueous solutions suitable for oral use can be prepared by
 pharmaceutically acceptable carrier or excipient, a gluco-               dissolving ketoconazole and/or the GRAin water and adding
 corticoid receptor antagonist (GRA), and a SI. Sis include,         45   suitable colorants, flavors, stabilizers, and thickening agents
 for example, ketoconazole, levoketoconazole, metyrapone,                 as desired. Aqueous suspensions suitable for oral use can be
 aminoglutethimide, etomidate, LCI699 (Osilodrostat), and                 made by dispersing the finely divided active component in
 others.                                                                  water with viscous material, such as natural or synthetic
    For preparing pharmaceutical compositions from the                    gums, resins, methylcellulose, sodium carboxymethylcellu-
 compounds of the present invention, pharmaceutically                50   lose, hydroxypropylmethylcellulose, sodium alginate, poly-
 acceptable carriers can be either solid or liquid. Solid form            vinylpyrrolidone, gum tragacanth and gum acacia, and dis-
 preparations include powders, tablets, pills, capsules,                  persing or wetting agents such as a naturally occurring
 cachets, suppositories, and dispersible granules. A solid                phosphatide (e.g., lecithin), a condensation product of an
 carrier can be one or more substances, which may also act                alkylene oxide with a fatty acid (e.g., polyoxyethylene
 as diluents, flavoring agents, binders, preservatives, tablet       55   stearate), a condensation product of ethylene oxide with a
 disintegrating agents, or an encapsulating material. Details             long chain aliphatic alcohol (e.g., heptadecaethylene oxyc-
 on techniques for formulation and administration are well                etanol), a condensation product of ethylene oxide with a
 described in the scientific and patent literature, see, e.g., the        partial ester derived from a fatty acid and a hexitol (e.g.,
 latest edition of Remington's Pharmaceutical Sciences,                   polyoxyethylene sorbitol mono-oleate), or a condensation
 Mack Publishing Co, Easton Pa. ("Remington's").                     60   product of ethylene oxide with a partial ester derived from
    In powders, the carrier is a finely divided solid, which is           fatty acid and a hexitol anhydride (e.g., polyoxyethylene
 in a mixture with the finely divided active component. In                sorbitan mono-oleate). The aqueous suspension can also
 tablets, the active component is mixed with the carrier                  contain one or more preservatives such as ethyl or n-propyl
 having the necessary binding properties in suitable propor-              p-hydroxybenzoate, one or more coloring agents, one or
 tions and compacted in the shape and size desired. The              65   more flavoring agents and one or more sweetening agents,
 powders and tablets preferably contain from 5% or 10% to                 such as sucrose, aspartame or saccharin. Formulations can
 70% of ketoconazole and/or the GRA.                                      be adjusted for osmolarity.
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    Also included are solid form preparations, which are                 based on fluid volumes, viscosities, body weight, and the
 intended to be converted, shortly before use, to liquid form            like, in accordance with the particular mode of administra-
 preparations for oral administration. Such liquid forms                 tion selected and the patient's needs. For IV administration,
 include solutions, suspensions, and emulsions. These prepa-             the formulation can be a sterile injectable preparation, such
 rations may contain, in addition to the active component,               as a sterile injectable aqueous or oleaginous suspension.
 colorants, flavors, stabilizers, buffers, artificial and natural        This suspension can be formulated according to the known
 sweeteners, dispersants, thickeners, solubilizing agents, and           art using those suitable dispersing or wetting agents and
 the like.                                                               suspending agents. The sterile injectable preparation can
    Oil suspensions can be formulated by suspending keto-                also be a sterile injectable solution or suspension in a
 conazole and/or the GRAin a vegetable oil, such as arachis         10   nontoxic parenterally-acceptable diluent or solvent, such as
 oil, olive oil, sesame oil or coconut oil, or in a mineral oil          a solution of 1,3-butanediol.
 such as liquid paraffin; or a mixture of these. The oil                    In another embodiment, the formulations of the compo-
 suspensions can contain a thickening agent, such as bees-               sitions of the present invention can be delivered by the use
 wax, hard paraffin or cetyl alcohol. Sweetening agents can              of liposomes which fuse with the cellular membrane or are
 be added to provide a palatable oral preparation, such as          15   endocytosed, i.e., by employing ligands attached to the
 glycerol, sorbitol or sucrose. These formulations can be                liposome, or attached directly to the oligonucleotide, that
 preserved by the addition of an antioxidant such as ascorbic            bind to surface membrane protein receptors of the cell
 acid. As an example of an injectable oil vehicle, see Minto,            resulting in endocytosis. By using liposomes, particularly
 J. Pharmacal. Exp. Ther. 281:93-102, 1997. The pharma-                  where the liposome surface carries ligands specific for target
 ceutical formulations of the invention can also be in the form     20   cells, or are otherwise preferentially directed to a specific
 of oil-in-water emulsions. The oily phase can be a vegetable            organ, one can focus the delivery of the compositions of the
 oil or a mineral oil, described above, or a mixture of these.           present invention into the target cells in vivo. (See, e.g.,
 Suitable emulsifying agents include naturally-occurring                 Al-Muhannned, J. Microencapsul. 13:293-306, 1996;
 gums, such as gum acacia and gum tragacanth, naturally                  Chonn, Curr. Opin. Biotechnol. 6:698-708, 1995; Ostro,
 occurring phosphatides, such as soybean lecithin, esters or        25   Am. J. Hasp. Pharm. 46:1576-1587, 1989).
 partial esters derived from fatty acids and hexitol anhy-                  Administration
 drides, such as sorbitan mono-oleate, and condensation                     The compositions disclosed herein can be delivered by
 products of these partial esters with ethylene oxide, such as           any suitable means, including oral, parenteral and topical
 polyoxyethylene sorbitan mono-oleate. The emulsion can                  methods. Transdermal administration methods, by a topical
 also contain sweetening agents and flavoring agents, as in         30   route, can be formulated as applicator sticks, solutions,
 the formulation of syrups and elixirs. Such formulations can            suspensions, emulsions, gels, creams, ointments, pastes,
 also contain a demulcent, a preservative, or a coloring agent.          jellies, paints, powders, and aerosols.
    The compositions of the present invention can also be                   The pharmaceutical preparation is preferably in unit dos-
 delivered as microspheres for slow release in the body. For             age form. In such form the preparation is subdivided into
 example, micro spheres can be formulated for administration        35   unit doses containing appropriate quantities of the GRA and
 via intradermal injection of drug-containing microspheres,              ketoconazole. In embodiments, the GRA is mifepristone.
 which slowly release subcutaneously (see Rao, J. Biomater               The unit dosage form can be a packaged preparation, the
 Sci. Polym. Ed. 7:623-645, 1995; as biodegradable and                   package containing discrete quantities of preparation, such
 injectable gel formulations (see, e.g., Gao Pharm. Res.                 as packeted tablets, capsules, and powders in vials or
 12:857-863, 1995); or, as microspheres for oral administra-        40   ampoules. Also, the unit dosage form can be a capsule,
 tion (see, e.g., Eyles, J. Pharm. Pharmacal. 49:669-674,                tablet, cachet, or lozenge itself, or it can be the appropriate
 1997). Both transdermal and intradermal routes afford con-              number of any of these in packaged form.
 stant delivery for weeks or months.                                        The GRA and ketoconazole can be co-administered or
    In another embodiment, the compositions of the present               administered separately. Concomitant administration
 invention can be formulated for parenteral administration,         45   includes administering ketoconazole within 0.5, 1, 2, 4, 6, 8,
 such as intravenous (IV) administration or administration               10, 12, 16, 20, or 24 hours of the GRA. Concomitant
 into a body cavity or lumen of an organ. The formulations               administration also includes administering the GRA and
 for administration will commonly comprise a solution of the             ketoconazole simultaneously, approximately simultaneously
 compositions of the present invention dissolved in a phar-              (e.g., within about 1, 5, 10, 15, 20, or 30 minutes of each
 maceutically acceptable carrier. Among the acceptable              50   other), or sequentially in any order. Moreover, the GRA and
 vehicles and solvents that can be employed are water and                ketoconazole can each be administered once a day, or two,
 Ringer's solution, an isotonic sodium chloride. In addition,            three, or more times per day so as to provide the preferred
 sterile fixed oils can conventionally be employed as a                  dosage level per day. In embodiments, the GRA is mifepris-
 solvent or suspending medium. For this purpose any bland                tone.
 fixed oil can be employed including synthetic mono- or             55      In some embodiments, concomitant administration can be
 diglycerides. In addition, fatty acids such as oleic acid can           accomplished by co-formulation, i.e., preparing a single
 likewise be used in the preparation of injectables. These               pharmaceutical composition including both the GRA and
 solutions are sterile and generally free of undesirable matter.         ketoconazole. Suitable co-formulations include single phar-
 These formulations may be sterilized by conventional, well              maceutical compositions including a GRA, ketoconazole,
 known sterilization techniques. The formulations may con-          60   and a pharmaceutically acceptable excipient. In embodi-
 tain pharmaceutically acceptable auxiliary substances as                ment, the GRA is mifepristone.
 required to approximate physiological conditions such as pH                In other embodiments, the GRA and ketoconazole can be
 adjusting and buffering agents, toxicity adjusting agents,              formulated separately.
 e.g., sodium acetate, sodium chloride, potassium chloride,                 Ketoconazole can be present in any suitable amount, and
 calcium chloride, sodium lactate and the like. The concen-         65   can depend on various factors including, but not limited to,
 tration of the compositions of the present invention in these           weight and age of the subject, state of the disease, etc.
 formulations can vary widely, and will be selected primarily            Suitable dosage ranges for ketoconazole in combination
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 with the GRA, include from about 0.1 mg to about 10,000                composition. In embodiments, the GRA is mifepristone. In
 mg, or about 1 mg to about 1000 mg, or about 10 mg to                  embodiments of the kits disclosed herein, the pharmaceuti-
 about 750 mg, or about 25 mg to about 500 mg, or about 50              cal composition includes ketoconazole and mifepristone,
 mg to about 250 mg. Suitable dosages for ketoconazole in               and the instructions include instructions for the administra-
 combination with the GRA, include about 1 mg, 5, 10, 20,               tion of the pharmaceutical containing ketoconazole and
 30,40,50,60, 70,80,90, 100,200,300,400,500,600,700,                    mifepristone. In embodiments, the instructions include
 800, 900 or 1000 mg. In embodiments, the GRA is mife-                  instructions regarding one or more of the number of phar-
 pristone.                                                              maceutical compositions to be taken each day, the timing of
    Similarly, the GRA can be present in combination with               such administration, whether or not the pharmaceutical
 ketoconazole in any suitable amount. The amount of GRA            10   composition is to be taken with food or in a fasted state,
 can depend on various factors including, but not limited to,           contraindications, possible side effects, activities to be
 weight and age of the subject, state of the disease, etc.              avoided during treatment with the pharmaceutical compo-
 Suitable dosage ranges for the GRAin combination with the              sition (if any), and foods to be avoided during treatment with
 SI, include from about 0.1 mg to about 10,000 mg, or about             the pharmaceutical composition (if any).
 1 mg to about 1000 mg, or about 10 mg to about 750 mg, or         15
 about 25 mg to about 500 mg, or about 50 mg to about 250                                       EXAMPLES
 mg. Suitable dosages for the GRA in combination with
 ketoconazole, include, but are not limited to, about 1 mg, 5,             The following examples are presented by way of illus-
 10, 20, 30, 40, 50, 60, 70, 80, 90, 100, 200, 300, 400, 500,           tration of embodiments of the methods disclosed herein, and
 600, 700, 800, 900 or about 1000 mg. In embodiments, the          20   serve to illustrate, but not to limit, the present disclosure of
 GRA is mifepristone,                                                   methods of treating patients suffering from Cushing's syn-
    Ketoconazole and the GRA can be present in the compo-               drome, including Cushing's Disease; or from prostate cancer
 sitions of the present invention in any suitable weight ratio,         and other androgen-sensitive cancers; or from breast cancer,
 such as from about 1:100 to about 100:1 (w/w), or about                ovarian cancer, or other cancer hormone-sensitive cancer
 1:50 to about 50:1, or about 1:25 to about 25:1, or about 1: 10   25   (e.g., cancer sensitive to estrogen or progesterone); and
 to about 10:1, or about 1:5 to about 5:1 (w/w). Ketoconazole           patients suffering from other diseases, disorders, or syn-
 and the GRA can be present in any suitable weight ratio,               dromes.
 such as about 1:100 (w/w), 1:50, 1:25, 1:10, 1:5, 1:4, 1:3,
 1:2, 1:1, 2:1, 3:1,4:1, 5:1, 10:1,25:1, 50:1 or 100:1 (w/w).                                     Example 1
 Other dosages and dosage ratios of ketoconazole and the           30
 GRA are suitable in the compositions and methods disclosed                A study was performed in order to determine the effect of
 herein. In embodiments, the GRA is mifepristone.                       oral ketoconazole at a dose of 400 mg once per day (OD) or
    The composition can also contain other compatible thera-            200 mg twice per day (BID) on the plasma pharmacokinetics
 peutic agents. The compounds described herein can be used              of a 300 mg single dose of mifepristone given to a fasted
 in combination with one another, or with adjunctive agents        35   subject, in comparison to previous study data. This study
 that may not be effective alone, but may contribute to the             was an open-label study in healthy male subjects.
 efficacy of the active agent.                                             Healthy male volunteers between the ages of 18 to 45
    Kits                                                                years of age with a body mass index (BMI) ranging between
    Applicant further provides kits including compositions as           19 and 32 kg/m2 and a weight of at least 60 kg (132 lbs)
 disclosed herein. Kits may also include instructions for the      40   were enrolled. Subjects had no clinically significant abnor-
 use of the compositions.                                               mal findings on the physical examination, ECG, blood
    In embodiments, a kit includes: a pharmaceutical com-               pressure, heart rate, medical history, or clinical laboratory
 position containing ketoconazole; and a pharmaceutical                 results during screening. The QTc interval at screening was
 composition containing a GRA. In embodiments, the GRA                  less than 450 msec.
 is mifepristone.                                                  45      In cohort 1, six subjects received ketoconazole 400 mg
    In embodiments, a kit includes: a pharmaceutical com-               OD for 14 days. The cohort 1 subjects participated in a
 position containing ketoconazole; and a pharmaceutical                 screening visit to assess eligibility, and in a check-in day
 composition containing a GRA; and instructions for the use             during which eligibility was re-confirmed and the first dose
 (e.g., administration) of the ketoconazole and the GRA. In             of 400 mg oral ketoconazole given at approximately 8 PM
 embodiments, the GRA is mifepristone, and the instructions        50   (12 hours prior to expected time of Day 1 mifepristone
 include instructions for the administration of mifepristone.           dose).
 In embodiments, the instructions include instructions                     The morning of Day 1, subjects received 400 mg oral
 regarding one or more of the number of pharmaceutical                  ketoconazole fasted, 0.5 hour prior to receiving the 300 mg
 compositions to be taken each day, the timing of such                  single dose ofmifepristone fasted. Subjects remained in the
 administration, whether or not the pharmaceuticals are to be      55   clinic on Days 2 and 3 to receive 400 mg OD oral ketocon-
 taken with food or in a fasted state, contraindications,               azole fasted, and for safety evaluation and collection of
 possible side effects, activities to be avoided during treat-          blood pharmacokinetic (PK) samples. Subjects were dis-
 ment with the pharmaceutical compositions (if any), and                charged from the clinic on Day 4 following administration
 foods to be avoided during treatment with the pharmaceu-               of 400 mg OD oral ketoconazole fasted, and returned to the
 tical compositions (if any).                                      60   clinic the mornings of Days 5 through 13 to receive 400 mg
    In embodiments, a kit includes: a pharmaceutical com-               OD oral ketoconazole fasted.
 position containing ketoconazole and a GRA. In embodi-                    In cohort 2, six subjects received ketoconazole 200 mg
 ments, the GRA is mifepristone, and the pharmaceutical                 BID for 14 days. The 300 mg single dose of mifepristone
 composition contains ketoconazole and mifepristone.                    was given to all subjects on day 1. All12 subjects completed
    In embodiments, a kit includes: a pharmaceutical com-          65   the study. Cohort 2 subjects participated in a Screening visit
 position containing ketoconazole and a GRA; and instruc-               to assess eligibility and a check-in Day (Day -1) during
 tions for the use (e.g., administration) of the pharmaceutical         which eligibility was re-confirmed. On Day 0, subjects
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 received 200 mg BID oral ketoconazole: the morning dose                 both Ro and CLss); this equation reduces to Cavg=AUCtau/
 after an overnight fast and the evening dose 12 hours prior             tau); "AUC0-24" indicates area under the plasma concen-
 to expected time of Day 1 Mifepristone dose. The morning                tration versus time curve from time 0 to 24 hours post-dose,
 of Day 1, subjects received 200 mg oral ketoconazole fasted,            calculated using the linear trapezoidal rule (this is the same
 0.5 hour prior to receiving the 300 mg single dose of                   as AUCtau where tau is 24 hours or 1 day); "% Fluet"
 Mifepristone fasted. The evening of Day 1, subjects received            indicates percent fluctuation in drug concentrations at
 200 mg oral ketoconazole. Subjects remained in the clinic on            steady-state computed as % Fluct=100x(Cmax-Cmin)/
 Days 2, 3 and 4 to receive 200 mg BID oral ketoconazole,                Cavg.
 and for safety evaluation and collection of blood pharma-                  PHARMACOKINETIC (PK) RESULTS: Mifepristone
 cokinetic (PK) samples. Subjects were discharged from the          10   plasma concentrations showed a rapid initial decline fol-
 clinic on Day 4 following evening administration of 200 mg              lowed by a slow decline over time. At later time points,
 oral ketoconazole, and returned to the clinic the morning and           concentrations showed an accelerated decline indicative of
 evening of Days 5 through 13 to receive 200 mg BID oral                 non-linear kinetics. Metabolites peaked later relative to
 ketoconazole. Morning doses ofketoconazole on Days 0-13                 parent mifepristone as would be expected. Mifepristone
 were administered in the fasted state.                             15   metabolite RU 42633 exposure was similar or even greater
    Subjects in both cohorts had blood sampling for determi-             than that for mifepristone, while RU 42698 (a mifepristone
 nation of plasma concentrations of mifepristone and its                 metabolite) exposure was approximately 0.74 to 0.94 rela-
 metabolites within 30 minutes before mifepristone dosing                tive to mifepristone and RU 42848 (also a mifepristone
 and at hours 0.5, 1, 2, 4, 6, 8, 12, 24, 36, 48, 60, 72 (Day 4),        metabolite) exposure was 0.53 to 0.68 relative to mifepris-
 120 (Day 6), 192 (Day 9), 264 (Day 12), and 336 (Day 15)           20   tone. With increase in time interval, the fraction of AUC
 post mifepristone dose. Subjects in both cohorts returned to            relative to mifepristone accounted for by metabolite
 the study center on Day 15 for safety monitoring, and                   increased.
 completion of the Termination Visit procedures, followed by                Cohort 2 Cmax (where Cmax is the maximum observed
 discharge from the study. Safety was assessed by spontane-              plasma concentration) and AUCinf (where AUCinf is the
 ously reported adverse events, physical examinations, and          25   area under the concentration-time curve from time of last
 routine clinical laboratory tests. To the extent possible, any          dose to infinity) were similar to corresponding parameters in
 adverse events deemed study drug-related and that were                  Cohort 1. The geometric mean ratio (GMR) for Cmax was
 ongoing at the time of discharge from the study were                    1.15 and that for AUCinf was 1.05. However, the 90%
 followed-up to resolution or until a determination is made              confidence intervals around the GMR were higher than the
 that the unresolved event was stable.                              30   standard 80:125 reference interval. Thus, there may be a
    No subject experienced a serious adverse effect (SAE), or            small increase in mifepristone exposure with a divided
 an adverse event (AE) that resulted in discontinuation from             ketoconazole dose (200 mg BID vs. 400 mg OD), but this
 the study. Three subjects (25%) experienced at least 1                  was minor. Terminal half-life was approximately the same in
 treatment-emergent adverse event (TEAE). All TEAEs were                 Cohort 2 versus Cohort 1 and Tmax was shorter for Cohort
 mild in intensity. No TEAE was considered by the investi-          35   2 versus Cohort 1.
 gator to be related to mifepristone. One TEAE of insomnia                  SAFETY RESULTS: Among 12 subjects who received
 was considered by the investigator to be related to ketocon-            mifepristone, 3 (25%) experienced at least one treatment
 azole.                                                                  emergent adverse event (TEAE). All TEAEs were mild in
    Minimal changes in laboratory test results were observed             intensity. No TEAE was considered by the investigator to be
 during the course of the study. No laboratory test result was      40   related to Mifepristone. One TEAE of insonmia was con-
 considered by the investigator to be a TEAE. Any abnormal               sidered by the investigator to be related to ketoconazole. No
 values or shifts from baseline were considered not clinically           subject experienced an SAE or an AE that resulted in
 significant. No clinically significant changes in any electro-          discontinuation from the study. Minimal changes in labora-
 cardiogram (ECG) parameter were observed.                               tory test results were observed for subjects during the course
    Pharmacokinetics (PK): Blood samples were drawn                 45   of the study. No laboratory test result was considered by the
 within 30 minutes before mifepristone dosing and at hours               investigator to be a TEAE. Any abnormal values or shifts
 0.5, 1, 2, 4, 6, 8, 12, 24, 36, 48, 60, 72 (Day 4), 120 (Day            from Baseline values were considered not clinically signifi-
 6), 192 (Day 9), 264 (Day 12), and 336 (Day 15) post                    cant. No clinically significant changes in any ECG param-
 mifepristone dose. Pharmacokinetic parameters were calcu-               eter were observed.
 lated for plasma concentrations of mifepristone and its            50      While PK parameters in Cohort 2 were similar to those in
 metabolites following the single dose at Day 1. Descriptive             Cohort 1, the 90% confidence intervals around the GMR
 statistics (count, mean, median, standard deviation, mini-              were higher than the standard 80: 125 reference interval used
 mum, maximum, and % coefficient of variation) were pro-                 for bioequivalence testing. Thus, there may be a small and
 vided. Mifepristone/metabolite concentrations were listed               minor increase in mifepristone exposure with a divided
 and summarized. Comparisons with previous study data               55   ketoconazole dose (200 mg BID vs. 400 mg OD). Terminal
 were made. The mean PK parameters from this study are                   half-life was approximately the same in Cohort 2 versus
 presented in Table 1 ("MIFE" indicates mifepristone). The               Cohort 1 and Tmax was shorter for Cohort 2 versus Cohort
 abbreviations and symbols used in Table 1 have the follow-              1. Mifepristone 300 mg was safe and well tolerated in
 ing meanings: "Tmax" indicates time to maximum observed                 healthy volunteers under the following treatment regimens:
 plasma concentration; "Tmin" indicates time to minimum             60   single-dose fasted with ketoconazole 400 mg OD for 14
 observed concentration within the 24 hour dosing interval;              days or ketoconazole 200 mg BID for 14 days.
 "Cmax" indicates maximum observed plasma concentra-
 tion; "Cmin" indicates minimum observed concentration                                            Example 2
 within the 24 hour dosing interval; "Cavg" indicates average
 steady-state concentration and is defined as drug input rate       65      The primary objective of this study was to determine the
 (Ro) divided by drug removal rate (CLss) (Cavg=Ro/CLss,                 effect of a 400 mg single dose of ketoconazole on the PK of
 where f (the fraction absorbed) cancels out (f is a factor of           an 8-day regimen of 300 mg or 600 mg OD mifepristone
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 given following a moderate fat (34%) breakfast. This was an             19 and 32 kg/m2 and a weight of at least 60 kg (132 lbs)
 open-label study in healthy male subjects. In cohort 1, six             were enrolled. Subjects had no clinically significant abnor-
 subjects received mifepristone 300 mg OD for 8 days. In                 mal findings on the physical examination, ECG, blood
 cohort 2, six subjects received mifepristone 600 mg OD for              pressure, heart rate, medical history, or clinical laboratory
 8 days. The 400 mg single dose of ketoconazole was given                results during screening. The QTc interval at screening was
 to all subjects on day 8. Three subjects discontinued early             less than 450 msec.
 from the study: one subject in cohort 1 due to new onset                   DURATION OF TREATMENT: Up to a total of 28 days,
 sinus bradycardia, and two subjects in cohort 2 due to                  including up to 2 weeks screening, dosing on Days 1-8,
 withdrawn consent.                                                      safety observation, and PK sample collection through Day
    METHODOLOGY: Twelve subjects were enrolled, six in              10   13. For measuring the pharmacokinetics of mifepristone,
 Cohort 1 and 6 in Cohort 2. Three subjects discontinued                 samples were collected within 30 minutes before Day 7
 early from the study, one subject in Cohort 1 due to an                 mifepristone dose and at hours 0.5, 1, 2, 4, 6, 8, and 12 post
 adverse event of sinus bradycardia, and two subjects in                 Day 7 mifepristone dose; within 30 minutes before Day 8
 Cohort 2 due to withdrawn consent.                                      ketoconazole dosing and at hours 0.5, 1, 2, 4, 6, 8, 12, 24,
    Cohort 1: Subjects participated in a Screening visit to         15   36, 48, 60, 72, and 120 post Day 8 mifepristone dose. For
 assess eligibility, and returned to the clinic on Days 1-6 to           measuring the pharmacokinetics of ketoconazole, samples
 receive 300 mg oral mifepristone following a moderate fat               were collected predose on Day 8 (24 hr sample from Day 7),
 breakfast. On Day 7 subjects were admitted to the clinic in             and at hours 0.5, 1, 1.5, 2, 3, 4, 6, 8, 12, 24, 36, and 48 hours
 the fasted state for a pre-dose PK blood draw, after which              post ketoconazole dose.
 they received 300 mg oral mifepristone following a moder-          20      Safety was assessed by spontaneously reported adverse
 ate fat breakfast. Subjects had serial blood sampling for               events, physical examinations, and routine clinical labora-
 determination of mifepristone and its metabolites at hours              tory tests. Adverse event data were tabulated. Physical
 0.5, 1, 2, 4, 6, 8, and 12 post Day 7 dose. On Day 8, a                 findings and laboratory test results were listed by subject.
 pre-dose PK sample was drawn within 30 minutes prior to                    SAFETY RESULTS: No subject experienced an SAE.
 ketoconazole dosing for determination of plasma concen-            25   Among twelve subjects who received mifepristone, six
 trations of mifepristone and its metabolites and ketocon-               subjects (50%) experienced at least 1 TEAE. TEAEs were
 azole. Following a moderate fat breakfast on Day 8, subjects            predominantly mild in intensity. The majority of subjects
 received 400 mg ketoconazole 0.5 hours prior to 300 mg                  (5/6) with TEAEs were in Cohort 2 and onset of the majority
 mifepristone and had serial blood sampling at hours 0.5, 1,             of TEAEs occurred on or after Day 8 during treatment with
 2, 4, 6, 8, 12, 24, 36, 48, 60, 72, and 120 post mifepristone      30   both ketoconazole and mifepristone 600 mg. TEAEs con-
 dose for determination of plasma concentrations of mife-                sidered possibly or probably related to mifepristone admin-
 pristone and its metabolites; and at hours 0.5, 1, 1.5, 2, 3, 4,        istration in four subjects in Cohort 2 were dizziness, nausea,
 6, 8, 12, 24, 36, and 48 post ketoconazole dose for deter-              vomiting, dry mouth, and rash. One TEAE of headache was
 mination of plasma concentrations ofketoconazole. Subjects              considered by the investigator to be possibly related to both
 were discharged on Day 11.                                         35   ketoconazole and mifepristone administration. One subject
    Cohort 2: Subjects participated in a Screening visit to              in Cohort 1 with a TEAE of nodal arrhythmia on Day 8 was
 assess eligibility and returned to the clinic on Days 1-6 to            withdrawn by the investigator. The event was considered
 receive 600 mg oral mifepristone following a moderate fat               mild in severity and not considered related to study medi-
 breakfast. On Day 7 subjects were admitted to the clinic in             cation. The corresponding ECG abnormality noted as "sinus
 the fasted state for a pre-dose PK blood draw, after which         40   bradycardia" was considered not clinically significant. No
 they received 600 mg oral mifepristone following a moder-               subject experienced an SAE.
 ate fat breakfast. Subjects had serial blood sampling for                  Minimal changes in laboratory test results were observed
 determination of mifepristone and its metabolites at hours              for subjects during the course of the study. No laboratory test
 0.5, 1, 2, 4, 6, 8, and 12 post Day 7 dose. On Day 8, a                 result was considered by the investigator to be a TEAE.
 pre-dose PK sample was drawn within 30 minutes prior to            45   There were no clinically significant changes or abnormali-
 ketoconazole dosing for determination of plasma concen-                 ties in vital signs, physical examinations or body weights
 trations of mifepristone and its metabolites and ketocon-               during the study. Abnormal ECGs occurred in four subjects
 azole. Following a moderate fat breakfast on Day 8, subjects            and no abnormality was considered clinically significant.
 received 400 mg ketoconazole 0.5 hours prior to 600 mg                     STATISTICAL METHODS: Pharmacokinetics (PK):
 mifepristone and had serial blood sampling at hours 0.5, 1,        50   Pharmacokinetic parameters Cmax, Ctrough, and interdos-
 2, 4, 6, 8, 12, 24, 36, 48, 60, 72, and 120 post mifepristone           ing interval AUC were calculated for plasma concentrations
 dose for determination of plasma concentrations of mife-                of mifepristone and its metabolites following dose on Days
 pristone and its metabolites; and at hours 0.5, 1, 1.5, 2, 3, 4,        7 and 8. Descriptive statistics (count, mean, median, stan-
 6, 8, 12, 24, 36, and 48 post ketoconazole dose for deter-              dard deviation, minimum, maximum, and % coefficient of
 mination of plasma concentrations ofketoconazole. Subjects         55   variation) were provided. mifepristone/metabolite concen-
 were discharged on Day 11. Subjects in both cohorts                     trations were listed and summarized. GM means of Cmax
 returned to study center on Day 13 for safety monitoring,               and AUC0-24 were compared for Day 8 to Day 7 in this
 collection of the 120-hour PK draw, and completion of the               study and also to combined data of300 mg OD mifepristone
 Termination Visit procedures, followed by discharge from                in previous multiple dose studies. Additionally, comparisons
 the study. To the extent possible, any adverse events deemed       60   were made between the PK results of cohort 1 and 2.
 study drug-related and that were ongoing at the time of                 Pharmacokinetic parameters Cmax, T1/2 and total AUC
 discharge from the study were followed-up to resolution or              were calculated for plasma concentrations of ketoconazole
 until a determination was made that the unresolved event                following the single dose on Day 8. Descriptive statistics
 was stable.                                                             (count, mean, median, standard deviation, minimum, maxi-
    DIAGNOSIS AND MAIN CRITERIA FOR INCLU-                          65   mum, and % coefficient of variation) were provided. Keto-
 SION: Healthy male volunteers between the ages of 18 to 45              conazole concentrations were listed and summarized. GM
 years of age with a body mass index (BMI) ranging between               means of Cmax and total AUC were compared for the single
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 dose in this study to the combined data of reported 400 mg           by drug removal rate (CLss) (Cavg=Ro/CLss, where f
 single doses of ketoconazole of healthy subjects from the            cancels out; this equation reduces to Cavg=AUCtau/tau);
 literature.                                                          "AUC0-24" indicates area under the plasma concentration
    The mean (±SD) age of subjects was 29.4±6.8 years, and            versus time curve from time 0 to 24 hours post-dose,
 the mean BMI at screening was 25.61±3.27 kg/m2. Seven of        5    calculated using the linear trapezoidal rule (this is the same
 twelve subjects (58.3%) were White, and 5/12 (41.7%) were            as AUCtau where tau is 24 hours or 1 day); "% Fluet"
 Black/African American. Five of the 12 subjects (41.7%)              indicates percent fluctuation in drug concentrations at
 were of Hispanic or Latino ethnicity.                                steady-state computed as % Fluct=100x(Cmax-Cmin)/
    PHARMACOKINETIC (PK) RESULTS: PK data for                         Cavg.
 mifepristone and metabolites was available for eleven of the    10      Drug-drug interaction (DDI) effects of ketoconazole on
 12 enrolled subjects and data for ketoconazole PK analyses           mifepristone and of mifepristone on ketoconazole were
 was available for 10 subjects. Concentrations of mifepris-           studied. A single 400 mg dose of ketoconazole caused a
 tone and each metabolite were above the limits of detection          detectable increase in mifepristone exposure at mifepristone
 during the entire sampling duration from Day 7 predose to            doses of 300 and 600 mg OD, and mifepristone at these
 Day 13 (end of study). mifepristone plasma concentrations       15   doses caused a detectable increase in ketoconazole expo-
 showed a rapid initial decline followed by a slow decline            sure. Although the increase in mifepristone exposure due to
 over time and metabolites peaked later relative to parent            the addition of ketoconazole was only between 20% and
 mifepristone as expected. Mean RU 42633 and RU 42848                 39% in absolute terms, the resulting exposure was similar to
 exposure was similar or even greater than that for mifepris-         that of a dose 2 to 3 times greater. This is believed to be due
 tone, while RU 42698 exposure was lower. Ketoconazole           20   to a lack of dose-proportional kinetics for mifepristone.
 PK after a single dose on Day 8 was readily computed.                Predominantly mild AEs occurred and were observed pri-
 Co-administration of ketoconazole increased mifepristone             marily in subjects administered ketoconazole and mifepris-
 and metabolite exposure. In the presence of 400 mg keto-             tone 600 mg.
 conazole on Day 8, Cohort 1 mifepristone Cmax andAUC0-
 24 increased by 20% and 25% relative to the prior Day 7         25                            Example 3
 without ketoconazole. This effect was slightly greater at 600
 mg OD mifepristone in Cohort 2, where Cmax and AUC0-                    A Phase 1, single-center, open-label study was performed
 24 increased by 39% and 28% between Day 7 and Day 8. A               to study the effect of oral twice-daily doses of 200 mg of
 dose of 600 mg OD mifepristone (Cohort 2) resulted in                ketoconazole given with multiple oral once-daily doses of
 higher mifepristone and metabolite exposure relative to a       30   600 mg of mifepristone in healthy male volunteers, during
 dose of 300 mg OD (Cohort 1) both alone and in the                   which all drug administrations were given after a typical
 presence of 400 mg ketoconazole. This increase was less              meal (34% fat content). An objective of this study was to
 than proportionate to the two-fold dose increment. On Day            determine the effect of ketoconazole 200 mg twice daily on
 7 without ketoconazole, mifepristone Cmax andAUC0-24 at              the PK of mifepristone 600 mg once daily when both drugs
 600 mg OD were 42% and 48% greater than at 300 mg OD.           35   were administered with food. A single dose of ketoconazole
 This dose effect was greater in the presence of 400 mg               was administered on Day-1. During multidose administra-
 ketoconazole. Day 8 mifepristone Cmax andAUC0-24 were                tion, mifepristone was administered on Days 1-17 and
 65% and 52% greater at 600 mg OD than at 300 mg OD.                  ketoconazole on Days 13-17; follow-up continued on Days
 mifepristone half-life on Day 8 in the presence of 400 mg            18-31. Sixteen subjects were enrolled (mean age 31.9 years;
 ketoconazole was similar between the two mifepristone dose      40   8 black, 6 white, 2 other), and two subjects discontinued
 levels. Day 8 half-life was 13% greater at 600 mg OD than            before starting the mifepristone/ketoconazole combination
 at 300 mg OD. Ketoconazole exposure following a single               treatment.
 400 mg dose on Day 8 of a regimen of 600 mg OD                          The study was a two period study design. In Period 1: 600
 mifepristone was 37% and 36% higher (Cmax andAUCinf)                 mg mifepristone was administered once daily from Day 1 to
 relative to a mifepristone regimen of300 mg OD. Ketocon-        45   Day 12; pharmacokinetic samples were taken before each
 azole half-life on either mifepristone regimen was not appre-        dose for assay of mifepristone and active metabolites
 ciably different. The addition of a single dose of 400 mg            (mono-demethylated metabolite, RU 42633; hydroxylated
 ketoconazole to 300 mg or 600 mg OD mifepristone on Day              metabolite, RU 42698; and di-demethylated metabolite, RU
 8 resulted in exposure increases in Cmax andAUC0-24 that             42848) to confirm that steady-state was achieved, and for a
 were similar to historical values at 600 mg or 1200 mg OD       50   dose-interval concentration-profile on Day 12. In Period 2:
 in the fasted state and 1200 mg OD in the fed state,                 600 mg mifepristone once daily was continued in combina-
 respectively. Although the increase in exposure due to the           tion with 200 mg ketoconazole twice daily from Days 13 to
 addition ofketoconazole was only between 20% and 39% in              17; pharmacokinetic samples were taken for assay of both
 absolute terms, the resulting exposure was similar to that of        mifepristone and metabolites, and ketoconazole before dos-
 a dose 2 to 3 times greater. This is believed to be due to a    55   ing on Days 13 to 17, and on Day 17 for a dose-interval
 lack of dose-proportional kinetics for mifepristone.                 concentration-time profile
    The mean PK parameters and results from this study are               A secondary objective was to determine if the effect of
 presented in Table 2.                                                200 mg BID ketoconazole on the PK of co-administered 600
    The abbreviations and symbols used in Table 2 have the            mg OD mifepristone at steady-state exceeded exposure to
 following meanings:                                             60   mifepristone and metabolites compared to that of 1200 mg
    "Tmax" indicates time to maximum observed plasma                  OD mifepristone with food, the labeled dosing regimen with
 concentration; "Tmin" indicates time to minimum observed             the highest mean observed exposure in healthy subjects.
 concentration within the 24 hour dosing interval; "Cmax"                Effects of Co-Administration with Ketoconazole on Mife-
 indicates maximum observed plasma concentration; "Cmin"              pristone and Metabolites: The concentrations of mifepris-
 indicates minimum observed concentration within the 24          65   tone and the hydroxylated metabolite, RU 42698, were
 hour dosing interval; "Cavg" indicates average steady-state          higher on Day 17 (600 mg mifepristone daily co-adminis-
 concentration and is defined as drug input rate (Ro) divided         tered with 200 mg ketoconazole twice daily) than on Day 12
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 (mifepristone alone). Concentrations of RU 42633 and RU                presence of ketoconazole would better match the exposure
 42848 were similar on Day 17 and Day 12. Results of the                of a subject to 1200 mg mifepristone alone than would 600
 formal statistical analysis are shown in Table 3.                      mg mifepristone in the presence of ketoconazole. Thus,
    For mifepristone, the geometric mean ratio of test to               these data also support the use of 900 mg mifepristone, and
 reference for Cmax was 127.59% (90% CI: 116.66, 139.54,           5    higher doses as well, in the presence of ketoconazole.
 where "CI" means "confidence interval" and "90% CI"                       For metabolite RU 42633, the 90% confidence intervals
 means "90% confidence interval") and for AUC 0 _24 was                 were within the standard interval for cmax (geometric mean
 138.01% (90% CI: 127.12, 149.84). The lower bound of the               ratio 96.31%) and just overlapping the lower bound of the
 90% confidence intervals exceeded 100% and the upper                   standard interval for AUC 0 _24 (geometric mean ratio
 bound exceeded 125%. Thus, co-administration with keto-           10   91.34%). For metabolite RU 42698, confidence intervals for
 conazole increased mifepristone exposure. Similarly, for               both Cmax and AUC 0 _24 were overlapping and above the
 metabolite RU 42698, the lower bounds of the 90% confi-                standard interval (geometric mean ratio cmax: 116.55%;
 dence intervals exceeded 100% and both geometric mean                  AUC 0 _24 : 118.18%). For metabolite RU 42848, the 90%
 ratios and the upper bound of the 90% confidence interval              confidence intervals were overlapping and below the stan-
 exceeded 125%, and thus exposure to this metabolite was           15   dard interval for cmax (geometric mean ratio 82.45%) and
 increased by ketoconazole.                                             AUC 0 _24 (ratio 81.43%).
    For metabolites RU 42848 and RU 42633, the calculated                  RU 42698 is a relatively minor metabolite and comprises
 geometric mean ratios and 90% confidence intervals of                  9% of the total steady-steady AUC 0 _24 of mifepristone,
 exposure ratios were within the standard 80:125 comparison             RU42633, RU42698, RU42848 alone and 13% of the total
 interval and thus not affected by ketoconazole.                   20   steady-steady AUC 0 _24 in the presence of ketoconazole.
    Effects of Co-administration with mifepristone on Keto-             Therefore, the increase in RU 42698 AUC 0 _24 in the pres-
 conazole: The plasma concentration-time profiles of keto-              ence of ketoconazole is considered to be minor.
 conazole given twice daily with mifepristone on Day 17                    FIG. 1 illustrates the results of measurements of plasma
 were much higher than for ketoconazole given as a single               levels of mifepristone, RU42633, RU42698, and RU 42848.
 dose alone on Day-1. Results of the formal statistical analy-     25   These measurements were made prior to the daily adminis-
 sis are shown in Table 4.                                              tration of mifepristone to the subject; thus the mifepristone
    The geometric mean ratio of test to reference for cmax was          and metabolite concentrations are "trough" concentrations.
 252.71% (90% CI: 214.85, 297.26) and for AUC was                       These results show that trough concentrations of mifepris-
 365.36% (90% CI: 333.78, 399.93). Thus, the geometric                  tone and RU42848 were increasing day-by-day through the
 mean ratio and both lower and upper bounds of the 90%             30   start ofketoconazole administration (Day 13). This indicates
 confidence intervals were entirely above the standard 80:125           that steady state conditions may not have been attained at the
 comparison interval and exposure on Day 17 (with mife-                 time of ketoconazole administration (which began on day
 pristone) was higher than on Day-1 (ketoconazole alone).               13).
    Comparison of Mifepristone Exposure with mifepristone                  FIG. 2 shows the plasma concentration profile of mife-
 Labeled Doses: The concentration-time plots showed that           35   pristone before and after inhibition of CYP3A by ketocon-
 mean mifepristone concentrations on Day 17 in the present              azole. Applicant notes that the time 0 values (pre-dose) differ
 study were less than those in the fed condition in a previous          by -500 ng/ml, a difference that is maintained relatively
 "historic" study in which subjects received 1200 mg mife-              constant throughout much of the 24-hour sampling interval.
 pristone daily for seven days. Mifepristone was adminis-               Thus, if the daily increase in trough concentrations between
 tered to the subjects within thirty minutes following a typical   40   days 7 and 12 persevered through day 17, an unknown
 meal (34% fat) in both the present study and in the historic           fraction of the increasedAUC (and Cmax) between Day 12
 study. Results of the formal statistical analysis are shown in         and Day 17 could be due to further mifepristone adminis-
 Table 5.                                                               tration rather than by an effect of ketoconazole alone. Thus,
    For mifepristone, the geometric mean ratio of test to               the values reported in Table 3 may overstate the impact of
 reference for Cmax was 84.64% (90% CI: 72.92, 98.23); for         45   CYP3A inhibition on exposure to mifepristone (and
 AUC 0 _24 it was 87.27% (90% CI: 74.72, 101.94). The 90%               RU42848).
 confidence intervals were below and overlapping the stan-                 CONCLUSIONS: Co-administration of 600 mg mifepris-
 dard 80:125 comparison interval. The mean mifepristone                 tone once daily with 200 mg ketoconazole twice daily
 concentrations in subject receiving 600 mg mifepristone                resulted in a mean increase in exposure to mifepristone of
 following a 34% fat meal were less than the mifepristone          50   approximately 28% (Cmax: geometric mean ratio 127.59%
 concentrations in the historic study. As shown in Table 5,             [90% CI: 116.66, 139.54]) and 38% (AUC 0 _24 : geometric
 administration of 600 mg mifepristone in the fed state with            mean ratio 138.01% [90% CI: 127.12, 149.84]). These
 ketoconazole resulted in mifepristone concentrations that              exposures are approximately 85% of those observed follow-
 were less than the mifepristone concentrations measured in             ing the highest labeled dose of mifepristone (1200 mg daily).
 subjects receiving 1200 mg mifepristone daily in the              55      The mean increase in exposure to the hydroxylated
 absence of ketoconazole. The Geometric Mean Ratio                      metabolite, RU 42698 (approximately 70%), was somewhat
 (GMR) values in Table 5 suggest that mifepristone 600 mg               greater than the increase in exposure to parent, resulting in
 co-administered with ketoconazole yields mifepristone                  exposure that was approximately 15 to 20% higher than that
 exposure 13-15% less than that of 1200 mg mifepristone in              following the highest labeled dose of mifepristone. In con-
 the absence of ketoconazole; for the metabolites, corre-          60   trast, co-administration with ketoconazole resulted in little
 sponding values range from an 18-19% decrease to a                     change in exposure to the mono-demethylated metabolite,
 17-18% increase. Thus, administration of 600 mg mifepris-              RU 42633, or di-demethylated metabolite, RU 42848; expo-
 tone daily with ketoconazole resulted in mifepristone con-             sure to these metabolites was similar to or slightly lower
 centrations that were not higher than the mean observed                than exposure following the highest labeled dose.
 exposure at 1200 mg mifepristone; both treatments given           65      The results presented in this example indicate that, with
 following typical 34% fat meal. The value of 87% for GMR               inhibition of CYP3A (e.g., by co-administration of a strong
 of the AUCs suggests that 900 mg mifepristone in the                   CYP3A inhibitor such as ketoconazole), a subject adminis-
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 tered 900 mg mifepristone daily would experience corre-                daily dose of 1200 mg mifepristone, is altered to include
 sponding increases in mifepristone Cmax and AUC of                     concomitant administration of an effective amount of keto-
 27.59% and of 38.01%, respectively, which should yield                 conazole and a reduced daily dose of mifepristone, where
 systemic exposures similar in magnitude to those previously            the reduced daily dose of mifepristone is 900 mg, so that the
 attained with 1200 mg daily. Thus, the results of these                patient receives concomitant administration ofketoconazole
                                                                        and mifepristone. A measurement indicates that the liver
 measurements indicate that a subject, previously receiving a
                                                                        function of the patient is not significantly compromised by
 dose of 1200 mg mifepristone daily, may be safely admin-               the concomitant administration of ketoconazole and the
 istered a dose of 900 mg mifepristone daily when a strong              reduced dose of mifepristone.
 CYP3A inhibitor such as ketoconazole is added to the
                                                                   10
 regimen. Similarly, the results of these measurements indi-                                        Example 5
 cate that a subject, previously receiving a dose of 900 mg
 mifepristone daily, may be safely administered a dose of 600              The treatment regimen of a patient suffering from excess
 mg mifepristone daily when a strong CYP3A inhibitor such               cortisol, who is receiving treatment with mifepristone at a
 as ketoconazole is added to the regimen. In addition, the              daily dose of 900 mg mifepristone, is altered to include
                                                                   15
 results of these measurements indicate that a subject, pre-            concomitant administration of an effective amount of keto-
 viously receiving a dose of 600 mg mifepristone daily, may             conazole and a reduced daily dose of mifepristone, where
 be safely administered a dose of 300 mg mifepristone daily             the reduced daily dose of mifepristone is 600 mg, so that the
 when a strong CYP3A inhibitor such as ketoconazole is                  patient receives concomitant administration ofketoconazole
 added to the regimen.                                                  and mifepristone. A measurement indicates that the liver
                                                                   20
    No deaths or SAEs were reported during the study. Two               function of the patient is not significantly compromised by
 subjects discontinued due to AEs (moderate hypertension in             the concomitant administration of ketoconazole and the
 one subject and moderate bilateral rash on the upper arms              reduced dose of mifepristone.
 and thighs in the other subject, both during the mifepristone-
 only treatment period). At least one TEAE was reported in                                          Example 6
                                                                   25
 55.6% (9 of 16) of the subjects during treatment with
 mifepristone alone, in 57.1% (8 of 14) of the subjects during             The treatment regimen of a patient suffering from excess
 the mifepristone/ketoconazole treatment period, and in 7.1%            cortisol, who is receiving treatment with mifepristone at a
 (1 of 14) of the subjects during the washout period.                   daily dose of 600 mg mifepristone, is altered to include
    The majority ofTEAEs were mild. Four subjects reported              concomitant administration of an effective amount of keto-
                                                                   30
 moderate TEAEs: three subjects during treatment with mife-             conazole and a reduced daily dose of mifepristone, where
 pristone alone (1 each reporting hypertension, rash, and               the reduced daily dose of mifepristone is 300 mg, so that the
 vomiting) and 1 subject during treatment with mifepristone/            patient receives concomitant administration ofketoconazole
 ketoconazole (headache). All four moderate AEs were con-               and mifepristone. A measurement indicates that the liver
 sidered possibly or probably related to mifepristone treat-            function of the patient is not significantly compromised by
                                                                   35
 ment. Only 1 of the moderate AEs was considered to be                  the concomitant administration of ketoconazole and the
 possibly related to ketoconazole treatment. No severe                  reduced dose of mifepristone.
 TEAEs were reported.
    Three subjects had elevated laboratory test results that                                        Example 7
 were reported as drug-related TEAEs. Mildly elevated liver
                                                                   40
                                                                   The treatment regimen of a patient suffering from excess
 enzymes were noted for one subject starting on the morning
 of Day 14, and mildly elevated creatinine levels were noted    cortisol, who is receiving treatment with mifepristone at a
 for two subjects starting on the morning of Day 14. Dosing     daily dose of 1500 mg mifepristone, is altered to include
 was not interrupted for any of the subjects, and the events    concomitant administration of an effective amount of keto-
 resolved without sequelae.                                     conazole and a reduced daily dose of mifepristone, where
                                                             45 the reduced daily dose of mifepristone is 1200 mg, so that
    No clinically significant effects of multiple-dose mifepris-
 tone treatment with or without multiple-dose ketoconazole      the patient receives concomitant administration ofketocon-
 treatment were observed on hematology or urinalysis param-     azole and mifepristone. A measurement indicates that the
 eters, vital signs, or ECGs.                                   liver function of the patient is not significantly compromised
                                                                by the concomitant administration of ketoconazole and the
                          Example 4                          so reduced dose of mifepristone.
                                                                   All patents, patent applications, and publications identi-
   The treatment regimen of a patient suffering from excess     fied herein are hereby incorporated by reference herein in
 cortisol, who is receiving treatment with mifepristone at a    their entireties.

                                                                                        TABLE 1

                                              Product                                            No. Subjects
                                              ID/                                                   Enter/      Age:         Treatments


                                              Batch No.    Study                                  Complete      Mean                Interacting
                                              (NME)        Objective           Study Design         (M/F)       Range   Substrate     Drug


                                              Mifepristone Effect of           Phase 1, open-       12/12        28      MIFE       400 mg/d
                                              300 mg       ketoconazole 400    label, parallel     (12M)        20-44   300 mg         Keto
                                              Tablet       mg OD (or 200 mg    group, single                               C1        400 mg
                                                           BID) on PK of 300   MIFE dose,                                              OD
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                                         65                                                                             66
                                             TABLE !-continued
 Keto 200         mg single dose          multiple keto                                          MIFE       400 mg/d
 mg Tablet        Mifepristone            doses, in                                             300 mg        Keto
                  given fasted            healtby                                                 C2         200 mg
                                          subjects                                                            BID

                  Product           MIFEPRISTONE Mean PK Parameters (SD)                            Mean Ratio

                  ID/                                     AUCtot       AUC,                    Confidence Interval

                  Batch No.         em=          Tmax     ng ·hi       ng · h/        Tv2         cmax       AUCtotal
                  (NME)            ng/mL          h        mL           mL             h         ng/mL      ng · h/mL

                  Mifepristone       3398     median      116939       38111          37.1        1.15         1.05
                  300 mg            (6.77)     2.00       (26850)      (8768)        (9.77)    0.81-1.63    0.72-1.54
                  Tablet                                                                        (C2/Cl)      (C2/Cl)
                  Keto 200           4143     median      130925        40625         37.4
                  mg Tablet         (1736)     1.00       (60942)      (16524)       (18.5)

 MIFE = mifepristone,
 Keto = ketoconazole,
 AUCtot = AUCtotal,
 AUC..: = AUC 0_24 hours following single dose of MIFE
 C1 =Cohort 1.
 C2 =Cohort 2



                                                 TABLE 2
 Product                                                  # Subjects
 ID/                                                        Enter/         Age:                Treatments

 Batch#           Study                Study              Complete         Mean                      Interacting
 (NME)            Objective            Design              (M/F)           Range       Substrate        Drug

 Mifepristone     Effect of 400 mg     Phase 1,                12/10        29.8        MIFE
 300 mg           single dose of       open-label,            (12M)        20-43      300 mg/d
 Tablet           ketoconazole on      parallel                                       Cl Day 7
 Keto 200 mg      PK an 8 day          group,                                           MIFE         400 mg
 Tablet           regimen of 300       crossover                                      300 mg/d      Keto single
                  mgOD                 within                                         Cl Day 8         dose
                  Mifepristone (or     group witb                                       MIFE
                  600 mg OD            multiple                                       600 mg/d
                  Mifepristone)        MIFE doses,                                    C2 Day 7
                  given with           and single                                       MIFE         400 mg
                  moderate fat         keto dose,                                     600 mg/d      Keto single
                  (34%) breakfast      in healtby                                     C2 Day 8         dose
                                       subjects

            Product           MIFEPRISTONE Mean PK Parameters (SD)                             Mean Ratio

            ID/                                     AUCtot       AUC,                       Confidence Interval

            Batch#             cmax       Tmax      ng ·hi       ng · h/     Tv2             cmax       AUC,
            (NME)             ng/mL        h         mL           mL             h          ng/mL     ng · himL

            Mifepristone       2700     median          NCa      37734                        1.19      1.25
            300 mg             (534)     3.0                    (11905)                    0.93-1.53 0.88-1.76
            Tablet                                                                         Cl Day 8/ Cl Day 8/
                                                                                             Day 7     Day 7
            Keto 200 mg        3240     median          NCa      47357        84.9            1.39      1.28
            Tablet             (760)     2.1                    (17239)      (46.6)        1.13-1.70 1.09-1.49
                                                                                           C2 Day 8/ C2 Day 8/
                                                                                             Day 7     Day 7
                               3818     median          NCa      54174                        1.42      1.48
                               (703)     4.0                     (7305)                    1.13-1.78 1.13-1.94
                                                                                             Day 7     Day 7
                                                                                             C2/Cl    C2/Cl
                               5264     median          NCa      69112        96.2            1.65      1.52
                               (795)     4.0                     (9077)      (45.4)        1.30-2.08 1.14-2.02
                                                                                             Day 8     Day 8
                                                                                             C2/Cl    C2/Cl

 MIFE = mifepristone,
 Keto = ketoconazole
 C1 =Cohort 1,
 C2 =Cohort 2
 AUC..: = AUC0-24 hours following Day 7 or Day 8 dose of MIFE
 aAUC101 = AUCtotal, not computed (NC) for multiple dosing
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      Effects of Co-Administration with Ketoconazole on                                    The invention claimed is:
                 Mifepristone and Metabolites                                              1. A method of treating Cushing's syndrome in a patient
                                                                                        who is taking an original once-daily dose of 1200 mg or 900
        Test: Day 17-600 mg Mifepristone 0D+200 mg                                      mg per day of mifepristone, comprising the steps of:
                      Ketoconazole BID                                                     reducing the original once-daily dose to an adjusted
                                                                                               once-daily dose of 600 mg mifepristone,
                                                                                           administering the adjusted once-daily dose of 600 mg
           Reference: Day 12-600 mg Mifepristone OD
                                                                                               mifepristone and a strong CYP3A inhibitor to the
                                                                                               patient,
                                                                                   10
                                                                                           wherein said strong CYP3A inhibitor is selected from the
                                      TABLE 3
                                                                                               group consisting of ketoconazole, itraconazole, nefa-
                                          Ratio %          Lower                               zodone, ritonavir, nelfmavir, indinavir, boceprevir,
 Analyte         Parameter       N     Test/Reference     90% ei Upper 90% ei                  clarithromycin, conivaptan, lopinavir, posaconazole,
 Mifepristone    Cmax            13        127.59          116.66      139.54      15
                                                                                               saquinavir, telaprevir, cobicistat, troleandomycin, tip-
                 AUeo-24         13        138.Gl          127.12      149.84                  ranivir, paritaprevir and voriconazole.
 RU 42633        em=             13        105.73           95.92      116.54
                                                                                           2. The method of claim 1, wherein said CYP3A inhibitor
                 AUeo-24         13        102.33           94.31      111.03
 RU 42698        em=             13        169.13          156.36      182.94           is ketoconazole.
                 AUeo-24         13        166.86          155.06      179.57              3. The method of claim 1, wherein said CYP3A inhibitor
 RU 42848        em=             13         95.48           90.82      100.38
                                                                                   20   is itraconazole.
                 AUeo-24         13         94.88           91.33       98.56
                                                                                           4. The method of claim 1, wherein said CYP3A inhibitor
                                                                                        is clarithromycin.
                                                                                           5. A method of treating symptoms associated with
      Effects of Co-Administration with Mifepristone on                                 elevated cortisol levels in a patient who is taking an original
                       Ketoconazole                                                25   once-daily dose of 1200 mg or 900 mg per day of mifepris-
                                                                                        tone, comprising the steps of:
        Test: Day 17-600 mg Mifepristone 0D+200 mg                                         reducing the original once-daily dose to an adjusted
                      Ketoconazole BID                                                         once-daily dose of 600 mg mifepristone,
                                                                                           administering the adjusted once-daily dose of 600 mg
                                                                                   30
                                                                                               mifepristone and a strong CYP3A inhibitor to the
        Reference: Day -1-200 mg Ketoconazole Single
                                                                                               patient,
                            Dose
                                                                                           wherein said strong CYP3A inhibitor is selected from the
                                                                                               group consisting of ketoconazole, itraconazole, nefa-
                                                                                               zodone, ritonavir, nelfmavir, indinavir, boceprevir,
                                      TABLE 4                                      35
                                                                                               clarithromycin, conivaptan, lopinavir, posaconazole,
                                    Ratio%              Lower         Upper                    saquinavir, telaprevir, cobicistat, troleandomycin, tip-
      Parameter          N       Test/Reference        90% ei        90% ei                    ranivir, paritaprevir and voriconazole.
      emax               14           252.71            214.85        297.26                6. The method of claim 5, wherein said CYP3A inhibitor
      AUe                14           365.36            333.78        399.93       40   is itraconazole.
                                                                                           7. The method of claim 5, wherein said CYP3A inhibitor
                                                                                        is ketoconazole.
                                                                                           8. The method of claim 5, wherein said CYP3A inhibitor
              Cross-study Comparison of Exposure to
                                                                                        is clarithromycin.
                   Mifepristone and Metabolites
                                                                                   45      9. The method of claim 5, wherein said CYP3A inhibitor
                                                                                        is itraconazole.
        Test: Present Study Day 17-600 mg Mifepristone                                     10. A method of controlling hyperglycemia secondary to
                 0D+200 mg Ketoconazole BID                                             hypercortisolism in a patient with endogenous Cushing's
                                                                                        syndrome who is taking an original once-daily dose of 1200
                                                                                   50
             Reference: Historic Study Day 7-1200 mg                                    mg or 900 mg per day of mifepristone, comprising the steps
                      Mifepristone OD Alone                                             of:
                                                                                           reducing the original once-daily dose to an adjusted
                                                                                               once-daily dose of 600 mg mifepristone,
                                      TABLE 5                                              administering the adjusted once-daily dose of 600 mg
                                                                                   55
                                                                                               mifepristone and a strong CYP3A inhibitor to the
                                     Ratio%
 Analyte         Parameter           Test/Ref     Lower 90% ei      Upper 90% ei               patient,
                                                                                           wherein said strong CYP3A inhibitor is selected from the
 Mifepristone    em=                   84.64           72.92            98.23
                                                                                               group consisting of ketoconazole, itraconazole, nefa-
                 AUeo-24               87.27           74.72           101.94
 RU 42633        em=                   96.31           80.83           114.75      60          zodone, ritonavir, nelfmavir, indinavir, boceprevir,
                 AUeo-24               91.34           76.95           108.43                  clarithromycin, conivaptan, lopinavir, posaconazole,
 RU 42698        em=                  116.55           97.47           139.38
                                                                                               saquinavir, telaprevir, cobicistat, troleandomycin, tip-
                 AUeo-24              118.18           97.90           142.66
 RU 42848        em=                   82.45           70.31            96.70                  ranivir, paritaprevir and voriconazole.
                 AUeo-24               81.43           69.71            95.11              11. The method of claim 10, wherein said CYP3A inhibi-
                                                                                   65   tor is ketoconazole.
 All doses given within 30 minutes after typical (34%) fat meal
                                                                                           12. The method of claim 10, wherein said CYP3A inhibi-
                                                                                        tor is itraconazole.
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    13. The method of claim 10, wherein said CYP3A inhibi-
 tor is clarithromycin.

                     * * * * *
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                       EXHIBIT C
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 (12)   United States Patent                                          (10) Patent No.:     US 9,829,495 B2
        Moraitis                                                      (45) Date of Patent:     Nov. 28, 2017

 (54) METHOD FOR DIFFERENTIALLY                                                      OTHER PUBLICATIONS
       DIAGNOSING ACTH-DEPENDENT
       CUSHING'S SYNDROME                                          Tsigos et al. in Annu. Rev. Med. 47:443-461 (1996).*
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                                                                   lism, 2012; 97:2039-2049.*
 (71) Applicant: Corcept Therapeutics, Inc., Menlo                 Lee et al. in Office of Clinical Pharmacology Review NDA 20687
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 (58) Field of Classification Search                                                          (Continued)
       None
                                                                   Primary Examiner — Dennis Heyer
       See application file for complete search history.
                                                                   (74) Attorney, Agent, or Firm — Kilpatrick Townsend &
                                                                   Stockton LLP
 (56)                  References Cited
                                                                   (57)                      ABSTRACT
                  U.S. PATENT DOCUMENTS
                                                                   This invention provides for an improved method for differ-
     8,557,839 B2       10/2013 Clark et al.                       entially diagnosing ACTH-dependent Cushing's syndrome.
  2004/0138516 Al        7/2004 Osorio et al.                      Current practice for differentially diagnosing ectopic ACTH
  2014/0038926 Al        2/2014 Hunt et al.                        syndrome and Cushing's Disease measures relative ACTH
  2014/0162361 Al        6/2014 Clark et al.
  2014/0170768 Al        6/2014 Ehrenkranz                         concentrations from the inferior petrosal venous sinus com-
                                                                   pared to fluid obtained from a periphery venous sample. This
            FOREIGN PATENT DOCUMENTS                               is performed before and after administration of exogenous
                                                                   corticotropin releasing factor, or after administration of
 WO              2004041215 A2     5/2004                          metyrapone. This invention uses glucocorticoid receptor
 WO              2005070893 A2     8/2005                          antagonists to induce release of endogenous CRH which
 WO              2005087769 Al     9/2005
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                                                                   stimulates ACTH to increase in patients with ectopic ACTH
 WO              2007131041       11/2007                          syndrome but not in those with Cushing's Disease.
 WO              2008060391 A2     5/2008
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           METHOD FOR DIFFERENTIALLY                               and Parkinson's disease), cognition enhancement, Cushing's
           DIAGNOSING ACTH-DEPENDENT                               Syndrome, Addison's Disease, osteoporosis, frailty, inflam-
              CUSHING'S SYNDROME                                   matory diseases (e.g., osteoarthritis, rheumatoid arthritis,
                                                                   asthma and rhinitis), adrenal function-related ailments, viral
            CROSS-REFERENCES TO RELATED                          5 infection, immunodeficiency, immunomodulation, autoim-
                        APPLICATIONS                               mune diseases, allergies, wound healing, compulsive behav-
                                                                   ior, multi-drug resistance, addiction, psychosis, anorexia,
    This application claims benefit of U.S. provisional appli-     cachexia, post-traumatic stress syndrome post-surgical bone
 cation No. 62/204,723, filed Aug. 13, 2015, the entire            fracture, medical catabolism, and muscle frailty. The meth-
 content of which is hereby incorporated by reference.          10 ods of treatment include administering to a patient in need
                                                                   of such treatment, a therapeutically effective amount of a
           BACKGROUND OF THE INVENTION                             glucocorticoid receptor modulator compound.
                                                                      Cushing's syndrome is one of these problems. Patients
    Cortisol is a steroid produced by the adrenal glands and is    having Cushing's syndrome usually have easy bruising;
 used in the body to respond to physical and emotional stress 15 abdominal obesity and thin arms and legs; facial plethora;
 and to maintain adequate energy supply and blood sugar            acne; proximal muscle weakness; and/or red purple stripes
 levels. Cortisol production is highly regulated by the hypo-      across the body. Cushing's syndrome is accompanied by
 thalamic-pituitary-adrenal axis (HPA) through a complex set       hypercortisolemia, a condition involving a prolonged excess
 of direct influences and negative feedback interactions. In       of circulating cortisol. Cushing's syndrome can be classified
 healthy individuals, insufficient cortisol in the bloodstream 20 as exogenous Cushing's syndrome, which is caused by
 triggers the hypothalamus to release corticotropin-releasing      excess use of glucocorticoids drugs, such as prednisone,
 hormone (CRH) which signals to the pituitary gland to             dexamethasone, and hydrocortisone, and endogenous Cush-
 release adrenocorticotropic hormone (ACTH), which in turn         ing's syndrome, which is caused by deregulatory abnormali-
 stimulates the adrenal glands to produce more cortisol.           ties in the HPA axis. Endogenous Cushing's syndrome
 Excessive cortisol inhibits hypothalamus from producing 25 consists of the ACTH-independent Cushing's syndrome,
 CRH, thus inhibiting the pituitary gland from releasing           characterized by an overproduction of cortisol in the absence
 ACTH, which in turn suppresses cortisol production. The           of elevation of ACTH secretion; the ACTH-dependent Cush-
 HPA regulation also results in a diurnal rhythm of cortisol       ing's syndrome, characterized by excessive ACTH secre-
 levels, reaching peaks in the morning and nadirs around           tion.
 midnight. Pathological conditions associated with the HPA 30         ACTH-dependent Cushing's syndrome includes roughly
 can affect the diurnal rhythm of the cortisol and ACTH            80% of patients having endogenous Cushing's syndrome
 production and cause serious health problems.                     and consists of two major forms: Cushing Disease and
    The biologic effects of cortisol, including those caused by    ectopic ACTH syndrome. The former is caused by a pitu-
 hypercortisolemia, can be modulated at the GR level using         itary tumor and the latter is caused by a tumor outside the
 receptor modulators, such as agonists, partial agonists and 35 pituitary. Correct differential diagnosis between the Cushing
 antagonists. Several different classes of agents are able to      Disease and ectopic ACTH syndrome is important for endo-
 block the physiologic effects of GR-agonist binding. These        crinologists to recommend transphenoidal surgery or appro-
 antagonists include compositions which, by binding to GR,         priate imaging to identify source of the ectopic ACTH
 block the ability of an agonist to effectively bind to and/or     secretion.
 activate the GR. One such known GR antagonist, mifepris- 40          One current approach of differentially diagnosing patients
 tone, has been found to be an effective anti-glucocorticoid       with ACTH-dependent Cushing's syndrome involves mea-
 agent in humans (Bertagna (1984) J. Clin. Endocrinol.             suring ACTH levels from samples obtained simultaneously
 Metab. 59:25). Mifepristone binds to the GR with high             from both inferior petrosal venous sinus (IPS) a procedure
 affinity, with a dissociation constant (K,) of 10-9 M (Cade-      referred to as inferior petrosal venous sinus sampling
 pond (1997) Annu. Rev. Med. 48:129).                           45 (IPSS) and from the internal jugular or another peripheral
    A variety of disease states are capable of being treated       vein. In one approach, referred herein as CRH-IPSS, 5 blood
 with glucocorticoid receptor modulators, including, e.g.,         samples are taken from each IPS and the internal jugular
 mifepristone; glucocorticoid receptor modulators (e.g, glu-       vein, two before and three after administration of CRH. A
 cocorticoid receptor antagonists) disclosed in U.S. Pat. No.      central-to-periphery ACTH ratio of >2 before and >3 after
 7,928,237 and in U.S. Pat. No. 8,461,172; glucocorticoid so the administration of CRH is consistent with Cushing Dis-
 receptor modulators disclosed in U.S. Pat. No. 8,685,973;         ease while a lower ratio favors ectopic ACTH syndrome.
 glucocorticoid receptor modulators disclosed in U.S. Patent       This procedure requires prolonged catheterization with the
 Publication 2014/0038926 (now U.S. Pat. No. 8,859,774);           likelihood of infection, thrombosis, or bleeding rising with
 and other glucocorticoid receptor modulators. Exemplary           the duration of catheterization. In addition CRH is a protein
 disease states include major psychotic depression, mild 55 which is expensive to produce, causing a shortage in supply
 cognitive impairment, psychosis, dementia, hyperglycemia,         between 2011 and early 2013, and requires sophisticated
 stress disorders, antipsychotic induced weight gain,              handling. Thus, the results from CRH-IPSS for differentially
 delirium, cognitive impairment in depressed patients, cog-        diagnosing patients with ACTH-dependent Cushing's syn-
 nitive deterioration in individuals with Down's syndrome,         drome often fall in the gray area. Desmopressin acetate
 psychosis associated with interferon-alpha therapy, chronic 60 (DDAVP), the alternative to CRH, which has also been used
 pain (e.g. pain associate with gastroesophageal reflux dis-       for IPSS, has similar disadvantages.
 ease), postpartum psychosis, postpartum depression, neuro-           Another approach, referred to herein as metyrapone-IPSS,
 logical disorders in premature infants, migraine headaches,       is similar to the one above, except that metyrapone instead
 obesity, diabetes, cardiovascular disease, hypertension, Syn-     of CRH is administered to the patient before IPSS and that
 drome X, depression, anxiety, glaucoma, human immuno- 65 samples are only taken from the patients after the
 deficiency virus (HIV) or acquired immunodeficiency syn-          metyrapone administration. Although metyrapone-IPSS
 drome (AIDS), neurodegeneration (e.g. Alzheimer's disease         improves the CRH-IPSS since it dispenses with the need
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 for sampling before the administration of metyrapone, and
 thus reduces the duration of catheterization and likelihood of                                  0
 infection, thrombis, or bleeding associated therewith it                                R2
 also has serious limitations. First, metyrapone acts to block
 the conversion of 11-deoxycortisol to cortisol by 1113-hy- 5
 droxylase, causing a decrease in cortisol level, which in turn
 stimulates ACTH production and release. Since its effect on                                                            Ar,
 the ACTH secretion is indirect, the test result may be skewed                                   R3
 by other factors affecting the cortisol synthesis. Second, as
                                                                 10
 a cortisol synthesis blocker, treatment of metyrapone
 especially at a high dose may result in adrenal insuffi-           the dashed line is absent or a bond; X is selected from the
 ciency or have deleterious effects on various normal bodily        group consisting of 0 and S; R1 is selected from the group
 functions that require cortisol for example, the anti-stress       consisting of cycloalkyl, heterocycloalkyl, aryl, and het-
 and anti-inflammation functions. Third, metyrapone is cur- 15 eroaryl, optionally substituted with 1-3 R" groups; each R"
 rently not available in the United States, consequently this       is independently selected from the group consisting of H,
 diagnosis method is out of reach for many patients in this         C1 _ 6 alkyl, C2 _ 6 alkenyl, C2 _ 6 alkynyl, C1 _ 6 alkoxy, C1 _ 6 alkyl
 country.                                                           OR1b, halogen, C1 _ 6 haloalkyl, C1 _ 6 haloaloxy, OR1b,
                                                                    NR1bRic, C(0)R1b, C(0)0R1b, OC(0)R1b, C(0)NR1bRic,
          BRIEF SUMMARY OF THE INVENTION                         20 NR1bC(0)Ric, 52R1b, SO2NR1bR1c, cycloalkyl, heterocy-
                                                                    cloalkyl, aryl, and heteroaryl; Rib and Ric are each inde-
    In one aspect, provided herein is a method of differentially    pendently selected from the group consisting of H and C1 _ 6
 diagnosing adrenocorticotropic hormone (ACTH)-depen-               alkyl; R2 is selected from the group consisting of H, C1 _ 6
 dent Cushing's syndrome in a patient with hypercorti-              alkyl, C1 _ 6 alkyl-OR1b, C1 _ 6 alkyl NR1bRlc and C1 _ 6 alkylene
 solemia where the differential diagnosis is between ectopic 25 heterocycloalkyl; R3 is selected from the group consisting of
 ACTH syndrome and Cushing Disease. The method com-                 H and C1 _ 6 alkyl; AT is aryl, optionally substituted with 1-4
 prises: (i) selecting a patient with Cushing's syndrome and        R4 groups; each R4 is independently selected from the group
 elevated ACTH levels; (ii) administering a dose of gluco-          consisting of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, Ci _ 6
 corticoid receptor antagonist (GRA) sufficient to increase         haloalkyl, and C1 _ 6 haloalkoxy; Li is a bond or C1 _ 6 alky-
 ACTH from the pituitary gland by at least two fold in 30 lene; and subscript n is an integer from 0 to 3, or salts and
 persons with normal HPA function; (iii) waiting for at least       isomers thereof.
 two hours; and (iv) obtaining from the patient an ACTH                In some cases, the GRA backbone is a fused azadecalin.
 concentration ratio, which is derived both from the ACTH           In some cases, the fused azadecalin is a compound having
 concentrations in fluid obtained from either the left or right     the following formula:
                                                                 35
 inferior petrosal venous sinus and from fluid obtained from
 a periphery vein, e.g., a jugular vein. The patient is diag-
 nosed with Cushing Disease if the ACTH concentration ratio
 is greater than 3.                                                                                                L2 —R2,
    In some embodiments, the periphery venous sample is a 40
 jugular venous sample. In some embodiments, the ratio is
 derived from the ACTH concentration in fluid obtained from
 the left and right inferior petrosal venous sinuses. In some
 embodiments, the GRA is a selective inhibitor of the glu-
 cocorticoid receptor. In some cases, the first and second 45
 samplings of ACTH are taken 5-10 minutes apart from both           wherein Li and L2 are members independently selected from
 the inferior petrosal venous sinus and a periphery venous          a bond and unsubstituted alkylene; R1 is a member selected
 sample.                                                            from unsubstituted alkyl, unsubstituted heteroalkyl, unsub-
    In some cases, the GRA is a selective inhibitor of the          stituted heterocycloalkyl,                      NR1CR1D,            C(0)
                                                                         1CR1D, and         C(0)0R1A,      wherein     RiA is a member
 glucocorticoid receptor. In some embodiments, the GRA           so NR
 comprises a steroidal backbone with at least one phenyl-           selected from hydrogen, unsubstituted alkyl, and unsubsti-
 containing moiety in the 11-(3 position of the steroidal           tuted heteroalkyl; Ric and RlD are members independently
                                                                    selected from unsubstituted alkyl and unsubstituted het-
 backbone. In some cases, the phenyl-containing moiety in
                                                                    eroalkyl, and are optionally joined to form an unsubstituted
 the 11-(3 position of the steroidal backbone is a dimethyl-
                                                                 55 ring with the nitrogen to which they are attached, wherein
 aminophenyl moiety. In some cases, the GRA is mifepris-
                                                                    said ring optionally comprises an additional ring nitrogen.
 tone. In some embodiments, the GRA is selected from the            R2 has the formula:
 group consisting of 1113-(4-dimethylaminoethoxypheny1)-
 17a-propyny1-1713-hydroxy-4,9 estradien-3-one and (17a)-
 17 -hydroxy-19 -(4 -methylphenyl)andro sta-4,9 (11)-dien-3 -    60
 one. In some embodiments, the glucocorticoid receptor                                       —x
 antagonist is (1113,17(3)-11 -(1,3 -benzodioxo1-5 -y1)-17 -hy-
 droxy-17- (1 -propynyl)estra-4,9 -dien-3 -one.
    In some embodiments, the GRA has a non-steroidal                wherein R2G is a member selected from hydrogen, halogen,
 backbone. In some cases, the GRA backbone is a cyclohexyl 65 unsubstituted alkyl, unsubstituted heteroalkyl, unsubstituted
 pyrimidine. In some cases, wherein the cyclohexyl pyrimi-          cycloalkyl, unsubstituted heterocycloalkyl,                  CN, and
 dine has the following formula:                                       CF3; J is phenyl; t is an integer from 0 to 5; X is
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    S(02) ; and R5 is phenyl optionally substituted with 1-5
 RSA groups, wherein RSA is a member selected from hydro-
 gen, halogen,                 S(02)NR5A2R5A3,     CN, and
 unsubstituted alkyl, and RSA' is a member selected from
 hydrogen and unsubstituted alkyl, and RSA2 and RSA3 are             5                                                       (R2)1-4,
 members independently selected from hydrogen and unsub-
 stituted alkyl, or salts and isomers thereof.
    In some cases, the GRA backbone is a heteroaryl ketone
 fused azadecalin or an octahydro fused azadecalin. In some
                                                                     10
 cases, the heteroaryl ketone fused azadecalin has the for-
 mula:                                                                                 (R3a
                                                                                              ),,



                              0 0                                        wherein R' is a heteroaryl ring having from 5 to 6 ring
                                                                     15
                                                                         members and from 1 to 4 heteroatoms each independently
                                                       (R2 )1-4,         selected from the group consisting of N, 0, and S, optionally
    N                                                                    substituted with 1-4 groups each independently selected
        N                                                                from R"; each R" is independently selected from the group
                                                                     20 consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
        R3                                                               C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, N-oxide, and C3 _ 8 cycloalkyl;
                                                                         ring J is selected from the group consisting of an aryl ring
 wherein R' is a heteroaryl ring having from 5 to 6 ring                 and a heteroaryl ring having from 5 to 6 ring members and
 members and from 1 to 4 heteroatoms each independently                  from 1 to 4 heteroatoms each independently selected from
 selected from the group consisting of N, 0 and S, optionally        25 the group consisting of N, 0, and S; each R2 is indepen-
 substituted with 1-4 groups each independently selected                 dently selected from the group consisting of hydrogen, C1 _ 6
                                                                         alkyl, halogen, C1 _ 6 haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy,
 from R"; each R" is independently selected from the group
                                                                         C1 _ 6 alkyl-C1 _ 6 alkoxy, CN, OH, NR2aR2b, C(0)R2a, C(0)
 consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,        0R2a, C(0)NR2aR2b, SR2a, S(0)R2a, S(0)2R2a, C3 _ 8
 C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, CN, N-oxide, C3 _ 8 cycloalkyl,   30 cycloalkyl, and C3 _ 8 heterocycloalkyl having from 1 to 3
 and C3 _ 8 heterocycloalkyl; ring J is selected from the group          heteroatoms each independently selected from the group
 consisting of a cycloalkyl ring, a heterocycloalkyl ring, an            consisting of N, 0, and S; alternatively, the two R2 groups
 aryl ring, and a heteroaryl ring, wherein the heterocycloalkyl          on adjacent ring atoms are combined to form a heterocy-
                                                                         cloalkyl ring having from 5 to 6 ring members and from 1
 and heteroaryl rings have from 5 to 6 ring members and from
                                                                     35 to 3 heteroatoms each independently selected from the group
 1 to 4 heteroatoms each independently selected from the                 consisting of N, 0, and S, wherein the heterocycloalkyl ring
 group consisting of N, 0, and S; each R2 is independently               is optionally substituted with 1-3 R2' groups; Rea, R2b, and
 selected from the group consisting of hydrogen, C1 _ 6 alkyl,           R2' are each independently selected from the group consist-
 halogen, C1 6 haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6       ing of hydrogen and C1 _ 6 alkyl; each R3a is independently
 alkyl-C1 _ 6 alkoxy, CN, OH, NR2aR2b, c(o)R2a, C(0)0R2a,            40 halogen; and subscript n is an integer from 0 to 3, or salts

 C(0)NR2aR2b, SR2', S(0)R2a, S(0)2R2a, C3 _ 8 cycloalkyl,                and isomers thereof.
                                                                            In yet another aspect, provided herein is a diagnostic
 and C3 _ 8 heterocycloalkyl, wherein the heterocycloalkyl
                                                                         composition, or a diagnostic kit comprising a glucocorticoid
 groups are optionally substituted with 1-4 R2' groups; alter-           receptor antagonist (GRA) for use in a method of differen-
 natively, two R2 groups linked to the same carbon are               45 tially diagnosing adrenocorticotropic hormone (ACTH)-de-
 combined to form an oxo group (=0); alternatively, two R2               pendent Cushing's syndrome in a patient where the differ-
 groups are combined to form a heterocycloalkyl ring having              ential diagnosis is between ectopic ACTH syndrome and
 from 5 to 6 ring members and from 1 to 3 heteroatoms each               Cushing Disease, the method comprising the step of deter-
 independently selected from the group consisting of N, 0,               mining the ACTH concentration ratio from a patient with
                                                                     so Cushing's syndrome and an elevated ACTH level, where the
 and S, wherein the heterocycloalkyl ring is optionally sub-
                                                                         patient has been administered a dose of glucocorticoid
 stituted with 1-3 R2d groups; Rea and R2b are each indepen-             receptor antagonist (GRA) at least two hours prior to the
 dently selected from the group consisting of hydrogen and               removal of venous samples and where the amount of GRA
 C1 _ 6 alkyl; each R2' is independently selected from the group         administered to the patient is sufficient to increase ACTH
 consisting of hydrogen, halogen, hydroxy, C1 _ 6 alkoxy, C1 _ 6     55 from the pituitary gland by at least two fold in persons with
 haloalkoxy, CN, and NR2aR2b; each R2d is independently                  normal Hypothalamus Pituitary Adrenal (HPA) function;
 selected from the group consisting of hydrogen and C1 _ 6               wherein the ACTH concentration ratio is derived from the
 alkyl, or two R2d groups attached to the same ring atom are             ACTH concentrations in fluid obtained from either the left
 combined to form (=0); R3 is selected from the group                    or right inferior petrosal venous sinus and from fluid
                                                                     60 obtained from a periphery venous sample; and wherein an
 consisting of phenyl and pyridyl, each optionally substituted
                                                                         ACTH concentration ratio of greater than 3 for the ACTH
 with 1-4 R3a groups; each R3a is independently selected                 concentration from the inferior venous sinus sample over the
 from the group consisting of hydrogen, halogen, and C1 _ 6              periphery venous sinus sample is diagnostic indicative of
 haloalkyl; and subscript n is an integer from 0 to 3; or salts          Cushing's disease.
 and isomers thereof.                                                65     In yet another aspect, provided here in is a method of
    In some cases, the octahydro fused azadecalin has the                obtaining a measurement indicative of differential diagnosis
 formula:                                                                of adrenocorticotropic hormone (ACTH)-dependent Cush-
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 ing's syndrome in a patient where the differential diagnosis      manufacture and store. Third, compared to CRH/DDAVP-
 is between ectopic ACTH syndrome and Cushing Disease,             IPSS, the method disclosed herein dispenses with the need
 the method comprising the step of: (i) determining the            to sample blood before the administration of GRAs, and thus
 ACTH concentration ratio from a patient with Cushing's            reduces the duration of catheterization and minimizes com-
 syndrome and an elevated ACTH level, where the patient 5 plications associated with prolonged catheterization.
 has been administered a dose of glucocorticoid receptor
 antagonist (GRA) at least two hours prior to the removal of                                II. Definitions
 venous samples and where the amount of GRA administered
 to the patient is sufficient to increase ACTH from the               The term "endogenous Cushing's syndrome" refers to a
 pituitary gland by at least two fold in persons with normal 10 form of Cushing's syndrome, where the excess cortisol level
 Hypothalamus Pituitary Adrenal (HPA) function; wherein            is caused by the body's own overproduction of corti sol.
 the ACTH concentration ratio is derived from the ACTH                The term "Adrenocorticotropic hormone (ACTH)-depen-
 concentrations in fluid obtained from either the left or right    dent Cushings syndrome" refers to a form of endogenous
 inferior petrosal venous sinus and from fluid obtained from       Cushing's syndrome, which is caused by abnormal produc-
 a periphery venous sample; and wherein an ACTH concen- 15
                                                                   tion of ACTH. There are two major forms of ACTH-
 tration ratio of greater than 3 for the ACTH concentration
                                                                   dependent Cushing's syndrome: Cushing Disease (account-
 from the inferior venous sinus sample over the periphery
                                                                   ing for about 80% of the cases) and ectopic ACTH syndrome
 venous sinus sample is indicative of Cushing's disease.
    In yet another aspect, provided herein is a glucocorticoid     (accounting for 20% of the cases).
 receptor antagonist (GRA) for use in a method of differen- 20        The term "ACTH concentration ratio", "ACTH ratio",
 tially diagnosing adrenocorticotropic hormone (ACTH)-de-          "pituitary to periphery ACTH ratio", or "central to periphery
 pendent Cushing's syndrome in a patient where the differ-         ACTH ratio" disclosed herein refers to the ratio between the
 ential diagnosis is between ectopic ACTH syndrome and             amount, level, or concentration of ACTH in the blood
 Cushing Disease, the method comprising the steps of: (i)          sample obtained from inferior petrosal sinus and the blood
 selecting a patient with Cushing's syndrome and also 25 sample obtained from the periphery veins. In one embodi-
 elevated ACTH levels; (ii) administering a dose of the GRA        ment, the periphery vein is the jugular vein.
 sufficient to increase ACTH from the pituitary gland by at           The term "prolactin concentration ratio", "prolactin
 least two fold in persons with normal Hypothalamus Pitu-          ratio", "pituitary to periphery prolactin ratio", or "central to
 itary Adrenal (HPA) function; (iii) waiting for at least two      periphery prolactin ratio" disclosed herein refers to the ratio
 hours; and (iv) obtaining from the patient an ACTH con- 30 between the amount, level, or concentration of prolactin in
 centration ratio wherein the ratio is derived from the ACTH       the blood sample obtained from inferior petrosal sinus and
 concentrations in fluid obtained from either the left or right    the blood sample obtained from the periphery veins. In one
 inferior petrosal venous sinus and from fluid obtained from       embodiment, the periphery vein is the jugular vein.
 a periphery venous sample; wherein an ACTH concentration             The term "differentially diagnosing" refers to the distin-
 ratio of greater than 3 for the ACTH concentration from the 3 5 guishing of a particular disease or condition from others that
 inferior venous sinus sample over the periphery venous
                                                                   present similar symptoms. A differential diagnostic method
 sinus sample is diagnostic of Cushing's disease.
                                                                   is a systematic diagnostic method used to identify the
    Other objects, features, and advantages of the present
                                                                   presence of a condition where multiple alternatives are
 invention will be apparent to one of skill in the art from the
 following detailed description and figures.                    40
                                                                   possible. This method is essentially a process of elimination
                                                                   or a process of obtaining information that shrinks the
             DETAILED DESCRIPTION OF THE                           "probabilities" of candidate conditions to negligible levels.
                          INVENTION                                The method uses evidence such as symptoms, test results,
                                                                   patient history, and medical knowledge to adjust epistemic
                         I. Introduction                        45 confidences in the mind of the diagnostician (or, for com-
                                                                   puterized or computer-assisted diagnosis, the software of the
    This invention involves the use of GRAs to provide a           system). Often each individual option of a possible disease
 robust and reproducible means to stimulate ACTH produc-           is called a differential diagnosis.
 tion in the pituitary gland for the differential diagnosis of        The term "ectopic ACTH syndrome" refers to the abnor-
 patients with ACTH-dependent Cushing's syndrome, where 50 mal production of ACTH due to ectopic ACTH secretion by
 the differential diagnosis is between ectopic ACTH syn-           an extrapituitary tumor. These extrapituitary tumors fre-
 drome and Cushing Disease. GRAs are first administered,           quently originate in lungs, but in some cases originate from
 and blood samples are then taken by IPSS after sufficient         the thymus, pancreas, adrenal gland or thyroid.
 time for the assessment of ACTH levels.                              The term "Cushing Disease" refers to the condition in
    The claimed methods have many advantages over the 55 which the pituitary gland releases too much ACTH as a
 existing differential diagnosis methods, such as CRH-IPSS,        result of a tumor located in—or excess growth (hyperplasia)
 DDAVP-IPSS and metyrapone-IPSS. First, the claimed                of the pituitary gland. Cushing Disease is a form of
 methods are more robust compared to metyrapone-IPSS.              Cushing's syndrome.
 GRAs used in the invention act to block cortisol binding to          The term "hypercortisolemia" refers a condition of having
 the receptor thus preventing cortisol from inhibiting 60 a higher than normal amount of circulating cortisol.
 ACTH production and resulting in increased ACTH produc-              The term "inferior petrosal sinus sampling (IPSS)" refers
 tion/secretion. Compared to metyrapone, which acts to block       to an invasive procedure performed to obtain blood samples
 the cortisol synthesis pathway, GRAs' effect on ACTH              from one or both petrosal venous sinuses by inserting
 stimulation is more direct, thus making the test results more     catheters in one or both inferior petrosal veins via the jugular
 reliable. Second, compared to CRH/DDAVP-IPSS, the 65 or femoral veins. The petrosal venous sinus drains the
 methods are cost-effective and convenient to use because          pituitary via the cavernous sinus. Thus, samples obtained
 GRAs are orally deliverable and less expensive than CRH to        from IPSS are often analyzed and compared with the
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 samples obtained from periphery blood for the amount of a             is typically at least 5%, at least 10%, or at least 20%, 30%,
 particular analyte to detect signs of a disease relating to the       or 50%, or even as high as at least 80% or 90% of the control
 pituitary gland.                                                      value. Other terms indicating quantitative changes or dif-
    The term "jugular venous sampling" refers to an invasive           ferences from a comparative basis, such as "more," "less,"
 procedure performed to obtain blood samples from jugular 5 "higher," and "lower," are used in this application in the
 veins (a periphery vein) by inserting catheters in the internal       same fashion as described above.
 jugular vein via femoral veins. The tips of the catheters are            The term "normal reference value", "reference value", or
 typically advanced to the level of the angles of the mandible.        "standard control level" refers to the a predetermined
    The term "periphery venous sinus sampling" refers to an            amount, level, or concentration of a particular analyte, e.g.,
 invasive procedure performed to obtain blood samples from 10 ACTH, cortisol, or prolactin by comparison to which a
 periphery veins by catheterization. Non-limiting examples             diagnosis of the presence or absence of a particular condi-
 of periphery veins include adrenal veins, high inferior vena          tion can be made, e.g., hypercortisolemia. Normal reference
 cava, hepatic vein, azygos and hemiazygos veins, right                values referred to in this disclosure are in some cases
 atrium, right and left innominate and thymic veins, jugular           provided by the commercial test that is used to determine the
 veins, and both superior and middle thyroid veins.                 15 analyte levels. In some cases, a normal reference value,
    The term "patient," "individual", or "subject" is used             reference value, or standard control level is established as
 interchangeably to refer to a human subject. In some cases,           the average of the amount, level, or concentration of an
 the individual is suspected of having Cushing's Syndrome.             analyte from one or more normal, healthy subjects, e.g.,
    The term "administering" includes oral administration,             subjects who have normal HPA function. In some cases, they
 topical contact, administration as a suppository, intravenous, 20 are established as a range of the level, amount, or concen-
 intraperitoneal, intramuscular, intralesional, intrathecal,           tration of the analyte in a group of healthy subjects. Normal
 intranasal, or subcutaneous administration, or the implanta-          reference values may vary depending on the nature of the
 tion of a slow-release device, e.g., a mini-osmotic pump, to          sample, the manner or timing of sample collection, as well
 a subject. Administration is by any route, including paren-           as other factors such as the sex, age, and ethnicity of the
 teral and transmucosal (e.g., buccal, sublingual, palatal, 25 subjects for whom such a control value is established.
 gingival, nasal, vaginal, rectal, or transdermal). Parenteral            The term "elevated level", "elevated amount", or
 administration includes, e.g., intravenous, intramuscular,            "elevated concentration" refers to the level or amount of the
 intra-arteriole, intradermal, epicutaneous, subcutaneous,             analyte that is higher than the normal reference value for that
 intraperitoneal, intraventricular, and intracranial. Other            analyte.
 modes of delivery include, but are not limited to, the use of 30         The term "chromatography" refers to a process in which
 liposomal formulations, intravenous infusion, and transder-           a chemical mixture carried by a liquid or gas is separated
 mal patches.                                                          into components as a result of the differential distribution of
    The term "sample" refers to a biological sample obtained           the chemical entities as they flow around or over a stationary
 from a human subject. The sample can be any cell, tissue or           liquid or solid phase.
 fluid from a human subject. Samples can be subject to 35                 The term "liquid chromatography" or "LC" refers to a
 various treatment, storage or processing procedures before            process of selective retardation of one or more components
 being analyzed according to the methods described herein.             of a fluid solution when the fluid uniformly percolates either
 Generally, the terms "sample" or "samples" are not intended           through a column of a finely divided substance or through
 to be limited by their source, origin, manner of procurement,         capillary passageways. The retardation results from the
 treatment, processing, storage or analysis, or any modifica- 40 distribution of the components of the mixture between one
 tion.                                                                 or more stationary phases and the bulk fluid, (i.e., mobile
    The term "cortisol" refers to a glucocorticoid hormone             phase), as this fluid moves relative to the stationary phase(s).
 that is produced by the zona fasciculata of the adrenal gland.        Examples of "liquid chromatography" include reverse phase
    The term "adrenocorticotropic hormone" or "ACTH"                   liquid chromatography (RPLC), high performance liquid
 refers to a polypeptide-based hormone that is normally 45 chromatography (HPLC), and turbulent flow liquid chroma-
 produced and secreted by the anterior pituitary gland. ACTH           tography (TFLC) (sometimes known as high turbulence
 stimulates secretion of cortisol and other glucocorticoids            liquid chromatography (HTLC) or high throughput liquid
 (GCs) by specialized cells of the adrenal cortex. In healthy          chromatography).
 mammals, ACTH secretion is tightly regulated. ACTH                       The term "high performance liquid chromatography" or
 secretion is positively regulated by corticotropin releasing 50 "HPLC" (also sometimes known as "high pressure liquid
 hormone (CRH), which is released by the hypothalamus.                 chromatography") refers to liquid chromatography in which
 ACTH secretion is negatively regulated by cortisol and other          the degree of separation is increased by forcing the mobile
 glucocorticoids.                                                      phase under pressure through a stationary phase typically
    The term "measuring the level," in the context of cortisol,        a densely packed column. As used herein, the term "ultra
 ACTH, or other steroids, refers determining, detecting, or 55 high performance liquid chromatography", "HPLC" or
 quantitating the amount, level, or concentration of, for              "UHPLC" (sometimes known as "ultra high pressure liquid
 example, cortisol, ACTH or other steroids in a sample                 chromatography") refers to HPLC which occurs at much
 obtained from a subject.                                              higher pressures than in traditional HPLC techniques.
    The term a "increase" or a "decrease" refers to a detect-             The term "glucocorticosteroid" ("GC") or "glucocorti-
 able positive or negative change in quantity from a com- 60 coid" refers to a steroid hormone that binds to a glucocor-
 parison control, e.g., an established standard control (such as       ticoid receptor. Glucocorticosteroids are typically character-
 an average level of cortisol in a normal, healthy subject who         ized by having 21 carbon atoms, an a,(3-unsaturated ketone
 does not have hypercortisolemia). An increase is a positive           in ring A, and an a-ketol group attached to ring D. They
 change that is typically at least 5%, at least 10%, or at least       differ in the extent of oxygenation or hydroxylation at C-11,
 20%, or 50%, or 100%, and can be as high as at least 65 C-17, and C-19; see Rawn, "Biosynthesis and Transport of
 1.5-fold, at least 2-fold, at least 5-fold, or even 10-fold of the    Membrane Lipids and Formation of Cholesterol Deriva-
 control value. Similarly, a decrease is a negative change that        tives," in Biochemistry, Daisy et al. (eds.), 1989, pg. 567.
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    The term "glucocorticoid receptor" ("GR") refers to the           backbone, a fused azadecalin backbone, a heteroaryl ketone
 type II GR which specifically binds to cortisol and/or               fused azadecalin backbone, or an octahydro fused azadeca-
 cortisol analogs such as dexamethasone; See, e.g., Turner &          lin backbone. Exemplary glucocorticoid receptor antago-
 Muller, J Mol. Endocrinol, 2005 (35): 283-292. The GR is             nists having a cyclohexyl-pyrimidine backbone include
 also referred to as the cortisol receptor. The term includes 5 those described in U.S. Pat. No. 8,685,973. Exemplary
 isoforms of GR, recombinant GR and mutated GR. Inhibi-               GRAs having a fused azadecalin backbone include those
 tion constants (K,) against the human GR receptor type II            described in U.S. Pat. Nos. 7,928,237 and 8,461,172. Exem-
 (Genbank: P04150) are between 0.0001 nM and 1,000 nM;                plary GRAs having a heteroaryl ketone fused azadecalin
 preferably between 0.0005 nM and 10 nM, and most pref-               backbone include those described in U.S. Pat. Pub. 2014/
 erably between 0.001 nM and 1 nM.                                  o 0038926. Exemplary GRAs having an octohydro fused
    The term "glucocorticoid receptor antagonist" or "GRA"            azadecalin backbone include those described in U.S. Provi-
 refers to any composition or compound which partially or             sional Patent Appl. No. 61/908,333, entitled Octahydro
 completely inhibits (antagonizes) the binding of a glucocor-         Fused Azadecalin Glucocorticoid Receptor Modulators,
 ticoid receptor (GR) agonist, such as cortisol, or cortisol          filed on Nov. 25, 2013.
 analogs, synthetic or natural, to a GR. A "specific glucocor- 15        Where substituent groups are specified by their conven-
 ticoid receptor antagonist" refers to any composition or             tional chemical formulae, written from left to right, they
 compound which inhibits any biological response associated           equally encompass the chemically identical substituents that
 with the binding of a GR to an agonist. By "specific," the           would result from writing the structure from right to left,
 drug preferentially binds to the GR rather than to other             e.g., CH2O is equivalent to OCH2 .
 nuclear receptors, such as the mineralocorticoid receptor 20            "Alkyl" refers to a straight or branched, saturated, ali-
 (MR), androgen receptor (AR), or progesterone receptor               phatic radical having the number of carbon atoms indicated.
 (PR). It is preferred that the specific glucocorticoid receptor      Alkyl can include any number of carbons, such as C1 _ 2, C1 _ 3,
 antagonist binds GR with an affinity that is 10x greater (IA oth     C1_4, c1-51 c1-61 c1-71 c1-81 c1-91 c1-101 c2-31 c2-4.1 c2-51 c2-61
 the Kd value) than its affinity to the MR, AR, or PR, both the       C3 _ 4, C3 _ 5, C3 _ 6, C4_ 5, C4_ 6, and C5 _ 6. For example, C1 _ 6 alkyl
 MR and PR, both the MR and AR, both the AR and PR, or 25 includes, but is not limited to, methyl, ethyl, propyl, isopro-
 to the MR, AR, and PR. In a more preferred embodiment, the           pyl, butyl, isobutyl, sec.butyl, tert.butyl, pentyl, isopentyl,
 specific glucocorticoid receptor antagonist binds a GR with          and hexyl.
 an affinity that is 100x greater (Viooth the Kd value) than its         "Alkoxy" refers to an alkyl group having an oxygen atom
 affinity to the MR, AR, or PR, both the MR and PR, both the          that connects the alkyl group to the point of attachment:
 MR and AR, both the AR and PR, or to the MR, AR, and PR. 30 alkyl-0 . As for the alkyl group, alkoxy groups can have
    The term "selective inhibitor" in the context of a gluco-         any suitable number of carbon atoms, such as C1 _ 6. Alkoxy
 corticoid receptor refers to a chemical compound that selec-         groups include, for example, methoxy, ethoxy, propoxy,
 tively interferes with the binding of a specific glucocorticoid      iso-propoxy, butoxy, 2-butoxy, iso-butoxy, sec-butoxy, tert-
 receptor agonist and a glucocorticoid receptor.                      butoxy, pentoxy, hexoxy, etc.
    The term "steroidal backbone" in the context of gluco- 35            "Halogen" refers to fluorine, chlorine, bromine, and
 corticoid receptor antagonists containing such refers to             iodine.
 glucocorticoid receptor antagonists that contain modifica-              "Haloalkyl" refers to alkyl, as defined above, where some
 tions of the basic structure of cortisol, an endogenous              or all of the hydrogen atoms are replaced with halogen
 steroidal glucocorticoid receptor ligand. The basic structure        atoms. As for the alkyl group, haloalkyl groups can have any
 of a steroidal backbone is provided as Formula I:                 40 suitable number of carbon atoms, such as C1 _ 6, and include
                                                                      trifluoromethyl, fluoromethyl, etc.
                                                                         The term "perfluoro" can be used to define a compound or
                                                         Formula I    radical where all the hydrogens are replaced with fluorine.
                                         17                           For example, perfluoromethane includes 1,1,1-trifluorom-
                                                                   45 ethyl.
                                            16
                                                                         "Haloalkoxy" refers to an alkoxy group where some or all
                                                                      of the hydrogen atoms are substituted with halogen atoms.
                                                                      As for the alkyl group, haloalkoxy groups can have any
                                                                      suitable number of carbon atoms, such as C1 _ 6. The alkoxy
                                                                   so groups can be substituted with 1, 2, 3, or more halogens.
                                                                      When all the hydrogens are replaced with a halogen, for
                      Steroidal Backbone
                                                                      example by fluorine, the compounds are per-substituted, for
                                                                      example, perfluorinated. Haloalkoxy includes, but is not
 The two most commonly known classes of structural modi-              limited to, trifluoromethoxy, 2,2,2,-trifluoroethoxy, and per-
 fications of the cortisol steroid backbone to create gluco- 55 fluoroethoxy.
 corticoid antagonists include modifications of the 11-13                "Cycloalkyl" refers to a saturated or partially unsaturated,
 hydroxy group and modification of the 17-0 side chain (See,          monocyclic, fused bicyclic, or bridged polycyclic ring
 e. g., Lefebvre (1989) J. Steroid Biochem. 33: 557-563).             assembly containing from 3 to 12 ring atoms, or the number
    As used herein, the term "non-steroidal backbone" in the          of atoms indicated. Cycloalkyl can include any number of
 context of glucocorticoid receptor antagonists containing 60 carbons, such as C3 _ 6, C4_ 6, C5 _ 6, C3 _ 8, C4 _8, C5 _ 8, C6 _8, C3 _ 9,
 such refers to glucocorticoid receptor antagonists that do not       C3-101 C3 _11, and C3 _ 12. Saturated monocyclic cycloalkyl
 share structural homology to, or are not modifications of,           rings include, for example, cyclopropyl, cyclobutyl, cyclo-
 cortisol. Such compounds include synthetic mimetics and              pentyl, cyclohexyl, and cyclooctyl. Saturated bicyclic and
 analogs of proteins, including partially peptidic, pseudopep-        polycyclic cycloalkyl rings include, for example, norbor-
 tidic, and non-peptidic molecular entities.                       65 nave, [2.2.2] bicyclooctane, decahydronaphthalene, and
    Non-steroidal GRA compounds also include glucocorti-              adamantane. Cycloalkyl groups can also be partially unsatu-
 coid receptor antagonists having a cyclohexyl-pyrimidine             rated, having one or more double or triple bonds in the ring.
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 Representative cycloalkyl groups that are partially unsatu-          include any number of ring atoms, such as 3 to 6, 4 to 6, 5
 rated include, but are not limited to, cyclobutene, cyclopen-        to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,
 tene, cyclohexene, cyclohexadiene (1,3- and 1,4-isomers),            or 3 to 12 ring members. Any suitable number of heteroa-
 cycloheptene, cycloheptadiene, cyclooctene, cyclooctadiene           toms can be included in the heteroaryl groups, such as 1, 2,
 (1,3-, 1,4- and 1,5-isomers), norbornene, and norbornadiene. 5 3, 4, or 5; or 1 to 2, 1 to 3, 1 to 4, 1 to 5, 2 to 3, 2 to 4, 2
 When cycloalkyl is a saturated monocyclic C3 _ 8 cycloalkyl,         to 5, 3 to 4, or 3 to 5. Heteroaryl groups can have from 5 to
 exemplary groups include, but are not limited to, cyclopro-          8 ring members and from 1 to 4 heteroatoms, or from 5 to
 pyl, cyclobutyl, cyclopentyl, cyclohexyl, cycloheptyl, and           8 ring members and from 1 to 3 heteroatoms, or from 5 to
 cyclooctyl. When cycloalkyl is a saturated monocyclic C3 _ 6         6 ring members and from 1 to 4 heteroatoms, or from 5 to
 cycloalkyl, exemplary groups include, but are not limited to, 10 6 ring members and from 1 to 3 heteroatoms. The heteroaryl
 cyclopropyl, cyclobutyl, cyclopentyl, and cyclohexyl.                group can include groups such as pyrrole, pyridine, imida-
    "Heterocycloalkyl" refers to a saturated ring system hav-         zole, pyrazole, triazole, tetrazole, pyrazine, pyrimidine,
 ing from 3 to 12 ring members and from 1 to 4 heteroatoms            pyridazine, triazine (1,2,3-, 1,2,4-, and 1,3,5-isomers), thio-
 of N, 0, and S. Additional heteroatoms can also be useful,           phene, furan, thiazole, isothiazole, oxazole, and isoxazole.
 including but not limited to, B, Al, Si, and P. The heteroa- 15 The heteroaryl groups can also be fused to aromatic ring
 toms can also be oxidized, such as, but not limited to,              systems, such as a phenyl ring, to form members including,
    S(0) and          S(0)2 . Heterocycloalkyl groups can             but not limited to, benzopyrroles such as indole and isoin-
 include any number of ring atoms, such as 3 to 6, 4 to 6, 5          dole, benzopyridines such as quinoline and isoquinoline,
 to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,      benzopyrazine (quinoxaline), benzopyrimidine (quinazo-
 or 3 to 12 ring members. Any suitable number of heteroa- 20 line), benzopyridazines such as phthalazine and cinnoline,
 toms can be included in the heterocycloalkyl groups, such as         benzothiophene, and benzofuran. Other heteroaryl groups
 1, 2, 3, or 4, or 1 to 2, 1 to 3, 1 to 4, 2 to 3, 2 to 4, or 3 to    include heteroaryl rings linked by a bond, such as bipyri-
 4. The heterocycloalkyl group can include groups such as             dine. Heteroaryl groups can be substituted or unsubstituted.
 aziridine, azetidine, pyrrolidine, piperidine, azepane, azo-            The heteroaryl groups can be linked via any position on
 cane, quinuclidine, pyrazolidine, imidazolidine, piperazine 25 the ring. For example, pyrrole includes 1-, 2-, and 3-pyrrole;
 (1,2-, 1,3- and 1,4-isomers), oxirane, oxetane, tetrahydro-          pyridine includes 2-, 3- and 4-pyridine; imidazole includes
 furan, oxane (tetrahydropyran), oxepane, thiirane, thietane,         1-, 2-, 4- and 5-imidazole; pyrazole includes 1-, 3-, 4- and
 thiolane (tetrahydrothiophene), thiane (tetrahydrothiopy-            5-pyrazole; triazole includes 1-, 4- and 5-triazole; tetrazole
 ran), oxazolidine, isoxalidine, thiazolidine, isothiazolidine,       includes 1- and 5-tetrazole; pyrimidine includes 2-, 4-, 5-
 dioxolane, dithiolane, morpholine, thiomorpholine, dioxane, 30 and 6-pyrimidine; pyridazine includes 3- and 4-pyridazine;
 or dithiane. The heterocycloalkyl groups can also be fused to        1,2,3-triazine includes 4- and 5-triazine; 1,2,4-triazine
 aromatic or non-aromatic ring systems to form members                includes 3-, 5- and 6-triazine; 1,3,5-triazine includes 2-tri-
 including, but not limited to, indoline.                             azine; thiophene includes 2- and 3-thiophene; furan includes
    When heterocycloalkyl includes 3 to 8 ring members and            2- and 3-furan; thiazole includes 2-, 4- and 5-thiazole;
 1 to 3 heteroatoms, representative members include, but are 35 isothiazole includes 3-, 4- and 5-isothiazole; oxazole
 not limited to, pyrrolidine, piperidine, tetrahydrofuran,            includes 2-, 4- and 5-oxazole; isoxazole includes 3-, 4- and
 oxane, tetrahydrothiophene, thiane, pyrazolidine, imidazo-           5-isoxazole; indole includes 1-, 2- and 3-indole; isoindole
 lidine, piperazine, oxazolidine, isoxazolidine, thiazolidine,        includes 1- and 2-isoindole; quinoline includes 2-, 3- and
 isothiazolidine, morpholine, thiomorpholine, dioxane and             4-quinoline; isoquinoline includes 1-, 3- and 4-isoquinoline;
 dithiane. Heterocycloalkyl can also form a ring having 5 to 40 quinazoline includes 2- and 4-quinoazoline; cinnoline
 6 ring members and 1 to 2 heteroatoms, with representative           includes 3- and 4-cinnoline; benzothiophene includes 2- and
 members including, but not limited to, pyrrolidine, piperi-          3-benzothiophene; and benzofuran includes 2- and 3-ben-
 dine, tetrahydrofuran, tetrahydrothiophene, pyrazolidine,            zofuran.
 imidazolidine, piperazine, oxazolidine, isoxazolidine, thi-             Some heteroaryl groups include those having from 5 to 10
 azolidine, isothiazolidine, and morpholine.                       45 ring members and from 1 to 3 ring atoms including N, 0, or
    "Aryl" refers to an aromatic ring system having any               S, such as pyrrole, pyridine, imidazole, pyrazole, triazole,
 suitable number of ring atoms and any suitable number of             pyrazine, pyrimidine, pyridazine, triazine (1,2,3-, 1,2,4- and
 rings. Aryl groups can include any suitable number of ring           1,3,5-isomers), thiophene, furan, thiazole, isothiazole,
 atoms, such as 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, or 16 ring        oxazole, isoxazole, indole, isoindole, quinoline, isoquino-
 atoms, as well as from 6 to 10, 6 to 12, or 6 to 14 ring 50 line, quinoxaline, quinazoline, phthalazine, cinnoline, ben-
 members. Aryl groups can be monocyclic, fused to form                zothiophene, and benzofuran. Other heteroaryl groups
 bicyclic or tricyclic groups, or linked by a bond to form a          include those having from 5 to 8 ring members and from 1
 biaryl group. Representative aryl groups include phenyl,             to 3 heteroatoms, such as pyrrole, pyridine, imidazole,
 naphthyl and biphenyl. Other aryl groups include benzyl,             pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine
 that has a methylene linking group. Some aryl groups have 55 (1,2,3-, 1,2,4- and 1,3,5-isomers), thiophene, furan, thiazole,
 from 6 to 12 ring members, such as phenyl, naphthyl, or              isothiazole, oxazole, and isoxazole. Some other heteroaryl
 biphenyl. Other aryl groups have from 6 to 10 ring members,          groups include those having from 9 to 12 ring members and
 such as phenyl or naphthyl. Some other aryl groups have 6            from 1 to 3 heteroatoms, such as indole, isoindole, quino-
 ring members, such as phenyl. Aryl groups can be substi-             line, isoquinoline, quinoxaline, quinazoline, phthalazine,
 tuted or unsubstituted.                                           60 cinnoline, benzothiophene, benzofuran and bipyridine. Still
    "Heteroaryl" refers to a monocyclic, fused bicyclic, or           other heteroaryl groups include those having from 5 to 6 ring
 tricyclic aromatic ring assembly containing 5 to 16 ring             members and from 1 to 2 ring heteroatoms including N, 0
 atoms, where from 1 to 5 of the ring atoms are a heteroatom          or S, such as pyrrole, pyridine, imidazole, pyrazole, pyra-
 such as N, 0, or S. Additional heteroatoms can also be               zine, pyrimidine, pyridazine, thiophene, furan, thiazole, iso-
 useful, including but not limited to, B, Al, Si, and P. The 65 thiazole, oxazole, and isoxazole.
 heteroatoms can also be oxidized, such as, but not limited to,          Some heteroaryl groups include from 5 to 10 ring mem-
 N-oxide, S(0) , and S(0)2 . Heteroaryl groups can                    bers and only nitrogen heteroatoms, such as pyrrole, pyri-
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 dine, imidazole, pyrazole, triazole, pyrazine, pyrimidine,          diagnosis of ACTH-dependent Cushing's syndrome can be
 pyridazine, triazine (1,2,3-, 1,2,4- and 1,3,5-isomers),            made based on observation of certain clinical symptoms, the
 indole, isoindole, quinoline, isoquinoline, quinoxaline, qui-       detection of hypercortisolemia and elevated blood ACTH
 nazoline, phthalazine, and cinnoline. Other heteroaryl              levels.
 groups include from 5 to 10 ring members and only oxygen 5             a. Clinical Symptoms
 heteroatoms, such as furan and benzofuran. Some other                  Eligible patients may exhibit one or more of the following
 heteroaryl groups include from 5 to 10 ring members and             symptoms: easy bruising; abdominal obesity and thin arms
 only sulfur heteroatoms, such as thiophene and benzothio-           and legs; facial plethora; acne; proximal myopathy (or
 phene. Still other heteroaryl groups include from 5 to 10 ring      proximal muscle weakness); striae (especially if reddish
 members and at least two heteroatoms, such as imidazole,            purple and 1 cm wide); and thin skin. Patients may also
 pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine      frequently feel changes in mood; change in appetite, head-
 (1,2,3-, 1,2,4- and 1,3,5-isomers), thiazole, isothiazole,
                                                                     aches; a chronic feeling of tiredness; osteoporosis; low
 oxazole, isoxazole, quinoxaline, quinazoline, phthalazine,
                                                                     potassium; diabetes, and high blood pressure; decreased
 and cinnoline.
                                                                     concentration peripheral edema hypokalemia; decreased
    "Heteroatoms" refers to 0, S, or N.                           15
    "Salt" refers to acid or base salts of the compounds used        libido acne kidney stones; impaired memory (especially
 in the methods of the present invention. Illustrative               short term); and unusual infections. Females patients may
 examples of pharmaceutically-acceptable salts are mineral           have irregular menstruation, hirsutism, or female balding.
 acid (hydrochloric acid, hydrobromic acid, phosphoric acid,         Pediatric patients may have weight gain with decreasing
 and the like) salts, organic acid (acetic acid, propionic acid, 20 growth velocity; abnormal genital virilization; short stature;
 glutamic acid, citric acid, and the like) salts, and quaternary     and pseudoprecocious puberty or delayed puberty. The next
 ammonium (methyl iodide, ethyl iodide, and the like) salts.         step is to confirm these patients have hypercortisolemia.
 It is understood that the pharmaceutically-acceptable salts            b Hypercortisolemia
 are non-toxic. Additional information on suitable pharma-              A diagnosis of hypercortisolemia requires the determina-
 ceutically-acceptable salts can be found in Remington's 25 tion of the patient's circulating cortisol level. Various types
 Pharmaceutical Sciences, 17th ed., Mack Publishing Com-             of samples that can be used for this purpose, such as saliva,
 pany, Easton, Pa., 1985, which is incorporated herein by            urine, whole blood, serum, and plasma. Samples may also be
 reference.                                                          collected at different time during the day. In one approach,
    "Isomers" refers to compounds with the same chemical             the patient's whole blood sample is collected and processed
 formula but which are structurally distinguishable.              30 to collect serum, i.e., in the morning, e.g., at 8 am. or in the
    "Tautomer" refers to one of two or more structural iso-          afternoon, e.g., at 4 pm. The collected serum sample is
 mers which exist in equilibrium and which are readily               refrigerated or frozen within, e.g., 2 hours of collection.
 converted from one form to another.                                 Analysis of the serum sample is performed in a timely
    Descriptions of compounds of the present invention are           fashion, e.g. within 7 days from sample collection. In
 limited by principles of chemical bonding known to those 35 another approach, the patient's cortisol levels are measured
 skilled in the art. Accordingly, where a group may be               from his or her saliva samples. Salivary cortisol is in
 substituted by one or more of a number of substituents, such        equilibrium with the free cortisol in blood circulation.
 substitutions are selected so as to comply with principles of       Changes of cortisol levels in the bloodstream are paralleled,
 chemical bonding and to produce compounds which are not             within minutes, by similar alterations in salivary cortisol
 inherently unstable and/or would be known to one of 40 concentrations, such that one can use the latter as a surrogate
 ordinary skill in the art as likely to be unstable under            of the former. The commonly used saliva-based cortisol test
 ambient conditions such as aqueous, neutral, or physi-              is the midnight saliva test, which measures cortisol levels
 ological conditions.                                                from saliva samples collected at between 11 pm and mid-
    "Pharmaceutically-acceptable excipient" and "pharma-             night. Intake of food or drink is prohibited at least 15
 ceutically-acceptable carrier" refer to a substance that aids 45 minutes prior to sample collection. Saliva samples are
 the administration of an active agent to and absorption             collected by keeping and rolling a swab in mouth for
 by a subject and can be included in the compositions of the         approximately 2 minutes. The saliva samples, ambient or
 present invention without causing a significant adverse             refrigerated, are then sent to a laboratory for cortisol level
 toxicological effect on the patient. Non-limiting examples of       determination in a timely fashion, e.g., within 7 days from
 pharmaceutically-acceptable excipients include water, so sample collection.
 NaCl, normal saline solutions, lactated Ringer's, normal               Methods for measuring cortisol levels are known to those
 sucrose, normal glucose, binders, fillers, disintegrants, lubri-    in the art. Useful assays include immunoassays, e.g., com-
 cants, coatings, sweeteners, flavors and colors, and the like.      petitive immunoassay, radioimmunoassay, immunofluoro-
 One of ordinary skill in the art will recognize that other          metric enzyme assay, and ELISA, competitive protein-
 pharmaceutical excipients are useful in the present inven- 55 binding assay and mass spectrometry, e.g., high-
 tion.                                                               performance liquid chromatography/triple quadrupole-mass
                                                                     spectrometry (LC-MS/MS). Commercial kits for measuring
          III. Detailed Descriptions of Embodiments                  cortisol in samples are available from Beckman-Coulter,
                                                                     Seimens, Roche Diagnostics, and the like. Non-limiting
 A. Method for Differential Diagnosis of ACTH-Dependent 60 examples of cortisol tests are Mayo Clinic's SALCT, CORT,
 Cushing's Syndrome                                                  CORTU, and CINP tests; an ADVIA Centaur® Cortisol
    1. Selecting Patients Having ACTH-Dependent Cushing's            assay (Siemens Healthcare Global); ARCHITECT i2000SR
 Syndrome                                                            cortisol (Abbott); Immulite® 2000 Cortisol assay (Siemans
    The methods disclosed herein is used to provide differ-          Healthcare Global; #L2KCO2), Vitros ECi Cortisol assay
 ential diagnosis between Cushing Disease and ectopic 65 (Ortho Clinical Diagnostics; #107 4053), and Elecsys®
 ACTH syndrome to patients who have already been diag-               Cortisol Immunoassay (Roche Molecular Diagnostics;
 nosed as having ACTH-dependent Cushing's syndrome. A                #11875116160).
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    The patient's cortisol measurement is then compared with           If the patient is confirmed to have Cushing's syndrome by
 the normal reference value; a level higher than the normal         two of the three tests, or by the detection of a 3 to 4-fold
 reference value indicates the patient has hypercortisolemia.       cortisol level increase in the 24-hour Urine Free Cortisol
 The normal reference values for cortisol levels vary depend-       test, the next step is to measure ACTH to confirm he or she
 ing on the nature of the samples, the manner and timing of 5 has ACTH-dependent Cushing's syndrome.
 sample collection (higher for samples collected in the morn-          d ACTH-Dependent Cushing's Syndrome
 ing and lower for samples collected at night), and the                There are two kinds of endogenous Cushing's syndrome:
 detection method. Thus, it is essential to interpret test results  ACTH-dependent and ACTH-independent. The high corti-
 in the context of the appropriate normal reference values.         sol level associated with ACTH-dependent Cushing's syn-
 Various commercial kits provide the normal reference values 1 o drome is caused by the overproduction of ACTH from a
 in testing protocols. For example, normal reference values         tumor, e.g., a pituitary tumor or an extrapituitary tumor. The
 for the Mayo Clinic's SALCT test that determines cortisol          excess cortisol level associated with ACTH-independent
 level in saliva is <100 ng/dL; a saliva cortisol level higher      Cushing's syndrome, on the other hand, is caused by the
 than 100 ng/dL is thus an indication of hypercortisolemia.         overproduction of cortisol by a tumor in the adrenal gland or
 After being diagnosed with hypercortisolemia, the patient is 15 the overgrowth of the adrenal gland—either of which inhib-
 subject to additional tests to confirm the presence of Cush-       its ACTH production and release. Thus, the ACTH levels are
 ing's syndrome.                                                    high in patients having ACTH-dependent Cushing's syn-
    c Cushing's Syndrome                                            drome but low or even undetectable in patients having
    At least one, preferably two or more, of the following tests    ACTH-independent Cushing's syndrome.
 are performed to diagnose Cushing's syndrome: 1) dexam- 20            The biological samples that are suitable for ACTH deter-
 ethasone suppression test, which documents a loss of feed-         mination can be serum, plasma, saliva, urine, or any other
 back inhibition of cortisol on the hypothalamic-pituitary-         biological fluid taken from a subject. The sample can be the
 adrenal (HPA) axis; 2) 24-hour Urine Free Cortisol test,           same or different from the sample used for cortisol level
 which assesses cortisol secretion in a 24-hour period; and 3)      measurement. In some cases, the same sample that is used to
 midnight salivary cortisol, which evaluates the loss of nor- 25 measure cortisol level can be used to measure ACTH level.
 mal diurnal variation in cortisol secretion. If two of the three   In other cases, different samples are used to measure cortisol
 tests show abnormal cortisol levels, the Cushing's syndrome        and ACTH levels. For example, the cortisol levels can be
 is confirmed.                                                      measured in saliva and the ACTH levels can be measured in
    The dexamethasone suppression test is typically used as a       plasma. In yet other cases, different samples of the same type
 screen test for Cushing's syndrome. Dexamethasone is an 30 are used to measure the levels.
 exogenous steroid that binds glucocorticoid receptors in the          The level of ACTH can be measured using various
 anterior pituitary gland. When healthy individuals are             methods, including but not limited to, immunoassays, e.g.,
 treated with a low dose (1-2 mg) of dexamethasone, binding         competitive immunoassay, radioimmunoassay, immuno-
 of dexamethasone to the glucocorticoid receptors provides          fluorometric enzyme assay, and ELISA; competitive pro-
 negative feedback to the pituitary gland and results in 35 tein-binding assays; liquid chromatography (e.g., HPLC);
 suppression of ACTH secretion. The suppression of ACTH             and mass spectrometry, e.g., high-performance liquid chro-
 secretion, in turn, results in suppression of cortisol release     matography/triple quadrupole-mass spectrometry (LC-MS/
 and therefore a detectable decrease in cortisol level in           MS). Commercial kits for measuring ACTH are readily
 circulation. In contrast, when patients having Cushing's           available, e.g., from Mayo clinic (Test ID: ACTH), Siemans
 syndrome are treated with a low dose of dexamethasone, no 40 Healthcare Global (Immulite® 2000 ACTH assay), and
 or little decrease in cortisol levels can be detected because      Roche Molecular Diagnostics (Catalog No. 03255751190).
 of the excessive cortisol production associated with the              A plasma ACTH concentration higher than the normal
 disease. In one approach, the dexamethasone suppression            reference value indicates that the patient has ACTH-depen-
 test is performed by administering a low dose of dexam-            dent Cushing's syndrome. Normal reference values vary
 ethasone, e.g., 1 mg, the night before at, e.g., 11 pm. The 45 depending on the assay method, type of sample, and timing
 next morning, e.g., between 8-9 am; the patient's blood is         of sample collection; like cortisol, ACTH in healthy indi-
 then sampled and serum cortisol levels measured. Since             viduals varies during a 24-hour period, reaching its highest
 normal subjects typically have serum cortisol levels reduced       level in the morning around 6-8 am and lowest at night
 to less than 1.8 mg/di, a serum cortisol level of more than 1.8    around 11 pm. Various commercial kits provide the normal
 mg/dL is indicative of the presence of Cushing's syndrome, so reference values in their testing protocols. For example, the
    The 24-hour Urine Free Cortisol test is the gold standard       normal reference values for Mayo Clinc Test ID: ACTH are
 for diagnosing Cushing's syndrome. This test uses the              about 10-60 pg/mL.
 principle that cortisol production is increased with Cush-            Patients diagnosed with ACTH-dependent Cushing's syn-
 ing's syndrome, and measurements of urinary excretion              drome are selected, and the differential diagnosis performed
 provide an integral estimate of that increase. A result more 55 as described below.
 than the normal reference values is indicative of the pres-           2. Method of Differential Diagnosis of ACTH-Dependent
 ence of Cushing's syndrome. A 3 to 4-fold increase over            Cushing's Syndrome
 normal reference values provides definite diagnosis of Cush-          The differential diagnosis method uses GRAs to discrimi-
 ing's syndrome; if this increase is present, no additional         nate between Cushing Disease and ectopic ACTH Cushing's
 testing is required to confirm the diagnosis. For less dramatic 60 syndrome, the two major forms of ACTH-dependent Cush-
 increases in the urinary free-cortisol (UFC) level, other tests,   ing's syndrome. GRAs prevent cortisol from inhibiting both
 such as the overnight dexamethasone suppression test and           the CRH production in the hypothalamus and ACTH pro-
 the midnight salivary cortisol test, as described above, are       duction in the pituitary gland through a negative feedback
 required.                                                          interaction, resulting in increased ACTH production and
    The midnight saliva test is another test commonly used to 65 release. Patients with Cushing Disease have ACTH-produc-
 confirm Cushing's syndrome. See the description of the test        ing tumors in the pituitary gland and thus will have a higher
 in the section above.                                              increase in ACTH level around the pituitary region than the
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 periphery region (outside the pituitary region). In contrast,             ACTH levels are determined using the methods described
 patients with ectopic ACTH syndrome have the tumor                     above. The patient's ACTH levels from one or both inferior
 growing outside the pituitary gland and thus will have a               petrosal sinuses are then compared with the ACTH levels in
 higher ACTH increase in the periphery than around the                 the periphery blood, and the petrosal sinus-to-periphery
 pituitary region. Thus a pituitary-to-periphery ratio can be        5 ACTH ratios are then determined. If the patient's inferior

 used to discriminate between the two major types of ACTH-              petrosal to periphery prolactin ratio is less than 1.8 (espe-
 dependent Cushing's syndrome.                                          cially if less than 1.5) an indication that the catheterization
    a Administration of GRA                                            was improper no diagnosis can be made and a new IPSS
    GRA is administered at a dosage that is sufficient to              may need to be performed. If the patient's inferior petrosal-
                                                                    10 to-periphery prolactin ratio is more than 1.8 and the inferior
 increase ACTH in the pituitary gland by at least two fold in
                                                                        petrosal-to-periphery ACTH ratio is greater than 3, he or she
 persons with normal HPA functions. In one embodiment, the
                                                                        is then diagnosed as having Cushing Disease. If the patient's
 GRA is mifepristone. In one embodiment, mifepristone is
                                                                        inferior petrosal-to-periphery prolactin ratio is more than 1.8
 administered orally to the patient. In one embodiment, the             and the inferior petrosal-to periphery-ACTH ratio is less
 mifepristone is administered at 300-1500 mg. In one                15 than 3, he or she is then diagnosed as having ectopic ACTH
 embodiment, the GRA is administered at 11 pm the night                 syndrome.
 before IPSS.                                                           B. Establishing a Standard Control Level
    b. IPSS                                                                As disclosed above, the differential diagnosis of ACTH
    The pituitary ACTH is measured from the blood sample                dependent Cushing's syndrome involves comparisons of
 obtained from the left, right, or both inferior petrosal sinuses   20 measurements of different hormones, e.g., prolactin, ACTH,
 (IPSs), which drain the pituitary gland. The periphery ACTH            and cortisol, with their respective normal reference values.
 level is determined from the blood sample from a periphery             In most cases, normal reference values, or standard control
 vein. The procedure of sampling from inferior petrosal                 levels, are provided in the commercial kits that are used for
 sinuses (known as IPSS) and the periphery is typically                the testing. Depending on circumstances, it may be neces-
 performed by an interventional radiologist.                        25 sary in some cases to establish a standard control level for
    IPSS is typically performed in the morning after admin-            the diagnosis. In order to establish a standard control for a
 istration of GRA, e.g., between 8 and 10 am, by advancing              particular sample type (e.g., a saliva sample, urine sample,
 one or two microcatheters from the femoral vein up to one              plasma sample, or serum sample) for practicing the method
 or both inferior petrosal sinuses. Meanwhile, another micro-           of this disclosure, a group of healthy subjects, such as a
 catheter is advanced to a periphery vein, e.g., the jugular        30 group of subjects who do not have Cushing's Syndrome, is
 vein. Venogram, or a digital venography, which documents               selected. These individuals are within the appropriate
 the position of the catheters, is used to ensure the proper            parameters, if applicable, for the purpose of diagnosing
 placement of the catheter; sampling begins only after con-             Cushing's Syndrome using the methods of the present
 firming the microcatheter is positioned well in the IPS. Two           invention. For instance, the individuals may be of similar
 samplings are made, at 5-10 minutes apart, by drawing              35 age, gender, and comparable health status. Optionally, the
 blood simultaneously from the IPSs and the jugular vein at             individuals are of similar ethnic background.
 each sampling. Samples obtained are immediately placed in                 The healthy status of the selected individuals can be
 EDTA-containing tubes on ice. In some cases, an IPSS is                confirmed by well-established, routinely employed methods,
 performed only on one sinus, i.e., the left or right sinus. In         including but not limited to, general physical examination of
 some cases, the IPSS is performed for both sinuses (BIPSS).        40 the individuals and general review of their medical history.
 BIPSS provides values of ACTH from both right and left                    Furthermore, the selected group of healthy individual
 sinuses, a comparison of which provides useful information            must be of a reasonable size, such that the average amount,
 as to which side of the pituitary gland the tumor is located.          level, or concentration of cortisol, ACTH, or other steroid in
    c. Diagnosis Based on the Central-to-Peripheral ACTH               the biological sample obtained from the group can be
 Ratio with Reference to Prolactin                                  45 reasonably regarded as representative of the normal or
    The central-to-periphery ratio is the basis for the diagno-         average level among the general population of healthy
 sis; however the IPSS requires high level of expertise; since          individuals who do not experience Cushing's Syndrome.
 anomalous venous drainage, e.g., misplacement of the cath-             Preferably, the selected group comprises at least 10 normal,
 erter tip when sampling the inferior petrosal sinus, may               healthy human subjects.
 cause false negative results. In addition to IPSS venogram         so     Once an average value of cortisol, ACTH, or other steroid
 (described above), prolactin which is also secreted by                 is established on the individual values found in each subject
 pituitary gland and circulated to the periphery is often used          of the selected healthy control group, this average, median,
 as a marker for successful catheterization during IPSS.                or representative value or profile is considered a standard
 Prolactin levels are assessed from the same blood samples              control level. A standard deviation is also determined during
 that are used for the ACTH analysis. A ratio of the central to     55 the same process. In some cases, separate standard control
 periphery prolactin of more than 1.8 indicates successful              levels may be established for separately defined groups
 catheterization.                                                       having distinct characteristics such as age, sex or ethnic
    Methods for measuring prolactin are known in the art.               background.
 Useful assays include immunoassays, e.g., competitive                  C. Glucocorticoid Receptor Antagonists
 immunoassay, radioimmunoassay, immunofluorometric                  60     The methods of the present invention generally provide
 enzyme assay, and ELISA; competitive protein-binding                   administering a GRA. In some cases, the glucocorticoid
 assay; and mass spectrometry, e.g., high-performance liquid            receptor antagonist is a specific GRA. As used herein, a
 chromatography/triple quadrupole-mass spectrometry (LC-                specific glucocorticoid receptor antagonist refers to a com-
 MS/MS). Commerical kits for measuring prolactin are also               position or compound which inhibits any biological
 readily available, e.g., from Abcam (Catalog # ab108655),          65 response associated with the binding of a glucocorticoid
 R&D systems (Human Prolactin Quantikine ELISA Kit),                    receptor to an agonist by preferentially binding to the
 and Cayman Chemical (Prolactin EIA Kit).                               glucocorticoid receptor rather than to another nuclear recep-
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 tor (NR). In some embodiments, the specific GRA binds                 reference. EP 0 763 541 B1 and Hoyberg et al., Int'l J. of
 preferentially to the glucocorticoid receptor rather than the         Neuro-psychopharmacology, 5:Supp. 1, S148 (2002) dis-
 mineralocorticoid receptor (MR), androgen receptor (AR),              close the compound (1113,17(3)-11-(1,3-benzodioxo1-5-y1)-
 or progesterone receptor (PR). In an exemplary embodi-                17-hydroxy-17- (1 -propynyl)estra-4,9-dien-3 -one        (ORG
 ment, the specific GRA binds preferentially to glucocorti- 5 34517), which in one embodiment, is administered in an
 coid receptor rather than the mineralocorticoid receptor              amount effective to treat an ACTH-secreting tumor in a
 (MR). In another exemplary embodiment, the specific GRA               subject.
 binds preferentially to the glucocorticoid receptor rather               2. Removal or Substitution of the 11-13 Hydroxy Group
 than the progesterone receptor (PR). In another exemplary                Glucocorticoid antagonists with modified steroidal back-
 embodiment, the specific GRA binds preferentially to the
                                                                       bones comprising removal or substitution of the 11-13
 glucocorticoid receptor rather than the androgen receptor
                                                                       hydroxy group are administered in one embodiment of the
 (AR). In yet another exemplary embodiment, the specific
                                                                       invention. This class includes natural GRAs, including cor-
 GRA binds preferentially to the glucocorticoid receptor in
 comparison to MR and PR, MR and AR, PR and AR, or MR,                 texolone,   progesterone and testosterone derivatives, and
 PR, and AR.                                                       15
                                                                       synthetic compositions, such as mifepristone (Lefebvre, et
    In a related embodiment, the specific GRA binds to the             al. supra). Preferred embodiments of the invention include
 glucocorticoid receptor with an association constant (Kd)             all 11-13 aryl steroid backbone derivatives because, in some
 that is at least 10-fold less than the Kd for other nuclear           cases, these compounds can be devoid of progesterone
 receptors. In another embodiment, the specific GRA binds to           receptor (PR) binding activity (Agarwal, FEBS 217:221-
 the glucocorticoid receptor with an association constant (Kd) 20 226, 1987). In another embodiment an 11-n phenyl-amin-
 that is at least 100-fold less than the Kd for the other nuclear      odimethyl steroid backbone derivative, which is both an
 receptors. In another embodiment, the specific GRA binds to           effective anti-glucocorticoid and anti-progesterone agent, is
 the glucocorticoid receptor with an association constant (Kd)         administered. These compositions can act as reversibly-
 that is at least 1000-fold less than the Kd for the other nuclear     binding steroid receptor antagonists. For example, when
 receptors.                                                        25 bound to a 1113 phenyl-aminodimethyl steroid, the steroid
    Generally, treatment can be provided by administering an           receptor can be maintained in a conformation that cannot
 effective amount of a GRA of any chemical structure or                bind its natural ligand, such as cortisol in the case of GR
 mechanism of action and a glucocorticosteroid of any                  (Cadepond, 1997, supra).
 chemical structure or mechanism of action. Provided herein,              Synthetic 11-beta phenyl-aminodimethyl steroids include
 are classes of exemplary GRAs and specific members of 30 mifepristone, also known as RU486, or 17-P-hydrox-1113-
 such classes. However, one of skill in the art will readily
                                                                       (4 -dimethyl -aminopheny1)17-a- (1 -propynyl)estra-4,9-dien-
 recognize other related or unrelated GRAs that can be
                                                                       3-one). Mifepristone has been shown to be a powerful
 employed in the treatment methods described herein.
                                                                       antagonist of both the progesterone and glucocorticoid (GR)
    1. GRAs Having a Steroidal Backbone
    In some embodiments, an effective amount of a GRA with 35 receptors. Thus, in some embodiments, the GRA adminis-
 a steroidal backbone is administered to a subject for treat-          tered to treat an ACTH-secreting tumor is mifepristone, or a
 ment of an ACTH-secreting tumor. Steroidal GRAs can be                salt, tautomer, or derivative thereof. In other embodiments,
 obtained by modification of the basic structure of glucocor-          however, administration of mifepristone is specifically
 ticoid agonists, i.e., varied forms of the steroid backbone.          excluded as a GRA for treatment of an ACTH-secreting
 The structure of cortisol can be modified in a variety of 40 tumor.
 ways. The two most commonly known classes of structural                  Another 1113 phenyl-aminodimethyl steroid shown to
 modifications of the cortisol steroid backbone to create              have GR antagonist effects includes the dimethyl aminoeth-
 GRAs include modifications of the 1113 hydroxy group and              oxyphenyl derivative RU009 (RU39.009), 11-P-(4-dim-
 modification of the 17-P side chain (See, e.g., Lefebvre, J.          ethyl-aminoethoxypheny1)-17-a-(propyny1-17-(3-hydroxy-
 Steroid Biochem. 33:557-563, 1989).                               45 4,9-estradien-3-one) (see Bocquel, J. Steroid Biochem.
    Examples of steroidal GR antagonists include androgen-             Molec. Biol. 45:205-215, 1993). Another GR antagonist
 type steroidal compounds as described in U.S. Pat. No.                related to RU486 is RU044 (RU43.044) 17-133-hydrox-17-
 5,929,058, and the compounds disclosed in U.S. Pat. Nos.              a-19- (4 -methyl-pheny1)-andro sta-4,9 (11)-dien-3 -one)
 4,296,206; 4,386,085; 4,447,424; 4,477,445; 4,519,946;                (Bocquel, 1993, supra). See also Teutsch, Steroids 38:651-
 4,540,686; 4,547,493; 4,634,695; 4,634,696; 4,753,932; 50 665, 1981; U.S. Pat. Nos. 4,386,085 and 4,912,097.
 4,774,236; 4,808,710; 4,814,327; 4,829,060; 4,861,763;                   One embodiment includes compositions that are irrevers-
 4,912,097; 4,921,638; 4,943,566; 4,954,490; 4,978,657;                ible anti-glucocorticoids. Such compounds include a-keto-
 5,006,518; 5,043,332; 5,064,822; 5,073,548; 5,089,488;                methanesulfonate derivatives of cortisol, including cortisol-
 5,089,635; 5,093,507; 5,095,010; 5,095,129; 5,132,299;                21-mesylate (4-pregnene-1113, 17-a, 21-triol-3, 20-dione-
 5,166,146; 5,166,199; 5,173,405; 5,276,023; 5,380,839; 55 21-methane-sulfonate and dexamethasone-21-mesylate (16-
 5,348,729; 5,426,102; 5,439,913; 5,616,458, 5,696,127, and            methy1-9-a-fluoro -1,4-pregnadiene-11(3,17-a,       21 -trio1-3,
 6,303,591. Such steroidal GR antagonists include cortex-              20-dione-21-methane-sulfonte). See Simons, J. Steroid Bio-
 olone, dexamethasone-oxetanone, 19-nordeoxycorticoster-               chem. 24:25-32, 1986; Mercier, J. Steroid Biochem. 25:11-
 one, 19-norprogesterone, cortisol-21-mesylate; dexametha-             20, 1986; U.S. Pat. No. 4,296,206.
 sone-21 -mesylate,       111344 -dimethylaminoethoxypheny1)- 60          3. Modification of the 17-Beta Side Chain Group
 17a-propyny1-1713-hydroxy-4,9-estradien-3-one (RU009),                   Steroidal anti-glucocorticoids which can be obtained by
 and      (17a)-17-hydroxy-19-(4-methylphenyl)androsta-4,9             various structural modifications of the 17-P side chain are
 (11)-dien-3-one (RU044).                                              also used in the methods of the invention. This class includes
    Other examples of steroidal antiglucocorticoids are dis-           synthetic antiglucocorticoids, such as dexamethasone-oxet-
 closed in Van Kampen et al. (2002) Eur. J. Pharmacol. 65 anon, various 17, 21-acetonide derivatives and 17-beta-
 457(2-3):207, WO 03/043640, EP 0 683 172 B1, and EP 0                 carboxamide derivatives of dexamethasone (Lefebvre, 1989,
 763 541 B1, each of which is incorporated herein by                   supra; Rousseau, Nature 279:158-160, 1979).
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   4. Other Steroid Backbone Modifications
                                                                                              0
   GRAs used in the various embodiments of the invention
 include any steroid backbone modification which effects a
 biological response resulting from a GR-agonist interaction.
                                                               5
 Steroid backbone antagonists can be any natural or synthetic
 variation of cortisol, such as adrenal steroids missing the
 C-19 methyl group, such as 19-nordeoxycorticosterone and
 19-norprogesterone (Wynne, Endocrinology 107:1278-                                           R3
 1280, 1980).                                                 10
    In general, the 11-13 side chain substituent, and particu-
                                                                  wherein
 larly the size of that substituent, can play a key role in
                                                                    the dashed line is absent or a bond;
 determining the extent of a steroid's antiglucocorticoid
                                                                    X is selected from the group consisting of 0 and S;
 activity. Substitutions in the A ring of the steroid backbone       fe is selected from the group consisting of cycloalkyl,
 can also be important. For example, 17-hydroxypropenyl        15
                                                                        heterocycloalkyl, aryl and heteroaryl, optionally sub-
 side chains can, in some cases, decrease antiglucocorticoid            stituted with from 1 to 3 R" groups;
 activity in comparison to 17-propynyl side chain containing         each R" is independently selected from the group con-
 compounds.                                                             sisting of H, C1_, alkyl, C2 _ 6 alkenyl, C2_, alkynyl, C1_,
    Additional glucocorticoid receptor antagonists known in 20          alkoxy, C1 _ 6 alkyl-OR1b, halogen, C1_, haloalkyl, Ci _ 6
 the art and suitable for practice of the invention include             haloaloxy,      OR1b,      NR1bRic,      C(0)R1b,     C(0)
 21-hydroxy-6,19-oxidoprogesterone (See Vicent, Mol.                    OR1b,       OC(0)Rib,        C(0)NR1bRic,        NR1bC(0)
 Pharm. 52:749-753, 1997), Org31710 (See Mizutani, J Ste-               Ric, SO2Rm, SO2NR1bR1c, cycloalkyl, heterocy-
 roid Biochem Mol Biol 42(7):695-704, 1992), RU43044,                   cloalkyl, aryl and heteroaryl;
 RU40555 (See Kim, J Steroid Biochem Mol Biol. 67(3): 25             Rib and Ric are each independently selected from the
                                                                        group consisting of H and C1 _ 6 alkyl;
 213-22, 1998), and RU28362.
                                                                     R2 is selected from the group consisting of H, C1_, alkyl,
    5. Non-Steroidal Anti-Glucocorticoids as Antagonists                C1 _ 6 alkyl-OR"', C1_, alkyl-NR1bRic and C1 _ 6 alkylene-
    Non-steroidal glucocorticoid receptor antagonists                   heterocycloalkyl;
 (GRAs) are also used in the methods of the invention to 30          R3 is selected from the group consisting of H and ci _ 6
 diagnose and treat Cushing's Syndrome in a subject. These              alkyl;
 include synthetic mimetics and analogs of proteins, includ-        AT is aryl, optionally substituted with 1-4 R4 groups;
 ing partially peptidic, pseudopeptidic and non-peptidic             each R4 is independently selected from the group consist-
 molecular entities. For example, oligomeric peptidomimet-              ing of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, C1 _ 6
                                                                        haloalkyl   and C1 _ 6 haloalkoxy;
 ics useful in the invention include (a-(3-unsaturated) pepti- 35
                                                                     Li is a bond or C1 _ 6 alkylene; and
 dosulfonamides, N-substituted glycine derivatives, oligo
                                                                     subscript n is an integer from 0 to 3,
 carbamates, oligo urea peptidomimetics, hydrazinopeptides,
                                                                  or a salts and isomers thereof.
 oligosulfones and the like (See, e.g., Amour, Int. J. Pept.         Exemplary GRAs having a fused azadecalin backbone
 Protein Res. 43:297-304, 1994; de Bont, Bioorganic &             include those described in U.S. Pat. Nos. 7,928,237; and
 Medicinal Chem. 4:667-672, 1996).                             40
                                                                  8,461,172. In some cases, the GRA having a fused azadeca-
    Examples of non-steroidal GR antagonists include the GR        lin backbone has the following structure:
 antagonist compounds disclosed in U.S. Pat. Nos. 5,696,
 127; 6,570,020; and 6,051,573; the GR antagonist com-
 pounds disclosed in US Patent Application 20020077356, 45                                  RI
 the glucocorticoid receptor antagonists disclosed in Bradley
 et al., J. Med. Chem. 45, 2417-2424 (2002), e.g., 4a(S)-
 benzy1-2(R)-chloroethyny1-1,2,3,4,4a,9,10,10a(R)-octa-
 hydro-phenanthrene-2,7-diol ("CP 394531") and 4a(S)-ben-
 zy1-2(R)-prop-1 -yny1-1,2,3,4,4a,9,10,10a(R)-octahydro-        50
 phenanthrene-2,7-diol ("CP 409069"); and the compounds
 disclosed in PCT International Application No. WO
 96/19458, which describes non-steroidal compounds that are           wherein
 high-affinity, highly selective antagonists for steroid recep-       Li and L2 are members independently selected from a
 tors, such as 6-substituted-1,2-dihydro-N-protected-quino- 55          bond and unsubstituted alkylene;
 lines.                                                               RI is a member selected from unsubstituted alkyl, unsub-
    In some embodiments, Cushing's Syndrome is diagnosed                stituted heteroalkyl, unsubstituted heterocycloalkyl,
 and treated with an effective amount of a non-steroidal GRA                OR", NR1CR1D,         C(0)NR1eRlD, and       C(0)
 having a cyclohexyl-pyrimidine backbone, a fused azadeca-              OR', wherein
 lin backbone, a heteroaryl ketone fused azadecalin back- 60          R114 is a member selected from hydrogen, unsubstituted
 bone, or an octahydro fused azadecalin backbone. For                   alkyl and unsubstituted heteroalkyl,
 example, Cushing's Syndrome can be treated with effective            RIC and RID are members independently selected from
 amounts of one of the foregoing GRAs and a GC or a GC                  unsubstituted alkyl and unsubstituted heteroalkyl,
 analog. Exemplary GRAs having a cyclohexyl-pyrimidine                wherein Ric and RID are optionally joined to form an
 backbone include those described in U.S. Pat. No. 8,685, 65            unsubstituted ring with the nitrogen to which they are
 973. In some cases, the GRA having a cyclohexyl-pyrimi-                attached, wherein said ring optionally comprises an
 dine backbone has the following structure:                             additional ring nitrogen;
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   R2 has the formula:                                                       alternatively, two R2 groups are combined to form a
                                                                                heterocycloalkyl ring having from 5 to 6 ring members
                                                                                and from 1 to 3 heteroatoms each independently
                                                                                selected from the group consisting of N, 0 and S,
                                                                                wherein the heterocycloalkyl ring is optionally substi-
                                                                                tuted with from 1 to 3 R2d groups;
                                                                             Rea and R2b are each independently selected from the
    wherein                                                                     group consisting of hydrogen and C1 _ 6 alkyl;
    R2G is a member selected from hydrogen, halogen, unsub-                  each R2' is independently selected from the group con-
       stituted alkyl, unsubstituted heteroalkyl, unsubstituted       10
                                                                                sisting of hydrogen, halogen, hydroxy, C1_ 6 alkoxy,
       cycloalkyl, unsubstituted heterocycloalkyl, CN, and                      C1_ 6 haloalkoxy,   CN, and NR2a R2b;
          CF3;                                                               each R2d is independently selected from the group con-
    J is phenyl;                                                                sisting of hydrogen and C1_ 6 alkyl, or two R2d groups
    t is an integer from 0 to 5;                                                attached to the same ring atom are combined to form
                                                                      15
    X is S(02) ; and                                                            (=0);
    R5 is phenyl optionally substituted with 1-5 RSA groups,                 R3 is selected from the group consisting of phenyl and
       wherein                                                                  pyridyl, each optionally substituted with 1-4 R3a
    RSA is a member selected from hydrogen, halogen,                            groups;
                      S(02)NR5A2R5`43,     CN, and unsubsti-          20
                                                                             each R3a is independently selected from the group con-
       tuted alkyl, wherein                                                     sisting of hydrogen, halogen, and C1 _ 6 haloalkyl; and
    R5A1 is a member selected from hydrogen and unsubsti-                    subscript n is an integer from 0 to 3;
       tuted alkyl, and                                                      or salts and isomers thereof.
    RSA2 and RSA3 are members independently selected from
                                                                             Exemplary GRAs having an octohydro fused azadecalin
       hydrogen and unsubstituted alkyl,                              25
                                                                           backbone include those described in U.S. Provisional Patent
 or salts and isomers thereof.                                             Appl. No. 61/908,333, entitled Octahydro Fused Azadecalin
    Exemplary GRAs having a heteroaryl ketone fused aza-                   Glucocorticoid Receptor Modulators, filed on Nov. 25,
 decalin backbone include those described in U.S. 2014/                    2013. In some cases, the GRA having an octohydro fused
 0038926. In some cases, the GRA having a heteroaryl                       azadecalin backbone has the following structure:
 ketone fused azadecalin backbone has the following struc-            30
 ture:



                                                                                                                             (R2 )14
                                                                      35
                                                         (R2 )14




                                                                      40

                                                                                         (R3"),z
 wherein
   fe- is a heteroaryl ring having from 5 to 6 ring members
      and from 1 to 4 heteroatoms each independently                       wherein
      selected from the group consisting of N, 0 and S,               45     RI is a heteroaryl ring having from 5 to 6 ring members
      optionally substituted with 1-4 groups each indepen-                      and from 1 to 4 heteroatoms each independently
      dently selected from R";                                                  selected from the group consisting of N, 0 and S,
   each R" is independently selected from the group con-                        optionally substituted with 1-4 groups each indepen-
      sisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,             dently selected from R";
      C1 _ 6 alkoxy, C1 _ 6 haloalkoxy,      CN, N-oxide, C3 _ 8      50     each R" is independently selected from the group con-
      cycloalkyl, and C3 _ 8 heterocycloalkyl;                                  sisting of hydrogen, C1 _ 6 alkyl, halogen, C1_ 6 haloalkyl,
   ring J is selected from the group consisting of a cycloalkyl                 C1_ 6 alkoxy, C1_ 6 haloalkoxy, N-oxide, and C3 _ 8

      ring, a heterocycloalkyl ring, an aryl ring and a het-                    cycloalkyl;
      eroaryl ring, wherein the heterocycloalkyl and het-                    ring J is selected from the group consisting of an aryl ring
      eroaryl rings have from 5 to 6 ring members and from            55        and a heteroaryl ring having from 5 to 6 ring members
      1 to 4 heteroatoms each independently selected from                       and from 1 to 4 heteroatoms each independently
      the group consisting of N, 0 and S;                                       selected from the group consisting of N, 0 and S;
   each R2 is independently selected from the group consist-                 each R2 is independently selected from the group consist-
      ing of hydrogen, C1_ 6 alkyl, halogen, C1_ 6 haloalkyl,                   ing of hydrogen, C1_ 6 alkyl, halogen, C1_ 6 haloalkyl,
      C1_ 6 alkoxy, C1 _ 6 haloalkoxy, C1_ 6 alkyl-C1 _ 6 alkoxy,     60        C1_ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-C1 _ 6 alkoxy,
         CN, OH, NR2'R2b, c(o)R2a, C(0)0R2a ,                                      CN, OH, NR2aR2b, C(0)R2a,                    C(0)0R2a,
         C(0)NR2a
                    R2b,
                              SR2a,      S(0)R2a ,     S(0)2R2a ,                  C(0)NR2a R2b,        SR2a,      S(0)R2a,       S(0)2R2a,
           cycloalkyl, and C3_ 8 heterocycloalkyl, wherein the
      C3 _ 8                                                                    C3_ 8 cycloalkyl, and C3 _ 8 heterocycloalkyl having from

      heterocycloalkyl groups are optionally substituted with                   1 to 3 heteroatoms each independently selected from
      1-4 R2' groups;                                                 65        the group consisting of N, 0 and S;
   alternatively, two R2 groups linked to the same carbon are                alternatively, two R2 groups on adjacent ring atoms are
      combined to form an oxo group (=0);                                       combined to form a heterocycloalkyl ring having from
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       5 to 6 ring members and from 1 to 3 heteroatoms each           ene glycol, and/or titanium dioxide, lacquer solutions, and
       independently selected from the group consisting of N,         suitable organic solvents or solvent mixtures. Dyestuffs or
       0 and S, wherein the heterocycloalkyl ring is option-          pigments may be added to the tablets or dragee coatings for
       ally substituted with from 1 to 3 R2' groups;                  product identification or to characterize the quantity of
    Rya, R2' and R2' are each independently selected from the 5 active compound (i.e., dosage). Pharmaceutical preparations
       group consisting of hydrogen and C1 _ 6 alkyl;                 of the invention can also be used orally using, for example,
    each R3a is independently halogen; and                            push-fit capsules made of gelatin, as well as soft, sealed
    subscript n is an integer from 0 to 3;                            capsules made of gelatin and a coating such as glycerol or
 or salts and isomers thereof.                                        sorbitol. Push-fit capsules can contain the compounds of the
 D. Pharmaceutical Compositions of Glucocorticoid Recep- 10 present invention mixed with a filler or binders such as
 tor Antagonists                                                      lactose or starches, lubricants such as talc or magnesium
    The GRA compositions of the present disclosure can be             stearate, and, optionally, stabilizers. In soft capsules, the
 prepared in a wide variety of oral, parenteral and topical           compounds of the present invention may be dissolved or
 dosage forms. Oral preparations of either include tablets,           suspended in suitable liquids, such as fatty oils, liquid
 pills, powder, dragees, capsules, liquids, lozenges, cachets, 15 paraffin, or liquid polyethylene glycol with or without sta-
 gels, syrups, slurries, suspensions, etc., suitable for ingestion    bilizers.
 by the patient. The GRA compositions of the present inven-              For preparing suppositories, a low melting wax, such as a
 tion can also be administered by injection, that is, intrave-        mixture of fatty acid glycerides or cocoa butter, is first
 nously, intramuscularly, intracutaneously, subcutaneously,           melted and the compounds of the present invention are
 intraduodenally, or intraperitoneally. Also, the GRA com- 20 dispersed homogeneously therein, as by stirring. The molten
 positions described herein can be administered by inhala-            homogeneous mixture is then poured into convenient sized
 tion, for example, intranasally. Additionally, the GRA com-          molds, allowed to cool, and thereby to solidify.
 positions of the present invention can be administered                  Liquid form preparations include solutions, suspensions,
 transdermally. The GRA compositions of this invention can            and emulsions, for example, water or water/propylene glycol
 also be administered by intraocular, intravaginal, and 25 solutions. For parenteral injection, liquid preparations can be
 intrarectal routes including suppositories, insufflation, pow-       formulated in solution in aqueous polyethylene glycol solu-
 ders and aerosol formulations (for examples of steroid               tion.
 inhalants, see Rohatagi, J. Clin. Pharmacol. 35:1187-1193,              Aqueous solutions suitable for oral use can be prepared by
 1995; Tjwa, Ann. Allergy Asthma Immunol. 75:107-111,                 dissolving one or more compounds of the present invention
 1995). Accordingly, the present invention provides pharma- 30 in water and adding suitable colorants, flavors, stabilizers,
 ceutical compositions of a GRA including a pharmaceuti-              and thickening agents as desired. Aqueous suspensions
 cally-acceptable carrier or excipient and a GRA compound             suitable for oral use can be made by dispersing the finely
 of the present invention.                                            divided active component in water with viscous material,
    For preparing pharmaceutical compositions from the                such as natural or synthetic gums, resins, methylcellulose,
 GRA compounds of the present invention, pharmaceutically 35 sodium carboxymethylcellulose, hydroxypropylmethylcel-
 acceptable carriers can be either solid or liquid. Solid form        lulose, sodium alginate, polyvinylpyrrolidone, gum traga-
 preparations include powders, tablets, pills, capsules,              canth and gum acacia, and dispersing or wetting agents such
 cachets, suppositories, and dispersible granules. A solid            as a naturally occurring phosphatide (e.g., lecithin), a con-
 carrier can be one or more substances, which may also act            densation product of an alkylene oxide with a fatty acid
 as diluents, flavoring agents, binders, preservatives, tablet 40 (e.g., polyoxyethylene stearate), a condensation product of
 disintegrating agents, or an encapsulating material. Details         ethylene oxide with a long chain aliphatic alcohol (e.g.,
 on techniques for formulation and administration are well            heptadecaethylene oxycetanol), a condensation product of
 described in the scientific and patent literature, see, e.g., the    ethylene oxide with a partial ester derived from a fatty acid
 latest edition of Remington's Pharmaceutical Sciences,               and a hexitol (e.g., polyoxyethylene sorbitol mono-oleate),
 Maack Publishing Co, Easton Pa. ("Remington's").                  45 or a condensation product of ethylene oxide with a partial
    In powders, the carrier is a finely divided solid, which is       ester derived from fatty acid and a hexitol anhydride (e.g.,
 in a mixture with the finely divided active component. In            polyoxyethylene sorbitan mono-oleate). The aqueous sus-
 tablets, the active component is mixed with the carrier              pension can also contain one or more preservatives such as
 having the necessary binding properties in suitable propor-          ethyl or n-propyl p-hydroxybenzoate, one or more coloring
 tions and compacted in the shape and size desired. The so agents, one or more flavoring agents and one or more
 powders and tablets preferably contain from 5% or 10% to             sweetening agents, such as sucrose, aspartame or saccharin.
 70% of the compounds of the present invention.                       Formulations can be adjusted for osmolarity.
    Suitable solid excipients include, but are not limited to,           Also included are solid form preparations, which are
 magnesium carbonate; magnesium stearate; talc; pectin;               intended to be converted, shortly before use, to liquid form
 dextrin; starch; tragacanth; a low melting wax; cocoa butter; 55 preparations for oral administration. Such liquid forms
 carbohydrates; sugars including, but not limited to, lactose,        include solutions, suspensions, and emulsions. These prepa-
 sucrose, mannitol, or sorbitol, starch from corn, wheat, rice,       rations may contain, in addition to the active component,
 potato, or other plants; cellulose such as methyl cellulose,         colorants, flavors, stabilizers, buffers, artificial and natural
 hydroxypropylmethyl-cellulose, or sodium carboxymethyl-              sweeteners, dispersants, thickeners, solubilizing agents, and
 cellulose; and gums including arabic and tragacanth; as well 60 the like.
 as proteins including, but not limited to, gelatin and colla-           Oil suspensions can be formulated by suspending the
 gen. If desired, disintegrating or solubilizing agents may be        compounds of the present invention in a vegetable oil, such
 added, such as the cross-linked polyvinyl pyrrolidone, agar,         as arachis oil, olive oil, sesame oil or coconut oil, or in a
 alginic acid, or a salt thereof, such as sodium alginate.            mineral oil such as liquid paraffin; or a mixture of these. The
    Dragee cores are provided with suitable coatings such as 65 oil suspensions can contain a thickening agent, such as
 concentrated sugar solutions, which may also contain gum             beeswax, hard paraffin or cetyl alcohol. Sweetening agents
 arabic, talc, polyvinylpyrrolidone, carbopol gel, polyethyl-         can be added to provide a palatable oral preparation, such as
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 glycerol, sorbitol or sucrose. These formulations can be          liposome, or attached directly to the oligonucleotide, that
 preserved by the addition of an antioxidant such as ascorbic      bind to surface membrane protein receptors of the cell
 acid. As an example of an injectable oil vehicle, see Minto,      resulting in endocytosis. By using liposomes, particularly
 J. Pharmacol. Exp. Ther. 281:93-102, 1997. The pharma-            where the liposome surface carries ligands specific for target
 ceutical formulations of the invention can also be in the form 5 cells, or are otherwise preferentially directed to a specific
 of oil-in-water emulsions. The oily phase can be a vegetable      organ, one can focus the delivery of the compositions of the
 oil or a mineral oil, described above, or a mixture of these.     present invention into the target cells in vivo. (See, e.g.,
 Suitable emulsifying agents include naturally-occurring           Al-Muhammed, J. Microencapsul. 13:293-306, 1996;
 gums, such as gum acacia and gum tragacanth, naturally            Chonn, Curr. Opin. Biotechnol. 6:698-708, 1995; Ostro, Am.
 occurring phosphatides, such as soybean lecithin, esters or 10
                                                                   J. Hosp. Pharm. 46:1576-1587, 1989).
 partial esters derived from fatty acids and hexitol anhy-
                                                                      Lipid-based drug delivery systems include lipid solutions,
 drides, such as sorbitan mono-oleate, and condensation
                                                                   lipid emulsions, lipid dispersions, self-emulsifying drug
 products of these partial esters with ethylene oxide, such as
 polyoxyethylene sorbitan mono-oleate. The emulsion can            delivery systems (SEDDS) and self-microemulsifying drug
 also contain sweetening agents and flavoring agents, as in 15 delivery systems (SMEDDS). In particular, SEDDS and
 the formulation of syrups and elixirs. Such formulations can      SMEDDS are isotropic mixtures of lipids, surfactants and
 also contain a demulcent, a preservative, or a coloring agent.    co-surfactants that can disperse spontaneously in aqueous
    The GRA compositions provided herein can also be               media and form fine emulsions (SEDDS) or microemulsions
 delivered as microspheres for slow release in the body. For       (SMEDDS). Lipids useful in the formulations of the present
 example, microspheres can be formulated for administration 20 invention include any natural or synthetic lipids including,
 via intradermal injection of drug-containing microspheres,        but not limited to, sesame seed oil, olive oil, castor oil,
 which slowly release subcutaneously (see Rao, J. Biomater         peanut oil, fatty acid esters, glycerol esters, Labrafil®,
 Sci. Polym. Ed. 7:623-645, 1995; as biodegradable and             Labrasol®, Cremophor®, Solutol®, Tween®, Capryol®,
 injectable gel formulations (see, e.g., Gao Pharm. Res.           Capmul®, Captex®, and Peceol®.
 12:857-863, 1995); or, as microspheres for oral administra- 25       The GRA composition can also contain other compatible
 tion (see, e.g., Eyles, J. Pharm. Pharmacol. 49:669-674,          therapeutic agents. The compounds described herein can be
 1997). Both transdermal and intradermal routes afford con-        used in combination with one another, with other active
 stant delivery for weeks or months.                               agents known to be useful in antagonizing a glucocorticoid
    In another embodiment, the GRA compositions of the             receptor, or with adjunctive agents that may not be effective
 present invention can be formulated for parenteral admin- 30 alone, but may contribute to the efficacy of the active agent.
 istration, such as intravenous (IV) administration or admin-      E. Administration
 istration into a body cavity or lumen of an organ. The               The GRA compounds or compositions of the present
 formulations for administration will commonly comprise a          invention can be delivered by any suitable means, including
 solution of the compositions of the present invention dis-        oral, parenteral (e.g., intravenous injection or intramuscular
 solved in a pharmaceutically acceptable carrier. Among the 35 injection) and topical methods. Transdermal administration
 acceptable vehicles and solvents that can be employed are         methods, by a topical route, can be formulated as applicator
 water and Ringer's solution, an isotonic sodium chloride. In      sticks, solutions, suspensions, emulsions, gels, creams, oint-
 addition, sterile fixed oils can conventionally be employed       ments, pastes, jellies, paints, powders, and aerosols.
 as a solvent or suspending medium. For this purpose any              The pharmaceutical preparation is preferably in unit dos-
 bland fixed oil can be employed including synthetic mono- 40 age form. In such form the preparation is subdivided into
 or diglycerides. In addition, fatty acids such as oleic acid can  unit doses containing appropriate quantities of the com-
 likewise be used in the preparation of injectables. These         pounds and compositions of the present invention. The unit
 solutions are sterile and generally free of undesirable matter.   dosage form can be a packaged preparation, the package
 These GRA formulations may be sterilized by conventional,         containing discrete quantities of preparation, such as pack-
 well known sterilization techniques. The formulations may 45 eted tablets, capsules, and powders in vials or ampoules.
 contain pharmaceutically acceptable auxiliary substances as       Also, the unit dosage form can be a capsule, tablet, cachet,
 required to approximate physiological conditions such as pH       or lozenge itself, or it can be the appropriate number of any
 adjusting and buffering agents, toxicity adjusting agents,        of these in packaged form.
 e.g., sodium acetate, sodium chloride, potassium chloride,           GRAs can be administered orally. For example, the GRA
 calcium chloride, sodium lactate and the like. The concen- so can be administered as a pill, a capsule, or liquid formulation
 tration of the compositions of the present invention in these     as described herein. Alternatively, GRAs can be provided
 formulations can vary widely, and will be selected primarily      via parenteral administration. For example, the GRA can be
 based on fluid volumes, viscosities, body weight, and the         administered intravenously (e.g., by injection or infusion).
 like, in accordance with the particular mode of administra-       Additional methods of administration of the compounds
 tion selected and the patient's needs. For IV administration, 55 described herein, and pharmaceutical compositions or for-
 the GRA formulation can be a sterile injectable preparation,      mulations thereof, are described herein.
 such as a sterile injectable aqueous or oleaginous suspen-           In some embodiments, the GRA is administered in one
 sion. This suspension can be formulated according to the          dose. In other embodiments, the GRA is administered in
 known art using those suitable dispersing or wetting agents       more than one dose, e.g., 2 doses, 3 doses, 4 doses, 5 doses,
 and suspending agents. The sterile injectable preparation can 60 6 doses, 7 doses, or more. In some cases, the doses are of an
 also be a sterile injectable solution or suspension in a          equivalent amount. In other cases, the doses are of different
 nontoxic parenterally-acceptable diluent or solvent, such as      amounts. The doses can increase or taper over the duration
 a solution of 1,3-butanediol.                                     of administration. The amount will vary according to, for
    In another embodiment, the formulations of the compo-          example, the GRA properties. To determine an effective
 sitions of the present invention can be delivered by the use 65 dose, the GRA must elevate the level of ACTH by at least
 of liposomes which fuse with the cellular membrane or are         two fold in persons with normal Hypothalamus Pituitary
 endocytosed, i.e., by employing ligands attached to the           Adrenal (HPA) function.
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    In some embodiments, the subject diagnosed as having             in the morning. The blood is spun down in a refrigerated
 Cushing's Syndrome is administered a therapeutically effec-         centrifuge and the plasma is immediately separated from
 tive amount of a GRA to ameliorate at least one symptom of          cells. 0.5 mL of the plasma sample is assayed for ACTH
 Cushing's Syndrome. In some case, therapeutically effective         using Mayo Clinic Test ID: ACTH, following the manufac-
 amount of the GRA can be administered to treat Cushing's        5   turer's instructions (http://www.mayomedicallaboratori-
 Syndrome.
                                                                     es.com/test-catalog/Specimen/8411). The result shows her
                         IV. Examples                                plasma ACTH is 80 pg/mL, which indicates that she has
                                                                     ACTH-dependent Cushing's syndrome.
         Example 1 Diagnosis of Hypercortisolemia
                                                                 10          Example 4. Diagnosis of Cushing Disease
    A 45-year-old female visits her endocrinologist. She
 appears to have abdominal obesity, thin arms and legs, a              Following the diagnosis of ACTH dependent Cushing's
 round red face, and a fat lump between the shoulders. She          syndrome, she then undergoes IPSS to identify the source of
 has acne and reddish purple stretch marks in the body that         abnormal ACTH secretion, i.e., whether it is pituitary or
 are more than 1 cm wide. She describes having fragile skin 15 ectopic. Mifepristone administration and IPSS are per-
 that heals poorly, irregular menstruation, and she often feels     formed to determine the cause of her ACTH-dependent
 changes in mood, headaches, and a chronic feeling of
                                                                    Cushing's syndrome. She first takes an oral dose of 300-
 tiredness. Her physical examination records show that she
                                                                    1500 mg of mifepristone at 11 pm the night before IPSS.
 has proximal muscle weakness and osteoporosis. Her blood
                                                                 20 Mifepristone at this dose is sufficient to increase ACTH from
 tests indicate that she has low potassium, diabetes and
 elevated blood pressure. She has not been taken exogenous          the pituitary gland by at least two-fold in persons having
 glucocorticoid drugs prior to this visit. Her endocrinologist      normal hypothalamic-pituitary-adrenal axis (HPA) function.
 suspects she has hypercortisolemia, and orders a late night        Between 8 to 10 am, an interventional radiologist performs
 saliva cortisol test for her.                                      a femoral microcatheterization, in which two 0.018 inch
    She complies to the requirement not to brush, eat, or drink 25 microcatheters are advanced from the femoral vein up to her
 for 30 minutes prior to the saliva collection. At midnight she     right and left inferior petrosal sinuses (IPS). Another 0.018
 collected her saliva by placing a swab into her mouth, while       microcatherter is inserted into the peripheral jugular vein. A
 rolling the swab, for approximately 2 minutes. The sample          5,000 unit bolus of heparin is administered to the veins to
 is assayed using Mayo Clinic Test ID: SALCT following the          prevent venous sinus thrombosis.
 protocol provided with the test. The result shows that her 30         After the microcathers enter the sinuses and the jugular
 cortisol level is 200 ng/dL, indicating that she has hyper-        bulb, a diagnostic venography is performed, in which a rapid
 cortisolemia.                                                      injection of contrast is performed to attempt to reflux
                                                                    contrast into the inferior petrosal sinus to guide placement of
        Example 2. Diagnosis of Cushing's Syndrome                  a microcatheter. After confirming the position of the micro-
                                                                 35 catheter and positioning it well in the IPS, two samplings are
    After diagnosis of hypercortisolemia, additional tests are      made at 5-10 minutes apart. Blood samples are drawn
 ordered for her to determine whether she has Cushing's             simultaneously from the IPS and the jugular vein at each
 syndrome. First, a dexamethasone suppression test is per-          sampling and immediately placed in EDTA-containing tubes
 formed. She is given 1 mg of dexamethasone at 11 pm, and           on ice.
 the next morning her blood sample are collected between 40            One half of each blood sample is centrifuged for 10
 8-9 am. Serum are collected from the blood and measured            minutes at 1,000-2,000 g to remove the cells and collect
 for cortisol using Mayo Clinic Test ID: CORT (http://              plasma. The other half is left undisturbed at room tempera-
 www.mayomedicallaboratories.com/test-catalog/Clinical+             ture for 30 minutes to clot, and serum is obtained after
 and+Interpretive/8545), according to manufacturer's                removal of the clot by a centrifugation. The plasma samples
 instructions. Her serum cortisol level is 2.2 mcg/dl, consis- 45 from both the jugular vein and the IPS are assayed for ACTH
 tent with the presence of Cushing's syndrome.                      using Mayo Clinic's Test ID: ACTH, as described above.
    Next, a 24 hour urine collection is ordered to measure her      The serum samples are assayed for prolactin using Mayo
 urine free cortisol. 3 mL of her 24-hour urine specimen is         Clinic's Test ID: PLPMA, following the manufacturer's
 collected into a container, with the addition of 10 gram of        instructions. The results show that the prolactin level in her
 boric acid as a preservative. The sample is centrifuged and 50 left IPS is 25 ng/ml and right IPS is 24 ng/ml. The prolactin
 removed of precipitate before the assay. Cortisol content is       level in her jugular vein is 12 ng/ml. The ACTH level in her
 analyzed using Mayo Clinic Test ID: COCOU, according to            IPS is 800 pg/ml and the ACTH in her jugular vein is 200
 manufacturer's instructions (http://www.mayomedicallabo-           pg/ml.
 ratories.com/test-catalog/Specimen/82948). The test shows             Her IPSs (both left and right) to jugular vein prolactin
 a cortisol level of 180 mcg-4 fold of the upper limit of the 55 ratio is greater than 1.8, which reflects the correct central-
 normal range of cortisol for the test: 3.5-45 mcg. Based on        to-periphery gradient, thus confirming the correct position-
 her 24-hour urine excretion test result as well as her clinical    ing of the catheterization. Her IPSs to jugular vein ACTH
 symptoms, she is diagnosed as having Cushing's syndrome.           ratio is greater than 3, which indicates she has Cushing
 The next step is to measure ACTH to differentiate between          Disease.
 ACTH-dependent and ACTH-independent Cushing's syn- 60                 Although the foregoing invention has been described in
 drome.                                                             some detail by way of illustration and example for purposes
                                                                    of clarity of understanding, one of skill in the art will
         Example 3. Diagnosis of ACTH-Dependent                     appreciate that certain changes and modifications may be
                      Cushing's Syndrome                            practiced within the scope of the appended claims. In
                                                                 65 addition, each reference provided herein is incorporated by
    A blood test is then performed to determine her plasma          reference in its entirety to the same extent as if each
 ACTH level. 1 mL of whole blood sample is drawn from her           reference was individually incorporated by reference.
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    What is claimed is:                                               wherein
    1. A method of concurrently treating Cushing's syndrome           the dashed line is absent or a bond;
 and differentially diagnosing adrenocorticotropic hormone            X is selected from the group consisting of 0 and S;
 (ACTH)-dependent Cushing's syndrome in a patient where               R1 is selected from the group consisting of cycloalkyl,
 the differential diagnosis is between ectopic ACTH syn- 5               heterocycloalkyl, aryl and heteroaryl, optionally sub-
 drome and Cushing's disease, the method comprising the
                                                                         stituted with from 1 to 3 R1' groups;
 steps of:
    (i) selecting a patient with Cushing's syndrome and also          each   R1' is independently selected from the group con-
       elevated ACTH levels;                                             sisting of H, C1 _ 6 alkyl, C2 _ 6 alkenyl, C,6 alkynyl, C1 _ 6
    (ii) administering a dose of glucocorticoid receptor                 alkoxy, C1 _ 6 alkyl °Rib, halogen, C1 _ 6 haloalkyl, C1 _ 6
                                                                10       haloaloxy, °Rib, NR1bR1c, C(0)Rib, C(0)0R1b,
       antagonist (GRA) sufficient to increase ACTH from the
       pituitary gland by at least two fold in persons with              OC(0)R1b, C(0)NR1bRic, NR1bC(0)R1c, SO2R1b,
       normal Hypothalamus Pituitary Adrenal (HPA) func-                 SO2NR1bR1c, cycloalkyl, heterocycloalkyl, aryl and
       tion;                                                             heteroaryl;
    (iii) waiting for at least two hours; and,                        Rib and Ric are each independently selected from the
    (iv) obtaining from the patient an ACTH concentration 15             group consisting of H and C1 _ 6 alkyl;
       ratio wherein the ratio is derived from the ACTH               R2 is selected from the group consisting of H, C1 _ 6 alkyl,
       concentrations in fluid obtained from either the left or          C1 _ 6 alkyl-OR1b, C1 _ 6 alkyl NR1bRlc and C1 _ 6 alkylene
       right inferior petrosal venous sinus and from fluid               heterocycloalkyl;
       obtained from a periphery venous sample;                       R3 is selected from the group consisting of H and C1 _ 6
 wherein an ACTH concentration ratio of greater than 3 for 2             alkyl;
 the ACTH concentration from the inferior venous sinus                AT is aryl, optionally substituted with 1-4 R4 groups;
 sample over the periphery venous sinus sample is diagnostic          each R4 is independently selected from the group consist-
 of Cushing's disease.                                                   ing of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, C1 _ 6
    2. The method of claim 1 wherein the periphery venous                haloalkyl and C1 _ 6 haloalkoxy;
 sample is a jugular venous sample.                             25    Li is a bond or C1 _ 6 alkylene; and
    3. The method of claim 1 wherein the glucocorticoid               subscript n is an integer from 0 to 3,
 receptor antagonist is a selective inhibitor of the glucocor-        or salts thereof.
 ticoid receptor.                                                     13. The method of claim 10, wherein the glucocorticoid
    4. The method of claim 1 wherein a first and second            receptor antagonist backbone is a fused azadecalin.
 sampling of the ACTH concentrations in the are taken 5-10 3          14. The method of claim 13, wherein the fused azadecalin
 minutes apart from both the inferior petrosal venous sinus        is a compound having the following formula:
 and a periphery venous sample.
    5. The method of claim 1, wherein the glucocorticoid
 receptor antagonist comprises a steroidal backbone with at                                    RI
 least one phenyl-containing moiety in the 1113 position of 35                                   E LI
 the steroidal backbone.
    6. The method of claim 5 wherein the phenyl-containing
 moiety in the 1113 position of the steroidal backbone is a
 dimethylaminophenyl moiety.
    7. The method of claim 5, wherein the glucoocoricoid 40
 receptor antagonist is mifepristone.
    8. The method of claim 1, wherein the glucocorticoid
 receptor antagonist is selected from the group consisting of         wherein
 1113-(4-dimethylaminoethoxypheny1)-17a-propyny1-1713-                   Li and L2 are members independently selected from a
 hydroxy-4,9 estradien-3-one and (17a)-17-hydroxy-19-(4- 45                 bond and unsubstituted alkylene;
 methylphenyl)androsta-4,9(11)-dien-3-one.                               R1 is a member selected from unsubstituted alkyl,
    9. The method of claim 1, wherein the glucocorticoid                    unsubstituted heteroalkyl, unsubstituted heterocy-
 receptor antagonist is (1113,17(3)-11-(1,3-benzodioxo1-5-y1)-              cloalkyl, OR1A, NR1CR1D, C(0)NR1cRiD, and
 17 -hydroxy-17 -(1 -propynyl)estra-4,9-dien-3 -one.                            C(0)ORiA, wherein
    10. The method of claim 1, wherein the glucocorticoid 50             RiA is a member selected from hydrogen, unsubstituted
 receptor antagonist has a non-steroidal backbone.                          alkyl and unsubstituted heteroalkyl,
                                                                         — lc and RlD are members independently selected from
                                                                         it
    11. The method of claim 10, wherein the glucocorticoid
 receptor antagonist backbone is a cyclohexyl pyrimidine.                   unsubstituted alkyl and unsubstituted heteroalkyl,
    12. The method of claim 11, wherein the cyclohexyl                   wherein Ric and RlD are optionally joined to form an
 pyrimidine has the following formula:                          55          unsubstituted ring with the nitrogen to which they
                                                                            are attached, wherein said ring optionally comprises
                                                                            an additional ring nitrogen;
                           0                                             R2 has the formula:

                                                                   60


                                                                                            -X




                          R3
                                                                   65       wherein
                                                                            R2G is a member selected from hydrogen, halogen,
                                                                              unsubstituted alkyl, unsubstituted heteroalkyl,
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         unsubstituted cycloalkyl, unsubstituted heterocy-                 each R2' is independently selected from the group
         cloalkyl, CN, and CF3;                                               consisting of hydrogen, halogen, hydroxy, C1 _ 6
      J is phenyl;                                                            alkoxy, C1 _ 6 haloalkoxy, CN, and NR2a R2b;
     t is an integer from 0 to 5;                                          each R2d is independently selected from the group
     X is S(02) ; and                                                         consisting of hydrogen and C1 _ 6 alkyl, or two R2d
      R5 is phenyl optionally substituted with 1-5 RSA groups,                groups attached to the same ring atom are combined
         wherein                                                              to form (=0);
      RSA is a member selected from hydrogen, halogen,                     R3 is selected from the group consisting of phenyl and
            OR5A1, S(02)NR5A2R5A3,        CN, and unsubsti-                   pyridyl, each optionally substituted with 1-4 R3a
                                                                   0
         tuted alkyl, wherein                                                 groups;
      RSA' is a member selected from hydrogen and unsub-                   each R3a is independently selected from the group
         stituted alkyl, and                                                  consisting of hydrogen, halogen, and C1 _ 6 haloalkyl;
      RSA2 and RSA3 are members independently selected                        and
         from hydrogen and unsubstituted alkyl,                   15
                                                                           subscript n is an integer from 0 to 3;
     or salts thereof                                                      or salts thereof
   15. The method of claim 10, wherein the glucocorticoid                17. The method of claim 15, wherein the octahydro fused
 receptor antagonist backbone is a heteroaryl ketone fused             azadecalin has the formula:
 azadecalin or an octahydro fused azadecalin.
   16. The method of claim 15, wherein the heteroaryl             20
 ketone fused azadecalin has the formula:

                                                                                                                        (R2 )1-4
                                0 0
                                % //                              25
                                 s
                            N                          (R2 )14
    N
        N
        R3                                                        30



   wherein
                                                                       wherein
     R' is a heteroaryl ring having from 5 to 6 ring members
                                                                       R' is a heteroaryl ring having from 5 to 6 ring members
        and from 1 to 4 heteroatoms each independently
                                                                  35      and from 1 to 4 heteroatoms each independently
        selected from the group consisting of N, 0 and S,
                                                                          selected from the group consisting of N, 0 and S,
        optionally substituted with 1-4 groups each indepen-              optionally substituted with 1-4 groups each indepen-
        dently selected from R"';                                         dently selected from R"';
     each R"' is independently selected from the group                 each R"' is independently selected from the group con-
        consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 40          sisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
        haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, CN, N-ox-            C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, N-oxide, and C3 _8
        ide, C3 _ 8 cycloalkyl, and C3 _ 8 heterocycloalkyl;              cycloalkyl;
     ring J is selected from the group consisting of a                 ring J is selected from the group consisting of an aryl ring
        cycloalkyl ring, a heterocycloalkyl ring, an aryl ring            and a heteroaryl ring having from 5 to 6 ring members
        and a heteroaryl ring, wherein the heterocycloalkyl 45            and from 1 to 4 heteroatoms each independently
        and heteroaryl rings have from 5 to 6 ring members                selected from the group consisting of N, 0 and S;
        and from 1 to 4 heteroatoms each independently                 each R2 is independently selected from the group consist-
        selected from the group consisting of N, 0 and S;                 ing of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
     each R2 is independently selected from the group con-                C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-C1 _ 6 alkoxy,
        sisting of hydrogen, C1 _ 6 alkyl, halogen, Cl            50      CN, OH, NR2aR2b, C(0)R2a, C(0)0R2a, C(0)
                                                                                  R2b sR2,7 s(0)R2,7 s(0)2R2,7, C3 8 cycloalkyl,
        haloalkyl, Cl alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-            NR2a         ,     ,         ,                _
        C1 _ 6 alkoxy, CN, OH, NR2aR , c(0   2b      )R2,7,  c(0)         and   C3 _ 8 heterocycloalkyl having from 1 to 3 heteroa-
        0R2a, C(0)NR2aR2b, SR2a, S(0)R2a, S(0)2R2a, C3 _ 8                toms each independently selected from the group con-
                                                                          sisting of N, 0 and S;
        cycloalkyl, and C3 _ 8 heterocycloalkyl, wherein the
                                                                  55   alternatively, two R2 groups on adjacent ring atoms are
        heterocycloalkyl groups are optionally substituted
                                                                          combined to form a heterocycloalkyl ring having from
        with 1-4 R2' groups;
                                                                          5 to 6 ring members and from 1 to 3 heteroatoms each
     alternatively, two R2 groups linked to the same carbon               independently selected from the group consisting of N,
        are combined to form an oxo group (=0);                           0 and S, wherein the heterocycloalkyl ring is option-
     alternatively, two R2 groups are combined to form a 60               ally substituted with from 1 to 3 R2c groups;
        heterocycloalkyl ring having from 5 to 6 ring mem-             R2a R2b and R2' are each independently selected from the
                                                                           ,
        bers and from 1 to 3 heteroatoms each independently               group consisting of hydrogen and C1 _ 6 alkyl;
        selected from the group consisting of N, 0 and S,              each R3a is independently halogen; and
        wherein the heterocycloalkyl ring is optionally sub-           subscript n is an integer from 0 to 3,
        stituted with from 1 to 3 R2d groups;                     65   or salts thereof.
     Rea and R2b are each independently selected from the              18. A method of concurrently treating Cushing's syn-
        group consisting of hydrogen and C1 _ 6 alkyl;               drome and obtaining a measurement indicative of differen-
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 tial diagnosis of adrenocorticotropic hormone (ACTH)-de-
 pendent Cushing's syndrome in a patient where the
 differential diagnosis is between ectopic ACTH syndrome
 and Cushing's disease, the method comprising the steps of:
    determining the ACTH concentration ratio from a patient 5
       with Cushing's syndrome and an elevated ACTH level,
    where the patient has been administered a dose of gluco-
       corticoid receptor antagonist (GRA) at least two hours
       prior to the removal of venous samples and
    where the amount of GRA administered to the patient is 10
       sufficient to increase ACTH from the pituitary gland by
       at least two fold in persons with normal Hypothalamus
       Pituitary Adrenal (HPA) function;
    wherein the ACTH concentration ratio is derived from the
       ACTH concentrations in fluid obtained from either the 15
       left or right inferior petrosal venous sinus and from
       fluid obtained from a periphery venous sample; and
    wherein an ACTH concentration ratio of greater than 3 for
       the ACTH concentration from the inferior venous sinus
       sample over the periphery venous sinus sample is 20
       indicative of Cushing's disease.
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,829,495 B2                                                                                     Page 1 of 1
APPLICATION NO.             : 15/236015
DATED                       : November 28, 2017
INVENTOR(S)                 : Andreas G. Moraitis

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims

         In Column 33, Claim 4, Line 30, remove "in the";

         In Column 33, Claim 7, Line 40, remove "glucoocoricoid" and insert --glucocorticoid--;

         In Column 35, Claim 16, Line 50, remove "halogen, C1 6" and insert --halogen, C1_6--; and,

         In Column 35, Claim 16, Line 51, remove "C16 alkoxy" and insert --Ci_6alkoxy--.




                                                                                 Signed and Sealed this
                                                                           Twenty-sixth Day of December, 2017

                                                                                      Si p
                                                                                                     Joseph Matal
                                                                                     Performing the Functions and Duties of the
                                                                              Under Secretary of Commerce for Intellectual Property and
                                                                              Director of the United States Patent and Trademark Office
